Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 1 of 227




                     $1625*(
                     EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 2 of 227


 1                    UNITED STATES DISTRICT COURT
 2                   NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4
 5     PATRICK CALHOUN, ELAINE CRESPO, )
       HADIYAH JACKSON and CLAUDIA                  )
 6     KINDLER, on behalf of all                    )
       others similarly situated,                   )
 7                                                  )
                  Plaintiffs,                       )
 8                                                  )
                  vs.                               ) Case No.
 9                                                  ) 5:20-cv-5146-LHK
       GOOGLE LLC,                                  )
10                                                  )
                  Defendant.                        )
11     _______________________________ )
12
13
14
15              VIRTUAL VIDEOCONFERENCE VIDEO-RECORDED
16                      DEPOSITION OF DAVID MONSEES
17
18                            Friday, April 9, 2021
19            Testifying from San Francisco, California
20
21
22
23     Reported By:
24     Hanna Kim, CLR, CSR No. 13083
25     Job No. 4530995

                                                                         Page 1

                                  Veritext Legal Solutions
                                       866 299-5127
Case 4:20-cv-05146-YGR                   Document 748-2                Filed 07/01/22                   Page 3 of 227

 1         UNITED STATES DISTRICT COURT                         1   REMOTE VIDEOCONFERENCE APPEARANCES (CONTINUED)
 2         NORTHERN DISTRICT OF CALIFORNIA
                                                                2
 3            SAN JOSE DIVISION
 4                                                              3 For Plaintiffs:
 5 PATRICK CALHOUN, ELAINE CRESPO, )                            4       SIMMONS HANLY CONROY LLC
   HADIYAH JACKSON and CLAUDIA )                                5       BY: JASON "JAY" BARNES, ESQ.
 6 KINDLER, on behalf of all          )
                                                                6       BY: AN TRUONG, ESQ.
   others similarly situated,     )
 7                      )                                       7       112 Madison Avenue, 7th Floor
         Plaintiffs,        )                                   8       New York, New York 10016
 8                      )                                       9       212.784.6400
         vs.              ) Case No.                           10       jaybarnes@simmonsfirm.com
 9                      ) 5:20-cv-5146-LHK
                                                               11       atruong@simmonsfirm.com
   GOOGLE LLC,                      )
10                      )                                      12
         Defendant.           )                                13 For Defendant Google LLC:
11 _______________________________ )                           14       QUINN EMANUEL URQUHART & SULLIVAN
12
                                                               15       BY: ANDREW H. SCHAPIRO, ESQ.
13
14                                                             16       191 N. Wacker Drive, Suite 2700
15        Virtual videoconference video-recorded               17       Chicago, Illinois 60606
16        deposition of DAVID MONSEES, taken on                18       312.705.7400
17        behalf of the Plaintiffs, testifying from
                                                               19       andrewschapiro@quinnemanuel.com
18        San Francisco, California, on Friday,
19        April 9, 2021, before Hanna Kim, CLR, CSR            20       -and-
20        No. 13083.                                           21       BY: JOSEF ANSORGE, PH.D.
21                                                             22       1300 I Street NW, Suite 900
22
                                                               23       Washington, D.C. 20005
23
24                                                             24       202.538.8000
25                                                             25       josefansorge@quinnemanuel.com
                                                      Page 2                                                            Page 4

 1   REMOTE VIDEOCONFERENCE APPEARANCES OF COUNSEL:             1   REMOTE VIDEOCONFERENCE APPEARANCES (CONTINUED)
 2                                                              2
 3 For Plaintiffs:                                              3 Also Present:
 4       BLEICHMAR FONTI & AULD LLP                             4       JOHN JANHUNEN, ESQ., Google LLC
 5       BY: LESLEY WEAVER, ESQ.                                5       RON LAZO, Videographer
 6       BY: ANGELICA M. ORNELAS, ESQ.                          6
 7       555 12th Street, Suite 1600                            7
 8       Oakland, California 994607                             8
 9       415.445.4003                                           9
10       lweaver@bfalaw.com                                    10
11       aornelas@bfalaw.com                                   11
12       -and-                                                 12
13       KAPLAN FOX & KILSHEIMER LLP                           13
14       BY: DAVID A. STRAITE, ESQ.                            14
15       850 Third Avenue                                      15
16       New York, New York 10022                              16
17       212.687.1980                                          17
18       dstraite@kaplanfox.coma                               18
19                                                             19
20                                                             20
21                                                             21
22                                                             22
23                                                             23
24                                                             24
25                                                             25
                                                      Page 3                                                            Page 5

                                                                                                               2 (Pages 2 - 5)
                                           Veritext Legal Solutions
                                                866 299-5127
Case 4:20-cv-05146-YGR                            Document 748-2                 Filed 07/01/22             Page 4 of 227

 1     Q. In reviewing your personal data, what are                        1      A. Correct. It violates policies that anyone
 2 categories of personal data that a Googler can see                      2   accessing logs must agree to.
 3 that a [verbatim] average user cannot?                                  3      Q. And what's the reason for the rule --
 4        MR. SCHAPIRO: And I'm going to object                            4   well, let me strike -- let me ask a different
 5 that this is beyond the scope.                 04:09:50                 5   question.                                 04:12:09
 6        THE WITNESS: I -- a -- a -- Googlers, as                         6          It is possible to reidentify log's data
 7 you can imagine, to develop systems need to be able                     7   identification?
 8 to see the data the systems produce, and so that's                      8      A. It -- it depends on the log, I think. As
 9 why Googlers can look at their own data and an                          9   we discussed previously, the whole point of
10 engineer can see the output of the software that       04:10:04        10   pseudonymous is that it's not associated with an       04:12:18
11 they're developing.                                                    11   individual. But there could be a probabilistic
12        Users do not see their raw log data. We                         12   risk, which is why we create policies and systems
13 go through systems to try to generate an equivalent                    13   in place that make approaches that you could do
14 like the My Activity log described so that users                       14   that, either incredibly different -- difficult
15 have a comprehensible, clear representation of data 04:10:20           15   against policy or even technically, impossible        04:12:36
16 that might be in a number of logs.                                     16   where we can.
17 BY MS. WEAVER:                                                         17      Q. Okay. And do you see where it says "you
18     Q. Can Googlers can see the derived and                            18   must not correlate authenticated and
19 inferred data?                                                         19   non-authenticated information."
20     A. Yes, in the -- the forms, whatever forms       04:10:32         20          Do you see that?                      04:12:50
21 that -- that that data might exist in. And,                            21      A. Yes, I do.
22 again, I think depending on systems or                                 22      Q. So the rule is, you cannot correlate Gaia
23 permissions, yes.                                                      23   and non-Gaia information; is that right?
24     Q. Can Googlers see how personalization is                         24      A. That -- that would be an example of that,
25 happening to them?                            04:10:47                 25   yes.                                   04:13:00
                                                               Page 310                                                            Page 312

 1        MR. SCHAPIRO: Same objection on scope.                           1       Q. And so it says "Do not correlate
 2        THE WITNESS: I -- I think we're kind of                          2   authenticated gaia-signed-in user identity or data
 3 getting out of scope of logs and your personal                          3   with non-authenticated user identifiers, such as
 4 data. But a Google software engineer developing a                       4   Zwieback or or Biscotti cookies."
 5 personalization system I would expect could see the 04:11:01            5         Do you see that?                      04:13:13
 6 model that -- that might execute and the output of                      6       A. Yes.
 7 that model running across their data, though I just                     7       Q. And what's the reason for that rule?
 8 want to be clear that I -- I don't think that would                     8       A. Well, an anonymous or pseudonymous cookie
 9 look like something you could read easily in like a                     9   ID would not be pseudonymous if someone was to
10 log format. It -- it would be a -- a model output. 04:11:18            10   correlate it with a user identity, like a gaia ID. 04:13:24
11 BY MS. WEAVER:                                                         11   So we have policies and systems to prevent that
12     Q. Okay. Looking below that, do you see                            12   from happening.
13 where it says "Re-identifying logs data"?                              13       Q. And do you see it says "For example, do
14     A. I do.                                                           14   not lift link           IDs to PII without approval
15     Q. And it says, "Much of Google's logs data        04:11:27        15   from PWG"?                                  04:13:38
16 is pseudonymous under Google's Data Categorization                     16       A. Yes, I do.
17 Guidelines."                                                           17       Q. What is PII?
18        And then it says, "You must not                                 18       A. In this context, I would assume,
19 re-identify any individuals from Anonymous or                          19   personally identifiable information.
20 Pseudonymous data, in accordance with the User            04:11:44     20       Q. And can you give examples of that?            04:13:43
21 Data Anonymization Policy."                                            21       A. A user's name or a phone number, or an
22        Do you see that?                                                22   e-mail address is traditionally thought of as PII.
23     A. I do.                                                           23       Q. And we discussed                IDs earlier.
24     Q. So the rule is that Googlers may not                            24   It's my recollection that you could not recall
25 reidentify logs data; is that right?           04:11:51                25   precisely what it is; is that correct?           04:14:00
                                                               Page 311                                                            Page 313

                                                                                                                79 (Pages 310 - 313)
                                                         Veritext Legal Solutions
                                                              866 299-5127
Case 4:20-cv-05146-YGR                          Document 748-2                    Filed 07/01/22                  Page 5 of 227

 1      A. That's correct.                                                  1   stored in the U.S.?
 2      Q. Is -- has your memory been refreshed at                          2      A. Specific to derived data from logs, I
 3   all about           IDs?                                               3   would assume yes, from this policy.
 4      A. No.                                                              4      Q. And would that include inferred data as
 5      Q. Okay. What is fingerprinting?               04:14:11             5   well?                                04:16:27
 6      A. Sorry. To clarify, in -- in the context                          6      A. Yes, I would assume so, unless it's been
 7   of this document -- log-in document?                                   7   anonymized as -- as this states.
 8      Q. No. Just in general.                                             8      Q. Okay. Okay.
 9      A. Fingerprinting is a method, I think,                             9         MS. WEAVER: We can move on. Let's mark
10   developed in the 1800s to try to identify an        04:14:26          10   as Exhibit 17, a document bearing Bates -- or      04:16:53
11   individual from the --                                                11   beginning with '27536 through '545.
12      Q. Please, are you kidding? I did not mean                         12         Do you recognize Exhibit 17.
13   Sherlock Holmes. Okay.                                                13      A. Sorry, I'm -- I'm waiting for Exhibit
14      A. What is the matter?                                             14   Share to refresh.
15      Q. What is finger- -- fine. Let's take a      04:14:37             15         MR. SCHAPIRO: Me too.                     04:17:29
16   break.                                                                16         THE WITNESS: Okay. Yes, I do.
17         So what is fingerprinting as the term is                        17         (Monsees Deposition Exhibit 17 was
18   used within Google?                                                   18         marked.)
19      A. With -- within Google, and -- and I think                       19   BY MS. WEAVER:
20   outside, fingerprinting is typically referred to a 04:14:49           20      Q. What is it?                       04:17:32
21   combination of different signals that may                             21      A. This is taken from a Google internal site
22   determine or reidentify an individual.                                22   page from the Chrome user trust site, specific to
23      Q. So why is it Google's policy that you must                      23   Chrome logs.
24   not fingerprint users for the purpose of                              24      Q. Thank you.
25   associating a user's activity over time or across 04:15:09            25         And turning to the page ending with Bates 04:17:43
                                                                Page 314                                                                    Page 316

 1 contexts tracking?                                                       1 number '537.
 2    A. That would violate our policies and, I                             2     A. Okay.
 3 think, statements to our users and regulators.                           3     Q. It says -- do you see where it says
 4    Q. And what are the statements that would                             4 "Personalization Use"?
 5 violate?                             04:15:24                            5     A. Yes, I do.                         04:18:02
 6    A. I would need to look in the Google privacy                         6     Q. And it says "The following points must be
 7 policy.                                                                  7 considered when designing a use case for analysis
 8       MR. SCHAPIRO: Objection. Beyond the                                8 of browsing history to support personalization."
 9 scope. Also, calls for a legal conclusion.                               9        Do you see that?
10       THE COURT REPORTER: I'm sorry, I can't            04:15:40        10     A. I do.                            04:18:14
11 hear you.                                                               11     Q. And four bullet points down, it says "Any
12       MR. SCHAPIRO: Also -- I said, also, calls                         12 user profile built using Chrome History must
13 for a legal conclusion.                                                 13 respect the user's browsing history clearing
14 BY MS. WEAVER:                                                          14 within 24 hours (max) if the deletion takes place
15    Q. Turning to the next page ending in Bates       04:15:45           15 on individual browsing history entries."             04:18:28
16 number '765. I'm looking halfway below the page,                        16        Do you see that?
17 do you see the sentence that begins with "Data                          17     A. I do.
18 derived from logs"?                                                     18     Q. What is a user profile?
19    A. Yes, I do.                                                        19     A. Just to -- to clarify for scope, this is
20    Q. Is it Google's policy that data derived     04:16:00              20 to do with signed in Chrome sync on history users,       04:18:37
21 from logs should only be stored in the same                             21 so this is a -- not do do with sync-off users.
22 geography?                                                              22        Do you want me to answer the question.
23    A. That's what I read.                                               23     Q. Yes. Do you recall that Ms. Crespo had
24    Q. And -- and so copies of logs, data stored                         24 some not sync log history, even though she was not
25 in the U.S. must also -- derived data must also be   04:16:17      25 synched for part of the time period?                    04:19:02
                                                             Page 315                                                                       Page 317

                                                                                                                      80 (Pages 314 - 317)
                                                     Veritext Legal Solutions
                                                          866 299-5127
Case 4:20-cv-05146-YGR                             Document 748-2               Filed 07/01/22               Page 6 of 227

 1    A. Oh, I -- I am -- I am not sure what a -- a                       1                JURAT
 2 per e-mail cost is. I believe it's quite low to                        2
 3 send a -- an individual e-mail.                                        3       I, DAVID MONSEES, do hereby certify under
 4    Q. Okay. Thank you.                                                 4 penalty of perjury that I have read the foregoing
 5         MS. WEAVER: No further questions --           05:19:48         5 transcript of my deposition taken on the 9th day of
 6 questions for this witness at this time. This                          6 April, 2021; that I have made such corrections as
 7 deposition will remain open.                                           7 appear noted herein in ink, initialed by me; that
                                                                          8 my testimony as contained herein, as corrected, is
 8         MR. SCHAPIRO: So we of course don't agree
                                                                          9 true and correct.
 9 to holding it open, but we want to -- we'll take a
                                                                         10
10 few minutes and -- and come back and do some            05:20:04
                                                                         11       Dated this _____ day of ____________, 2021,
11 redirect if -- if we think we want to do that. So
                                                                         12 at ________________________________________________.
12 why don't we come back in five minutes.
                                                                         13
13         MS. WEAVER: Sounds good.
                                                                         14
14         MR. SCHAPIRO: 25 past.
                                                                         15
15         THE VIDEOGRAPHER: We're now going off the 05:20:20
                                                                         16
16 record. The time is 5:20 p.m., Pacific Daylight
                                                                         17
17 Time.                                                                 18              ____________________________
18         (Short recess taken.)                                                         DAVID MONSEES
19         THE VIDEOGRAPHER: We are now back on the                      19
20 record. The time is 5:33 p.m., Pacific Daylight       05:33:20        20
21 Time.                                                                 21
22         MR. SCHAPIRO: So we have no questions for                     22
23 the witness.                                                          23
24         Mr. Monsees, thank you very much for your                     24
25 time.                                 05:33:31                        25
                                                              Page 354                                                            Page 356

 1         Lesley, et al., wonderful to see you as               1                      CERTIFICATE OF REPORTER
 2   always.                                                     2                  I, Hanna Kim, a Certified Shorthand
 3         MS. WEAVER: Yeah, and I want to thank the             3            Reporter, do hereby certify:
 4   witness very much. I know this isn't fun and                4                  That prior to being examined, the witness
 5   especially not alone in your room. Thank you.      05:33:43 5            in the foregoing proceedings was by me duly sworn
 6         And thanks very much to all of you                    6            to testify to the truth, the whole truth, and
 7   supporting the deposition, Ms. -- Ms. Kim and our           7            nothing but the truth;
 8   videographer.                                               8                  That said proceedings were taken before me
 9         MR. SCHAPIRO: I second that.
                                                                 9            at the time and place therein set forth and were
                                                                10            taken down by me in shorthand and thereafter
10         MS. WEAVER: Okay. And --                  05:33:54
                                                                11            transcribed into typewriting under my direction and
11         THE VIDEOGRAPHER: This -- this concludes
                                                                12            supervision;
12   today's testimony given by David Monsees, 30(b)(6)
                                                                13                  I further certify that I am neither
13   witness, Google LLC.
                                                                14            counsel for, nor related to, any party to said
14         The number of media units used was one and
                                                                15            proceedings, not in anywise interested in the
15   will be retained by Veritext. The time is      05:34:06
                                                                16            outcome thereof.
16   5:34 p.m., Pacific Daylight Time. We are now off           17                  Further, that if the foregoing pertains to
17   the record.                                                18            the original transcript off a deposi
                                                                                                             deposition
                                                                                                                    itio in a
                                                                                                                     tion
18         (Proceedings concluded, 5:34 p.m.)                   19            federal case, before comp
                                                                                                     completion
                                                                                                        m letionn of the pproceedings,
19                                                                       20   review of thee transcrip
                                                                                              transcript
                                                                                                       pt [X] wwas
                                                                                                               waas [ ] was not
20                                                                       21   requested.
21                                                                       22         In witness
                                                                                           ness
                                                                                              ss w
                                                                                              ss whereof,     hhave
                                                                                                   hereeof, I ha
                                                                                                   here
                                                                                                   he           ave hereunto
                                                                                                                 v hereun
22                                                                       23   subscribed my nam name.
                                                                                                 am
                                                                                                 am
                                                                                                  me.
                                                                                                    e.
                                                                                                    e.
23                                                                       24   Dated: Aprill 12
                                                                                             12,  2021
                                                                                               2 20021
                                                                                                    2
24                                                                                            <%6538,Signature%>
25                                                                       25                   Hanna Kim, CLR, CSR No. 13083
                                                              Page 355                                                            Page 357

                                                                                                                 90 (Pages 354 - 357)
                                                        Veritext Legal Solutions
                                                             866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 7 of 227




                 
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 8 of 227




                     $1625*(
                     EXHIBIT 

        8QUHGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 9 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 10 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 11 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 12 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 13 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 14 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 15 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 16 of 227




                     $1625*(
                     EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2    Filed 07/01/22   Page 17 of 227
          SEALED PROCEEDINGS                                                       1


 1                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                SAN JOSE DIVISION

 3
            PATRICK CALHOUN, ET AL., ON           CV-20-5146-LHK/SVK
 4          BEHALF OF THEMSELVES AND ALL          CV-20-3664-LHK/SVK
            OTHERS SIMILARLY SITUATED,            CV-21-2155-LHK/SVK
 5
                      PLAINTIFFS,                 SAN JOSE, CALIFORNIA
 6              VS.
                                                  JUNE 2, 2021
 7          GOOGLE INC.,
                                                  PAGES 1 - 79
 8                    DEFENDANT.
            _______________________________       SEALED
 9          AND RELATED CASES.
            _______________________________
10

11                         TRANSCRIPT OF ZOOM PROCEEDINGS
                        BEFORE THE HONORABLE SUSAN VAN KEULEN
12                          UNITED STATES DISTRICT JUDGE

13
           A-P-P-E-A-R-A-N-C-E-S
14

15          FOR THE PLAINTIFFS:      BOIES, SCHILLER & FLEXNER LLP
                                     BY: JAMES W. LEE
16                                        HSIAO C. MAO
                                          BEKO RICHARDSON
17                                   44 MONTGOMERY STREET, 41ST FLOOR
                                     SAN FRANCISCO, CALIFORNIA 94104
18

19                    (APPEARANCES CONTINUED ON THE NEXT PAGE.)

20

21          OFFICIAL COURT REPORTER:       IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                           CERTIFICATE NUMBER 8074
22

23             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY,
          TRANSCRIPT PRODUCED WITH COMPUTER.
24

25



                               UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR    Document 748-2     Filed 07/01/22   Page 18 of 227
          SEALED PROCEEDINGS                                                        2


 1
          A P P E A R A N C E S: (CONT'D)
 2

 3        FOR THE PLAINTIFFS:               MORGAN AND MORGAN COMPLEX
                                            LITIGATION GROUP
 4                                          BY: RYAN MCGEE
                                            201 N. FRANKLIN STREET, 7TH FLOOR
 5                                          TAMPA, FLORIDA 33602

 6                                          BY: MICHAEL F. RAM
                                            711 VAN NESS AVENUE, SUITE 500
 7                                          SAN FRANCISCO, CALIFORNIA 94102

 8                                          DICELLO LEVITT & GUTZLER LLC
                                            BY: DAVID A. STRAITE
 9                                          ONE GRAND CENTRAL PLACE
                                            60 EAST 42ND STREET, SUITE 2400
10                                          NEW YORK, NEW YORK 10165

11                                          BY:  ADAM M. PROM
                                                 AMY E. KELLER
12                                          TEN NORTH DEARBORN STREET
                                            6TH FLOOR
13                                          CHICAGO, ILLINOIS 60602

14                                          SIMMONS, HANLY & CONROY LLC
                                            BY: JAY BARNES
15                                          231 S. BEMISTON AVENUE
                                            SUITE 525
16                                          ST. LOUIS, MISSOURI 63105

17                                          BY: AN V. TRUONG
                                            112 MADISON AVENUE, 7TH FLOOR
18                                          NEW YORK, NEW YORK 10016

19                                          BLEICHMAR, FONTI & AULD LLP
                                            BY: LESLEY E. WEAVER
20                                               ANNE K. DAVIS
                                                 ANGELICA M. ORNELAS
21                                          555 12TH STREET, SUITE 1600
                                            OAKLAND, CALIFORNIA 94607
22

23                   (APPEARANCES CONTINUED ON THE NEXT PAGE.)

24

25



                               UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR    Document 748-2     Filed 07/01/22   Page 19 of 227
          SEALED PROCEEDINGS                                                        3


 1
          A P P E A R A N C E S: (CONT'D)
 2

 3        FOR THE DEFENDANT:                QUINN EMANUEL URQUHART AND
                                            SULLIVAN, LLP
 4                                          BY: ANDREW H. SCHAPIRO
                                            191 N. UPPER WACKER DRIVE
 5                                          SUITE 2700
                                            CHICAGO, ILLINOIS 60606
 6
                                            BY:  JOSEF T. ANSORGE
 7                                               JOMAIRE A. CRAWFORD
                                            51 MADISON AVENUE
 8                                          NEW YORK, NEW YORK 10010

 9                                          BY:  VIOLA TREBICKA
                                                 STEPHEN A. BROOME
10                                          865 SOUTH FIGUEROA STREET
                                            10TH FLOOR
11                                          LOS ANGELES, CALIFORNIA 90017

12                                          COOLEY LLP
                                            BY: JEFFREY GUTKIN
13                                               DANIEL PIERRE
                                                 KELSEY SPECTOR
14                                          101 CALIFORNIA STREET, 5TH FLOOR
                                            SAN FRANCISCO, CALIFORNIA 94111
15

16

17

18

19

20

21

22

23

24

25



                               UNITED STATES COURT REPORTERS
               Case 4:20-cv-05146-YGR    Document 748-2       Filed 07/01/22     Page 20 of 227
                    SEALED PROCEEDINGS                                                            37


02:30PM    1        LEGAL, AND WE HAVE DOCUMENTS IN DISCOVERY WHERE GOOGLE IS

02:30PM    2        CLEARLY SAYING THAT THEY HAVE ONE IDENTITY FOR USERS, QUOTE,

02:30PM    3        "ACROSS ALL OF THOSE DIFFERENT DEVICES."

02:30PM    4              AND GOOGLE MAINTAINS AN IDENTITY CONTAINER FOR EACH USER

02:30PM    5        THAT CONTAINS THEIR EMAIL ADDRESS, THEIR REAL NAME, THEIR PHONE

02:30PM    6        NUMBER, AND BASICALLY PERSONALLY IDENTIFIES THEM AS WELL AS THE

02:30PM    7        DEVICES ASSOCIATED WITH THEIR ACCOUNT.

02:30PM    8              AND GOOGLE STARTED THIS PROCESS IN 2016 TO, QUOTE, "UNITE

02:30PM    9        THESE IDENTITY SPACES," THOSE BEING BISCOTTI AND GAIA.

02:30PM   10              ANOTHER QUOTE FROM A DOCUMENT IS, "BEING ABLE TO COMBINE

02:30PM   11        SIGNED IN AND SIGNED OUT IMPRESSIONS IS IN GENERAL ALLOWED."

02:30PM   12              SO, YOU KNOW, ONE WAY IS TO GIVE US A CLEAN ROOM, BUT WE

02:31PM   13        THINK THIS IS JUST THE TIP OF THE ICEBERG OF THE DOCUMENTS THAT

02:31PM   14        WE HAVE THAT SHOW THAT GOOGLE HAS THE ABILITY TO DO THIS.               IT'S

02:31PM   15        JUST A MATTER OF THEM HAVING A POLICY THAT DOESN'T ALLOW A

02:31PM   16        TYPICAL GOOGLER TO DO IT.      AND THE REASON FOR THAT IS THAT THEY

02:31PM   17        HAD A TYPICAL GOOGLER AT ONE POINT IN TIME WHO DID IT, AND IT

02:31PM   18        WAS A BIG PROBLEM, SO THEY CUT OFF FULL ACCESS.

02:31PM   19              IT HAPPENS THROUGH A SPACE THAT GOOGLE CALLED

02:31PM   20                                                            .      AND IN ADDITION

02:31PM   21        TO WHAT MR. MAO SAID, MR. MAO IDENTIFIED THREE COOKIES:

02:31PM   22        ZWIEBACK, GAIA, AND BISCOTTI, BUT THERE ARE AT LEAST OVER

02:31PM   23        DIFFERENT IDENTIFIERS THAT WE HAVE SEEN IN THE DOCUMENTS

02:31PM   24        PRODUCED TO US:                   ,           .

02:31PM   25                   THE COURT:     OKAY.       OKAY.



                                         UNITED STATES COURT REPORTERS
               Case 4:20-cv-05146-YGR     Document 748-2    Filed 07/01/22   Page 21 of 227
                    SEALED PROCEEDINGS                                                        38


02:31PM    1                     MR. BARNES:    GOOGLE WON'T PRODUCE THESE DOCUMENTS TO

02:31PM    2        US, YOUR HONOR.      SO WE HAVE DOCUMENTS THAT SHOW THAT THEY CAN

02:31PM    3        DO THIS.   THEY NEVER SAID THAT THEY CAN'T.        THEY JUST SAY THAT

02:32PM    4        THEY HAVE A POLICY THAT DOESN'T ALLOW A TYPICAL GOOGLER TO DO

02:32PM    5        IT.

02:32PM    6                     THE COURT:    ALL RIGHT.   SO FROM MY ORDER BACK ON

02:32PM    7        APRIL 30TH IT WAS FAIRLY COMPREHENSIVE ON THIS POINT TO PRODUCE

02:32PM    8        THE DATA, INCLUDING ANY DEVICE DATA ASSOCIATED WITH ANY

02:32PM    9        PLAINTIFF.    WHOOPS.     SORRY ABOUT THAT.

02:32PM   10              I APOLOGIZE.    THAT'S WHAT HAPPENED.      I HAVE TOO MANY

02:32PM   11        PAPERS ON MY DESK.

02:32PM   12              (PAUSE IN PROCEEDINGS.)

02:32PM   13                     THE COURT:    SO THAT WAS THE DIRECTION, AND I

02:32PM   14        UNDERSTAND FROM THE DISPUTE THAT THERE'S CONCERN AROUND WHAT

02:33PM   15        HAS OR WHAT HAS BEEN LEFT OUT.

02:33PM   16              YOU STARTED TO SAY THAT THERE WERE TWO ISSUES HERE,

02:33PM   17        MR. BARNES, AND --

02:33PM   18                     MR. BARNES:    RIGHT.   SO THE FIRST IS THAT

02:33PM   19        PLAINTIFFS' DEVICE DATA.      SO WE'VE PROVIDED VARIOUS COOKIE

02:33PM   20        IDENTIFIERS TO GOOGLE.      THEY NEVER TOLD US WHICH SPECIFIC

02:33PM   21        COOKIES TO PRODUCE.       WE PROVIDED ALL OF THE COOKIES WE COULD

02:33PM   22        FIGURE OUT.

02:33PM   23              I THINK WHAT GOOGLE'S POSITION IS THAT, OKAY, WE'LL TAKE

02:33PM   24        THOSE COOKIES, AND WE WILL IDENTIFY ANYTHING ASSOCIATED WITH

02:33PM   25        THE DEVICE, ASSOCIATED WITH THOSE COOKIES.



                                         UNITED STATES COURT REPORTERS
               Case 4:20-cv-05146-YGR    Document 748-2    Filed 07/01/22   Page 22 of 227
                    SEALED PROCEEDINGS                                                       39


02:33PM    1              WHAT WE ARE SAYING IS THAT THERE ARE DOCUMENTS THAT SHOW,

02:33PM    2        AND GOOGLE HAS NEVER SAID THAT THEY CAN'T DO THIS, THEY'VE ONLY

02:33PM    3        SAID THAT THERE'S A --

02:33PM    4                   THE COURT:     I UNDERSTAND.

02:33PM    5                   MR. BARNES:     -- IS THAT WE CAN'T IDENTIFY EVERY

02:33PM    6        COOKIE EVER ASSOCIATED WITH THE PLAINTIFFS' DEVICE THAT GOOGLE

02:33PM    7        HAS ASSOCIATED WITH THE PLAINTIFFS' ACCOUNT AND THE PLAINTIFFS'

02:33PM    8        DEVICE.

02:33PM    9              THAT IS IN GOOGLE'S SOLE POSSESSION, AND THERE'S NO WAY

02:33PM   10        FOR US TO COME UP WITH THAT DATA.

02:33PM   11              BUT GOOGLE HAS THE ABILITY TO DO IT.       THAT WAS -- THAT'S

02:34PM   12        THE POINT OF UNITING THOSE SPACES.

02:34PM   13                   THE COURT:     WHY DO YOU NEED ALL OF THE COOKIE DATA?

02:34PM   14                   MR. BARNES:     WE NEED ALL OF THE DATA TO FIGURE OUT

02:34PM   15        ALL OF THE DATA THAT GOOGLE IS COLLECTING FROM OUR USERS WHEN

02:34PM   16        THEY'RE NOT IN A SYNCED STATE BECAUSE THERE MAY BE SOME

02:34PM   17        IDENTIFIERS THAT WE ARE UNABLE TO CATCH ON OUR END THAT GOOGLE

02:34PM   18        KNOWS ABOUT AND CAN SAY, OH, BECAUSE WE KNOW GAIA USER ONE USES

02:34PM   19        THIS DEVICE, THESE ARE THE COOKIES ASSOCIATED WITH THIS DEVICE,

02:34PM   20        THIS IS THE DATA WE HAVE ON THIS DEVICE, WHICH WE KNOW THIS

02:34PM   21        GAIA USER USES.

02:34PM   22              THERE'S NO WAY THAT WE'RE GOING TO EVER BE ABLE TO COME UP

02:34PM   23        WITH ALL OF THE IDENTIFIERS ASSOCIATED WITH THAT DEVICE.

02:34PM   24        GOOGLE HAS A BUNDLE OF THEM AND IDENTIFIERS THAT WE DON'T EVEN

02:34PM   25        KNOW ABOUT BECAUSE WE'RE JUST GETTING INTO DISCOVERY NOW.



                                         UNITED STATES COURT REPORTERS
               Case 4:20-cv-05146-YGR     Document 748-2   Filed 07/01/22   Page 23 of 227
                    SEALED PROCEEDINGS                                                       45


02:43PM    1        OF THE DATA THAT THEY HAVE ABOUT OUR PLAINTIFFS.

02:43PM    2                   THE COURT:     WELL, THAT WASN'T EXACTLY MY ORDER.

02:43PM    3                   MR. BARNES:     FAIR ENOUGH, YOUR HONOR.

02:43PM    4                   THE COURT:     OKAY.

02:43PM    5                   MS. WEAVER:     YOUR HONOR, MAY I ANSWER YOUR QUESTION

02:43PM    6        NUMBER ONE, IF I MAY?      THIS IS LESLEY WEAVER, AND I'M ALSO ON

02:43PM    7        MR. BARNES'S TEAM.

02:43PM    8                   THE COURT:     I THINK I'M GOOD.    THANK YOU,

02:43PM    9        MS. WEAVER.   I'M GOING TO TURN TO MR. SCHAPIRO OR MR. ANSORGE.

02:43PM   10                   MR. ANSORGE:     YES, YOUR HONOR.    THANK YOU,

02:43PM   11        YOUR HONOR.

02:43PM   12                   THE COURT:     MR. ANSORGE, YOUR CONNECTION HAS GOTTEN

02:44PM   13        QUITE BAD, AND I NOTICED IT LAST TIME THAT YOU WERE TRYING TO

02:44PM   14        SPEAK.   THERE'S A LOT OF PAUSES AND BREAKUPS.

02:44PM   15                   MR. ANSORGE:     THAT MIGHT BE AN INTERNET PROBLEM HERE

02:44PM   16        BECAUSE I'M ON THE HARD LINE AS WELL.       APOLOGIES, YOUR HONOR.

02:44PM   17              IS IT BETTER?

02:44PM   18                   MR. SCHAPIRO:     IT'S BETTER.

02:44PM   19                   THE COURT:     HANG ON.

02:44PM   20              MS. RODRIGUEZ, IS THAT THE ISSUE THAT YOU HAD WANTED TO

02:44PM   21        ADDRESS?

02:44PM   22                   MADAM COURT REPORTER:       YES, YOUR HONOR.    THANK YOU.

02:44PM   23        I WILL INTERRUPT AGAIN IF HE KEEPS TIMING OUT.

02:44PM   24                   THE COURT:     YES, YOU WILL.

02:44PM   25              MR. ANSORGE, LET'S GO A LITTLE BIT SLOWLY.        DESPITE MY



                                         UNITED STATES COURT REPORTERS
               Case 4:20-cv-05146-YGR     Document 748-2   Filed 07/01/22   Page 24 of 227
                    SEALED PROCEEDINGS                                                       46


02:44PM    1        PUSHING EVERYONE, LET'S GO A LITTLE BIT SLOWLY.

02:44PM    2                   MR. ANSORGE:     THANK YOU, YOUR HONOR.

02:44PM    3              I WAS AGREEING WITH PLAINTIFFS' COUNSEL THAT GOOGLE HAS

02:44PM    4        POLICIES AGAINST JOINING THIS TYPE OF DATA, BUT IT'S REALLY NOT

02:44PM    5        JUST A POLICY.      THESE ARE POLICIES THAT ARE IMPLEMENTED IN

02:44PM    6        GOOGLE'S DATA ARCHITECTURE.      SO THERE ARE REASONS WHY THE

02:44PM    7        SYSTEMS ARE BUILT CERTAIN WAYS AND THEY'RE BUILT TO PREVENT THE

02:45PM    8        JOINING OF THIS LOGGED IN, LOGGED OUT, OR AUTHENTICATED AND

02:45PM    9        UNAUTHENTICATED DATA.

02:45PM   10              NOW, WHEN MR. BARNES WAS REFERRING TO

02:45PM   11                , WE UNDERSTAND THAT COULD SOUND LIKE IT HAS SOME

02:45PM   12        NEGATIVE CONNOTATIONS IN THE WAY THAT HE WAS REPRESENTING IT,

02:45PM   13        AND I JUST WANT TO TAKE THIS OPPORTUNITY TO CLARIFY THAT.          THE

02:45PM   14        POINT OF THAT SPACE IS NOT TO UNIFY I.D.'S FOR USERS ACROSS ALL

02:45PM   15        OF THEIR DIFFERENT DEVICES.      THAT'S NOT WHAT IT IS IN PRACTICE,

02:45PM   16        AND THAT'S NOT WHAT IT IS DESIGNED TO BE AT ALL.

02:45PM   17

02:45PM   18

02:45PM   19

02:45PM   20

02:45PM   21

02:45PM   22

02:45PM   23

02:45PM   24              SO THERE'S A LOT OF WORK THAT GOES INTO IT MAKING SURE

02:45PM   25        THAT THIS IS NOT SOMETHING THAT IS JUST A POLICY PREFERENCE.



                                         UNITED STATES COURT REPORTERS
               Case 4:20-cv-05146-YGR    Document 748-2    Filed 07/01/22   Page 25 of 227
                    SEALED PROCEEDINGS                                                       47


02:45PM    1        IT'S SOMETHING THAT IS HARD WIRED INTO GOOGLE'S SYSTEMS.

02:45PM    2              THE SECOND POINT I WANTED TO TOUCH ON, AND THIS IS ISSUE

02:46PM    3        TWO THAT MR. BARNES WAS HIGHLIGHTING.       TO BE FRANK, WE WERE

02:46PM    4        SURPRISED THAT SEARCH IS NOW AT ISSUE, AND THIS IS SOMETHING

02:46PM    5        THAT WE HAD RAISED AT SOME MOMENTS WITH PLAINTIFFS, BUT WE

02:46PM    6        DON'T UNDERSTAND HOW THERE'S GOING TO BE A PRIVACY CASE AGAINST

02:46PM    7        GOOGLE FOR INFORMATION THAT THE USER PUTS INTO A GOOGLE SEARCH

02:46PM    8        ENGINE.

02:46PM    9              SO WHAT WE'RE TRYING TO DO HERE IN ONE WAY OR ANOTHER IS

02:46PM   10        THINK OF WAYS IN WHICH WE CAN SPECIFY WHAT IS REALLY RELEVANT

02:46PM   11        AND WHAT IS THAT ISSUE, AND SEARCH ENTAILS A LOT OF DIFFERENT

02:46PM   12        DATASETS, A LOT OF DIFFERENT CUSTODIANS, IT BRINGS IN DIFFERENT

02:46PM   13        TYPES OF INFORMATION WHICH WE BELIEVE AREN'T REFLECTED IN THE

02:46PM   14        COMPLAINT.

02:46PM   15              SO WHAT WE WOULD LIKE TO DO IS FOCUS ON THE DATA AT ISSUE

02:46PM   16        WHICH IS BROWSING INFORMATION OR SITE ACTIVITY DATA WHEN A USER

02:46PM   17        VISITS THE WEBSITE THAT HAS ANALYTIC SERVICES OR GOOGLE AD

02:46PM   18        MANAGER SERVICES.

02:46PM   19                     THE COURT:   JUST AT THE END THERE YOU TIMED OUT,

02:47PM   20        MR. ANSORGE.

02:47PM   21                     MR. ANSORGE:    THIS CONNECTION IS TERRIBLE.     I'M

02:47PM   22        REALLY SORRY EVERYBODY.

02:47PM   23                     MR. SCHAPIRO:   IT'S BEEN FINE.    YOU JUST DROPPED OFF

02:47PM   24        THE FINAL TEN SECONDS.

02:47PM   25                     THE COURT:   JUST AT THE VERY END.      WHAT WAS THE LAST



                                         UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2    Filed 07/01/22   Page 26 of 227


 1

 2

 3                              CERTIFICATE OF REPORTER

 4

 5

 6

 7              I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8        STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9        280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10        CERTIFY:

11              THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12        A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13        ABOVE-ENTITLED MATTER.

14

15
                                    ______________________________
16                                  IRENE RODRIGUEZ, CSR, RMR, CRR
                                    CERTIFICATE NUMBER 8074
17

18
                                    DATED:   JUNE 2, 2021
19

20

21

22

23

24

25



                              UNITED STATES COURT REPORTERS
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 27 of 227




                     $1625*(
                     EXHIBIT 

       8QUHGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2 Filed 07/01/22     Page 28 of 227
                                    CONFIDENTIAL

 1                    UNITED STATES DISTRICT COURT
 2                   NORTHERN DISTRICT OF CALIFORNIA
 3                            SAN JOSE DIVISION
 4
 5      PATRICK CALHOUN, ELAINE CRESPO, )
        HADIYAH JACKSON and CLAUDIA                 )
 6      KINDLER, on behalf of all                   )
        others similarly situated,                  )
 7                                                  )
                   Plaintiffs,                      )
 8                                                  )
                   vs.                              ) Case No.
 9                                                  ) 5:20-cv-5146-LHK
        GOOGLE LLC,                                 )
10                                                  )
                   Defendant.                       )
11      _______________________________ )
12
13
14                                CONFIDENTIAL
15              VIRTUAL VIDEOCONFERENCE VIDEO-RECORDED
16               DEPOSITION OF DAVID MONSEES, VOLUME 2
17
18                            Friday, June 11, 2021
19             Testifying from San Francisco, California
20
21
22
23        Reported By:
24        Hanna Kim, CLR, CSR No. 13083
25        Job No. 4624328

                                                                    Page 359

                                  Veritext Legal Solutions
                                       866 299-5127
Case 4:20-cv-05146-YGR                    Document 748-2 Filed 07/01/22                             Page 29 of 227
                                               CONFIDENTIAL
 1         UNITED STATES DISTRICT COURT                       1   REMOTE VIDEOCONFERENCE APPEARANCES (CONTINUED)
 2         NORTHERN DISTRICT OF CALIFORNIA
                                                              2
 3            SAN JOSE DIVISION
 4                                                            3   For Plaintiffs:
 5 PATRICK CALHOUN, ELAINE CRESPO, )                          4        SIMMONS HANLY CONROY LLC
   HADIYAH JACKSON and CLAUDIA )                              5        BY: JASON "JAY" BARNES, ESQ.
 6 KINDLER, on behalf of all           )
                                                              6        112 Madison Avenue, 7th Floor
   others similarly situated,      )
 7                        )                                   7        New York, New York 10016
         Plaintiffs,          )                               8        212.784.6400
 8                        )                                   9        jaybarnes@simmonsfirm.com
         vs.                ) Case No.                       10
 9                        ) 5:20-cv-5146-LHK
   GOOGLE LLC,                       )                       11
10                        )                                  12   For Defendant Google LLC:
         Defendant.             )                            13       QUINN EMANUEL URQUHART & SULLIVAN
11 _______________________________ )                         14       BY: ANDREW H. SCHAPIRO, ESQ.
12
                                                             15       191 N. Wacker Drive, Suite 2700
13
14                                                           16       Chicago, Illinois 60606
15        Confidential, virtual videoconference              17       312.705.7400
16        video-recorded deposition of DAVID                 18       andrewschapiro@quinnemanuel.com
17        MONSEES, VOLUME 2, taken on behalf of the
                                                             19       -and-
18        Plaintiffs, testifying from San Francisco,
19        California, on Friday, June 11, 2021,              20       BY: JOSEF ANSORGE, PH.D.
20        before Hanna Kim, CLR, CSR No. 13083.              21       1300 I Street NW, Suite 900
21                                                           22       Washington, D.C. 20005
22
                                                             23       202.538.8000
23
24                                                           24       josefansorge@quinnemanuel.com
25                                                           25
                                                  Page 360                                                           Page 362

 1   REMOTE VIDEOCONFERENCE APPEARANCES OF COUNSEL:           1   REMOTE VIDEOCONFERENCE APPEARANCES (CONTINUED)
 2                                                            2
 3   For Plaintiffs:                                          3 Also Present:
 4       BLEICHMAR FONTI & AULD LLP                           4       MATTHEW GUBIOTTI, Google LLC
 5        BY: LESLEY WEAVER, ESQ.                             5        RON LAZO, Videographer
 6        BY: ANGELICA M. ORNELAS, ESQ.                       6
 7        555 12th Street, Suite 1600                         7
 8        Oakland, California 994607                          8
 9        415.445.4003                                        9
10       lweaver@bfalaw.com                                  10
11        aornelas@bfalaw.com                                11
12        -and-                                              12
13        KAPLAN FOX & KILSHEIMER LLP                        13
14        BY: DAVID A. STRAITE, ESQ.                         14
15        850 Third Avenue                                   15
16        New York, New York 10022                           16
17        212.687.1980                                       17
18        dstraite@kaplanfox.com                             18
19                                                           19
20                                                           20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25                                                           25
                                                  Page 361                                                           Page 363

                                                                                                        2 (Pages 360 - 363)
                                             Veritext Legal Solutions
                                                  866 299-5127
Case 4:20-cv-05146-YGR                             Document 748-2 Filed 07/01/22                           Page 30 of 227
                                                        CONFIDENTIAL
 1   page specifically was developed.                                1 sync, Google keeps a record of that?
 2      Q. Who's in charge of that?                                  2    A. To provide the sync service, which allows
 3      A. I do not know who the engineering owner of                3 a user to take information from one Chrome
 4   this page is, but could be investigated. We could               4 instance, put it on a Google server so that it may
 5   find out.                                09:40:59               5 be available or -- or synched, you might say, to    09:43:44
 6      Q. Can we agree this page is available for                   6 another Chrome instance, yes, the very nature of
 7   all -- all Goo- -- all gaia users to review?                    7 providing that service requires Google to store
 8      A. Yes.                                                      8 that information on --
 9      Q. And, Mr. Monsees, if a user had -- do you                 9    Q. Does --
10   see at the bottom of the page where it says "Last 09:41:14 10        A. -- on a Google server.                 09:43:53
11   time synched on February 2nd, 2021" [as read]?                 11    Q. Sorry.
12      A. I do.                                                    12       Does Google maintain a record of requests
13      Q. And if a user had never synched, would                   13 to unsync?
14   this be null?                                                  14    A. I -- I'm sorry, I understand.
15      A. Yes. There would be no information of           09:41:31 15       So when a user chooses to unsync, stop       09:44:07
16   these data types and no sync history.                          16 syncing --
17      Q. So it's fair to say Google keeps a record                17    Q. Correct.
18   of all gaia users who have never synched their                 18    A. -- that is what you're asking?
19   account?                                                       19       So, yes, Google would need to receive a
20          (Interruption in audio/video.)           09:41:47       20 request from said device to be able to know that     09:44:18
21          MR. SCHAPIRO: Objection to the form of                  21 it should no longer sync and likely be excluded
22   the question.                                                  22 from a list of shown syncing devices.
23          THE WITNESS: No, I would say that's                     23    Q. Where does Google keep a record of user
24   inaccurate.                                                    24 actions to unsync?
25   BY MR. BARNES:                                  09:41:52       25    A. There are temporary Chrome Sync logs that 09:44:36
                                                                Page 400                                                          Page 402

 1     Q. Google -- let's put it the other way.                             1   I believe we discussed in the last deposition. I
 2 Google keeps a record of every user whose has                            2   would assume that any action of the sync service,
 3 synched their account at least one time; correct?                        3   where a users's Chrome app is communicating with
 4     A. To clarify, Google does keep a record of                          4   the sync service would generate such a Chrome Sync
 5 users who have synched their -- at least one        09:42:05             5   log, including disabling sync, so the server gets 09:44:58
 6 Chrome device, at -- at least one time, and has                          6   that signal.
 7 not deleted that sync data. I think that's                               7      Q. So, Mr. Monsees, just to clarify, when you
 8 accurate.                                                                8   testify as to your understanding or assumption,
 9     Q. Okay. And Google also keeps a record of                           9   you -- you also -- it's also your understanding
10 all gaia users; correct?                     09:42:17                   10   that you're testifying here today on behalf of      09:45:10
11     A. Yes. To provide the service, yes.                                11   Google; correct?
12     Q. And so in order to figure out who has not                        12      A. Correct.
13 synched, who's not on Google's sync list, you                           13      Q. And your answers are binding on Google.
14 would take all the list of all gaia users and                           14   You understand that; correct?
15 subtract all of if use users for whom something         09:42:35        15      A. That's my understanding.                 09:45:23
16 would be populated in this location at                                  16      Q. For purposes of today, Mr. David Monsees
17 chrome.google.com/sync that is stored server side                       17   is Google. Can we agree to that?
18 at Google; correct?                                                     18      A. Yes.
19     A. I think we would want to be accurate about                       19      Q. Okay. Who's on the sync team?
20 that, Mr. Barnes, and say that the result of that   09:42:52            20      A. I -- I don't know a complete list of       09:45:35
21 would not give you non-sync users. I think the                          21   engineers.
22 result of that would give you all gaia accounts                         22      Q. Who's -- who's in charge --
23 who do not currently have one or more sync entries                      23          MR. SCHAPIRO: I'm going to -- I'm going
24 or sync data.                                                           24   to object to that question belatedly as outside the
25     Q. So when Google -- when a person chooses to 09:43:16              25   scope.                                09:45:49
                                                        Page 401                                                                  Page 403

                                                                                                                12 (Pages 400 - 403)
                                                       Veritext Legal Solutions
                                                            866 299-5127
Case 4:20-cv-05146-YGR                         Document 748-2 Filed 07/01/22                                  Page 31 of 227
                                                    CONFIDENTIAL
 1 BY MR. BARNES:                                                         1 the -- the -- the format or the system that they
 2     Q. Who's in charge of the sync team?                               2 plan to query on, but I don't think you
 3        MR. SCHAPIRO: Same objection. Outside                           3 necessarily need to look at examples.
 4 the scope.                                                             4        I -- I can write an Excel function without
 5        THE WITNESS: I -- I don't know who -- who 09:45:54              5 having looked at someone else's Excel function             09:48:34
 6 runs, who manages the sync team.                                       6 when I know what the language supports.
 7        MR. BARNES: Okay. Ms. Ornelas, can you                          7     Q. Right.
 8 publish -- republish Exhibit 17?                                       8        But therein lies the difference between
 9        (Previously marked Deposition Exhibit 17                        9 Excel and Googlers. For example, I asked you
10        was referenced.)                    09:46:11                   10 earlier if it's SQL, and you said, "Well, it's       09:48:45
11        MS. ORNELAS: One moment.                                       11 kind of like SQL, but Google runs something very
12 BY MR. BARNES:                                                        12 similar."
13     Q. While she's doing that, Mr. Monsees, if                        13        Google systems are a little bit different;
14 you wanted to figure out how to extract data from                     14 right?
15 a data set, would you need to have some idea about      09:46:32      15     A. Right.                            09:48:55
16 the source code associated with the data set?                         16     Q. Right.
17     A. Source code's a fairly broad term. I -- I                      17        And so for a new Googler who's onboarding,
18 think per our previous discussion, just like if                       18 there's a process through which they have to learn
19 you're using Excel, to put in kind of more common                     19 how to translate their SQL scripting experience
20 user terms, if you want to query something in         09:46:57        20 into Googler land?                              09:49:10
21 Excel, you would need to know the structure of the                    21     A. Yes, you'd need to learn the system
22 data to query what column to look at, what the                        22 that -- that you're going to -- to write that
23 format of the data is, before you could write your                    23 query on.
24 Excel function, which I'm sure we've all                              24     Q. It's not instinctual. It's not like
25 experienced.                             09:47:13                     25 Google hires these engineers out of MIT, and they          09:49:26
                                                              Page 404                                                                    Page 406

 1      Q. Right.                                                 1           show up the first day at Google able to write
 2          You've got to know the structure of the               2           these complicated scripts to search Google
 3   data. And, listen, I'm terrible at Excel. The                3           systems; right?
 4   staff at Simmons Hanly Conroy hates it when I get            4              A. I -- I think it -- the systems may not be
 5   an Excel file. And we've got a lot of Excel files 09:47:25 5             as different -- similar [verbatim] to how you      09:49:39
 6   in this litigation, so I'm driving some people               6           could be an engineer who knows C++ really well.
 7   crazy.                                                       7           You've worked on it for a decade of your life.
 8          But in addition to knowing the structure              8           You've never written a line of Java before.
 9   of the data, you'd have to have some examples of             9           Java's different. There's -- you would need to
10   how to write script; correct?                 09:47:34      10           learn and read about Java's semantic structures      09:49:53
11      A. I'm not -- I don't think an engineer would            11           and differences, but you could probably write
12   need examples of how to write a script. I think a           12           Java.
13   Google engineer, if they knew the format and                13                  You have the -- you -- you have the
14   location of the data and the infrastructure the             14           scaffolding of the skills. You just need to learn
15   data was stored on, would be capable of            09:47:49 15           the system. So --                         09:50:03
16   constructing a script for a given purpose.                  16              Q. Right.
17      Q. Right.                                                17                  (Interruption in audio/video.)
18          A Googler would be capable, but Google               18                  THE COURT REPORTER: Could you start over,
19   hires new people all the time; correct?                     19           please. There was some speaking over.
20      A. That is correct.                    09:48:02          20                  MR. BARNES: Sorry.                      09:50:13
21      Q. And when a new Googler is figuring out how            21           BY MR. BARNES:
22   to run scripts, they've got to look at examples of          22              Q. If you had a cookbook of sorts and a guide
23   how other Googlers have previously run scripts              23           on how to do it; right?
24   across databases; right?                                    24              A. Ex- -- exactly. The instruction manual
25      A. Well, they would need to learn about         09:48:18 25           to -- to use the system that you're using would     09:50:24
                                                              Page 405                                                                      Page 407

                                                                                                                    13 (Pages 404 - 407)
                                                       Veritext Legal Solutions
                                                            866 299-5127
DocuSign Envelope ID: AD94BE44-119C-410B-A464-FBB7F9556D8A
                Case 4:20-cv-05146-YGR                          Document 748-2 Filed 07/01/22                            Page 32 of 227
                                                                     CONFIDENTIAL
                   1 witness, Google LLC.                                                 1             CERTIFICATE OF REPORTER
                   2       The number of media units used was one and                     2         I, Hanna Kim, a Certified Shorthand
                   3 will be retained by Veritext. The time is                            3   Reporter, do hereby certify:
                   4 6:07 p.m. We are now off the record.                                 4         That prior to being examined, the witness
                   5       (Proceedings concluded, 6:07 p.m., PST, on                     5   in the foregoing proceedings was by me duly sworn
                   6       June 11, 2021.)                                                6   to testify to the truth, the whole truth, and
                   7                                                                      7   nothing but the truth;
                   8                                                                      8         That said proceedings were taken before me
                   9                                                                      9   at the time and place therein set forth and were
                  10                                                                     10   taken down by me in shorthand and thereafter
                                                                                         11   transcribed into typewriting under my direction and
                  11
                                                                                         12   supervision;
                  12
                                                                                         13         I further certify that I am neither
                  13
                                                                                         14   counsel for, nor related to, any party to said
                  14
                                                                                         15   proceedings, not in anywise interested in the
                  15
                                                                                         16   outcome thereof.
                  16                                                                     17         Further, that if the foregoing pertains to
                  17                                                                     18   the original  transcript
                                                                                                      ginal transcri  ipt
                                                                                                                       p of a dedeposition
                                                                                                                                  eppoosit  in a
                  18                                                                     19   federal case, befor
                                                                                                             before     completion
                                                                                                                    re comp    letion of the proceedings,
                                                                                                                             ple
                  19                                                                     20   review of the transcript
                                                                                                              transnscript [ ] was [ ] was not
                                                                                                                   ns
                  20                                                                     21   requested.
                                                                                                       ed
                                                                                                        d.
                  21                                                                     22         Inn witness
                                                                                                        wittne
                                                                                                            nes    whereof,
                                                                                                             essss w       of, I have hhereunto
                                                                                                                     heereeof
                                                                                                                           of,
                  22                                                                     23   subscribed    my nname.
                                                                                                       bed my      ame.
                                                                                                                   am  e D Dated:
                                                                                                                             ated: 16 116th
                                                                                                                                        6 day of June, 2021
                                                                                                                                      16t
                  23                                                                     24
                  24                                                                                  <%6538,Signature%>
                  25                                                                     25         Hanna Kim, CLR, CSR No. 13083
                                                                              Page 708                                                           Page 710

                   1                JURAT
                   2
                   3       I, DAVID MONSEES, do hereby certify under
                   4 penalty of perjury that I have read the foregoing
                   5 transcript of my deposition taken on the 11th day
                   6 of June, 2021; that I have made such corrections as
                   7 appear noted herein in ink, initialed by me; that
                   8 my testimony as contained herein, as corrected, is
                   9 true and correct.
                  10
                  11       Dated this 23rd           July
                                      _____ day of ____________, 2021,
                          San Francisco, CA
                  12 at ________________________________________________.
                  13
                  14
                  15
                  16
                  17
                  18         ____________________________
                                  DAVID MONSEES
                  19
                  20
                                                                                                                7/23/2021
                  21
                  22
                  23
                  24
                  25
                                                                              Page 709

                                                                                                                              89 (Pages 708 - 710)
                                                                         Veritext Legal Solutions
                                                                              866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 33 of 227




                     $1625*(
                     EXHIBIT 

        5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 34 of 227



                                                                      Page 1
          IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                     SAN JOSE DIVISION
                           -   -   -
 CHASOM BROWN, WILLIAM   : Case No.
 BYATT, JEREMY DAVIS,    :
 CHRISTOPHER CASTILLO    : 5:20-cv-03664-
 and MONIQUE TRUJILLO,   : LHK
 individually and        :
 on behalf of all other  :
 similarly situated,     : CONFIDENTIAL
                         :
            Plaintiffs, :
                         :
                  v.     :
 GOOGLE, LLC,            :
                         :
            Defendant.   :
                      - - -
             Wednesday, June 16, 2021
                     - - -
               Videotaped 30(b)(6) deposition of
      GLENN BERNTSON held pursuant to notice,
      beginning at 10:27 AM, on the above date,
      and recorded stenographically by
      Constance S. Kent, a Certified Court
      Reporter, Registered Professional
      Reporter and Notary Public.



                           *   *   *

                   MAGNA LEGAL SERVICES
                     (866) 624-6221
                     www.MagnaLS.com
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 35 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 36 of 227
       Case 4:20-cv-05146-YGR            Document 748-2       Filed 07/01/22       Page 37 of 227


                                             Page 78                                                Page 79
 1   $,W VVOLJKWO\FRPSOLFDWHG            1   $1R
 2   EXWWKHDQVZHULVWKH\OHYHUDJH=ZLHEDFN           2   4$UH%LVFRWWLVHYHUSDUWRID
 3   EXWWKH\ UHQRWNH\LQJGDWDRIIWKH                3   &,'FRRNLHLQDQ\IRUP"
 4   =ZLHEDFNOLNHVHDUFKHV                            4   $, PVRUU\,GLGQ WTXLWH
 5   4,V*RRJOH$QDO\WLFV                   5   KHDU\RX
 6   OHYHUDJLQJRIIRI*DLD"                            6   4$UH%LVFRWWLVHYHUSDUWRID
 7   $*RRJOH$QDO\WLFV                   7   &,'FRRNLHLQDQ\IRUP"
 8   05%5220(2EMHFWWRIRUP          8   $1R
 9   7+(:,71(66KDVVRPH             9   4'RHV%LVFRWWLVPDNHLWLQWR
10   XVHFDVHVWKDWXVH*DLDEXW               10   *RRJOH$QDO\WLFVFRRNLHVWKDWPD\EHXVHG
11   WKH\ UHYHU\OLPLWHG0RVWRIWKH         11   E\SXEOLVKHUV"
12   GDWDNH\HGLQ*RRJOH$QDO\WLFVLV          12   $*RRJOH$QDO\WLFVXVHV
13   QRWXVLQJ*DLD                            13   %LVFRWWLWRWDNHWKHSHUSXEOLVKHUNH\
14   %<050$2                                       14   GDWDWKDWWKH\HOHFWDQGDOORZ$G0DQDJHU
15   4'RHV*RRJOH$QDO\WLFV                15   SXEOLVKHUVWRXVHWKHXVHUOLVWVWKDWDUH
16   OHYHUDJHNH\RUXVH'RXEOH"                       16   FUHDWHGLQ$QDO\WLFVZLWKLQ$G0DQDJHU
17   05%5220(2EMHFWWRWKH           17   7KDWLVWKHVROHXVHRI%LVFRWWLE\
18   IRUP                                      18   *RRJOH$G0DQDJHULVWRKDYHDFRPPRQ,'
19   %<050$2                                       19   VSDFHVRWKDWWKHSHUSXEOLVKHUXVHU
20   46RUU\,VLWLVLW            20   OLVWVFUHDWHGLQ*RRJOH$QDO\WLFVFDQEH
21   OHWPHVWULNHWKDW                            21   XVHGLQ*RRJOH$G0DQDJHU
22   'RHV*RJJOH$QDO\WLFV                22   4*RWLW
23   OHYHUDJHXVHRULVNH\HGRIIRI                  23   6RVRLQUHVSRQVHWRP\
24   %LVFRWWL"                                         24   SULRUTXHVWLRQZKLFKZDVRULJLQDOO\GRHV
                                             Page 80                                                Page 81
 1   *RRJOH$QDO\WLFVXVHOHYHUDJHRULV               1   %<050$2
 2   NH\HGRIIRI%LVFRWWL\RXVDLGQR$QG           2   43OHDVHGR
 3   , PQRWWU\LQJWRTXLEEOHZLWK\RX, P            3   $*RRJOH$QDO\WLFVXVHV&,'DV
 4   MXVWWU\LQJWRXQGHUVWDQGWKHGLIIHUHQFH          4   WKHILUVWSDUW\FRRNLHWKH\XVHWR
 5   %XWLQUHVSRQVHWRP\ODVWTXHVWLRQ\RX            5   VXSSRUWSXEOLVKHUVZKRZDQWWRXQGHUVWDQG
 6   VDLGWKDWLW VVRPHLQWKLVOLPLWHG             6   LQGLYLGXDOXVHUEHKDYLRUDQGZLWKLQ
 7   XVHWKDW\RX UHH[SODLQLQJSHU*RRJOH$G           7   *RRJOH$QDO\WLFVXVLQJ&,'DQGDOORIWKH
 8   0DQDJHUWKHUHLVXVHE\*RRJOH$QDO\WLFV          8   LQIRUPDWLRQDERXWDXVHUWKDWLVNH\HG
 9   RI%LVFRWWLLVWKDWFRUUHFW"                      9   RII&,'WKH\FDQFUHDWHXVHUSURILOHV
10   $)RUWKHVSHFLILFFDVHRI             10   7KH&,'FDQEHPDSSHGWR%LVFRWWL6R
11   EHLQJDEOHWRWDNHXVHUOLVWVWKDWDUH            11   ZKHQWKH&,'RU8VHU,'NH\HGXVHUOLVWV
12   PDQDJHGDQGNH\HGRII&,'RU8VHU,'ZLWK         12   DUHVKDUHGZLWK$G0DQDJHUWKH\WKHQ
13   WKHSXEOLVKHUZKRLVXVLQJ*RRJOH$G              13   WDNHWKH&,'DQGPDSLWWRWKH%LVFRWWL
14   0DQDJHU                                          14   VRWKDW$G0DQDJHUNQRZVWKH,'VSDFHIRU
15   46RLIDSXEOLVKHULVXVLQJ           15   WKDWXVHU7KDWLVWKHVROHXVHRI
16   *RRJOH$G0DQDJHUWKH*RRJOH$G0DQDJHU          16   %LVFRWWLZLWKLQ*RRJOH$QDO\WLFV
17   ZLOOXVH%LVFRWWLIURPWKH&,'FRRNLHV           17   42ND\$QGDQGWKDW
18   LVWKDWFRUUHFW"                                  18   PDSSLQJLVDOVRVWRUHGLQ          LVWKDW
19   05%5220(2EMHFWWRWKH           19   FRUUHFW"
20   IRUP                                      20   $<HDK
21   7+(:,71(667KHZD\\RX UH         21   4,QWKDWVSHFLILFXVH
22   GHVFULELQJLWLVQRWDFFXUDWH             22   LQVWDQFH\RX UHWDONLQJDERXW\RXKDYH
23   , GSKUDVHLWVOLJKWO\                     23   SUHYLRXVO\PHQWLRQHGWKDW*RRJOH
24   GLIIHUHQWO\                               24   $QDO\WLFVGRHVOHYHUDJHRIIRI=ZLHEDFNV




                                                                             21 (Pages 78 to 81)
       Case 4:20-cv-05146-YGR            Document 748-2      Filed 07/01/22       Page 38 of 227


                                            Page 82                                                Page 83
 1   ,VWKDWVSHFLILFLQVWDQFH\RXZHUHMXVW           1   XVHGMXVWWRWUDQVODWHWKHGDWDWKDWLV
 2   WDONLQJDERXWLVWKHUHDQ\OHYHUDJHRII          2   NH\HGRIIRI&,'RU8VHU,'
 3   RI=ZLHEDFNV"                                     3   4$QG\RXZRXOGVD\WKHVDPH
 4   $*RRJOH$G0DQDJHUGRHVQ W            4   EDVLFDOO\IRUDQ\OHYHUDJHRIIRIIRI
 5   XVH=ZLHEDFNVRXQOHVVLWUHODWHVWRWKH          5   *DLDULJKWZKLFKLVWKDW*DLDLVXVHG
 6   XVHFDVHRI*RRJOH$QDO\WLFVVKDULQJXVHU         6   WREDVLFDOO\WRWUDQVODWHDQGNH\RII
 7   OLVWVZLWK$G0DQDJHU=ZLHEDFNLVQRW            7   RIVRUU\E\*RRJOH$G0DQDJHUIRUWKH
 8   XVHG                                             8   SXUSRVHVRIEDVLFDOO\IXUWKHULQJRXWWKDW
 9   4%HIRUHEHIRUHWKDW                9   XVHUOLVWWKHWDUJHWOLVW"
10   SURFHVVKLWV*RRJOH$G0DQDJHUGRHV             10   05%5220(2EMHFWWRWKH
11   *RRJOH$QDO\WLFVOHYHUDJHRIIRI                 11   IRUP
12   =ZLHEDFNV"                                       12   7+(:,71(66,GRQ W
13   $=ZLHEDFNLVXVHGLQWKH             13   XQGHUVWDQGWKHTXHVWLRQ&DQ\RX
14   PDQDJHUDQDORJRXVWR%LVFRWWLLQWKDW            14   UHSKUDVHLW"
15   =ZLHEDFNDOORZVWKHILUVWSDUW\NH\HG            15   %<050$2
16   XVHUGDWDZLWKLQ*RRJOH$QDO\WLFVWKDW V         16   42ND\6RGRHV*RRJOH$G
17   NH\HGRIIRI8VHU,'RU&,'WRWKHQEH           17   0DQDJHULQWKDWXVHFDVHXVH*DLDWKH
18   VKDUHGZLWKDQRWKHUSURGXFWWKDWKDVDQ          18   VDPHZD\OHYHUDJHLWZKHWKHU\RXZDQW
19   ,'VSDFHWKDWLVNH\HGRIIRI%LVFRWWLRU        19   WRFDOOLW
20   =ZLHEDFN                                        20   05%5220(2EMHFWWRWKH
21   *RRJOH$QDO\WLFVGRHVQRW           21   IRUP
22   VWRUHWKHXVHUGDWDDVVRFLDWHGZLWKD            22   %<050$2
23   SDUWLFXODUSXEOLVKHU VDFFRXQWNH\HGRII         23   4OHYHUDJHRUXVH"
24   RI=ZLHEDFNRU%LVFRWWL7KRVH,'VDUH          24   $*RRJOH$G0DQDJHU V
                                            Page 84                                                Page 85
 1   LQWHJUDWLRQZLWK*RRJOH$QDO\WLFVGRHV            1   *RRJOH$G0DQDJHU
 2   QRWOHYHUDJH*DLDLQDQ\ZD\                     2   46RPHWLPHV,'VZLWKWKRVH
 3   4:KHQ\RXVD\*RRJOH$G              3   XVHUOLVWVRQWKHSXEOLVKHUVLGHLV
 4   0DQDJHUKHUHLQWKLVOLPLWHGXVHFDVHLV         4   JHQHUDWHGE\*RRJOHLVWKDWFRUUHFWWKH
 5   WKDWLQFOXGLQJGRHVWKDWLQFOXGHWKH           5   QXPEHUVWKHPVHOYHV"
 6   DGVHUYLQJDQGWKHDGWDUJHWLQJDVZHOO"          6   05%5220(2EMHFWWRWKH
 7   $,DPVSHDNLQJVSHFLILFDOO\           7   IRUP
 8   RIWKHSDUWQHUVKLSEHWZHHQ*RRJOH                 8   7+(:,71(667KHXVHUOLVWV
 9   $QDO\WLFVDQG*RRJOH$G0DQDJHUZKLFKLV         9   WKDWDUHVKDUHGWKDWFDQEH
10   OLPLWHGWR*RRJOH$QDO\WLFV)RUD              10   VKDUHGEHWZHHQIURP*RRJOH
11   SXEOLVKHUZKRKDVDQDFFRXQWLQERWK            11   $QDO\WLFVWR*RRJOH$G0DQDJHUDUH
12   WKH\FDQVHWLWXSVRWKDWWKHXVHUOLVWV        12   DOZD\VNH\HGRIIRI%LVFRWWLDQG
13   WKDWWKH\FUHDWHLQ*RRJOH$QDO\WLFVFDQ         13   %LVFRWWLLVDQ,'WKDWLV
14   EHXVHGIRUWDUJHWLQJLQ$G0DQDJHU7KH        14   FRQWUROOHGE\*RRJOH
15   SURFHVVRIWDUJHWLQJZLWKLQ$G0DQDJHULV        15   %<050$2
16   GLVWLQFWIURP*RRJOH$QDO\WLFVEHFDXVH           16   4*RWLW
17   ZKDWKDSSHQVLV*RRJOH$QDO\WLFVZLOO           17   6R,VHHLQVRPHRIWKH
18   ZKHQDSXEOLVKHUZKR VWKHVDPHRQERWK          18   GRFXPHQWVDUHIHUHQFHWR33,'VZKLFK,
19   VLGHVEDVLFDOO\VD\V,ZDQWWRXVHWKLV         19   SUHVXPHVWDQGVIRUSXEOLVKHUSURYLGHG
20   GDWDIURP*RRJOH$QDO\WLFVLQP\*RRJOH          20   ,'V$UHDUHSDUWRIWKRVH,'VLQ
21   $G0DQDJHUDFFRXQW                              21   WHUPVRIKRZ*RRJOHVWRUHVWKHPNH\HG
22   6RWKHRQO\FRQQHFWLRQ              22   RIIRI%LVFRWWL"
23   EHWZHHQWKHWZRLVWKHRQHZD\VKDULQJRI        23   $, P, PWU\LQJWRIROORZ
24   WKHVHXVHUOLVWVIURP*RRJOH$QDO\WLFVWR        24   WKHTXHVWLRQ$UHZHWDONLQJDERXW




                                                                            22 (Pages 82 to 85)
        Case 4:20-cv-05146-YGR                        Document 748-2     Filed 07/01/22      Page 39 of 227


                                                       Page 390                                              Page 391
 1   DERXW&RQVWHOODWLRQGLG\RXDFWXDOO\                         1   ULJKW:HOOWKDQN\RX
 2   SUHSDUHIRUWKHWRSLFRI&RQVWHOODWLRQV                       2   HYHU\ERG\7KDQN\RX&RQQLH
 3   EHIRUH\RXFDPHWRWHVWLI\KHUHWRGD\"                        3   2XUFRQGROHQFHV$QG$GDP0DUN
 4   $,WZDVDWRSLFWKDWZDV                          4   WKDQN\RX$QGVHH\RXDOOQH[W
 5   FRYHUHGEULHIO\LQRQHRIP\GLVFXVVLRQV                     5   WLPH
 6   4,VWKDWWRSLFIRU&KULV/DZ"                     6   7+(9,'(2*5$3+(5/HWPH
 7   6RUU\&KULV&KULV/LDRRULVWKDWD                       7   WDNHXVRIIWKHUHFRUG+ROGRQ
 8   WRSLFLQZKLFK\RXDUHSUHSDUHGWR                            8   7KHWLPHLVQRZ30DQG
 9   GLVFXVVLQWHUPVRIKRZWKDWLVDFWXDOO\                      9   ZHDUHJRLQJRIIWKHUHFRUG
10   IRUPHG"                                                      10    :LWQHVVH[FXVHG
11   05%5220(2EMHFWLRQWR                       11    'HSRVLWLRQFRQFOXGHGDW
12   IRUP                                                 12   DSSUR[LPDWHO\30
13   7+(:,71(66,EHOLHYH,                    13
14   EHOLHYH,DQVZHUHGWKHTXHVWLRQDV                    14
15   LWUHODWHVWRKRZ&RQVWHOODWLRQ                       15
16   ZRUNVZKDW,'VDUHXVHGDQGWKH                      16
17   XVHFDVHVWKDWLWVXSSRUWV,                        17
18   GRQ WNQRZZKDWDGGLWLRQDO                            18
19   LQIRUPDWLRQ\RX UHORRNLQJIRUDV                     19
20   LWUHODWHVWR&RQVWHOODWLRQ                          20
21   050$2,KDYHQRIXUWKHU                     21
22   IROORZXS$JDLQ,UHVHUYHP\                       22
23   ULJKWV                                               23
24   05%5220(2ND\$OO                         24
                                                       Page 392                                              Page 393
 1                                                                 1   ,16758&7,21672:,71(66
 2   &(57,),&$7(
 3                                                                 2
 4   ,+(5(%<&(57,)<WKDWWKH                        3   3OHDVHUHDG\RXUGHSRVLWLRQ
     ZLWQHVVZDVGXO\VZRUQE\PHDQGWKDWWKH                     4   RYHUFDUHIXOO\DQGPDNHDQ\QHFHVVDU\
 5   ZLWKLQGHSRVLWLRQLVDWUXHDQGDFFXUDWH
     WUDQVFULSWRIWKHVWHQRJUDSKLFQRWHVRI
                                                                   5   FRUUHFWLRQV<RXVKRXOGVWDWHWKHUHDVRQ
 6   WKHWHVWLPRQ\JLYHQE\WKHZLWQHVV                           6   LQWKHDSSURSULDWHVSDFHRQWKHHUUDWD
 7                                                                 7   VKHHWIRUDQ\FRUUHFWLRQVWKDWDUHPDGH
     ,WZDVUHTXHVWHGEHIRUH
 8   FRPSOHWLRQRIWKHGHSRVLWLRQWKDWWKH
                                                                   8   $IWHUGRLQJVRSOHDVHVLJQ
     ZLWQHVV*/(11%(517621KDYHWKH                             9   WKHHUUDWDVKHHWDQGGDWHLW
 9   RSSRUWXQLW\WRUHDGDQGVLJQWKH                             10   <RXDUHVLJQLQJVDPHVXEMHFW
     GHSRVLWLRQWUDQVFULSW
10
                                                                  11   WRWKHFKDQJHV\RXKDYHQRWHGRQWKH
11                                                                12   HUUDWDVKHHWZKLFKZLOOEHDWWDFKHGWR
12   BB                            BBBBBBBBB               13   \RXUGHSRVLWLRQ
     &R                        &/5
13   &HUWLILHG&RXUW5HSRUWHU
                                                                  14   ,WLVLPSHUDWLYHWKDW\RX
     5HJLVWHUHG3URIHVVLRQDO5HSRUWHU                      15   UHWXUQWKHRULJLQDOHUUDWDVKHHWWRWKH
14   &HUWLILHG/LYH1RWH5HSRUWHU                           16   GHSRVLQJDWWRUQH\ZLWKLQWKLUW\  GD\V
     DQG1RWDU\3XEOLF
15   'DWHG-XQH
                                                                  17   RIUHFHLSWRIWKHGHSRVLWLRQWUDQVFULSW
16                                                                18   E\\RX,I\RXIDLOWRGRVRWKH
17                                                                19   GHSRVLWLRQWUDQVFULSWPD\EHGHHPHGWREH
18
19
                                                                  20   DFFXUDWHDQGPD\EHXVHGLQFRXUW
20    7KHIRUHJRLQJFHUWLILFDWLRQ                    21
21   RIWKLVWUDQVFULSWGRHVQRWDSSO\WRDQ\                     22
22   UHSURGXFWLRQRIWKHVDPHE\DQ\PHDQV
23   XQOHVVXQGHUWKHGLUHFWFRQWURODQGRU
                                                                  23
24   VXSHUYLVLRQRIWKHFHUWLI\LQJUHSRUWHU                      24




                                                                                    99 (Pages 390 to 393)
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 40 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 41 of 227




                     $1625*(
                     EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
Case 4:20-cv-05146-YGR    Document 748-2    Filed 07/01/22   Page 42 of 227
                               CONFIDENTIAL

                                                                          Page 1
                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    ---oOo---


     CHASOM BROWN; MARIA NGUYEN;
     WILLIAM BYATT; JEREMY DAVIS;
     and CHRISTOPHER CASTILLO,
     individually and on behalf
     of all other similarly
     situated,

                           Plaintiffs,
     vs.                                          No. 5:20-cv-03664-LHK
     GOOGLE LLC,
                      Defendant.
     _____________________________/

                                  CONFIDENTIAL
               REMOTE VIDEOTAPED DEPOSITION OF SAMMIT ADHYA
                WITNESS LOCATION:          SAN JOSE, CALIFORNIA
                         FRIDAY, NOVEMBER 19, 2021


     Stenographically Reported by:
     ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR
     California CSR No. 9830
     Job No. 765904


                            MAGNA LEGAL SERVICES
                                866-624-6221
                               www.MagnaLS.com
     Case 4:20-cv-05146-YGR            Document 748-2           Filed 07/01/22         Page 43 of 227
                                               CONFIDENTIAL
                                                Page 2                                                       Page 4
 1         IN THE UNITED STATES DISTRICT COURT              1   R O M O T E A P P E A R A N C E S: (Cont.)
 2         FOR THE NORTHERN DISTRICT OF CALIFORNIA          2
 3               ---oOo---
 4
                                                            3
 5    CHASOM BROWN; MARIA NGUYEN;                           4      COUNSEL FOR THE DEFENDANT:
      WILLIAM BYATT; JEREMY DAVIS;                          5       QUINN EMANUEL URQUHART & SULLIVAN
 6    and CHRISTOPHER CASTILLO,                             6       By: SARA JENKINS, ESQ.
      individually and on behalf                            7         TRACY GAO, ESQ.
 7    of all other similarly
      situated,
                                                            8         555 Twin Dolphin Drive, 5th Floor
 8                                                          9         Redwood Shores, California 94065
                 Plaintiffs,                               10
 9    vs.                     No. 5:20-cv-03664-LHK        11
10    GOOGLE LLC,                                          12      ALSO PRESENT: Matthew Gubiotti, Google
11                Defendant.
      _____________________________/
                                                           13            Evan Tsilimidos, Videographer
12                                                         14            Vanessa Wheeler, Exhibit Technician
13                                                         15
14          REMOTE VIDEOTAPED DEPOSITION OF SAMMIT ADHYA 16                ---oOo---
15        taken on behalf of the Plaintiffs, on Friday,    17
16        November 19, 2021, beginning at 9:08 a.m., and
                                                           18
17        ending at 5:38 p.m., Pursuant to Notice, and
18        remotely before me, ANDREA M. IGNACIO, CSR, RPR, 19
19        CRR, CLR ~ License No. 9830.                     20
20                                                         21
21                                                         22
22
23
                                                           23
24                                                         24
25                                                         25
                                                Page 3                                                       Page 5
 1     R E M O T E A P P E A R A N C E S:                  1             INDEX OF EXAMINATION
 2                                                         2
 3                                                         3    WITNESS: Sammit Adhya
 4       COUNSEL FOR THE PLAINTIFFS:                       4
 5        BOIES SCHILLER & FLEXNER LLP                     5    EXAMINATION                           PAGE
 6        By: BEKO REBLITZ-RICHARDSON, ESQ.                6    By Mr. McGee                      9
 7           MARK MAO, ESQ.                                7
 8        44 Montgomery Street, 41st Floor                 8             INDEX OF DEPOSITION EXHIBITS
 9        San Francisco, California 94104                  9    EXHIBIT                                PAGE
10                                                        10    Exhibit 1 Sammit Adhya PM Transfer Candidate 32
11                                                        11             Bates GOOG-BRWN-00540053 - '61
12         MORGAN & MORGAN                                12    Exhibit 2 Document Bates GOOG-BRWN-00561420       42
13         By: RYAN MCGEE, ESQ.                           13    Exhibit 3 12-22-18 E-mail Re: End of the     48
14           JENNI CABEZAS, Paralegal                     14             Year Update on the Unauth
15         201 N. Franklin Street, 7th Floor              15             Workstream, Bates
16         Tampa, Florida 33602                           16             GOOG-CABR-03689232 - '233
17                                                        17    Exhibit 4 5-3-19 E-mail Re: Incognito       62
18                                                        18             Questio... I think the product
19                                                        19             meta question is..., Bates
20                                                        20             GOOG-BRWN-00611987
21                                                        21    Exhibit 5 Incognito Strategy and Creative    67
22                                                        22             Brief August 2019, Bates
23                                                        23             GOOG-BRWN-00569625 - '632
24                                                        24    //
25                                                        25    //




                                                                                        2 (Pages 2 to 5)
     Case 4:20-cv-05146-YGR                             Document 748-2                  Filed 07/01/22               Page 44 of 227
                                                                    CONFIDENTIAL
                                                                   Page 166                                                                         Page 168
 1          "No consent for Incognito."                     03:35:10                1    with the names zwieback?                           03:39:00
 2         What were you and your team discussing as it              03:35:13       2      A I'm not exactly following. The --                   03:39:03
 3    relates to whether or not to obtain consent for              03:35:15         3      Q So let me -- let me stop.                     03:39:14
 4     Incognito during July of 2020?                        03:35:20               4         A zwieback ID, would that be used with                03:39:15
 5          MS. JENKINS: Objection; lacks foundation;                03:35:27       5    applications or would applications also use zwieback           03:39:21
 6     vague.                                     03:35:28                          6    cookies?                                     03:39:26
 7          THE WITNESS: I don't recall specifically the             03:35:34       7         MS. JENKINS: Objection; lacks foundation;               03:39:26
 8     context of this. This looks like this is a meeting          03:35:36         8    calls for speculation.                         03:39:31
 9     notes doc. But as a part of my            work where I          03:35:41     9         THE WITNESS: The zwieback ID is stored                   03:39:33
10     work on consent for signed out users, one of the             03:35:54       10    inside of the zwieback cookie that is used by websites        03:39:41
11     considerations of course is Incognito on our mobile            03:36:01     11    such as google.com.                              03:39:50
12     apps, and what it means for them from a consent               03:36:12      12         MR. MCGEE: Q. And do you know what is also                    03:40:01
13     perspective.                                 03:36:18                       13    stored with the zwieback cookie?                        03:40:05
14          MR. MCGEE: Q. And I'm not sure what you                    03:36:23    14         MS. JENKINS: Objection; vague.                       03:40:10
15     mean by that. Can you expand on your explanation?                03:36:24   15         THE WITNESS: When you mean -- when you mean                      03:40:16
16        A When a user is in Incognito, we essentially            03:36:34        16    "stored," do you -- what do you mean?                     03:40:18
17     treat them as a brand new signed out user on our              03:36:38      17         MR. MCGEE: I'll just ask more directly.               03:40:20
18     mobile apps. And similar to what would happen in                03:36:47    18      Q Is a user's IP address stored with the              03:40:23
19     Chrome Incognito for the first time if you visit            03:36:50        19    zwieback cookie?                                03:40:26
20     search com or youtube.com or Maps, we see you as a new             03:36:53 20         MS. JENKINS: Objection; calls for                    03:40:30
21     signed out user.                                 03:36:59                   21    speculation.                                 03:40:32
22          My work on             is around consent for            03:37:02       22         THE WITNESS: I don't know all of the                  03:40:32
23     signed out users. And it was that intersection that          03:37:11       23    information that is stored against the zwieback ID.          03:40:40
24     would have been a topic of several conversations.             03:37:18      24         MR. MCGEE: Q. Do you know if a user's IP                 03:40:51
25          MR. MCGEE: Q. Do you know what a zwieback                    03:37:22 25     address is stored with a zwieback.                      03:40:53

                                                                   Page 167                                                                         Page 169
 1     cookie is?                                    03:37:27                      1        A I would have to talk to an engineer to             03:41:04
 2        A I know of the zwieback cookie, yes.                  03:37:31          2     confirm if that's how it works.                     03:41:05
 3        Q How do you know of the zwieback cookie?                    03:37:36    3        Q Have you ever had discussions with people at            03:41:10
 4        A In -- in my work with the Search team, I know             03:37:40     4     Google about the technical complexities of the             03:41:11
 5     that is the internal name of their -- of the cookie we      03:37:43        5     zwieback cookie?                                 03:41:19
 6     use on the google.com domain.                          03:37:52             6           MS. JENKINS: Objection; vague.                     03:41:21
 7        Q Do you know if it's used anywhere else?                03:37:54        7           THE WITNESS: When you say "technical                    03:41:23
 8        A Do you -- what do you mean by "anywhere                   03:38:00     8     complexities," are you referring to how it works? Or          03:41:28
 9     else"?                                       03:38:02                       9     what element of the com- -- of -- of --                03:41:32
10        Q You said it's used on the google.com domain.             03:38:03     10           MR. MCGEE: Sure.                              03:41:35
11     I'm just wondering if you know if it's used anywhere            03:38:06 11             THE WITNESS: -- of the cookie?                     03:41:36
12     else?                                       03:38:09                       12           MR. MCGEE: Q. So a technical complexity                 03:41:37
13        A It's used in any of the kind of the -- what         03:38:12          13     would be whether a user's IP address, user agent            03:41:39
14     we call country code top-level domains, CCTLD. So                 03:38:14 14     string, or other metadata would be stored with the          03:41:43
15     Google.de, Google.fr, these country-specific domains.            03:38:22 15      zwieback ID, or zwieback cookie.                       03:41:45
16     So anything that's kind of like Google asterisk star,        03:38:30      16           MS. JENKINS: Objection; vague.                     03:41:50
17     any of those domains.                              03:38:33                17           THE WITNESS: The data fields that you just             03:41:57
18        Q Are zwieback or zwieback IDs different from               03:38:34 18        specified are -- based on my understanding, again, not        03:42:00
19     cookies?                                      03:38:40                     19     being an engineer -- are basic aspects of information        03:42:05
20           MS. JENKINS: Objection; vague.                      03:38:40         20     that's passed along when you are using any website or          03:42:13
21           THE WITNESS: zwieback is the name of the                  03:38:44 21       visiting any website required to, like, deliver on --     03:42:18
22     cookie internal name of the cookies.                    03:38:52           22     on the response. Like IP address have -- we have to          03:42:23
23           MR. MCGEE: Okay.                                03:38:55             23     know where to send the page that a user has requested.         03:42:26
24        Q But do you have any understanding of any                 03:38:55     24            And so we have talked about what gets logged          03:42:35
25     difference between the cookie and the ID associated             03:38:58 25       generally as a part of any -- I've tried to           03:42:43




                                                                                                            43 (Pages 166 to 169)
     Case 4:20-cv-05146-YGR                         Document 748-2                    Filed 07/01/22        Page 45 of 227
                                                              CONFIDENTIAL
                                                              Page 214                                                            Page 216
 1     your work, do they save any data locally or are they        05:24:30       1               JURAT
 2     all cloud based for the data?                    05:24:35                  2
 3          MS. JENKINS: Objection; vague.                      05:24:40          3        I, SAMMIT ADHYA, do hereby certify under
 4          THE WITNESS: The tools that I use are all              05:24:41       4     penalty of perjury, that I have read the foregoing
 5     the Google standard tools, and everything gets synced          05:24:45    5     transcript of my deposition in the matter of
 6     back to the cloud so that we can access them across           05:24:49     6     Chasom Brow, et al., vs., Google LLC, taken on
 7     our devices: Docs, Gmail, Chat, et cetera.               05:24:52          7     November 19, 2012; that I have made such corrections
 8          MR. MCGEE: Okay. If we can go off. I think              05:24:57      8     as appear noted herein in ink, initialed by me; that
 9     I'm toward the end, but I just want to confer.            05:25:03         9     my testimony as contained herein, as corrected, is
10           Sara, if you're okay with going off, I'll       05:25:07            10     true and correct.
11     take ten minutes.                               05:25:10                  11     DATED this ____ day of _____________, 2020, at
12          MR. BAYER: Sure. That's fine.                     05:25:11           12     ____________________________.
13          THE VIDEOGRAPHER: The time is 5:25, and                     05:25:12 13        __________________________________
14     we're going off the record.                        05:25:16               14            SIGNATURE OF WITNESS
15          (Recess taken.)                            05:25:17                  15
16          THE VIDEOGRAPHER: The time is 5:37.                       05:37:54 16               NOTARIZATION (If Required)
17          We are back on the record                      05:37:58              17   State of ______________________
18          MR. MCGEE: Okay. Mr. Adhya, I appreciate                  05:38:00 18     County of _____________________
19     you sitting for your deposition here today.              05:38:03         19   Subscribed and sworn to (or affirmed) before me on this
20           We have some ongoing document disputes with              05:38:06 20     ______ day of ______________________, 20____, by
21     your counsel. We won't be closing the deposition here          05:38:10 21     ____________________________, proved to me on the basis
22     today, and we're reserving and retaining all rights.       05:38:14       22   of satisfactory evidence to be the person who appeared
23     But I'm not going to keep you here or keep the court          05:38:17    23   before me.
24     reporter here to hash out that out. I think that's       05:38:20         24   Signature: __________________________________
25     something we can do with counsel outside of the              05:38:24     25                   (Seal)

                                                              Page 215                                                            Page 217
 1     record.                                       05:38:26                    1           CERTIFICATE OF STENOGRAPHER
 2            So subject to that, I have no further           05:38:27           2
 3     questions.                                     05:38:29                   3          I, ANDREA M. IGNACIO, hereby certify that the
 4           MS. JENKINS: All right.                         05:38:34            4    witness in the foregoing remote deposition was by me
 5           I would just state that it's our position that    05:38:35          5    remotely sworn to tell the truth, the whole truth, and
 6     none of the document issues that you've raised              05:38:37      6    nothing but the truth in the within-entitled cause;
 7     substantiate -- create a reason to keep the deposition       05:38:40     7          That said deposition was taken in shorthand by
 8     open. But obviously we will discuss that outside of           05:38:43    8    me, a disinterested person, remotely at the time stated,
 9     this. So with that being said, I don't have any           05:38:46        9    and that the testimony of the said witness was
10     redirect. So I think we can conclude.                   05:38:48         10    thereafter reduced to typewriting, by computer, under my
11           THE VIDEOGRAPHER: The time is 5:38.                       05:38:53 11    direction and supervision;
12            That concludes today's deposition.               05:38:55         12          That before completion of the deposition,
13           (Whereupon, the deposition ended at                 05:38:58       13    review of the transcript [x] was [ ] was not requested.
14            5:38 p.m.)                              05:39:01                  14    If requested, any changes made by the deponent (and
15                    ---oOo---                                                 15    provided to the reporter) during the period allowed are
16                                                                              16    appended hereto.
17                                                                              17          I further certify that I am not of counsel or
18                                                                              18    attorney for either or any of the parties to the said
19                                                                              19    deposition, nor in any way interested in the event of
20                                                                              20    this cause, and that I am not related to any of the
21                                                                              21    parties thereto.
22                                                                              22    Dated:
23                                                                              23         ___________________________________________
24                                                                              24     ANDREA M. IGNACIO, RPR, CRR, CCRR, CLR, CSR No. 9830
25                                                                              25




                                                                                                    55 (Pages 214 to 217)
  
                        
                 Case 4:20-cv-05146-YGR Document 748-2               Filed 07/01/22     Page 46 of 227




                                                     'HSRVLWLRQ(UUDWD
                                              &DVHBrown, et al. v. Google LLC
                                                 'HSRQHQW6DPPLW$GK\D
                                           'DWHRI'HSRVLWLRQ1RYHPEHU
                                                               
                    ,6DPPLW$GK\DKHUHE\FHUWLI\WKDW,KDYHUHDGWKHWUDQVFULSWRIP\WHVWLPRQ\WDNHQ
             XQGHURDWKLQP\GHSRVLWLRQRQWKHWKGD\RI1RYHPEHUWKDWWKHWUDQVFULSWLVDWUXH
             FRPSOHWHUHFRUGRIP\WHVWLPRQ\DQGWKDWWKHDQVZHUVRQWKHUHFRUGDVJLYHQE\PHDUHWUXHDQG
             FRUUHFWZLWKWKHIROORZLQJH[FHSWLRQV
                                                               
               3JDQG/Q 1RZUHDGV                    6KRXOGUHDG          5HDVRQ
                           6XPPLW                    6DPPLW               7UDQVFULSWLRQ(UURU
                         PDVWHUV                   PDVWHU               7UDQVFULSWLRQ(UURU
                          /(17+(51           /($7+(51 7UDQVFULSWLRQ(UURU
                          5DOLD                     0LUDJOLD             7UDQVFULSWLRQ(UURU
                         5DOLD                     0LUDJOLD             7UDQVFULSWLRQ(UURU
                         RND\                      2ND\                 7UDQVFULSWLRQ(UURU
                          SULFLQJ                   SULYDF\              7UDQVFULSWLRQ(UURU
                          WRQRW                    QRWWR               7UDQVFULSWLRQ(UURU
                         RI                        DURXQG               7UDQVFULSWLRQ(UURU
                          ZRXOGDOVR               DOVRZRXOG           7UDQVFULSWLRQ(UURU
                        ZRXOG                     ZRXOGQ¶W             7UDQVFULSWLRQ(UURU
                        QRWDEOH                  DEOH                7UDQVFULSWLRQ(UURU
                        DVWRGRHV                DVGRHV              7UDQVFULSWLRQ(UURU
                        WKHUHVHDUFK             WKHXVHUUHVHDUFK    7UDQVFULSWLRQ(UURU
                        WLPH,QFRJQLWR            WLPHLQ,QFRJQLWR 7UDQVFULSWLRQ(UURU
                         :H                        ZH                   7UDQVFULSWLRQ(UURU
                        7KHFKDOOHQJH             FKDOOHQJH            7UDQVFULSWLRQ(UURU
                        ,QFRJQLWR                 LQFRJQLWR            7UDQVFULSWLRQ(UURU
                        VRRQZKHUH               VRRQWRVHHLI       7UDQVFULSWLRQ(UURU
                                                                7UDQVFULSWLRQ(UURU
                         SURGXFW                   SURGXFWV             7UDQVFULSWLRQ(UURU
                        "7KH                     "EU!EU!7KH      7UDQVFULSWLRQ(UURU
                        /2/                       /2/                 7UDQVFULSWLRQ(UURU
                        \D                      \D                   7UDQVFULSWLRQ(UURU
                        3VHXGLQRPDV               3VHXGRQ\PRXV         7UDQVFULSWLRQ(UURU
                        SRVVLEOH                  LPSRVVLEOH           7UDQVFULSWLRQ(UURU
                                                                 7UDQVFULSWLRQ(UURU
                                                                 7UDQVFULSWLRQ(UURU
                        VKRXOG                    WKH\                 7UDQVFULSWLRQ(UURU
                        LW¶V                      LWZDV               7UDQVFULSWLRQ(UURU
             
                                                                                       
                                                                                     
                                       
                            6$00,7$'+<$                                           '$7(
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 47 of 227




                     $1625*(
                     EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
              Case 4:20-cv-05146-YGR        Document 748-2             Filed 07/01/22      Page 48 of 227

      
    >/,DZ&KEd/Θh>>>W               />>K>s/dd'hd>Z>>                 ^/DDKE^,E>zKEZKz>>
    ϱϱϱϭϮƚŚ^dZd͕^h/dϭϲϬϬ            KE'ZEEdZ>W>                    ϭϭϮD/^KEsEh͕ϳd,&>͘
    K<>E͕ϵϰϲϬϳ                   ϲϬ^dϰϮŶĚ^dZd͕^h/dϮϰϬϬ                     EtzKZ<͕EzϭϬϬϭϲ
                                               EtzKZ<͕EzϭϬϭϲϱ
                                                                                                               
                                                6HSWHPEHU
                                                           
      9,$(/(&7521,&0$,/
      6SHFLDO0DVWHU'RXJODV%UXVK
      GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF
      
                 5H    &DOKRXQY*RRJOH//&1RFY/+.69. 1'&DO 
                        Calhoun3ODLQWLIIV¶/HWWHUWR6SHFLDO0DVWHU%UXVKLQ5HVSRQVHWR*RRJOH¶V
                         6XEPLVVLRQRI6HSWHPEHU5HJDUGLQJ3URGXFWLRQRI3ODLQWLII'DWD
                        
                         7+,6/(77(55()(5(1&(60$7(5,$/7+$7+$6%((1
                        '(6,*1$7('&21),'(17,$/25+,*+/<&21),'(17,$/
            
      'HDU6SHFLDO0DVWHU%UXVK

            3ODLQWLIIVUHVSRQGWR*RRJOH¶VHPDLORI6HSWHPEHU6SHFLILFDOO\3ODLQWLIIVDWWDFK
      FRUUHVSRQGHQFHH[FKDQJHGZLWK*RRJOHRQ)ULGD\6HSWHPEHUDQG7XHVGD\6HSWHPEHU
      VRWKDW\RXKDYHWKHIXOOSLFWXUHRIWKHFXUUHQWVWDWXV3ODLQWLIIVWKDQN\RXIRU\RXUHIIRUWV
              *RRJOH¶VOHWWHUWR3ODLQWLIIVUHYHDOHGWKDWLWKDVSUHVHUYHG3ODLQWLIIGDWDLQ ORJVWKDWLW
      KDVQRW\HWLGHQWLILHGWR3ODLQWLII,IWKH6SHFLDO0DVWHULVLQFOLQHGWRJUDQW*RRJOH¶VUHTXHVWIRU
      DGGLWLRQDOWLPHRUDPHHWDQGFRQIHUWRFRPSO\ZLWKWKH6SHFLDO0DVWHU¶VRUGHUIURPODVWZHHN
      WKHQ3ODLQWLIIVUHVSHFWIXOO\UHTXHVWWKDW*RRJOHEHRUGHUHGWR  LPPHGLDWHO\SURGXFHDOO3ODLQWLII
      GDWDLVKDVSUHVHUYHGEXWQRW\HWSURGXFHGDQG  DGGUHVVWKHGHILFLHQFLHVLGHQWLILHGLQ3ODLQWLIIV¶
      OHWWHUWR*RRJOHGDWHG6HSWHPEHU
             :H ORRN IRUZDUG WR IXUWKHU GLVFXVVLRQV RI WKHVH LVVXHV DQG RWKHUV LQFOXGLQJ *RRJOH¶V
      PDSSLQJ RI LGHQWLILHUV WKURXJK WKH                                              DQG WKH      
                5HJDUGLQJWKDWVXEMHFWDGRFXPHQWUHFHQWO\SURGXFHGE\*RRJOHLQGLFDWHVWKDW³>W@KH
      HQGUHVXOW´RI               ³LVWKHDELOLW\WRVHHDOOWKHHYHQWVDFURVVWKHLGHQWLILHUVVSDFHVDQG
      GHYLFHVRZQHGE\DVLQJOHXVHU´*22*&$%5DW
                                                               6LQFHUHO\
                                                               
          

                                                                                  
                                                               -D\%DUQHV
                                                               MD\EDUQHV#VLPPRQVILUPFRP
                                                               
          Case 4:20-cv-05146-YGR       Document 748-2      Filed 07/01/22    Page 49 of 227

    
                                                                                            
    

    
    




                                                             
                                                    /HVOH\:HDYHU
                                                    OZHDYHU#EIDODZFRP
                                                    



                                                                                   
                                                    'DYLG6WUDLWH
                                                    GVWUDLWH#GLFHOOROHYLWWFRP
                                                   
        FFYLDHPDLO                             
                                                   
        *RRJOH&RXQVHO                             3ODLQWLIIV¶&RXQVHO
                                                   
        DQGUHZVFKDSLUR#TXLQQHPDQXHOFRP            DNHOOHU#GLFHOOROHYLWWFRP
        VWHSKHQEURRPH#TXLQQHPDQXHOFRP             DSURP#GLFHOOROHYLWWFRP
        MRPDLUHFUDZIRUG#TXLQQHPDQXHOFRP           DRUQHODV#EIDODZFRP
        YLRODWUHELFND#TXLQQHPDQXHOFRP             DWUXRQJ#VLPPRQVILUPFRP
        MRVHIDQVRUJH#TXLQQHPDQXHOFRP              HMRKQVRQ#VLPPRQVILUPFRP
        THFDOKRXQ#TXLQQHPDQXHOFRP                VFUX]#GLFHOOROHYLWWFRP
        
        $FFHO&RQVXOWLQJ
        WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF
    
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 50 of 227




                     $1625*(
                     EXHIBIT 

        8QUHGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2   Filed 07/01/22   Page 51 of 227
                                                                                  1


 1                         IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3                                   SAN JOSE DIVISION

 4
           BROWN, ET AL,                        )   CV-20-3664-LHK
 5                                              )
                              PLAINTIFF,        )   SAN JOSE, CALIFORNIA
 6                                              )
                      VS.                       )   NOVEMBER 4, 2021
 7                                              )
           GOOGLE LLC, ET AL,                   )   PAGES 1-53
 8                                              )
                              DEFENDANT.        )
 9                                              )
           _______________________________      )
10
                              TRANSCRIPT OF PROCEEDINGS
11                      BEFORE THE HONORABLE SUSAN VAN KEULEN
                           UNITED STATES MAGISTRATE JUDGE
12

13                               A P P E A R A N C E S

14

15              FOR THE PLAINTIFF:         BY: AMANDA K. BONN
                                           SUSMAN GODFREY LLP
16                                         1900 AVENUE OF THE STARS
                                           SUITE 1400
17                                         LOS ANGELES, CA 90067

18

19              FOR THE DEFENDANT:         BY: ANDREW H. SCHAPIRO
                                           QUINN EMANUEL URQUHART AND
20                                         SULLIVAN, LLP
                                           191 N. UPPER WACKER DR., STE 2700
21                                         CHICAGO, IL 60606

22                          APPEARANCES CONTINUED ON THE NEXT PAGE

23              OFFICIAL COURT REPORTER:          SUMMER FISHER, CSR, CRR
                                                  CERTIFICATE NUMBER 13185
24

25                 PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                         TRANSCRIPT PRODUCED WITH COMPUTER


                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2     Filed 07/01/22   Page 52 of 227
                                                                                   2


 1              APPEARANCES CONTINUED:

 2              FOR THE PLAINTIFF:         BY: RYAN MCGEE
                                           MORGAN AND MORGAN
 3                                         COMPLEX LITIGATION GROUP
                                           201 N. FRANKLIN STREET, 7TH FLOOR
 4                                         TAMPA, FL 33602

 5
                FOR THE PLAINTIFF:         BY:  HSIAO C. MAO
 6                                              BEKO REBLITZ-RICHARDSON
                                           BOIES SCHILLER FLEXNER LLP
 7                                         44 MONTGOMERY STREET, 41ST FLOOR
                                           SAN FRANCISCO, CA 94104
 8

 9              FOR THE DEFENDANT:         BY: JOSEF TEBOHO ANSORGE
                                           QUINN EMANUEL URQUHART & SULLIVAN
10                                         51 MADISON AVENUE, 22ND FLOOR
                                           NEW YORK, NY 10010
11

12              FOR THE PLAINTIFF:         BY:  STEPHEN ANDREW BROOME
                                                VIOLA TREBICKA
13                                         QUINN EMANUEL URQUHART & SULLIVAN
                                           865 S. FIGUEROA ST, 10TH FLOOR
14                                         LOS ANGELES, CA 90017

15

16

17

18

19

20

21

22

23

24

25



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR      Document 748-2    Filed 07/01/22    Page 53 of 227
                                                                                      3


 1              SAN JOSE, CALIFORNIA                        NOVEMBER 4, 2021

 2                                  P R O C E E D I N G S

 3              (COURT CONVENED AT 10:17 A.M.)

 4              (THE FOLLOWING PROCEEDINGS ARE UNDER SEAL.)

 5              ///

 6                    THE CLERK:     CALLING CASE 20-CV-3664.       BROWN, ET AL.

 7        VERSUS GOOGLE LLC, ET AL., AND 20-CV-5146, CALHOUN, ET AL.

 8        VERSUS GOOGLE, LLC.

 9              COUNSEL, PLEASE IDENTIFY YOURSELVES FOR THE RECORD,

10       BEGINNING WITH BROWN.

11                    MS. BONN:    GOOD MORNING, YOUR HONOR.

12              AMANDA BONN WITH SUSMAN GODFREY ON BEHALF OF THE BROWN

13        PLAINTIFFS.

14                    THE COURT:     GOOD MORNING.

15                    MR. MAO:    GOOD MORNING, YOUR HONOR.

16              MARK MAO ON BEHALF OF PLAINTIFFS.

17                    MR. REBLITZ-RICHARDSON:      GOOD MORNING, YOUR HONOR.

18              BEKO REBLITZ-RICHARDSON ON BEHALF OF THE PLAINTIFF.

19                    THE COURT:     GOOD MORNING.

20                    MR. MCGEE:     GOOD MORNING, YOUR HONOR.

21              RYAN MCGEE ON BEHALF OF THE PLAINTIFFS.

22                    THE COURT:     GOOD MORNING.

23                    MR. SHAPIRO:     GOOD MORNING, YOUR HONOR.

24              ANDREW SHAPIRO ON BEHALF OF GOOGLE.

25                    MR. ANSORG:     GOOD MORNING, YOUR HONOR.



                                 UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2    Filed 07/01/22   Page 54 of 227
                                                                                  5


 1                  THE COURT:    ALL RIGHT.   WE ARE ON FOR A HEARING ON

 2        THE PARTIES' OBJECTIONS TO THE REPORT AND RECOMMENDATION BY THE

 3        SPECIAL MASTER, THE REPORT AND RECOMMENDATION FOLLOWING SEVERAL

 4        MONTHS OF PROCEEDINGS BEFORE THE SPECIAL MASTER RELATED TO

 5        SPECIFIC DISCOVERY ISSUES THAT WERE REFERRED TO HIM.

 6              AND I OBVIOUSLY KEPT IN TOUCH WITH THE SPECIAL MASTER, AS

 7        I DID WITH THE PARTIES AS WELL, AND KEPT AN EYE ON THE

 8        PROGRESSION, AND I WAS PLEASED TO SEE THAT THERE WAS SOME

 9        PROGRESS THROUGH THAT PROCESS AND AS WE MOVE TOWARDS

10        IDENTIFICATION AND PRODUCTION OF CERTAIN DOCUMENTS.

11              I SEE THE ORDER NOW BEFORE ME, THAT IS THE RECOMMENDED

12       ORDER FROM THE SPECIAL MASTER, AND A METHODOLOGY ON HOW TO NOW,

13       GIVEN ALL THE WORK THE PARTIES HAVE DONE, THE AREAS OF

14       CONTINUED DISAGREEMENT, HOW TO ADDRESS AND TACKLE THOSE AND

15       REALLY BRING THESE ISSUES TO A CLOSE.

16              AND I READ THROUGH THE ORDER WITH CARE, AND THEN I DID

17       HAVE AN OPPORTUNITY TO DISCUSS IT WITH SPECIAL MASTER BRUSH, I

18       WANTED TO BE SURE I UNDERSTOOD THE COMPONENTS, AND THEN I

19       TURNED TO THE PARTIES' OBJECTIONS AND CONCERNS AND I WENT

20       THROUGH THOSE WITH CARE AS WELL.

21              I ALSO WENT BACK AND LOOKED AT THE PREVIOUS SUBMISSIONS

22       FROM THE PARTIES BEFORE THE COURT.     ON THESE ISSUES, THESE AND

23       RELATED ISSUES, AS WELL AS MY ORDERS TO GIVE, AGAIN, SPECIAL

24       CONSIDERATION, TO BE SURE I HAD THE WHOLE CONTEXT, MY

25       RECOLLECTION WAS REFRESHED AS TO WHERE WE HAD BEEN, AND TO THE



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2    Filed 07/01/22   Page 55 of 227
                                                                                  6


 1       ISSUES THAT REMAIN.

 2              IN REVIEWING THE OBJECTIONS ON BOTH SIDES, I DON'T SEE

 3       ARGUMENTS THAT I HAVE NOT SEEN BEFORE, EITHER DIRECTLY BEFORE

 4       ME OR BEFORE THE SPECIAL MASTER, EITHER THAT HAVE COME UP

 5       EITHER IN BRIEFING OR AT THE HEARING.      AND I THINK I HAVE A

 6       PRETTY GOOD IDEA AS TO WHAT THE PARTIES' CONCERNS ARE, AND I

 7       LOOK FORWARD TO THE DISCUSSION HERE TODAY.

 8              A WORD ABOUT MY PREVIOUS ORDERS, WHICH BOTH SIDES, ALL

 9       PARTIES REFER TO FROM TIME TO TIME IN THEIR OBJECTIONS, WHICH

10       IS THIS:   TO THE EXTENT MY ORDERS PREDATE REFERRAL TO THE

11       SPECIAL MASTER, I VIEW THOSE AS A STARTING POINT, AND THEN I

12       REFERRED THE MATTER TO THE SPECIAL MASTER, EXPECTING THE

13       APPLICATION OF HIS EXPERTISE AND HIS WORK AND TIME WITH YOU

14       ALL, TO REALLY HONE AND FINE TUNE MY ORDER AS HIS EXPERTISE

15       DETERMINES, TO FRANKLY, BETTER HONE IT AND BRING IT WITHIN ANY

16       PARAMETERS WITH REGARDS TO WHAT IS RELEVANT AND PROPORTIONAL.

17              I SEE THE PROCESS ON A CONTINUUM, IF YOU WILL.       AND THAT'S

18       HOW I LOOKED AT THE CONTEXT OF PROCEEDINGS, THE SPECIAL

19       MASTER'S RECOMMENDATION AND THE PARTIES' OBJECTIONS TO THOSE.

20              OKAY.   I THINK IT'S EVIDENT FROM THE SPECIAL MASTER'S

21       REPORT AND RECOMMENDATION, THAT THE PARTIES HAVE BEEN GIVEN

22       LOTS OF OPPORTUNITY TO NEGOTIATE DISCOVERY ISSUES, REACH

23       COMPROMISES, WHERE YOU CAN'T REACH A COMPROMISE, TO ASK TO BE

24       HEARD TO TRY TO DEVELOP OTHER WAYS AROUND WHATEVER THE IMPASSE

25       IS, AND THAT PROCESS CONTINUES TODAY.



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2    Filed 07/01/22   Page 56 of 227
                                                                                  7


 1              AND THE RESULT OF TODAY'S PROCEEDINGS WILL BE A COURT

 2       ORDER THAT WILL, YOU KNOW, I EITHER ADOPT THE SPECIAL MASTER

 3       ORDER, ADOPT WITH MODIFICATIONS, BUT IT WILL LEAD TO A CLOSE OF

 4       DISCOVERY ON THESE ISSUES.     WE ARE DRIVING THIS TO A

 5       CONCLUSION.

 6              YOU ALL HAVE YOUR CASE CALENDARS, YOU ALL HAVE OTHER

 7       BRIEFING SCHEDULES, SO THAT'S THE OBJECTIVE AND THAT'S WHERE WE

 8       ARE HEADED, AND WHAT WILL COME OUT OF THIS PROCEEDING WILL BE A

 9       DISCOVERY ORDER FROM THE COURT.

10              AND ALL I KNOW FOR SURE IS THAT WE WILL HAVE -- IT WILL

11       HAVE A TIGHT TIMELINE.    I APPRECIATE THE TIMELINES IN THE

12       SPECIAL MASTER'S RECOMMENDATION, AND WHETHER THOSE PRECISE

13       TIMELINES STAY IN PLACE OR NOT, IT WILL CERTAINLY BE VERY

14       TIGHT, AGAIN, WITH AN EYE TO THE OVERALL CASE SCHEDULE IN BOTH

15       CASES.

16              ALL RIGHT THEN.   LET'S GO AHEAD AND GET UNDER WAY, AND WE

17       WILL START WITH BROWN, AND WE WILL START WITH THE PLAINTIFF'S

18       OBJECTIONS AND THEN WE WILL TURN TO GOOGLE.       AND I DO HAVE HARD

19       COPIES OF THE PRESENTATION SLIDES THAT WERE PROVIDED, WHICH

20       ACTUALLY I LIKE, SO I CAN ALWAYS SCRIBBLE ON THEM.        AND I JUST

21       ASK, BECAUSE WE ARE USING THE P.A. SYSTEM, WE HAVE THE SPECIAL

22       MASTER ON ZOOM, THAT COUNSEL SPEAK INTO THE MICROPHONES, SPEAK

23       SLOWLY AND CLEARLY.

24              IF YOU ARE MORE COMFORTABLE SITTING AT TABLE AND USING THE

25       MICROPHONE THERE, IN LIGHT OF OUR COVID PRECAUTIONS, YOU ARE



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 57 of 227


 1

 2

 3

 4                            CERTIFICATE OF REPORTER

 5

 6

 7

 8                    I, THE UNDERSIGNED OFFICIAL COURT

 9       REPORTER OF THE UNITED STATES DISTRICT COURT FOR

10       THE NORTHERN DISTRICT OF CALIFORNIA, 280 SOUTH

11       FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

12       CERTIFY:

13                    THAT THE FOREGOING TRANSCRIPT,

14       CERTIFICATE INCLUSIVE, CONSTITUTES A TRUE, FULL AND

15       CORRECT TRANSCRIPT OF MY SHORTHAND NOTES TAKEN AS

16       SUCH OFFICIAL COURT REPORTER OF THE PROCEEDINGS

17       HEREINBEFORE ENTITLED AND REDUCED BY COMPUTER-AIDED

18       TRANSCRIPTION TO THE BEST OF MY ABILITY.

19

20

21

22

23

24
         _________________________
25       SUMMER A. FISHER, CSR, CRR
         CERTIFICATE NUMBER 13185                       DATED: 11/10/21
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 58 of 227




                     $1625*(
                     EXHIBIT 

        8QUHGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
            Case 4:20-cv-05146-YGR              Document 748-2           Filed 07/01/22       Page 59 of 227




From:                Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                Monday, November 22, 2021 7:50 PM
To:                  Tracy Gao; QE Calhoun; Douglas Brush
Subject:             Re Calhoun v. Google LLC (N.D. Cal. Case No. 20-cv-05146) - Confidential


                                 [EXTERNALEMAILfromtimothy.schmidt@accelconsulting.llc]


Ms.Gao,et.al.,

Thankyouforputtingtogetherthematerialsyouprovidedlastweek.Wehavereviewedthecontentsofthevarious
packagesyouprovided.Inorderforustoeffectivelyreviewthedocuments,weareassociatingitemstotheOrder’s
Exhibit1baseduponthesectionandwhereapplicable,oneormorenumbereditemswithinthatsection.

TheSpecialMaster’sevaluationoftheresultsprovidedusforcontentandcompliancewiththeOrderfollows:
    1. Section1(searcheddatasourceslisting,searchdates,batesranges)–TheSpecialMasterfindsthatthe
         documentprovided,2021Ͳ11Ͳ18CalhounOmnibusSheet.xlsx(Tab1)satisfiestheOrder’srequirements.
    2. Section1(declaration)–TheSpecialMasterfindsthatthedocumentsfoundwithinthefile,11.18.2021.zip
         (containsfiles:2021Ͳ11Ͳ18Declaration[dckt383_0].pdf,CalhounͲExhibitAͲREDACTEDCOPY.pdf,CalhounͲ
         ExhibitAͲUNREDACTEDCOPY.pdf,CalhounͲExhibitBͲREDACTEDCOPY.pdf,andCalhounͲExhibitBͲ
         UNREDACTEDCOPY.pdf)satisfytheOrder’srequirements.
    3. Section2–TheSpecialMasterfindsthatthedocumentprovided,2021Ͳ11Ͳ18CalhounOmnibusSheet.xlsx(Tab
         2)satisfiestheOrder’srequirements.
    4. Section3,Number1–TheSpecialMasterfindsthattheinformationfoundinTabs2and3.1.1Ͳ3.1.5,3.2.1–
         3.2.2of2021Ͳ11Ͳ18CalhounOmnibusSheet.xlsx,2021Ͳ11Ͳ18Brown&CalhounͲSpecialMasterSubmissionin
         ResponsetoNov.12Order.pdf,and2021Ͳ11Ͳ18DocumentationonDataSourcesandTools.pdfwillsatisfythe
         Order’srequirementsonceGoogleconfirmstotheSpecialMasterthatALLfieldnamesanddescriptionshave
         beenprovidedforalldatasourcesdescribedinSection3,Number1ofExhibit1oftheOrder.IfALLfieldnames
         andtheirdescriptionshavenotbeenprovidedfortherelevantdatasources,theywillneedtobeprovidedtothe
         SpecialMasterandconfirmedtotheSpecialMastertohavebeenprovidedinfullbyNovember23,2021.
    5. Section3,Numbers2Ͳ5–WhiletheSpecialMasterhasbeenprovidedthenamesofthedatasourcesandtools
         usedtocarryoutsearchesonthedatasourcessearchedbeforeNovember12,2021thatareoutsideofthose
         identifiedinSection3,Number1,andthenamesofdatasourcescontainingsyncͲstatesignals(including
         Zwiebackidentifiers),“backͲendlogs”,andBiscottiͲkeyeddata,theSpecialMasterhasnotbeenabletofind
         thattheremaininginformationorderedhasbeenprovidedinfull,specifically,schemas,fieldnames,andfield
         descriptionsforthedatasourcesidentifiedinSection3,Numbers2Ͳ5fortheCalhouncaseexceptingthose
         identifiedinSection3,Number1.Thisinformation,includingSchema,listofallfields,descriptionofeachfield
         mustbeprovidedtotheSpecialMasterbyNovember23,2021.
    6. Section5MainParagraph,Numbers1Ͳ3–TheSpecialMasterfindsthatthedocumentsprovidedbyGoogle,
         2021Ͳ11Ͳ16Calhounv.GoogleͲSpecialMasterSubmissioninResponsetoNov.12Order5.1Ͳ5.3.pdf,GOOGͲ
         CALHͲ00651647_HIGHLYCONFIDENTIALͲATTORNEYS'EYESONLY.xlsx,GOOGͲCALHͲ00651648_HIGHLY
         CONFIDENTIALͲATTORNEYS'EYESONLY.xlsx,GOOGͲCALHͲ00652282_HIGHLYCONFIDENTIALͲATTORNEYS'
         EYESONLY.csvsatisfiestheOrder’srequirements.

Plaintiffshaveprovidedthefollowinginputwithregardstotheirrequiredtasks:

    1. Section6–PlaintiffshaveprovidedBiscottiidentifiersandotherrelatedidentifierswithinthebodyofthe
       correspondenceandExhibitsentitled,2021.11.17ͲCalhounvGoogleͲPlaintiffs'LetterreBiscottiInformation

                                                              1
                 Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                 Page 60 of 227

           wAttachments.pdf.TheSpecialMasterhasapprovedtheBiscottiandrelatedidentifiersfoundinthe
           correspondenceforuseinsearchesanditerativesearchesofBiscottiIDcontainingdatasources.

WeareprovidingyouwithaccesstotherelevantinformationreferencedintheaboveemailviathefollowingShareFile
folderaccessibleonlytoMs.Gao.YouwillreceiveaShareFilenotificationshortly.

Number6abovesatisfiesthedependencyforprovidingthefirstroundofsearchtermhitsforSection5,Numbers1Ͳ3.
ThefirstiterativeroundofsearchtermsforSection5willbeduefromPlaintiffson11/24/2021.
Number1above(inthePlaintiffs’tasks)satisfiesthedependencyforprovidingBiscottiͲKeyeddata.Googleis
responsibleforperformingsearchesandprovidingfullrecordsofeachresponsiveandrelevantsearchtermhiton
11/29/2021.

Thankyou,
TimSchmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or confidentiality
protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please notify the sender by reply
email and delete this message.





                                                                                        2
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 61 of 227




                    $1625*(
                    EXHIBIT 

        5HGDFWHG9HUVLRQRI
         'RFXPHQW6RXJKW
           WREH6HDOHG
          Case 4:20-cv-05146-YGR             Document 748-2           Filed 07/01/22       Page 62 of 227

    BLEICHMAR FONTI & AULD LLP              DICELLO LEVITT GUTZLER LLC            SSIMMONS HANLY CONROY LLC
             th
    555 12 STREET, SUITE 1600               ONE GRAND CENTRAL PLACE                112 MADISON AVENUE, 7TH FL.
    OAKLAND, CA 94607                     60 EAST 42nd STREET, SUITE 2400                     NEW YORK, NY 10016
                                                NEW YORK, NY 10165
                                                                                                                  
       
                                                 'HFHPEHU
                                                           
      9,$(/(&7521,&0$,/
      6SHFLDO0DVWHU'RXJODV%UXVK                                   
      GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF
      7LPRWK\6FKPLGW
      WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF
      
                 5H &DOKRXQY*RRJOH//&1RFY/+.69. 1'&DO 
                          3ODLQWLIIV¶6XEPLVVLRQ
       
       'HDU6SHFLDO0DVWHU%UXVKDQG0U6FKPLGW
       
       7KH&DOKRXQ3ODLQWLIIVVXEPLWWKLVOHWWHULQFRPSOLDQFHZLWKWKH6SHFLDO0DVWHU¶VUHTXHVWWR
       LGHQWLI\  GDWD VRXUFHV RI 3ODLQWLIIV¶ GDWD IRU *RRJOH WR VHDUFK ,Q PDNLQJ WKLV VXEPLVVLRQ
       &DOKRXQ 3ODLQWLIIV UHSHDWWKHLUREMHFWLRQ WR *RRJOH¶VSURGXFWLRQRI MXVW DVXEVHWRIWKHGDWD LW
       XQODZIXOO\REWDLQHGIURP3ODLQWLIIV3ODLQWLIIVZLOOEHPDWHULDOO\SUHMXGLFHGE\*RRJOH¶VIDLOXUH
       WRLGHQWLI\DQGSURGXFHWKHIXOOVFRSHRIWKHLQIRUPDWLRQWKDWWKDWLWWRRNIURP3ODLQWLIIVZLWKRXW
       DXWKRUL]DWLRQ DQG WR SURGXFH VDPSOHV VXIILFLHQW WR HVWDEOLVK SURRI RI LW RQ D FODVVZLGH EDVLV
       ,QGHHG*RRJOHDUJXHVMXVWWKDWLWVRSSRVLWLRQWRFODVVFHUWLILFDWLRQ
       
                 $OWKRXJK3ODLQWLIIVDOVRDOOHJHWKDWµLQPDQ\FDVHV¶*RRJOHLQWHUFHSWHGµWKHFRQWHQWV
                 RIXVHUV¶3267FRPPXQLFDWLRQV)$& F ZKLFKWKHRUHWLFDOO\FRXOGLQFOXGH
                 VHDUFKWHUPVRIPHVVDJHV3ODLQWLIIVGRQRWDQGFDQQRWVKRZ*RRJOHUHFHLYHGVXFK
                 LQIRUPDWLRQFODVVZLGH
       
       *RRJOH¶V2SSRVLWLRQWR3ODLQWLIIV¶0RWLRQIRU&ODVV&HUWLILFDWLRQDW HPSKDVLVDGGHG 
       
       3ODLQWLIIVIXUWKHUREMHFWWRIXUWKHUSURFHHGLQJVSHUPLWWLQJ*RRJOHWRSURGXFHRQO\DVXEVHW
       EHIRUHWKHUHKDVEHHQDVWLSXODWLRQRUFRXUWGHWHUPLQDWLRQWKDWLWZRXOGEHXQGXO\EXUGHQVRPHIRU
       *RRJOHWRPDNHDIXOOSURGXFWLRQRIWKH3ODLQWLIIV¶GDWDWKDWLWXQODZIXOO\WRRNDQGXVHG
       
       3ODLQWLIIVDOVRREMHFWWRWKHDUELWUDWLRQOLPLWRI ORJV3ODLQWLIIVKDYHPDGHWKHLUVHOHFWLRQV
       IRUWKLVURXQGEDVHGODUJHO\RQWKHUHWHQWLRQSHULRGVSURYLGHG+RZHYHUWKHUHDUHDGGLWLRQDOORJV
       ZLWK VKRUWHU UHWHQWLRQ SHULRGV WKDW DUH RI GLIIHUHQW W\SHV DQG OLNHO\ FRQWDLQ KLJKO\ UHOHYDQW
       LQIRUPDWLRQWKDWZLOOQRWEHSUHVHQWLQWKH ORJVLGHQWLILHG3ODLQWLIIVKDYHPDGHWKHLUFXUUHQW
       ORJVHOHFWLRQVZLWKWKHXQGHUVWDQGLQJWKDWWKLVZLOOEHDQLWHUDWLYHSURFHVVZLWKRSSRUWXQLWLHVWR
       PDNHDGGLWLRQDOVHOHFWLRQ7KLV LV PHUHO\ RQHVWHSRIWKHSURFHVV QRW WKHFRPSOHWLRQ,QDQ\
       HYHQW3ODLQWLIIVVSHFLILFDOO\UHTXHVWWKDWWKH\EHSHUPLWWHGWRUHTXHVWSURGXFWLRQRIVDPSOHGDWD
       VHWVIRUHDFKRIWKHORJVLQTXHVWLRQRUDWWKHYHU\OHDVWHDFKVHSDUDWHW\SHRIORJLQTXHVWLRQ
       
       



                                                            
    Case 4:20-cv-05146-YGR           Document 748-2           Filed 07/01/22       Page 63 of 227

                                                                              

&RXQVHOIRU*RRJOH                                                       SIMMONS HANLY CONROY LLC
'HFHPEHU                                                          DICELLO LEVITT GUTZLER LLC
3DJH                                                                    BLEICHMAR FONTI & AULD LLP


    $ 6HOHFWHG'DWD6RXUFHV

6XEMHFWWRDQGZLWKRXWZDLYLQJWKHREMHFWLRQVVHWIRUWKDERYHDQGLQDFFRUGDQFHZLWKWKH
6SHFLDO0DVWHU¶VGLUHFWLYHV3ODLQWLIIVVHOHFWWKHIROORZLQJ     ORJVIRUWKLVURXQG
                                                    
                                                    
                                            
                                        
                                                                
                                        
                                        
                                                            
                                            
                                                        
                                                
                                                            
                                                                    
                                                                                          
                                                                                      

      % 6HDUFKE\*DLD=:%.DQG%LVFRWWLIRU(DFK'DWD6RXUFH
               
3ODLQWLIIV¶UHTXHVWWKDW*RRJOHVHDUFKWKH LGHQWLILHGORJVE\*DLD=ZLHEDFN%LVFRWWLDQG
DQ\LGHQWLILHUWKDWFDQEHH[WUDFWHGIURPµFLG¶YDOXHBJDBJLGRURWKHULGHQWLILHUVSURYLGHGIURP
3ODLQWLIIVWR*RRJOH±DVUHOHYDQWWRHDFKUHVSHFWLYHORJ3ODLQWLIIVQRWHWKDWWKH6SHFLDO0DVWHU¶V
UHTXHVW FRQWHPSODWHGWKDW 3ODLQWLIIVWKHPVHOYHVZRXOG FUDIWWKH V\QWD[RI WKHVHDUFKWHUPVIRU
HDFKORJ+RZHYHU'U=XEDLU6KDILTKDVLQIRUPHGXVWKDW*RRJOHKDVQRWSURYLGHGVXIILFLHQW
LQIRUPDWLRQIRUWKLVWRRFFXU7KHPRVWSURPLQHQWH[DPSOHRIZK\FRPHVIURP%LVFRWWL,'V$V
3ODLQWLIIVXQGHUVWDQGLWWKH%LVFRWWLFRRNLHVWKDWDUHYLVLEOHWRQRQ*RRJOHUVFRQWDLQDQHQFU\SWHG
IRUPRIDVHSDUDWH%LVFRWWL,'7KHUHIRUHWKH%LVFRWWLFRRNLHYDOXHVRIZKLFKZHDUHDZDUHZLOO
QRWFRUUHVSRQGZLWKD%LVFRWWL,'WKDWZHFRXOGSOXJLQWRDQ\RI*RRJOH¶VV\VWHPVWRFRQGXFWD
VHDUFK,QVWHDGZHEHOLHYHLWZRXOGKDYHWREHGHFU\SWHGILUVW5DWKHUWKDQFUDIWWKHVHDUFKWHUPV
EDVHGRQLQFRPSOHWHLQIRUPDWLRQ3ODLQWLIIVKDYHVXEPLWWHGUHOHYDQWFRRNLHYDOXHVIRU*RRJOHWR
FRQGXFWWKHVHDUFKHV

      & )XOO,QIRUPDWLRQ$ERXW6HOHFWHG)LHOGV

3ODLQWLIIVUHTXHVWWKDW*RRJOHSURYLGHPRUHLQIRUPDWLRQDERXWDVXEVHWRIILHOGVIRUWKHDERYH
         VHOHFWHGORJV7KHVHILHOGVDUHKLJKOLJKWHGLQWKHDWWDFKHG([FHOGRFXPHQWVFRQWDLQLQJOLVWV
RIILHOGVIRUHDFKRIWKHUHTXHVWHGORJV±DQGDJOREDOOLVWLVSURYLGHGDWWKHHQGRIWKLVOHWWHU
    Case 4:20-cv-05146-YGR              Document 748-2           Filed 07/01/22        Page 64 of 227

                                                                                  

&RXQVHOIRU*RRJOH                                                         SIMMONS HANLY CONROY LLC
'HFHPEHU                                                            DICELLO LEVITT GUTZLER LLC
3DJH                                                                      BLEICHMAR FONTI & AULD LLP



      ' 6HDUFKDQG3URGXFHZLWK)XOO3ULYDF\3HUPLVVLRQV(QDEOHG

3UHYLRXV SURGXFWLRQ IURP *RRJOH KDYH LQFOXGHG ILHOGV WKDW ZHUH QRW SRSXODWHG EHFDXVH
*RRJOHGLGQRWFRQGXFWWKHVHDUFKZLWKIXOOSULYDF\SHUPLVVLRQVHQDEOHG)RUH[DPSOHSURGXFWLRQ
RI;FOLHQWGDWDLQ*22*&$/+UHGDFWHGYDOXHVIRU58/,'(DQG'6,'FRRNLHV
3ODLQWLIIVUHTXHVWWKDW*RRJOHVHDUFKWKHGDWDVRXUFHVZLWKSHUPLVVLRQVIXOO\HQDEOHGVXFKWKDW
UHVXOWVZLOOQRWLQFOXGHUHGDFWHGLQIRUPDWLRQ

      ( )RRWSULQWVDQG2]DV2QH'DWD6RXUFH(DFK±DQG$QVZHUVUH6DZPLOO

3ODLQWLIIV LGHQWLI\            DQG  DV D VLQJOH GDWD VRXUFH IRU HDFK EHFDXVH LW LV RXU
XQGHUVWDQGLQJWKDWWKHUHDUHWRROVDYDLODEOHIRUWKHVHVRXUFHVWKDWPDNHLWHDV\WRVHDUFKDFURVV
PXOWLSOH SHUKDSV GR]HQV RU KXQGUHGV  RI XQGHUO\LQJ GDWD VRXUFHV LQ DQ HIILFLHQW PDQQHU )RU
H[DPSOHWKH*22*&$/+LVDVLQJOH([FHOILOHWKDWFRQWDLQVUHVXOWVIRUVHDUFKHVRI
PXOWLSOHVXEGDWDVRXUFHVZLWKLQ                $VVXFK3ODLQWLIIVEHOLHYHLWLVUHDVRQDEOHWRLGHQWLI\
             DQG UHVSHFWLYHO\DVVLQJOHVHDUFKORFDWLRQV,QDGGLWLRQ3ODLQWLIIVKDYHDWWDFKHG
*22*&$/+WKDWVXJJHVWV                         *DLDVHDUFKHVDUHQRWEXUGHQVRPH

3ODLQWLIIVVXVSHFWWKDW*RRJOHPLJKWDOVREHFDSDEOHRIVHDUFKLQJPXOWLSOH                  ORJVLQDQ
HIILFLHQWPDQQHUDQGVXJJHVWWKDWWKH6SHFLDO0DVWHULQTXLUHZKHWKHUWKLVLVWUXH

      ) 3URGXFWLRQRI;&OLHQW'DWD+HDGHU,QIRUPDWLRQ

*RRJOH¶VLGHQWLILFDWLRQRIILHOGVGRHVQRWVSHFLILFDOO\OLVWWKH;FOLHQWGDWDKHDGHULQDQ\ORJ
+RZHYHU *RRJOH¶V VXEPLVVLRQ WR WKH 6SHFLDO 0DVWHU RQ 1RYHPEHU   VWDWHG WKDW LW
SURGXFHG³;&OLHQW'DWD+HDGHUGDWD´IRU3ODLQWLII0LFKDO+HQU\LQ*22*&$/+
3ODLQWLIIV UHTXHVW WKDW *RRJOH LGHQWLI\ WKH VRXUFH RI *22*&$/+ DQG DOO RWKHU
VRXUFHVZKHUHWKH;&OLHQW'DWD+HDGHUYDOXHPD\DSSHDU

      * 3URGXFWLRQRI'DWD*RRJOH+DV3UHVHUYHG%XW1RW3URGXFHG

3ODLQWLIIV UHTXHVW WKDW *RRJOH SURGXFH DOO GDWD WKDW LW KDV SUHYLRXVO\ LGHQWLILHG DV EHLQJ
³SUHVHUYHG´IRU3ODLQWLIIVEXWQRWSURGXFHG7KHUHLVQREXUGHQRIFROOHFWLRQVLQFHWKLVKDGDOUHDG\
EHHQGRQH7RWKLVHQG3ODLQWLIIVKDYHDWWDFKHGDQ([FHOVSUHDGVKHHWODEHOHG³*/LVWRI'DWD
6RXUFHV*RRJOHV6WDWHVDUH3UHVHUYHG%XW1RW3URGXFHG´

      + ([SODLQLQJUH/DFNRI6\QF6LJQDO5HTXHVWV

3ODLQWLIIVQRWHWKDWWKLVURXQGRIVHDUFKUHTXHVWVGRHVQRWLQFOXGHDQ\ORJVWKDW*RRJOHKDV
LGHQWLILHGDVFRQWDLQLQJGLUHFW6\QFVLJQDOV7KHUHDVRQIRUWKLVLVWKDWZHH[SHFWVXFKORJVZLOO
        Case 4:20-cv-05146-YGR        Document 748-2           Filed 07/01/22       Page 65 of 227

                                                                               

&RXQVHOIRU*RRJOH                                                      SIMMONS HANLY CONROY LLC
'HFHPEHU                                                         DICELLO LEVITT GUTZLER LLC
3DJH                                                                   BLEICHMAR FONTI & AULD LLP


FRQWDLQ QXOO VHWV JLYHQ WKH VKRUW UHWHQWLRQ SHULRGV 3ODLQWLIIV UHTXHVW WKDW WKH 6SHFLDO 0DVWHU
FRQVLGHU6\QFVLJQDOV GLUHFWDQGLQGLUHFW DVSDUWRIWKH3DUWLHV¶GLVSXWHDERXWGDWDSUHVHUYDWLRQ
DQGFUHDWHDVHSDUDWHSURFHVVIRU*RRJOHWRSURYLGH3ODLQWLIIVZLWKPRUHLQIRUPDWLRQDERXWDOO
VXFKORJVWKHLUILHOGVDQGWKHLUUHWHQWLRQSHULRGV3ODLQWLIIVZLOOVHQGVHSDUDWHFRUUHVSRQGHQFH
UHJDUGLQJWKLVGLVSXWH

      , 3URGXFWLRQRI                               /RJ'DWD

3ODLQWLIIV DOVR GLG QRW LQFOXGH DQ\ UHTXHVWV IRU ZKDW *RRJOH KDV ODEHOHG
³                           ´ORJV6LPLODUWRWKH6\QFVLJQDOORJVZHUHIUDLQHGIURPGRLQJVRLQWKH
LQLWLDOUHTXHVWEHFDXVHZHEHOLHYHLWZRXOGUHVXOWLQQXOOVHWVIRUPDQ\3ODLQWLIIVDQGGLGQRWZLVK
WRSULRULWL]HWKHLUSURGXFWLRQDKHDGRIORJVIRUZKLFKWKHUHZRXOGQRWEHQXOOVHWV1HYHUWKHOHVV
WKHVHORJVDUHUHOHYDQWDQGVKRXOGEHVHDUFKHGDQGSURGXFHG 3ODLQWLIIVVHSDUDWHO\UHTXHVWWKDW
*RRJOH         SURGXFH       DOO    GDWD       FRQWDLQHG     LQ                                      
                                                                                                    DQG
                                                

      - 5HTXHVWIRU$GGLWLRQDO'DWD6RXUFHV

$VVWDWHGDERYH3ODLQWLIIV¶VHOHFWLRQVZHUHGLFWDWHGODUJHO\E\UHWHQWLRQSHULRG±UHDVRQLQJ
WKDWGDWDVRXUFHVZLWKVKRUWUHWHQWLRQSHULRGVZLOOOLNHO\UHWXUQQXOOVHWV7KHH[FHSWLRQVDUHWKH
ORJVLGHQWLILHGDV1RVDQGIRUDQDO\WLFVFROOHFWLRQLQIRUPDWLRQZKLFKDUHFRQWDLQHGLQORJV
ZLWKMXVW          UHWHQWLRQSHULRGV3ODLQWLIIVDQWLFLSDWHWKLVZLOOUHVXOWLQQXOOVHWVIRUDOOEXWWKH
WHVWDFFRXQWVVXEPLWWHGE\'U6KDILTZLWKDUHDFFRXQWVIRU%UDQ6WDUN1HG6WDUNDQG5REE
6WDUN ZLWK WKH HPDLO DGGUHVVHV EUDQVWDUN#JPDLOFRP QHGVWDUN#JPDLOFRP DQG
UREE#JPDLOFRPUHVSHFWLYHO\,QVRGRLQJZHZHUHIRUFHGE\WKHDUELWUDU\OLPLWWRIRUHJR
DUHTXHVWIRULQIRUPDWLRQIURPORJVZLWKORQJHUUHWHQWLRQSHULRGV3ODLQWLIIVUHVSHFWIXOO\UHTXHVW
SHUPLVVLRQ WR VXEPLW DGGLWLRQDO GDWD VRXUFHV IRU SURGXFWLRQ :LWK WKH 6SHFLDO 0DVWHU¶V
SHUPLVVLRQ3ODLQWLIIVFDQSURYLGHVXFKLQIRUPDWLRQTXLFNO\

                                                         6LQFHUHO\
  

                                                                      
                                                     -D\%DUQHV
    
    
                                                      MD\EDUQHV#VLPPRQVILUPFRP
                                                     
    
    
                                 

 9LVLEOHLGHQWLILHUVIRUWKHVHDFFRXQWVKDYHEHHQSURYLGHGZLWKWKLVVXEPLVVLRQ,QDGGLWLRQWKH
QHFHVVDU\6WRUHG&RPPXQLFDWLRQV$FWFRQVHQWVKDYHSUHYLRXVO\EHHQHPDLOHGWR*RRJOH
        Case 4:20-cv-05146-YGR   Document 748-2    Filed 07/01/22       Page 66 of 227

                                                                   

&RXQVHOIRU*RRJOH                                          SIMMONS HANLY CONROY LLC
'HFHPEHU                                             DICELLO LEVITT GUTZLER LLC
3DJH                                                       BLEICHMAR FONTI & AULD LLP



    
    
                                                   
                                            /HVOH\:HDYHU
                                           OZHDYHU#EIDODZFRP
                                            


                                                                     
                                            'DYLG6WUDLWH
                                            GVWUDLWH#GLFHOOROHYLWWFRP




FFYLDHPDLO

3ODLQWLIIV¶&RXQVHO
DNHOOHU#GLFHOOROHYLWWFRP
DSURP#GLFHOOROHYLWWFRP
DRUQHODV#EIDODZFRP
DWUXRQJ#VLPPRQVILUPFRP
HMRKQVRQ#VLPPRQVILUPFRP
VFUX]#GLFHOOROHYLWWFRP
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 67 of 227




                    $1625*(
                    EXHIBIT 

                    6HDOHGLQLWV
                     (QWLUHW\
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 68 of 227




                    $1625*(
                    EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
            Case 4:20-cv-05146-YGR               Document 748-2           Filed 07/01/22         Page 69 of 227




From:                 Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                 Thursday, December 30, 2021 1:41 PM
To:                   Jay Barnes; Josef Ansorge; Tracy Gao
Cc:                   David Straite; Lesley Weaver; Amy Keller; Adam Prom; Angelica Ornelas; An Truong; Eric Johnson;
                      Sharon Cruz; Douglas Brush; QE Calhoun
Subject:              Re: Calhoun Plaintiffs Submission
Attachments:          2021.12.29 - Calhoun Plaintiffs Submission to Special Master Brush.pdf


                                  [EXTERNALEMAILfromtimothy.schmidt@accelconsulting.llc]


Mr.Barnes,etal.,

Thankyouforprovidinganupdatetoyourearlierletterconcerningthe datasourcesandkeywordsSpecialMaster
Brushrequestedyouprovideuslastweek.SpecialMasterBrushandIhavereviewed,analyzed,anddiscussedyour
submission.

WithrespecttothecontentprecedingSectionA;thiscontentisoutsidethescopeofinformationrequestedinExhibit1,
Section4.

DatasourceselectionandSearchtermsandcriteria:
    1. SpecialMasterBrushaccepts"A.SelectedDataSources"andthefirstparagraphof"E.                  and asOne
         DataSourceEach–andAnswersre                asyourselectionofdatasourcestobesearchedrelevanttoExhibit
         1,Section4.
    2. SpecialMasterBrushaccepts"B.SearchbyGaia,ZWBK,andBiscottiforEachDataSource,""D.Searchand
         ProducewithFullPrivacyPermissionsEnabled,"andaportionof"J.RequestforAdditionalDataSources"(J)as
         thecriteriaandsearchtermstobeappliedbyGoogleincarryingoutsearchesofthedatasourcesidentifiedin
         number1above.Theportionof"J"whichwillbewithheldfromthisrequestasitisoutsideofthescopeof
         Exhibit1,Section4(atthistime)isthefinaltwosentencesofthesectionbeginningwith"Plaintiffs
         respectfully..."andendingwith"...informationquickly."
    3. Ofnotearecookievaluesthatmaybeprovidedwithintheattachmentsyouhaveprovidedforsearchcriteria
         andterms;SpecialMasterBrushhasdeterminedthatGoogleisrequiredtodecryptordecodeallthesethat
         havebeenprovidedandtouseanidentifierorotheridentifyingitemthatisfoundtobecontainedwithinthose
         cookievaluesassearchterms.Googlewillalsoproducetheentirecontentsofallcookiesthathavebeen
         decryptedordecodedtoyouaspartofthisexercise.
    4. AllsearchtermsaretobesearchedacrossALLfieldsofALLdatasourcesidentifiedforsearching.

Fielddescriptions–perSection3ofExhibit1,SpecialMasterBrush,hasdeterminedthatGooglewillproducedata
sourcefielddescriptionsasdescribedinSection"C.FullInformationAboutSelectedFields"forallfieldnamesidentified
inyellowhighlightinginAttachmentsC4,C5,C7ͲC17.C6fielddescriptionshavealreadybeenprovidedandarenot
orderedagainunlessGooglehasidentifiedsignificanterrorsoromissionsinitsfirstissuanceofthisinformationinthe
"Omnibus"documents.

OutsidescopeofExhibit1,Section4–SpecialMasterBrushhasdeterminedthatSectionsF,G,H,andIareoutsidethe
scopeofExhibit1,Section4atthistime.Therefore,thetasksrequestedinthesesectionsarenotrequiredtobe
performedbyGoogleatthistime.


Ms.Gao,Mr.Ansorge,etal.,
                                                                1
                 Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                 Page 70 of 227


PlaintiffshaveidentifieddatasourcesandcriteriaandsearchtermsforGoogletosearchidentifieddatasources.Please
carryoutyoursearchesasindicatedaboveandpertherelevantportionsofMr.Barnes'sletterofDecember29,2021
(attached).Searchresultswillincludeallfieldsfromresponsiveandrelevantsearchtermhitsirrespectiveofthe
contentsofeachfieldineachresponsiverecord.Also,aspartoftheproductionforthisexercise,Googlewillprovidethe
searchterms,criteria,andtoolsusedtocarryouteachdatasourcesearch.

WearealsoprovidingtheadditionalfilesandinformationsourcesreferencedinMr.Barnes'slettertoallowyour
technicalstafftosuccessfullycarryoutthefirstiterationofsearchesoverthesubsetofdatasourcesthattheCalhoun
Plaintiffshaverequestedbesearched.YouwillfindthesematerialsonourShareFileinafolderentitled"20211230".

Werealizethatithastakenmorethanthethreedaysoriginallyenvisionedtoperformsearchactivities.Therefore,we
areextendingthetimeframefromthreetosevencalendardaysfromtomorrow,withtheduedatebeingJanuary7,
2022,CloseofBusinessEasternStandardTime.

Astheseprocesseshavebeendelayedandthediscoveryprocessissooncomingtoaclose,weimploreyoutoenlist
adequatenumbersofstaffacrossalloftherequireddisciplinestocompletesearchesandprovisioningoffielddefinitions
inthetimeallotted.

Thankyou,
TimSchmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or confidentiality
protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please notify the sender by reply
email and delete this message.


           From:JayBarnes<jaybarnes@simmonsfirm.com>
           Date:Wednesday,December29,2021at5:06PM
           To:TimothySchmidt<timothy.schmidt@accelconsulting.llc>,DouglasBrush
           <douglas.brush@accelconsulting.llc>,DavidStraite<dstraite@dicellolevitt.com>,LesleyWeaver
           <lweaver@bfalaw.com>,AmyKeller<akeller@dicellolevitt.com>,AdamProm
           <aprom@dicellolevitt.com>,AngelicaOrnelas<aornelas@bfalaw.com>,AnTruong
           <atruong@simmonsfirm.com>,EricJohnson<ejohnson@simmonsfirm.com>,SharonCruz
           <scruz@dicellolevitt.com>
           Subject:CalhounPlaintiffsSubmission
           
           SpecialMasterBrushandMr.Schmidt:
           
           PleasefindattachedaletterwiththeCalhounPlaintiffssubmission.IwillfollowwithaninvitationtoaBox.com
           folderthatcontainsvariousattachmentsreferencedintheletter.
           
           Pleasedonothesitatetocontactmeifthereareanyquestionsorissueswiththesubmission.
           
           Sincerely,
           JayBarnes
           
                                                                                        2
   Case 4:20-cv-05146-YGR              Document 748-2           Filed 07/01/22       Page 71 of 227



                                            
-D\%DUQHV
2QH&RXUW6WUHHW$OWRQ,/
3K
MD\EDUQHV#VLPPRQVILUPFRP

ThiseͲmailandanyfilestransmittedwithitareprivilegedandconfidential,andtheyareintendedsolelyforthe
useoftheintendedrecipient(s).Ifyouarenotanintendedrecipient,youshouldnotifythesenderimmediately,
deletethiseͲmailandanyfilestransmittedwithitfromyoursystem,anddestroyorreturnallcopies.




                                                     3
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 72 of 227




                    $1625*(
                    EXHIBIT 

        8QUHGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
           Case 4:20-cv-05146-YGR             Document 748-2          Filed 07/01/22        Page 73 of 227




From:                Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                Saturday, February 26, 2022 5:19 PM
To:                  QE Brown; rmcgee@forthepeople.com; GOOGLETEAM@lists.susmangodfrey.com; Jay Barnes; Lesley
                     Weaver; David Straite; Amy Keller; Adam Prom; Angelica Ornelas; An Truong; Eric Johnson; Sharon
                     Cruz
Cc:                  Douglas Brush
Subject:             Brown ((20-3664) Calhoun (20-5146) v. Google - Informal Parties' Experts Meet and Confer
                     Conference this Monday - Confidential


                                [EXTERNALEMAILfromtimothy.schmidt@accelconsulting.llc]


All,

SpecialMasterBrushandImetatlengthwithMagistrateJudgevanKeulenthistoday,Saturday,February26,2022.

SpecialMasterBrushordersthePartiestoholdaninitialmeetingwiththeirrespectiveexpertstodesignamethodology
forfinishingDremeltoolsearches.Additionally,theDremeltoolresultswillaidandcreatesearchesofhistoricaldata
setsforsourcesidentifiedbyBrownandCalhounPlaintiffs.Additionalmeetingswilllikelybenecessarythroughoutthe
weektocompletediscovery.

ThemethodologywillusetheFlume(orotherrelevant)tool(s)tosearchfour(4)five(5)dayperiodsoverafour(4)
monthperiod,whichstillretainsdatafortherelevantdatasources.Wheredatasourcesdonotholdfour(4)ormore
monthsofhistory,thefiveͲdayperiodstobesearchedwillbewithinwhatevertheremainingperiodthosedatasources
maymaintain.

ThemeetingwillincludeuptotwoexpertsfromeachPlaintiffandforGoogle,enoughexpertsthatcandeveloprelevant
FlumescriptsforALLrelevantdatasources.

Themeetingwillbeginat10:00amESTandbepresidedoverbySpecialMasterBrush.

Theoutcomesofthisinitialmeetingwillbeasfollows:
      1. CompletingproductionsforDremelsearchestomeetthediscoverydeadline.
      2. Additionalmeetingswithexpertswithouttheinputofattorneysthroughouttheweek.
      3. FlumesearchscriptsadequatetosearchforPlaintiffidentifiedcriteriaacrosseachdatasourceforwhichthe
         DremeltoolwasusedorforwhichGoogledidnotproduceresultsthatcoveredtheentirehistoricalperiodof
         dataheldinadatasource.
      4. Daterangeselectionstobesearchedforeachdatasource.
      5. Timelineandestimatedcompletiondateforeachdatasource’sFlumesearchscript’scompletionandproduction
         toPlaintiffs.

Eachpartywillneedtocirculateyourlistofexpertsandmatchthemtorelevantdatasourceswhereapplicable;thisis
duenolaterthan5:00pmtomorrow,Sunday,February27,2022.

AsGoogleisinvolvedinbothmatters,ifGooglecancirculateaZoominvite,thingswouldbeeasiesttomanagefroma
logisticalstandpoint.

Thankyou,
TimSchmidt
                                                            1
                 Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                 Page 74 of 227


Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or confidentiality
protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please notify the sender by reply
email and delete this message.





                                                                                        2
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 75 of 227




                    $1625*(
                    EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
     Case 4:20-cv-05146-YGR   Document 748-2 Filed 07/01/22   Page 76 of 227
                                   CONFIDENTIAL

 1                   IN THE UNITED STATES DISTRICT COURT
 2                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                               SAN JOSE DIVISION
 4                                     ---o0o---
 5      PATRICK CALHOUN, et al.,                )
        on behalf of themselves and             )
 6      all others similarly                    )
        situated,                               )
 7                                              )
                    Plaintiffs,                 )Case No.
 8                                              )5:20-cv-5146-LHK-SVK
        vs.                                     )
 9                                              )
        GOOGLE LLC,                             )
10                                              )
                    Defendant.                  )
11      ______________________________)
12
13                        Zoom Special Master Hearing
14                                 CONFIDENTIAL
15                        Thursday, February 24, 2022
16
17
18
19
20
21
22
23      Katy E. Schmidt
24      RPR, RMR, CRR, CSR 13096
25      Veritext Job No.: 5107673

                                                                   Page 1

                                 Veritext Legal Solutions
                                      866 299-5127
Case 4:20-cv-05146-YGR                           Document 748-2 Filed 07/01/22                   Page 77 of 227
                                                      CONFIDENTIAL
 1        IN THE UNITED STATES DISTRICT COURT           1               DENVER, COLORADO
 2       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                        2        THURSDAY, FEBRUARY 24, 2022; 8:02 A.M.
 3               SAN JOSE DIVISION
 4                  ---o0o---                           3                  ---o0o---
 5 PATRICK CALHOUN, et al.,            )                4        SPECIAL MASTER BRUSH: Let's go on the record.
   on behalf of themselves and )                        5        And, yeah, there were a series of e-mails last
 6 all others similarly         )
                                                        6 night over some issues about the updated discovery
   situated,                )
 7                      )                               7 charts that have to go before the Court.
          Plaintiffs,       )Case No.                   8        And I do want to -- I do appreciate people
 8                      )5:20-cv-5146-LHK-SVK           9 coming to me to resolve issues like that. But there are
   vs.                    )                            10 certain things that are going to be on the balance of
 9                      )
   GOOGLE LLC,                    )                    11 that.
10                      )                              12        And right off the bat, I do want to discuss
          Defendant.          )                        13 that because there are issues that I have with that that
11 ______________________________)                     14 I can't really go to the judge on certain things such as
12
                                                       15 this, and kind of go outside of where my lanes are.
13
14                                                     16        But I certainly want to hear on the record
15                                                     17 what parties have to say about this. So hopefully
16                                                     18 there's something that you all can come to an agreement
17
                                                       19 on so it's not something that spurs out of control and
18
19                                                     20 we have an issue that distracts what we're doing in
20                                                     21 front of the judge with other issues that are not in
21                                                     22 front of me.
22
                                                       23        MR. SCHAPIRO: Yeah. So --
23        Special Master Hearing on Thursday, February
24 24, 2022, at 8:02 a m., virtually before Kathryn E. 24        MR. BARNES: Hold on, Mr. Schapiro. One
25 Schmidt, RPR, RMR, CRR, CSR 13096.                  25 moment -- hold on just one moment.
                                                          Page 2                                                          Page 4
 1 APPEARANCES:
 2 For The Plaintiffs:                                              1        Before Mr. Schapiro begins, the plaintiffs
 3             (Appeared via Zoom)                                  2 object to Mr. Schapiro raising this issue at all before
 4       DICELLO LEVITT GUTZLER
         BY: DAVID A STRAITE, Esq                                   3 the Special Master. These are not issues before the
 5       BY: SHARON CRUZ, Esq
         One Grand Central Place                                    4 Special Master. So we're going to object to raising
 6       60 East 42nd Street, Suite 2400                            5 these issues at all. And now we can have the discussion
         New York, New York 10165
 7       646 933 1000                                               6 about it.
         dstraite@dicellolevitt com
 8                                                                  7        But before you began, Mr. Schapiro, I wanted
         SIMMONS HANLY CONROY                                       8 to make our objection.
 9       BY: JASON "JAY" BARNES, Esq
         BY: AN TRUONG, Esq                                         9        So go ahead.
10       One Court Street
         Alton, Illinois 62002                                     10        MR. SCHAPIRO: So -- so I want to just clarify
11       618 693 3104
                                                                   11 where we are and where this came from. And I hope that
         jaybarnes@simmonsfirm com
12                                                                 12 we will be able to work it out with Mr. Straite and the
         BLEICHMAR FONTI & AULD LLP
13       BY: ANGELICA ORNELAS, Esq                                 13 others who are working on this. It's fine.
         555 12th Street, Suite 1600
14       Oakland, California 994607
                                                                   14        And granted, it's unorthodox, although I have
         415 445 4003                                              15 a different case where -- probably because the
15       aornelas@bfalaw com
16 For The Defendants:                                             16 Special Master has a slightly different role there. The
17             (Appeared via Zoom)
18       Quinn Emanuel Urquhart & Sullivan LLP
                                                                   17 Special Master has sort of been acting as a go-between
         BY: JOSEF ANSORGE, Esq                                    18 because -- because we are not in that case, similar to
19       BY: ANDREW SCHAPIRO, Esq
         BY: BRETT WATKINS, Esq                                    19 here, in a position where we can just e-mail the
20       BY: TRACY GAO, Esq
         51 Madison Avenue, 22nd Floor
                                                                   20 Magistrate Judge out of the blue.
21       New York, New York 10010                                  21        So we're certainly not trying to make any more
         212 849 7000
22       josefansorge@quinnemanuel com                             22 work for anyone, but we are sort of at a loss here. And
23 Also present:
24       Douglas Brush, Special Master
                                                                   23 I'm disadvantaged slightly because Viola isn't on, who's
         Timothy Schmidt, Special Master                           24 been in the trenches on this.
25
                  ---o0o---                                        25        But we have obligations on a very tight
                                                          Page 3                                                          Page 5

                                                                                                              2 (Pages 2 - 5)
                                                    Veritext Legal Solutions
                                                         866 299-5127
Case 4:20-cv-05146-YGR                   Document 748-2 Filed 07/01/22                         Page 78 of 227
                                              CONFIDENTIAL
 1 burden.                                                        1 grievances for Google, and we're happy to do that. But
 2        And so my second bullet point on this general           2 if you're converting this into a deposition, with
 3 topic is we want to tee this up. And to the extent             3 respect, I'd ask that we approach it differently.
 4 Google has made all these arguments about undue burden         4        You're seeking some specific testimony from
 5 and massive burden, we need binding findings of fact           5 counsel here under a meet and confer. I don't think
 6 that production of data for six people is unduly               6 that's going to get us to the goal quicker --
 7 burdensome for a case that Google says would be                7        MR. STRAITE: Okay.
 8 historic.                                                      8        MR. ANSORGE: -- or to the task quicker.
 9        And you can't -- Google can't make the                  9        MR. STRAITE: That's fair. So the question I
10 argument about burden without also taking the                 10 have --
11 responsibility of what comes with that argument.              11        MR. ANSORGE: Well, you have questions,
12        So Mr. Straite --                                      12 discovery on discovery questions. I think there's ways
13        MR. ANSORGE: I think I'm the only person with          13 in which some of those can be posed in appropriate
14 the overwhelming sense of déjà vu because we've               14 format.
15 addressed these issues a number of times. And                 15        This doesn't strike me as that. This is not
16 preservation is not the same as production. It's              16 something where I would want to shoot from the hip and
17 something different from production. And that's all           17 say "I'll represent to you this is stored here. This is
18 we're saying here. We're not trying to --                     18 here. This cookie is sent here."
19        MR. STRAITE: Right.                                    19        No, Mr. Barnes. They are complex issues that
20        MR. ANSORGE: -- make other arguments.                  20 would require us to sit down and actually look at them
21        MR. STRAITE: May I ask --                              21 because we want to be precise in our responses.
22        MR. BARNES: We're not arguing about that.              22        MR. STRAITE: So, Special Master Brush, we
23        MR. STRAITE: May I ask a very simple                   23 have a formal request, we would like a answer yes or no
24 question before we get into -- you know, those are very       24 to the question: Is there data associated with the
25 important questions that Mr. Barnes raised.                   25 plaintiffs, their identifiers and their devices, that
                                                       Page 90                                                        Page 92

 1        Can I ask a simple question just so we know?            1 has already been identified, collected, segregated, and
 2        Now we have a court reporter. I may have                2 preserved but not produced? And when can we have an
 3 missed this. Joey, did you say that early in this case         3 answer to that simple question?
 4 Google searched for, identified, segregated, and is            4        SPECIAL MASTER BRUSH: Put it in writing and
 5 preserving plaintiff data that's not been produced in          5 let's address it.
 6 this case? Yes or no.                                          6        Now, I will say, I do -- there's a lot that
 7        MR. ANSORGE: We'll have to look at what the             7 just went on in that, that there are some nuances and
 8 court reporter's transcribed. I'm pretty sure I did not        8 Federal procedures in discovery; right?
 9 say that. I have no recollection of saying that.               9        So we have the issue of preservation,
10        Does that sound like something I just said?            10 searching, and production.
11        MR. STRAITE: Is there plaintiff data in this           11        If there are things that were withheld, the
12 case that Google has identified and segregated and            12 respondent has the right under certain circumstances not
13 preserved but not produced?                                   13 to produce it; if it's duplicative, there's privilege
14        MR. ANSORGE: That's one I'd have to go and             14 log issues, there's a variety of different constructs of
15 look at in particular. I know there's been --                 15 that.
16 preservation steps have been taken. I understand that         16        Again, not -- it is a bit of a legal logic to
17 those searches and steps are different from the specific      17 say, "Well, something has been preserved and therefore
18 targeted searches that we've been going through.              18 it has to be produced." There is a lot of little steps
19        I take -- and, Mr. Straite, let me address it          19 that go into that.
20 this way: You're going to have opportunities, as you've       20        MR. STRAITE: Understood.
21 had many, to ask witnesses questions at deposition.           21        SPECIAL MASTER BRUSH: So we have to go into
22        We've -- well, I'm sorry if you're laughing            22 that with open eyes. And what I'm asking for and what I
23 about it, Mr. Barnes, but we're almost up on two hours        23 think is -- you know, to the extent there's a
24 and I feel like for some reason it's almost like a            24 privilege -- not privilege -- I'm sorry -- a production
25 medieval game where I have to stand in for all your           25 log that details this that could be helpful, I would
                                                       Page 91                                                        Page 93

                                                                                                      24 (Pages 90 - 93)
                                               Veritext Legal Solutions
                                                    866 299-5127
Case 4:20-cv-05146-YGR                 Document 748-2 Filed 07/01/22                       Page 79 of 227
                                            CONFIDENTIAL
 1 imagine it exists and allows parties to kind of have a      1         Within the context of plaintiffs like to focus
 2 better understanding of this. I thought we had provided     2 on, "Oh, all plaintiffs data should be produced."
 3 that or thought there had been some exchanges or views      3         And Judge van Keulen was very clear at our
 4 on that before. If not, this would certainly be an          4 in-person hearing that the subsequent Special Master
 5 appropriate time as we close out discovery.                 5 targeted searches were superseding the earlier
 6        MR. BARNES: So, Mr. Brush, there was a               6 discussions and points.
 7 production from Google that had two columns. One was        7         So there's many layers to it. But I want to
 8 preserved and one was produced. And there was -- there      8 be clear that the record reflects that we believe
 9 were, I believe, about     different data sources that      9 Magistrate Judge van Keulen has been asked and has
10 were identified as having been preserved, but which have   10 responded and addressed this particular issue a number
11 not been produced.                                         11 of times and --
12        So we already have that.                            12         MR. BARNES: Mr. Ansorge --
13        SPECIAL MASTER BRUSH: Okay.                         13         MR. ANSORGE: -- our preference -- let me
14        MR. BARNES: We've sent that.                        14 just -- as a last point, I would say our preference
15        And what we're asking is -- Mr. Straite asked       15 would be to streamline and not burden her with
16 the question, well, I think -- so that's question No. 1.   16 everything equally. I think --
17        And then question No. 2 is we really think we       17         MR. BARNES: Mr. Ansorge, you're confusing the
18 have to brief this. Mr. Ansorge made what is a legal       18 issues.
19 assertion that they were not required to show a burden     19         MR. ANSORGE: -- we have a few smaller issues
20 in this process -- production burdens in this process.     20 with the amount of time that's left.
21        MR. ANSORGE: That's -- that's not what I            21         MR. BARNES: Mr. Ansorge, you're confusing the
22 said.                                                      22 issues.
23        SPECIAL MASTER BRUSH: It's not what I heard.        23         What we're asking for is Google has made the
24        MR. BARNES: And what I would like to do is          24 argument that it would be unduly burdensome.
25 brief this with Judge van Keulen because the               25         To the extent the Special Master and
                                                    Page 94                                                       Page 96

 1 Federal Rules of Civil Procedure require that before a      1 Judge van Keulen agree, then it is appropriate to have a
 2 party refuses to produce relevant information, it must      2 binding finding of fact that Google did not produce all
 3 show a burden of production.                                3 of the information it had for just six people because it
 4        And we need a binding finding of fact to the         4 would have been unduly burdensome to do so in a case
 5 extent that we've been denied all of our plaintiff data.    5 involving a class of a very large class.
 6        The only -- the basis for it has to be that --       6        Our position is that the Federal Rules of
 7 Google's arguments about undue burden, but we don't have    7 Civil Procedure require such a finding before Google is
 8 a written finding of fact to that effect. And so we'd       8 able to shield relevant information from discovery. And
 9 like to get this before Judge van Keulen. We think          9 we're just asking Google to take ownership of the
10 these are purely legal issues.                             10 arguments it has made through this process.
11        SPECIAL MASTER BRUSH: I'll say if that's what       11        MR. ANSORGE: And let me ask you about that:
12 you heard, I wasn't exactly sure I heard the same thing,   12 What argument are you referring to? You're saying I
13 Whether there was a burden of production issue there       13 just said that this would be unduly burdensome.
14 versus relevancy and other preservation facts.             14        Did I just say that?
15        But I would agree if this is a path plaintiffs      15        MR. BARNES: Google has made -- is -- are we
16 want to go down, by all means bring it up with             16 not before the Special Master because Google says it
17 Judge van Keulen because it sounds as if there's some      17 would be unduly burdensome to produce all information in
18 disagreement there. That's between parties on the legal    18 its possession about the named plaintiffs?
19 merits of discovery that are outside the scope of what     19        MR. ANSORGE: So you're talking about all
20 I'm looking at right now.                                  20 information in possession about the named plaintiffs?
21        MR. ANSORGE: Yeah. And our understanding is         21        Absolutely. I think that is -- I am happy to
22 that this is something Judge van Keulen has looked at a    22 agree with you, Mr. Barnes, that that would be unduly
23 number of times.                                           23 burdensome and not proportional and not appropriate.
24        MR. BARNES: If she's looked at it --                24        We're coming close up on two hours so I'm
25        MR. ANSORGE: Let me just finish, Mr. Barnes.        25 wondering --
                                                    Page 95                                                       Page 97

                                                                                                   25 (Pages 94 - 97)
                                             Veritext Legal Solutions
                                                  866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 80 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 81 of 227




                    $1625*(
                    EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2   Filed 07/01/22   Page 82 of 227
                                                                                  1


 1                        IN THE UNITED STATES DISTRICT COURT

 2                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3                                   SAN JOSE DIVISION

 4
           CALHOUN, ET AL,                      )   CV-20-5146-YGR
 5                                              )
                              PLAINTIFF,        )   SAN JOSE, CALIFORNIA
 6                                              )
                      VS.                       )   FEBRUARY 28, 2022
 7                                              )
           GOOGLE LLC,                          )   PAGES 1-84
 8                                              )
                              DEFENDANT.        )   *SEALED TRANSCRIPT*
 9                                              )
           _______________________________      )
10
                               TRANSCRIPT OF PROCEEDINGS
11                       BEFORE THE HONORABLE SUSAN VAN KEULEN
                            UNITED STATES MAGISTRATE JUDGE
12
                                 A P P E A R A N C E S
13

14              FOR THE PLAINTIFF:         BY: DAVID A. STRAITE
                                           DICELLO LEVITT GUTZLER LLC
15                                         ONE GRAND CENTRAL PLACE
                                           60 EAST 42ND ST., SUITE 2400
16                                         NEW YORK, NY 10165

17

18              FOR THE DEFENDANT:         BY: ANDREW H. SCHAPIRO
                                           QUINN EMANUEL URQUHART AND
19                                         SULLIVAN, LLP
                                           191 N. UPPER WACKER DRIVE
20                                         SUITE 2700
                                           CHICAGO, IL 60606
21

22                          APPEARANCES CONTINUED ON THE NEXT PAGE

23              OFFICIAL COURT REPORTER:          SUMMER FISHER, CSR, CRR
                                                  CERTIFICATE NUMBER 13185
24

25                 PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                         TRANSCRIPT PRODUCED WITH COMPUTER


                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2     Filed 07/01/22   Page 83 of 227
                                                                                   2


 1              APPEARANCES CONTINUED:

 2              FOR THE PLAINTIFFS:        BY: JAY BARNES
                                           SIMMONS HANLY CONROY
 3                                         231 S. BEMISTON AVE., STE 525
                                           ST. LOUIS, MO 63105
 4

 5              FOR THE PLAINTIFF:         BY: AN V. TRUONG
                                           SIMMONS HANLY CONROY
 6                                         112 MADISON AVENUE, 7TH FLOOR
                                           NEW YORK, NY 10016
 7

 8
                FOR THE PLAINTIFF:         BY:  LESLEY WEAVER
 9                                              JOSHUA DAVID SAMRA
                                           BLEICHMAR FONTI AULD LLP
10                                         555 12TH STREET, SUITE 1600
                                           OAKLAND, CA 94607
11

12              FOR THE PLAINTIFF:         BY: SHARON D CRUZ
                                           DICELLO LEVITT GUTZLER
13                                         10 N DEARBORN ST, 6TH FLOOR
                                           CHICAGO, IL 60601
14

15              FOR THE DEFENDANT:         BY:  VIOLA TREBICKA
                                                STEPHEN ANDREW BROOME
16                                         QUINN EMANUEL URQUHART & SULLIVAN
                                           865 S. FIGUEROA STREET
17                                         10TH FLOOR
                                           LOS ANGELES, CA 90017
18

19              FOR THE DEFENDANT:         BY: SARA E. JENKINS
                                           QUINN EMANUEL URQUHART &
20                                         SULLIVAN, LLP
                                           555 TWIN DOLPHIN DR., 5TH FLOOR
21                                         REDWOOD SHORES, CA 94065

22              FOR THE DEFENDANT:         BY:  JOSEF TEBOHO ANSORGE
                                                JOMAIRE CRAWFORD
23                                         QUINN EMANUEL
                                           51 MADISON AVENUE, 22ND FLOOR
24                                         NEW YORK, NY 10010

25



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2     Filed 07/01/22   Page 84 of 227
                                                                                   3


 1              APPEARANCES CONTINUED:

 2              FOR THE DEFENDANT:         BY:  CARL SPILLY
                                                TRACY GAO
 3                                         QUINN EMANUEL URQUHART & SULLIVAN
                                           LLP
 4                                         1300 I STREET NW, SUITE 900
                                           WASHINGTON, DC 20005
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2    Filed 07/01/22   Page 85 of 227
                                                                                  24


 1       FIRST APPEARANCE IN FRONT OF YOU, THERE WAS KIND OF A FIRE

 2       DRILL ABOUT THE QUESTION ABOUT WHETHER WE ARE OBLIGATED TO

 3       SUSPEND NORMAL RETENTION POLICIES RELATING TO LOGS.         AND THE

 4       COMPROMISE THAT CAME OUT OF THAT WAS THAT WE WOULD PRESERVE

 5       CERTAIN DATA IN LOGS THAT WAS RELATED TO CERTAIN IDENTIFIERS

 6       THAT WERE PROVIDED TO US OR IDENTIFIERS FROM THE PLAINTIFFS,

 7       WITH AN UNDERSTANDING THAT, I THINK AS YOUR HONOR EMPHASIZED

 8       RIGHT AT THE BEGINNING, MERE PRESERVATION DOES NOT MEAN

 9       NECESSARILY PRODUCTION.

10              AND FROM THAT VERY WIDE FUNNEL, WE AFTERWARDS WENT TO THE

11       SMALLER FUNNEL, OR WE TRIED TO GET TO THE SMALLER FUNNEL

12       THROUGH THE VERY SIGNIFICANT AND I THINK HELPFUL EFFORTS OF THE

13       SPECIAL MASTER, SPECIAL MASTER BRUSH, SO THAT WHAT WE HAVE BEEN

14       DOING SINCE THAT TIME IS THEY WERE TOLD, AND IT'S PART OF THE

15       SPECIAL MASTER PROCESS, TO CHOOSE SPECIFIC SEARCHES FOR

16       SPECIFIC FIELDS TO BALANCE PROPORTIONALITY.

17              AND WE HAVE HAD ALL OF THESE MEETINGS.        SO THERE ARE --

18       THERE IS -- IT IS CERTAINLY TRUE THAT THERE'S A BROADER SET OF

19       PRESERVED DATA THAN THERE HAS BEEN PRODUCED DATA.         I AM NOT

20       SURE, WITH REGARD TO BROWN, AGAIN WE FOCUSED ON CALHOUN, WHAT

21       WE HAVE IN TERMS OF COOKIES THAT WERE PRESERVED.         AND MAYBE WE

22       CAN FOLLOW UP WITH THE SPECIAL MASTER TOMORROW, BECAUSE I

23       WOULDN'T WANT TO MISSTATE THAT THERE IS A UNIVERSE LIKE THIS IN

24       BROWN SUCH AS THERE IS IN CALHOUN.

25                  MR. BRUSH:    MAY I JUST CLARIFY, MR. SCHAPIRO, WHAT WE



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR    Document 748-2   Filed 07/01/22   Page 86 of 227
                                                                                  25


 1        WERE DISCUSSING, AND IT IS A BIT OF A CONFUSING SET OF

 2        TERMINOLOGY THROUGHOUT THE PROCESS WHERE I THINK THE WORD

 3        "PRESERVATION" IS APPLIED IN TWO DIFFERENT AREAS.

 4              WHAT I THINK WHAT WE ARE LOOKING FOR, THINGS THAT WERE

 5        SEARCHED IN THAT SUBSET OF SEARCH DATA WAS PUT SOMEWHERE, LET'S

 6        SAY PRESERVED IN THAT MANNER, NOT NECESSARILY ON A LITIGATION

 7        HOLD OF PRESERVED RAW DATA, THE TOP PART OF THE FUNNEL, BUT

 8        ACTUAL THINGS THAT WERE SEARCHED, AND IT MAY NOT HAVE BEEN

 9        PRODUCED.

10              I THINK EVERYBODY WAS LOOKING FOR CLARITY ON WHETHER THERE

11        WAS INFORMATION THAT MIGHT BE RELEVANT IN THE RESPECTIVE MATTER

12        THAT MIGHT BE AVAILABLE NOW THAT COULD REDUCE THE NEED TO

13        RE-SEARCH DATA.     AND THAT WAS THE ONLY THING I THINK WE WANTED

14        CLARITY ON.

15                    MR. SCHAPIRO:   YES.

16              SO I THINK AS TO BROWN, I WOULD NEED TO COME BACK ON THAT.

17        WITH CALHOUN, THERE IS DATA, I DON'T KNOW IF I WOULD REALLY

18        CALL IT SEARCHED, BUT THERE IS DATA THAT IS KEYED OFF OF

19        CERTAIN ID'S THAT WERE PROVIDED, AND THAT DATA WAS PRESERVED.

20        IT HASN'T BEEN -- AT LEAST THE DATA THAT'S BEEN OUTSIDE OF YOUR

21        PROCESS, MR. BRUSH, HASN'T BEEN REVIEWED OR AT LEAST REVIEWED

22        IN ANY CAREFUL WAY.

23              BUT AGAIN, I DON'T THINK, THE GOAL OF THE QUESTION IS,

24        WELL, COULD THIS SAVE US EFFORT, I THINK THE ULTIMATE RESULT OF

25        PRODUCING THIS SET OF SOMEWHAT ROUGH DATA WOULD BE ACTUALLY TO



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2    Filed 07/01/22   Page 87 of 227
                                                                                  26


 1        TAKE US BACKWARDS, WE ARE SORT OF AT THE END OF THE PROCESS

 2        HERE, AND THAT'S TAKING US BACK UP TO THE WIDE FUNNEL.

 3              AND I THINK THE WHOLE REASON THAT WE'VE BEEN IN FRONT OF

 4        YOU AND MR. SCHMIDT FOR WHAT I THINK HAVE BEEN A PRODUCTIVE

 5        SERIES OF MEETINGS, IS TO CHOOSE SPECIFIC SEARCHES FOR SPECIFIC

 6        FIELDS, AND FROM THOSE, THEN TO COME UP WITH ADDITIONAL

 7        SEARCHES CHOOSING ADDITIONAL FIELDS.

 8              THIS, IN OUR VIEW, AND I'M PREVIEWING THE CALHOUN ARGUMENT

 9        HERE, YOUR HONOR, WOULD I THINK TAKE US BACKWARDS AT THIS POINT

10        IN THE WEEK THAT DISCOVERY IS CLOSING.

11                  THE COURT:    OKAY.

12              WELL, REGARDLESS OF WHETHER IT'S FORWARD OR BACKWARDS,

13        BECAUSE I THINK THAT IS SOMEWHAT OF A SUBJECTIVE VIEW,

14        OBVIOUSLY, DEPENDING ON WHICH SIDE YOU ARE ON, MR. SCHAPIRO, I

15        WANT YOU TO FOLLOW UP WITH YOUR TEAM AND YOUR TECHNICAL EXPERTS

16        AS TO WHETHER THERE IS A SET OF DATA, I THINK AS SPECIAL MASTER

17        BRUSH REFERRED TO IT, POST-SEARCH DATA THAT RELATES TO THE

18        BROWN PLAINTIFFS THAT HAS BEEN IDENTIFIED BUT NOT PRODUCED.

19              I'M USING THE WORD "IDENTIFIED" INSTEAD OF "PRESERVED,"

20       BUT -- AND BE PREPARED TO INFORM ON THAT TO THE SPECIAL MASTER

21       IN THE SESSION TOMORROW.

22                  MR. SCHAPIRO:    WILL DO, YOUR HONOR.

23                  THE COURT:    OKAY.

24              MR. BRUSH, WILL THAT BE HELPFUL?     DID I GET THAT RIGHT?

25                  MR. BRUSH:    YES, YOUR HONOR.



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2     Filed 07/01/22   Page 88 of 227
                                                                                   79


 1       NO LATER THAN MARCH 3RD, MARCH 3RD.

 2              SPECIAL MASTER BRUSH, IF YOU THINK THERE'S BEEN PRODUCTIVE

 3       PROGRESS AND A SMALL ADDITIONAL AMOUNT OF TIME IS NEEDED, THAT

 4       IS WITHIN YOUR POWER TO EXTEND.

 5                    MR. BRUSH:    UNDERSTOOD, YOUR HONOR.

 6                    THE COURT:    ALL RIGHT.

 7              AND THEN THE OTHER ISSUE IN 2.1 IS ALSO THE PRODUCTION OF

 8        THE CALHOUN PLAINTIFF INFORMATION, AND THAT WILL BE THE SUBJECT

 9        OF THE SIMILAR DISCUSSION AS IN BROWN, WHICH IS WHAT DATA WAS

10        COLLECTED AND WHERE IS IT NOW.

11              AND I APPRECIATE THE POSTURE OF THE CASES ARE DIFFERENT,

12        THE RESPONSES TO THAT WILL BE DIFFERENT, AND SPECIAL MASTER

13        BRUSH IS AWARE OF THAT, HE JUST WANTS TO BE SURE HE'S GOT THE

14        RIGHT PEOPLE WHO CAN WORK THROUGH THAT.

15                    MR. BARNES:    JUDGE VAN KEULEN, MAY I ASK A CLARIFYING

16        QUESTION?

17                    THE COURT:    YES, MR. BARNES.

18                    MR. BARNES:    I THINK, MR. SCHAPIRO, WE KNOW OF

19        LOGS.

20                    THE COURT:    MR. BARNES, WE ARE GOING TO START --

21                    MR. BARNES:   I DON'T WANT TO ARGUE, I JUST WANT TO

22        KNOW IF IN BROWN IT WAS, HEY, IDENTIFY THAT WHICH YOU'VE DONE.

23              BASED ON MR. SHAPIRO'S COMMENTS TODAY, I THINK IT'S

24        BROADER THAN THAT, AND I JUST WANT TO MAKE -- GET CLARITY THAT

25        IT IS, IF GOOGLE HAS PRESERVED IT, WE ARE GOING TO FIND OUT



                              UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR      Document 748-2    Filed 07/01/22     Page 89 of 227
                                                                                       80


 1        INDEED WHAT WAS PRESERVED.

 2                    THE COURT:     YOU ARE GOING TO HAVE THAT CONVERSATION

 3        WITH THE SPECIAL MASTER.

 4                    MR. BARNES:     OKAY.   THANK YOU.

 5                    THE COURT:     OKAY.    WHICH IS, I THINK PRETTY MUCH WHAT

 6        I HAD SAID, WHICH IS WHAT WAS PRESERVED AND WHAT'S THE STATUS

 7        OF IT NOW.

 8              SO ALL RIGHT.      AND THEN AS TO THE REMAINING ISSUES FOR

 9       CALHOUN, I THINK WE HAVE ADDRESSED THOSE, AND I WILL SEE YOU IF

10       NECESSARY.

11              ANY QUESTIONS?      WE'VE COVERED A LOT OF GROUND, SOME OF IT

12       HAS ACTUALLY BEEN FORWARD PROGRESS, SOME OF IT MAYBE NOT SO

13       MUCH, BUT I APPRECIATE EVERYONE'S PATIENCE AND DILIGENCE.

14              ANYTHING ELSE IN BROWN FROM THE PLAINTIFFS?            I THINK YOU

15       ARE CLEAR WHAT'S GOING TO HAPPEN WITH THE SPECIAL MASTER.              YOU

16       WILL GET AN ORDER FROM ME ON THE OTHER ISSUES.

17              ANYTHING ELSE THAT MUST BE RAISED?         MR. MAO?

18                    MR. MAO:    NO.   WE UNDERSTAND THAT WE NEED TO GIVE YOU

19        ANOTHER THREE NEXT PRIORITY, IS THERE A TURNAROUND ON THAT,

20        JUDGE, I PRESUME TOMORROW OR TONIGHT?

21                    THE COURT:     YEAH, TOMORROW IS FINE.        I'M NOT GOING TO

22        GET TO IT RIGHT AWAY, I'VE GOT A FEW OTHER THINGS TO KEEP ME

23        BUSY.

24              AND AGAIN, I HAVEN'T LOOKED AT THE OTHER DISPUTES YET, SO

25       I CAN'T EVEN TELL YOU THAT I'M ONLY GOING TO GET TO THREE OR



                                 UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR      Document 748-2     Filed 07/01/22    Page 90 of 227
                                                                                       81


 1       I'M NOT GOING TO GET TO ANY OR WHATEVER.

 2                    MR. MAO:    I APOLOGIZE, JUDGE.

 3              I SEE MY COLLEAGUE JAMES LEE AND MR. REBLITZ-RICHARDSON

 4        JUST APPEARED AND THEY MIGHT WANT TO SAY SOMETHING, SO I WILL

 5        CEDE THE FLOOR TO THEM.

 6                    THE COURT:       ANYTHING FINAL?   WE ARE GOING TO BRING

 7        THIS TO A CLOSE.       NO?    MR. LEE?

 8                    MR. LEE:    I JUST WANTED TO SAY THANK YOU, JUDGE.

 9                    MR. MAO:    THANK YOU MR. BRUSH.

10                    MR. SCHAPIRO:      MY COLLEAGUE, MS. JENKINS, HAS ONE

11        FINAL THING.

12                    THE COURT:       EXCELLENT.   MS. JENKINS?

13                    MS. JENKINS:      YES.    WE HAVE ONE SMALL HOUSEKEEPING

14        ISSUE.

15              WE HAVE A DEPOSITION ON WEDNESDAY OF MS. JUNE IN BROWN.

16        AND ON FRIDAY, THEY TOLD US THEY MIGHT BE CANCELLING THAT

17        DEPOSITION.    AND WE WOULD LIKE TO KNOW NOW, IF POSSIBLE, OR

18        WITHIN A VERY SHORT PERIOD OF TIME AFTER THIS HEARING, IF THEY

19        WILL BE CANCELLING THAT DEPOSITION.

20                    THE COURT:       OKAY.   WELL, YOU COULD HAVE PICKED UP THE

21        PHONE AND ASKED COUNSEL THAT QUESTION.

22                    MS. JENKINS:      WE DID, YOUR HONOR.

23                    THE COURT:       OKAY.   I FIGURED THERE WAS A REASON THAT

24        WAS HERE.    SO LET'S GET THAT WRAPPED UP HERE.            IT'S 4:00 HERE

25        ON THE WEST COAST, LET'S GET THAT WRAPPED UP BY 6.



                                 UNITED STATES COURT REPORTERS
     Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 91 of 227


 1

 2

 3

 4                            CERTIFICATE OF REPORTER

 5

 6

 7

 8                    I, THE UNDERSIGNED OFFICIAL COURT

 9       REPORTER OF THE UNITED STATES DISTRICT COURT FOR

10       THE NORTHERN DISTRICT OF CALIFORNIA, 280 SOUTH

11       FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

12       CERTIFY:

13                    THAT THE FOREGOING TRANSCRIPT,

14       CERTIFICATE INCLUSIVE, CONSTITUTES A TRUE, FULL AND

15       CORRECT TRANSCRIPT OF MY SHORTHAND NOTES TAKEN AS

16       SUCH OFFICIAL COURT REPORTER OF THE PROCEEDINGS

17       HEREINBEFORE ENTITLED AND REDUCED BY COMPUTER-AIDED

18       TRANSCRIPTION TO THE BEST OF MY ABILITY.

19

20

21

22

23

24
         _________________________
25       SUMMER A. FISHER, CSR, CRR
         CERTIFICATE NUMBER 13185                       DATED: 3/2/22
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 92 of 227




                    $1625*(
                    EXHIBIT 

        8QUHGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
  Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 93 of 227

                 CHASOM BROWN, ET AL. vs GOOGLE, LLC, ET AL.
                            Hearing on 03/03/2022                                 ·

 ·1
 ·2· · · · · · · · · ·UNITED STATES DISTRICT COURT
 ·3· · · · · · · · · NORTHERN DISTRICT OF CALIFORNIA
 ·4· · · · · · · · · ·CASE NO.: 4:20-03664-YGR-AVK
 ·5
 ·6· CHASOM BROWN, MARIA NGUYEN and
 ·7· WILLIAM BYATT, individually and on
 ·8· Behalf of all other similarly situated,
 ·9· · · · · · · · ·Plaintiffs,
 10· v.
 11· GOOGLE, LLC and ALPHABET, INC.,
 12· · · · · · · · ·Defendants.
 13· ·________________________________________________/
 14
 15
 16· · · · · · · · · · · CIVIL CONTEMPT HEARING
 17
 18
 19· · · ·HEARING BEFORE:· · · ·Special Master Brush
 20· · · · · ·DATE TAKEN:· · · ·March 3rd, 2022
 21· · · · · · · · TAKEN:· · · ·Remotely via Zoom
 22
 23
 24
 25· TRANSCRIBED BY:· KIMBERLY H. NOLAN

www.huseby.com              Huseby Global Litigation                   800-333-2082
                                                                                  YVer1f
     Case 4:20-cv-05146-YGR                      Document 748-2              Filed 07/01/22             Page 94 of 227

                             CHASOM BROWN, ET AL. vs GOOGLE, LLC, ET AL.
                                        Hearing on 03/03/2022                                                          Pages 2..5
                                                         Page 2                                                              Page 4
·1· · · · · · · · · · · ·A P P E A R A N C E S                    ·1· · · · · · · · · · · ·P R O C E E D I N G S
·2                                                                ·2· · · · · · · · · · FEBRUARY 3RD, 2022; VIA ZOOM
·3· For the Plaintiffs:                                           ·3· · · · · ·SPECIAL MASTER BUSH:· Okay.· Sounds like we're
·4· JASON "JAY" BARNES, ESQUIRE                                   ·4· ·being recorded now.· And I apologize.· Maybe we can -- Ms.
·5· Simmons, Hanly & Conroy                                       ·5· ·Gao, can you just recount that just so we have it, what was
·6· 112 Madison Avenue, 7th Floor                                 ·6· ·provided, and we can get some confirmation just so it does
·7· New York, New York 10016                                      ·7· ·get transcribed appropriately?
·8· 618.693.3104                                                  ·8· · · · · ·MS. GAO:· · · ·Yes, Special Master Brush.· As I
·9                                                                ·9· ·stated in my email last night, we've provided item number 1,
10· MARK C. MAO, ESQUIRE                                          10· ·which is the requested decrypted IDs so far requested by the
11· Boies, Schiller & Flexner, LLP                                11· ·Brown plaintiffs.
12· 44 Montgomery Street, 41st Floor                              12· · · · · ·The Calhoun plaintiffs also provided us with three
13· San Francisco, California 94104                               13· ·additional ID co-key (ph) values yesterday afternoon, but we
14· 415.293.6800                                                  14· ·didn't gather confirmation that they did come from Dr.
15                                                                15· ·Shafik or the consenting plaintiffs yesterday, so we could
16· For Defendant Google, LLC:                                    16· ·not provide the decrypted IDs to the Calhoun plaintiffs.
17· STEPHEN A. BROOME, ESQUIRE                                    17· · · · · ·Now that I think Mr. Barnes just confirmed that
18· Quinn, Emanuel, Urquhart & Sullivan, LLP                      18· ·they did come from Dr. Shafik, we can start the decryption
19· 865 South Figueroa Street, 10th Floor                         19· ·process right now, maybe after the call.
20· Los Angeles, California 90017                                 20· · · · · ·And we also provided item number 3, which is a list
21· 213.443.3000                                                  21· ·of all Calhoun and Brown data sources for which we've
22                                                                22· ·preserved plaintiffs' data but have not yet produced all of
23                                                                23· ·the preserved data.· That's everything.
24                                                                24· · · · · ·SPECIAL MASTER BRUSH:· Great.· Thank you, Ms. Gao.
25                                                                25· · · · · ·MR. MAO:· If you don't mind, Special Master Brush,

                                                         Page 3                                                              Page 5
·1· · · · · · · · · · · ·A P P E A R A N C E S                    ·1· ·I just wanna clarify something real fast.· Ms. Gao, I took a
·2· · · · · · · · · · · · · · (continued)                         ·2· ·look at the data you sent yesterday with regard to the Brown
·3                                                                ·3· ·plaintiffs' preservation.
·4· For Defendant Google, LLC:                                    ·4· · · · · ·All I have is a time frame of when data was
·5· JOSEF ANSORGE, ESQUIRE                                        ·5· ·preserved, I don't believe I actually have the actual data
·6· Quinn, Emanuel, Urquhart & Sullivan, LLP                      ·6· ·that was preserved itself.· Can you confirm that?
·7· 1300 L Street Northwest, Suite 900                            ·7· · · · · ·MS. GAO:· · · ·Special Master Brush requested that
·8· Washington, D.C. 20005                                        ·8· ·we provide a list of all of the data sources from which we
·9· 202.538.8000                                                  ·9· ·preserved plaintiffs' data but not -- but have not yet
10                                                                10· ·produced all of the --
11· Also Present:                                                 11· · · · · ·MR. MAO:· · · ·Oh.· Got it.
12· Tracy Gao, Law Clerk at Quinn, Emanuel, Urquhart & Sullivan   12· · · · · ·MS. GAO:· · · ·-- preserved data.· That was what we
13                                                                13· ·provided.
14                                                                14· · · · · ·MR. MAO:· · · ·Sorry, sorry.· So, I misstated -- I
15                                                                15· ·misstated it.· It seems like you're telling us the sources
16                                                                16· ·from which they're preserved.· Now that I'm looking at it, I
17                                                                17· ·see the time frame was not provided and the actual data
18                                                                18· ·itself was not provided.· Is that correct?
19                                                                19· · · · · ·MS. GAO:· · · ·That's correct.· That was not
20                                                                20· ·requested by Mr. Brush in his email yesterday.
21                                                                21· · · · · ·MR. MAO:· · · ·Right.· But I do believe that Judge
22                                                                22· ·Este Kay's (ph) prior orders way back last year, she had
23                                                                23· ·required that all of Brown plaintiffs' authenticated and
24                                                                24· ·unauthenticated data be produced.· Do you have a
25                                                                25· ·disagreement on that?


www.huseby.com                                   Huseby Global Litigation                                         800-333-2082
                                                                                                                                      YVer1f
   Case 4:20-cv-05146-YGR                       Document 748-2                 Filed 07/01/22             Page 95 of 227

                           CHASOM BROWN, ET AL. vs GOOGLE, LLC, ET AL.
                                      Hearing on 03/03/2022                                                           Pages 82..85
                                                          Page 82                                                             Page 84
·1· ·February of 2021, there were searches performed by Google      ·1· · · · · ·MR. BROOME:· · Let's triple-check that because
·2· ·engineers using IDs for named plaintiffs that produced some    ·2· ·we're getting caught in making representations on a recorded
·3· ·subset of data that's in some form or structure that could     ·3· ·Zoom.
·4· ·potentially inform better searches that we're doing now, so    ·4· · · · · ·SPECIAL MASTER BRUSH:· · Yeah.· Agreed.· But this
·5· ·can work in parallel with what we're trying to accomplish,     ·5· ·is not the form for --
·6· ·because there were some original searches performed and a      ·6· · · · · ·MR. BROOME:· · Can we end this so that we can try
·7· ·subset of that data held, and we're -- that was what was       ·7· ·and get to our clients?
·8· ·referenced in the letters last night.                          ·8· · · · · ·SPECIAL MASTER BRUSH:· · Yes.
·9· · · · · ·What we're saying is when can that subset of data,     ·9· · · · · ·MR. BROOME:· · Because Joey's in (inaudible) and
10· ·that searched but not turned over data, be produced to         10· ·he's got a depo prep today, so -- you know, we're all just -
11· ·Plaintiffs as a part of the timeline?                          11· ·-
12· · · · · ·MR. ANSORGE:· ·Understood, sir.· And there I just      12· · · · · ·SPECIAL MASTER BRUSH:· · Understood.
13· ·wanted to clarify.· It's been preserved within litigation      13· · · · · ·MR. BROOME:· · -- running on fumes at this point.
14· ·hold based on IDs, of course, but it's not -- individual,      14· ·Thank you, Special Master Brush.
15· ·targeted searches haven't been done, and there were -- we'll   15· · · · · ·SPECIAL MASTER BRUSH:· · And I appreciate
16· ·give you an update later today.                                16· ·everybody's time.· Yeah.· No.· ·Look, I mean this is -- I
17· · · · · ·It's been very helpful to understand that we can       17· ·really wanna thank you all and commend you all, again, it's
18· ·provide it on a rolling production basis, and there's going    18· ·a very difficult -- we're -- I think we're all on fumes on
19· ·to be parts that will be more complex because of the           19· ·this matter at this point.
20· ·publisher notification issue, but the fact that it doesn't     20· · · · · ·But I really, really do wanna commend and thank you
21· ·have to be structured in the exact same way, that we can       21· ·all for your time and effort on this.· It's been a pleasure
22· ·provide it in the form in which it exists, should help         22· ·to work with you in this process, and I think you have all
23· ·simply things.                                                 23· ·conducted yourselves very professionally.
24· · · · · ·So, as soon as this call is over and before the        24· · · · · ·And like I said a couple calls ago, you know, they
25· ·next deposition, I'm going to contact the engineers to get     25· ·only remember your last at-bat, so let's finish this out

                                                          Page 83                                                             Page 85
·1· ·an update and a timeline.                                      ·1· ·strong and look good in front of the judge.· So, I really
·2· · · · · ·SPECIAL MASTER BRUSH:· · Great.· And the way --        ·2· ·appreciate everybody's time.· And with that, we can adjourn.
·3· ·yeah.· Definitely prioritize that by ease.· You know, if       ·3· ·[END OF HEARING]
·4· ·there's information that you don't have to get publisher --    ·4· ·[END OF TRANSCRIPT]
·5· ·whatever's the most readily available data that has been       ·5
·6· ·searched --                                                    ·6
·7· · · · · ·MR. ANSORGE:· ·Understood, sir.                        ·7
·8· · · · · ·SPECIAL MASTER BRUSH:· · -- with ease, let's get       ·8
·9· ·that, because I think there's gonna be structure to that       ·9
10· ·that's gonna be very helpful for us to have informed           10
11· ·searches.                                                      11
12· · · · · ·MR. BARNES:· · Okay.· Can I have one other             12
13· ·question?· Mr. Ansorge, I just wanna make sure this is         13
14· ·right.· You put in the chat                                    14
15· ·www.google.com/intl/en_us/doubleclick/platform/terms.html,     15
16· ·and that is a hyperlink to a contract that Google says         16
17· ·applies to the publishers -- all the publishers at issue       17
18· ·with the plaintiff data we're talking about, and that          18
19· ·document, which is called Google Platform Services Terms and   19
20· ·Conditions, applies to all the publishers such that you        20
21· ·cannot give us the information because Google says that        21
22· ·would breach this contract that applies to all these           22
23· ·publishers.· Is that correct?                                  23
24· · · · · ·MR. ANSORGE:· ·Some of it is correct, some of it is    24
25· ·incorrect.                                                     25


www.huseby.com                                   Huseby Global Litigation                                           800-333-2082
                                                                                                                                        YVer1f
     Case 4:20-cv-05146-YGR                Document 748-2      Filed 07/01/22   Page 96 of 227

                        CHASOM BROWN, ET AL. vs GOOGLE, LLC, ET AL.
                                   Hearing on 03/03/2022                                  Page 86
                                                 Page 86
·1· · · · · · · · · · · · CERTIFICATION PAGE
·2
·3· · · ·I, Kimberly H. Nolan, Transcriptionist,
·4· do hereby certify that this transcript
·5· is a true and accurate record of the
·6· electronically recorded proceedings,
·7· transcribed by me this 3rd day of
·8· March, 2022.
·9
10· ________________________________
11
12· KIMBERLY H. NOLAN
13
14
15
16
17
18
19
20
21
22
23
24
25




www.huseby.com                             Huseby Global Litigation                   800-333-2082
                                                                                                    YVer1f
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 97 of 227




                    $1625*(
                    EXHIBIT 

         5HGDFWHG9HUVLRQ
       RI'RFXPHQW6RXJKW
           WREH6HDOHG
         Case 4:20-cv-05146-YGR                     Document 748-2              Filed 07/01/22            Page 98 of 227



          quinn emanuel trial lawyers | washington, dc
         1300 I Street NW, Suite 900, Washington, District of Columbia 20005-3314 | TEL (202) 538-8000 FAX (202) 538-8100



                                                                                                        :5,7(5 6',5(&7',$/12
                                                                                                                    

                                                                                                        :5,7(5 6(0$,/$''5(66
                                                                                               MRVHIDQVRUJH#TXLQQHPDQXHOFRP



    0DUFK


    +,*+/<&21),'(17,$/63(&,$/0$67(5$1'$77251(<¶6(<(621/<
    
    9,$(0$,/
    
    6SHFLDO0DVWHU'RXJODV%UXVK
      GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    7LPRWK\6FKPLGW
      WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    0DUN0DR
      PPDR#%6)//3FRP 
    %RLHV6FKLOOHU)OH[QHU//3
    
    -D\%DUQHV
    6LPPRQV+DQO\&RQUR\//&
    0DGLVRQ$YHWK)ORRU
    1HZ<RUN1<

    5H     %URZQY*RRJOH//&&DVH1RFY/+.69. 1'&DO &DOKRXQHWDO
             Y*RRJOH//&&DVH1RFY 1'&DO 
    
    'HDU6SHFLDO0DVWHU%UXVK0U6FKPLGW&RXQVHO

           3XUVXDQWWR6SHFLDO0DVWHU%UXVK¶VUHTXHVW*RRJOHKHUHE\SURYLGHVDVWDWXVXSGDWHRQWKH
    IROORZLQJLVVXHVGLVFXVVHGDWWRGD\¶VFRQIHUHQFH

                                                                                                                               

                                                                                                                               
                                                                                                                    



          quinn emanuel urquhart & sullivan, llp
          LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE | BOSTON | SALT LAKE CITY
           LONDON | TOKYO | MANNHEIM | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH | SHANGHAI | PERTH | STUTTGART
    Case 4:20-cv-05146-YGR            Document 748-2         Filed 07/01/22       Page 99 of 227





                                                                                                       

                                                                                         

                                                                                                   

                                                                   

                                 

                                                                            

                                                                                         

                                                                                              

                                                                                                   

                                                                                                        

        3UHVHUYHG3ODLQWLIIGDWD

         $VUHTXHVWHGE\WKH6SHFLDO0DVWHU*RRJOHZLOOEHSURGXFLQJWKHSUHVHUYHGEXWQRW\HW
SURGXFHG           ORJGDWDIRUERWK%URZQDQG&DOKRXQ3ODLQWLIIVDVVRRQDVSUDFWLFDEOH*RRJOH
LVLQWKHSURFHVVRISDUVLQJRXWGDWDLQWKHORJVWKDWGRQRWFRQWDLQFRQILGHQWLDOWKLUGSDUW\SXEOLVKHU
LQIRUPDWLRQDQGGRQRWUHTXLUHSXEOLVKHUQRWLILFDWLRQ*LYHQWKHYROXPHRIGDWD*RRJOHSUHVHUYHG
ZHDUHVWLOOWU\LQJWRGHWHUPLQHKRZORQJLWZLOOWDNHWRSURGXFHDQGWKHPHFKDQLVPE\ZKLFKZH
FDQPDNHVXFKGDWDDYDLODEOHWR3ODLQWLIIV*RRJOHZLOOSURYLGHDQXSGDWHRQWKLVLVVXHODWHUWRGD\

        /LYHVHDUFKGHPRQVWUDWLRQ
               
       :HDUHVWLOOFRQVXOWLQJZLWKRXUFOLHQWRQWKLVZKLOHDOVRDWWHPSWLQJWRUHVSRQGWR
3ODLQWLIIV PDQ\RWKHUGLVFRYHU\UHTXHVWVRXWVLGHRIWKLV6SHFLDO0DVWHUSURFHVV:HZLOOIXUWKHU
XSGDWH\RXE\SP37SP(7

6LQFHUHO\

48,11(0$18(/8548+$57 68//,9$1//3



                             

-RVHI$QVRUJH

-$




                                                  
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 100 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
    Case 4:20-cv-05146-YGR             Document 748-2          Filed 07/01/22       Page 101 of 227

B LEICHMAR FONTI & AULD LLP   D I C ELLO LEVITT GUTZLER LLC                SS IMMONS HANLY CONROY LLC
       th
555 12 STREET, SUITE 1600     ONE GRAND CENTRAL PLACE                        112 MADISON AVENUE, 7 TH FL.
OAKLAND, CA 94607           60 EAST 42 nd STREET, SUITE 2400                        NEW YORK, NY 10016
                                   NEW YORK, NY 10165


                                              0DUFK

  9,$(/(&7521,&0$,/
  6SHFLDO0DVWHU'RXJODV%UXVK
  GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF
  7LPRWK\6FKPLGW
  WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF

          5H    &DOKRXQY*RRJOH//&1RFY/+.69. 1'&DO 
                  Plaintiffs Letter re: Preservation Proposals 

                  7+,6/(77(55()(5(1&(60$7(5,$/7+$7+$6%((1
                 '(6,*1$7('&21),'(17,$/25+,*+/<&21),'(17,$/

  'HDU6SHFLDO0DVWHU%UXVKDQG0U6FKPLGW

         7KDQN\RXIRUIDFLOLWDWLQJWKHUHDOWLPHVHDUFKHVFRQGXFWHGWRGD\&DOKRXQ3ODLQWLIIVZULWH
  WRSURSRVHDVFKHGXOHIRUQH[WVWHSVDQGE\WKLVOHWWHULQYLWH*RRJOHWRSUHSDUHDMRLQWXSGDWHIRU
  WKH6SHFLDO0DVWHU

          $VRXUPDWWHURIILUVWSULRULW\3ODLQWLIIVUHTXHVWDILUPGHDGOLQHE\ZKLFK*RRJOHZLOO
  FRPSOHWHSURGXFWLRQRIWKH1DPHG3ODLQWLIIV¶GDWDKLVWRULFDOO\FROOHFWHG7KHSDUWLHVQHHGWREH
  DEOHWRSURYLGHDVFKHGXOHWRFORVHRXWGLVFRYHU\DQGEHJLQH[SHUWGLVFORVXUHVFXUUHQWO\GXHRQ
  0DUFK3ODLQWLIIVUHTXHVWWKDW*RRJOHSURYLGHDILUPGHDGOLQHE\ZKLFKWKLVSURGXFWLRQ
  ZLOOEHFRPSOHWH

          *RRJOH¶V5HVSRQVH

           3XUVXDQWWRWKH6SHFLDO0DVWHU¶VLQVWUXFWLRQVHDUOLHUWKLVZHHN*RRJOHZLOOEHSURGXFLQJ
  WKHSUHVHUYHGGDWDIURP            ORJVWKDWGRQRWFRQWDLQFRQILGHQWLDOWKLUGSDUW\LQIRUPDWLRQQR
  ODWHU WKDQ 7KXUVGD\ 0DUFK  *RRJOHKDVSURYLGHGDVXEVWDQWLDO YROXPH RI GDWD DQG ILHOG
  GHVFULSWLRQV WR 3ODLQWLIIV EDVHG RQ 3ODLQWLIIV¶ ILUVW URXQG RI LWHUDWLYH VHDUFKHV DQG KDV
  FRPPLWWHGWRSURGXFLQJDKLVWRULFDOGDWDVHWWKDW3ODLQWLIIVZLOOEHDEOHWRTXHU\ WKHPVHOYHV$Q\
  DGGLWLRQDO TXHULHV 3ODLQWLIIV UHTXLUH *RRJOH WR UXQ VKRXOG EH VXEPLWWHG QR ODWHU WKDQ 6XQGD\
  0DUFK

        6HFRQG3ODLQWLIIVDUHHDJHUWRHQJDJHLQWKHVHFRQGURXQGRIVHDUFKHVEXWWKHUHDUHPDMRU
  LPSHGLPHQWVLQWKHZD\3ODLQWLIIVUHTXHVWDSURGXFWLRQVFKHGXOHIRUWKHIROORZLQJ


       /RJVRXUFHVVFKHPDDQGGDWDRUGHUHGWREHSURGXFHG

          $      *$,$
    Case 4:20-cv-05146-YGR         Document 748-2         Filed 07/01/22       Page 102 of 227

                                                                          

6SHFLDO0DVWHU'RXJODV%UXVK                                       SIMMONS HANLY CONROY LLC
0DUFK                                                       D I CELLO LEVITT GUTZLER LLC
3DJH                                                              BLEICHMAR FONTI & AULD LLP


            o 6FKHPD*RRJOHKDVSURGXFHGDOLVWRIRQO\ FROXPQV          FROXPQVWKDW
              KDYH\HWWREHSURGXFHG
            o 'DWD*RRJOHKDVQRWSURGXFHGDQ\GDWD\HW
              
        %   '%/           
            o 6FKHPD*RRJOHKDVSURGXFHGDOLVWRI FROXPQVQHHG*RRJOHWRFRQILUPWKDW
              WKLVLVQRWOLPLWHGWR'LVSOD\$GVRU$QDO\WLFV
            o 'DWD*RRJOHKDVQRWSURGXFHGDQ\GDWD\HW
              
        &   =:%.            
            o 6FKHPD*RRJOHKDVSURGXFHGDOLVWRI      FROXPQVQHHG*RRJOHWRFRQILUPWKDW
              WKLVLVQRWOLPLWHGWR'LVSOD\$GVRU$QDO\WLFV
            o 'DWD*RRJOHKDVQRWSURGXFHGDQ\GDWD\HW
              
        '   *$,$ 
            o 6FKHPD*RRJOHKDVSURGXFHGDOLVWRI      FROXPQVQHHG*RRJOHWRFRQILUPWKDW
              WKLVLVQRWOLPLWHGWR'LVSOD\$GVRU$QDO\WLFV
            o 'DWD*RRJOHKDVQRWSURGXFHGDQ\GDWD\HW
              
        (   '%/ 
            o 6FKHPD*RRJOHKDVSURGXFHGDOLVWRI      FROXPQVQHHG*RRJOHWRFRQILUPWKDW
              WKLVLVQRWOLPLWHGWR'LVSOD\$GVRU$QDO\WLFV DVRUGHUHGE\60 
            o 'DWD*RRJOHSURGXFHGGDWDWKLVPRUQLQJ
              
        )   =:%.  QRWSURGXFHG\HW 
            o 6FKHPD*RRJOHKDVQRWSURGXFHGDQ\FROXPQV\HW
            o 'DWD*RRJOHKDVQRWSURGXFHGDQ\GDWD\HW

        *RRJOH¶V5HVSRQVH
        
                3XUVXDQWWRWKH0DUFK6HDOHG2UGHU 'NW ³*RRJOHLVRUGHUHGWRVHDUFK
        WKH IROORZLQJ GDWD VRXUFHV =ZLHEDFN         *DLD       =ZLHEDFN  DQG
        'RXEOHFOLFN ´*RRJOHKDVVHDUFKHGDQGSURGXFHG'%/ GDWD

                  $VWR =ZLHEDFN          *DLD        DQG=ZLHEDFN RQ0DUFK6SHFLDO
        0DVWHU%UXVKUHTXHVWHGWKDW*RRJOHSURYLGH³DOLVWRIDOOSURGXFWVFRQWDLQHGZLWKLQ'%/
                 =:%.            *$,$         DQG=:%. ´*RRJOHVWDWHGLQLWV0DUFK
        OHWWHU WKDW ³*RRJOHFDQFRQILUPWKDW         GLIIHUHQW*RRJOHSURGXFWWHDPVVWRUH GDWD
        ZLWKLQ          DQGWKHSURGXFWVDQGVHUYLFHVLQFOXGH


     Case 4:20-cv-05146-YGR         Document 748-2         Filed 07/01/22     Page 103 of 227



6SHFLDO0DVWHU'RXJODV%UXVK                                        S IMMONS HANLY CONROY LLC
0DUFK                                                         D I CELLO LEVITT GUTZLER LLC
3DJH                                                               BLEICHMAR FONTI & AULD LLP


                    x   *RRJOH7UDYHO
                    x   *RRJOH7UDQVODWH
                    x   *RRJOH'LFWLRQDU\
                    x   *RRJOH+RPH
                    x   *RRJOH2QH
                    x   *RRJOH3OD\
                    x   *RRJOH$VVLVWDQW
                    x   *RRJOH'RFV
                    x   *RRJOH3D\PHQWV
                    x   *RRJOH)L
                    x   *RRJOH&XOWXUDO,QVWLWXWH
                    x   %ORJJHU
                    x   *RRJOH%RRNV´

                 0HDQZKLOH*RRJOHHQJLQHHUVKDYHEHHQZRUNLQJIRUDZHHNVLQFHWKH)HEUXDU\
         KHDULQJWRWU\WRFUDIWD PHWKRGRIH[WUDFWLQJDOORI3ODLQWLIIV¶GDWDIURP=ZLHEDFN
                 *DLD       DQG=ZLHEDFN 'HVSLWHEHVWHIIRUWVWKH\KDYHQRWRYHUFRPHWKH
         HQJLQHHULQJGLIILFXOWLHVWRVHDUFKRUH[WUDFW3ODLQWLIIV¶GDWDIURPWKHVHVRXUFHV*RRJOH
         UHVSHFWIXOO\VHHNVJXLGDQFHIURPWKH 6SHFLDO0DVWHU DVWR ZKHWKHUWKHVHDUFKFDQEH
         OLPLWHGWRFHUWDLQFROXPQV8VLQJWKLVPHWKRG*RRJOHZLOOZRUNZLWKLQGLYLGXDOSURGXFW
         WHDPVWRH[WUDFWGDWDIURPFROXPQVRZQHGE\WKDWWHDP



            o 60%UXVKRUGHUHGSURGXFWLRQRI VHDUFKHGEXWQRWSURGXFHG                 ORJV
            o *RRJOHKDVQRWSURGXFHGDQ\GDWD\HW

         *RRJOH¶V5HVSRQVH

                 *RRJOHSURGXFHGGDWDIURPILYHRIWKH ORJVLQUHVSRQVHWR3ODLQWLIIV¶ILUVWVHW
         RIVHDUFKUHTXHWV3XUVXDQWWRWKH6SHFLDO0DVWHU¶VLQVWUXFWLRQVHDUOLHUWKLVZHHN*RRJOH
         ZLOOEHSURGXFLQJWKHSUHVHUYHGGDWDIURP          ORJVWKDWGRQRWFRQWDLQFRQILGHQWLDO
         WKLUGSDUW\LQIRUPDWLRQQRODWHUWKDQ7KXUVGD\0DUFK



      7KHVHVHDUFKHVDUHNH\WRUHYHQXHLGHQWLILFDWLRQ3ODLQWLIIVVHHNWRLQTXLUHLIWKHVHDUH
XQGHUZD\

         *RRJOH¶VUHVSRQVH
    Case 4:20-cv-05146-YGR         Document 748-2         Filed 07/01/22       Page 104 of 227

                                                                          

6SHFLDO0DVWHU'RXJODV%UXVK                                       SIMMONS HANLY CONROY LLC
0DUFK                                                       D I CELLO LEVITT GUTZLER LLC
3DJH                                                              BLEICHMAR FONTI & AULD LLP


        7KLVUHTXHVWLVRXWVLGHWKHVFRSHRI6SHFLDO0DVWHU¶VRUGHUDQGUHTXHVW

         2QWKHLVVXHRISUHVHUYDWLRQJLYHQZKDWWKHSDUWLHVZLWQHVVHVWRGD\*RRJOHVKRXOG
SUHVHUYH                               JRLQJIRUZDUGLILWLVQRWGRLQJVR7KLVORJ¶VGHIDXOW
UHWHQWLRQLV        ZHDUHORVLQJFUXFLDOFODVVPHPEHUGDWDHDFKGD\WKLVORJLVQRWSUHVHUYHG
,V*RRJOHFXUUHQWO\SUHVHUYLQJWKLVORJ"
         
         *RRJOH¶V5HVSRQVH

        3XUVXDQWWRWKH3URWHFWLYH2UGHUUH 'DWD/RJ 5HWHQWLRQ 'NW ³*RRJOHQHHGQRW
VXVSHQGLWV VWDQGDUGUHWHQWLRQSHULRGVDSSOLFDEOHWRGDWD ORJV WKDWUHIOHFWHYHQWOHYHOGDWDRI
&KURPHXVHUVLQWKH8QLWHG6WDWHV´7KHLGHQWLILHGORJLVDSSUR[LPDWHO\            DQGVWRUHV   
ZRUWKRIGDWD3UHVHUYLQJDORJRIWKLVYROXPHHYHQIRUD\HDUZRXOGEHH[WUHPHO\EXUGHQVRPH
)XUWKHU3ODLQWLIIVKDYHQRWGHPRQVWUDWHGKRZSUHVHUYLQJDOOGDWDIURPWKLVORJLVSUHIHUDEOHWRD
PRUHWDLORUHGVDPSOLQJDSSURDFK

                                                     6LQFHUHO\
                                                    
                                                     -D\%DUQHV
                                                     MD\EDUQHV#VLPPRQVILUPFRP
                                                     
                                                     /HVOH\:HDYHU
                                                     OZHDYHU#EIDODZFRP
                                                     
                                                     'DYLG6WUDLWH
                                                     GVWUDLWH#GLFHOOROHYLWWFRP
                                                    
  FFYLDHPDLO                                    
                                                    
  3ODLQWLIIV¶&RXQVHO                               
  
  DNHOOHU#GLFHOOROHYLWWFRP
  DSURP#GLFHOOROHYLWWFRP
  VFUX]#GLFHOOROHYLWWFRP
  DRUQHODV#EIDODZFRP
  DWUXRQJ#VLPPRQVILUPFRP
  HMRKQVRQ#VLPPRQVILUPFRP
  


Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 105 of 227




                     $1625*(
                     EXHIBIT 

         8QUHGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 106 of 227


 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                              SAN JOSE DIVISION
 4
 5      Case No. 5:20-cv-05146-LHK-SVK
 6
 7      PATRICK CALHOUN, et al., on behalf of                             |
 8      themselves and all others similarly situated,                     |
 9                            Plaintiffs,                                 |
10            v.                                                          |
11      GOOGLE, LLC,                                                      |
12                            Defendant.                                  |
13      _______________________________________________|
14
15
16
17                       Special Masters Hearing
18                               March 5, 2022
19
20
21
22
23
24
25

                                                                          Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 107 of 227

  1 many things happening at the same time, so I            1 notice that's required. For the logs where
  2 don't want to answer on the fly, but I think we         2 publisher consent and notice is required, we're -
  3 might have a different understanding of what was        3 - we're going to need more time and we want to,
  4 said in the Golueke declaration.                        4 let me assure you, be done with this, yesterday.
  5        MR. STRAITE: Thank you. It -- it's               5 We would like it to not take any more time, at
  6 the second part. So he did talk about -- he did         6 all. We'll -- unfortunately, we're tied to
  7 confirm, you know, the search and identification        7 limitations of the system and how often people
  8 of certain data sources, it was the second part         8 work with us, and no one's ever done this
  9 of her order, which is to confirm that the              9 particular exercise before, so we're going to aim
 10 historical preserved plaintiff data had been           10 for it being much earlier than March 31st, but I
 11 produced. It was and he numbered that Part Two         11 don't want to commit to something we can't meet.
 12 in his declaration, consistent with her Paragraph      12         MR. STRAITE: (indiscernible).
 13 Number One of the Calhoun portion of Exhibit 1,        13         MR. SHAPIRO: And for the record, sorry
 14 per her order of November 14th. So we'd                14 -- can I just, as long as nobody thinks I'm being
 15 appreciate that.                                       15 way in a, if attorney client privilege or
 16        MS. WEAVER: If I may just chime in              16 anything like that, convey, because I think Joey
 17 here a little bit. I think we're a little              17 was trying to convey this earlier, by
 18 stunned on the Calhoun side. We have, you know,        18 paraphrasing, but what we were told by Ben
 19 March 24th expert disclosure deadlines, and we're      19 Carnacke, the -- one of the engineers who, you
 20 hearing, just to recap, that we will not get the       20 guys all had a chance to spend time with, over
 21 historically preserved data until March 31st,          21 this last week with regard to this data, and he
 22 which are really the results of our first round        22 wrote the preserved data is not in an optimized
 23 searches. And as we've said all along, we can't        23 format. And since each log has a different
 24 do our second round until we get the first round.      24 configuration I have to manually go through each
 25 And -- and I'm also want to tease out, so we have      25 one to make sure I am processing it correctly. I
                                                 Page 42                                                   Page 44

  1 some clarity here, you're saying you'll produced        1 have to split the data by gyost for Calhoun and
  2 everything on March 10th, but then you're saying        2 Brown. For example, I had to write 200 lines of
  3 you want to produce everything together and we          3 sequel code, yesterday, just to get some
  4 won't get that until the 31st. I think we need          4 information for you and that wasn't the full data
  5 to get --                                               5 set, because some of the preserved data records
  6         MR. ANSORGE: Yeah and that's not --             6 can't be read through Dremel. Meaning, I will
  7         MS. WEAVER: Okay, so let's have some            7 have to write a Python or C Plus, Plus script to
  8 clarification. We need at least a partial               8 get the exact data size, and to do any further
  9 production and let me know, and I apologize,            9 processing to produce the data. So, it's just --
 10 Joey, why don't you tell me what you're saying.        10 they're all out of steps here that -- because of
 11         MR. ANSORGE: Yeah, yeah. No, I think           11 the way this data is subject, you know, was being
 12 there's a lot to clarify there, Leslie. The            12 held, essentially, subject to a litigation hold.
 13 first is these are not the first round of              13        MS. WEAVER: May I just ask -- what was
 14 searches. That data has been produced to you.          14 the source that you were just reading from? And
 15 It's complete, publisher notice and consent was        15 I'm only asking because we were told we were not
 16 required for that as well. We went through that        16 allowed to have experts on this call, and so it
 17 process. You should have all of that. These            17 just seems like --
 18 sources that are being discussed here, the broad       18        MR. SHAPIRO: Again with not waiving
 19 litigation holds that were done of different           19 anything and without agreeing that you are
 20 logs, it's -- it's quite separate from the             20 entitled to ask me this, it was an email this
 21 previously requested searches of plaintiffs.           21 morning or yesterday, whenever it was, I don't
 22         What we're saying in -- in the letter          22 know, because I'm in a different time zone here,
 23 is that for March 10th, out of the just broad          23 where we were trying to get as much information
 24 preservation logs, we'll be able to provide you        24 we can about the preserved data. So we're not
 25 logs where there's no publisher consent and            25 texting with anybody or anything like that, is
                                                 Page 43                                                   Page 45

                                                                                             12 (Pages 42 - 45)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 108 of 227

  1 that what you're asking? This is -- I'm reading         1        MR. BRUSH: Thank you. With that,
  2 --                                                      2 we're not saying hey we're not going to get
  3        MS. WEAVER: No, I'm --                           3 anything until the 31st and that's why -- and is
  4        MR. SHAPIRO: I'm reading --                      4 where I totally tried to cut you off at the path
  5        MR. ANSORGE: No, no, no. He's reading            5 because noticing that March 24th deadline and
  6 --                                                      6 when I heard March 31, that raise, some concern
  7        MR. BRUSH: This conversation, we're              7 with me too. And with that hope that we can push
  8 going to allow some latitude on this because            8 whatever we have to do faster to get that done
  9 we're getting down to the technical aspects of          9 before the 24th deadline, and if we can't, we
 10 it. But what I think Mr. Shapiro is trying say         10 need to be known. But the concern -- I
 11 is that there is, just from a frame of reference       11 definitely hear the concern of that, hey a week
 12 from what one of the engineers said earlier and I      12 later we're going to get to you, that might be
 13 remember specifically, that conversation, and it       13 (indiscernible).
 14 was helpful to understand the depth of this            14        MR. STRAITE: Thank you, Mr. Brush.
 15 preserved data. It's not like when you were            15 Thank you, Mr. Shapiro for that explanation.
 16 doing the Dremel searches and it's there on            16 Both of where it came from, I think it's fairly
 17 keyboard. This is stuff that has to go through         17 consistent with what I recall being said and it -
 18 with specific coding, that's going to be very --       18 - we don't need to relitigate the issues. But
 19 that's much different. And we just -- it's just        19 that was clarifying. I think what Ms. -- the
 20 a frame of that that there's -- and appreciate         20 larger point that Ms. Weaver was raising for us,
 21 that there's not going to be an immediacy of the       21 is and without also, relitigating this whether it
 22 results, necessarily, for the historical data as       22 was a first round search result or not, is we're
 23 we saw with some of the test searches we did this      23 in the process -- we want to do this search to
 24 week. And I think it was just framing that             24 get our actual named plaintiff's data. It's
 25 reference in to that point. It actually gets in        25 great to get Dr. Shapeak's data. That is very
                                                 Page 46                                                   Page 48

  1 a good point about what you -- where this is all        1 helpful. It produces the results that we can
  2 leading is how to search all of this historical         2 use, helpful for other searches, stuff we think
  3 data, so if there is a compound effect here.            3 we're going to show to the jury. But ultimately,
  4 That if we're saying hey, we're designing a             4 our plaintiffs are our plaintiffs, and we want
  5 search in C plus plus with these longer search          5 our plaintiff's data. And we've bee pretty clear
  6 queries in historical data and that stuff's             6 for a while that we thought the way to get the
  7 applicable to other data sources that are being         7 second round searches was production of a first
  8 held that are also in the compressed Sequel data        8 round of our actual plaintiff's data.
  9 format, we should look at these and compound ones       9        We got no sets the first time around.
 10 too, to move along the process. Because however        10 Dr. Shapeak has been clear with the importance
 11 we design these searches for -- for anything,          11 of how to construct the second search results
 12 it's -- think about it for reuse, you know. Can        12 from the -- the actual production of our
 13 we -- can this be used in other data source areas      13 plaintiff's data. And so we really have a big
 14 as well, to produce similar results or with            14 concern about timing. We understand Google
 15 minimal modification so that we can meet some of       15 saying it can't come up with it to this time, but
 16 the.                                                   16 their first red paragraph reverses the order.
 17          I do want to note that I think what was       17 Asks us to construct the second round searches
 18 just said and too much literally going back and        18 before we receive any of the -- this historical
 19 forth, was what Google said is they're going to        19 plaintiff data. It says their proposal is that
 20 do low end production of -- of the data that they      20 we submit our second round searches on March 6th,
 21 can, particularly starting with the sets of data       21 which is tomorrow, and that they will produce
 22 that don't need publisher consent. Was that what       22 this historical plaintiff data on March 10th. We
 23 I heard, Google?                                       23 just can't -- we can't do that, Mr. Brush, we've
 24          MR. ANSORGE: Yes, that's right, Mr.           24 got to be able to --
 25 Brush.                                                 25        MS. WEAVER: And let me -- if I may,
                                                 Page 47                                                   Page 49

                                                                                             13 (Pages 46 - 49)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR            Document 748-2         Filed 07/01/22   Page 109 of 227

  1        MS. WEAVER: Bye guys.
  2        MR. SHAPIRO: Thanks everybody.
  3        MR. STRAITE: Bye.
  4        MS. GAO: Thanks, bye.
  5        MR. BARNES: Thank you all.
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
                                              Page 134

  1         CERTIFICATION
  2
  3 I, Sonya Ledanski Hyde, certify that the
  4 foregoing transcript is a true and accurate
  5 record of the proceedings.
  6
  7
  8
  9
 10
 11 Veritext Legal Solutions
 12 330 Old Country Road
 13 Suite 300
 14 Mineola, NY 11501
 15
 16 Date: March 18, 2022
 17
 18
 19
 20
 21
 22
 23
 24
 25
                                              Page 135

                                                                             35 (Pages 134 - 135)
                                        Veritext Legal Solutions
                                             866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 110 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
        Case 4:20-cv-05146-YGR          Document 748-2                  Filed 07/01/22   Page 111 of 227

                                                                                                         
    
                                              0DUFK
                                                    
    9,$(/(&7521,&0$,/
    6SHFLDO0DVWHU'RXJODV%UXVK                
    GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF
    7LPRWK\6FKPLGW
    WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF
    
           5H &DOKRXQY*RRJOH//&1RFY/+.69. 1'&DO 
                 -RLQWUpdate on Special Master Process
                 
                 7+,6/(77(55()(5(1&(60$7(5,$/7+$7+$6%((1
               '(6,*1$7('&21),'(17,$/25+,*+/<&21),'(17,$/
           
    'HDU6SHFLDO0DVWHU%UXVKDQG0U6FKPLGW

           $VUHTXHVWHGWKH3DUWLHVSURYLGHWKLVMRLQWXSGDWHRQWKH6SHFLDO0DVWHUSURFHVVRXWOLQLQJ
    WKHLUUHVSHFWLYHSRVLWLRQVRQWKHLVVXHVEHORZ
    
    3UHYLRXVO\6HDUFKHGEXW1RW3URGXFHG'DWD
    
        x 3ODLQWLIIV¶3RVLWLRQ'HVSLWHRUGHUVWRGRVR*RRJOHVWLOOKDVQRWSURGXFHG3ODLQWLIIGDWD
            LWSUHYLRXVO\VHDUFKHGEXWGLGQRWSURGXFH2Q6DWXUGD\¶VFDOO*RRJOHWRRNWKHSRVLWLRQ
            WKDWLWZRXOGQRWSURGXFHWKHGDWDLWKDVDOUHDG\LGHQWLILHGXQWLO0DUFK,WDOVRIDLOHGWR
            GLUHFWO\DQVZHUZKHWKHULWKDVLGHQWLILHGDOOVRXUFHVRIGDWDWKDWZHUHSUHYLRXVO\VHDUFKHG
            RUSUHVHUYHG±GHVSLWHWKH&RXUWKDYLQJRUGHUHGWKLVGDWDSURGXFHGRQ$SULO
            3ODLQWLIIV¶UHTXHVW &RXUW DQG 6SHFLDO 0DVWHU LQWHUYHQWLRQIRU WKH SURGXFWLRQRI WKLV
            LQIRUPDWLRQLPPHGLDWHO\
            
        x *RRJOH¶V3RVLWLRQ$VGLVFXVVHGDW6DWXUGD\¶VFRQIHUHQFH*RRJOHZLOOEHSURGXFLQJWKH
            SUHVHUYHGGDWDIURP          ORJVWKDWGRQRWFRQWDLQFRQILGHQWLDOWKLUGSDUW\LQIRUPDWLRQ
            QRODWHUWKDQ7KXUVGD\0DUFK*RRJOHFDQDOVRDJUHHWRSURGXFHWKHSUHVHUYHGQRQ
                     ORJGDWDE\0RQGD\0DUFK%HORZLVDOLVWRIDOOVRXUFHVRIGDWDIURPZKLFK
            *RRJOHSUHVHUYHGGDWDSXUVXDQWWRDOHJDOKROGDQGVWRUHGLQDQRQ RSWLPL]HGIRUPDWWKDW
            LVQRWHDVLO\TXHU\DEOH
    
                                                    
                                                    
                                                
                                                                    
                                                                                
                                                        
                                                                



                                                        
    Case 4:20-cv-05146-YGR      Document 748-2                       Filed 07/01/22               Page 112 of 227

                                                                                             

6SHFLDO0DVWHU'RXJODV%UXVK                                                        SIMMONS HANLY CONROY LLC
0DUFK                                                                        D I CELLO LEVITT GUTZLER LLC
3DJH                                                                               BLEICHMAR FONTI & AULD LLP


                                             
                                         
                                                                     
                                 
                                     
                                                     
                                                                         
                                                                 
                                     
                                     
                                                         
                                     
                                     
                                     
                                                                                 
                                                             
                                                                                                    

                                                 
                                                                                              

                                                             
                                                                                          

                                                                     
                                                                             
                                                                     
                                                                             
                                                                         
    Case 4:20-cv-05146-YGR          Document 748-2                  Filed 07/01/22                        Page 113 of 227

                                                                                                     

6SHFLDO0DVWHU'RXJODV%UXVK                                                           SIMMONS HANLY CONROY LLC
0DUFK                                                                           D I CELLO LEVITT GUTZLER LLC
3DJH                                                                                  BLEICHMAR FONTI & AULD LLP


                                                                                          
                                                                            
                                                                                                  

                                                    
                                                                                              

                                                                                                      

                                                                                                  

                                                                                                  

                                                                                                           

                                                                                                                    

                                        
                                                
                                            
                                            
                                
                                                                
                                                                                    
                                                            
                                                                        
                                                        
                                                                                
                                            
                                                                            
                                                                    
    Case 4:20-cv-05146-YGR      Document 748-2                       Filed 07/01/22                   Page 114 of 227

                                                                                                 

6SHFLDO0DVWHU'RXJODV%UXVK                                                    SIMMONS HANLY CONROY LLC
0DUFK                                                                    D I CELLO LEVITT GUTZLER LLC
3DJH                                                                           BLEICHMAR FONTI & AULD LLP


                                                                         
                                                     
                                             
                                             
                                                         
                                                             
                                                 
                                                                             
                                                                                              

                                                                                                           

                                                                                                       

                                    
                                                                                  
                                                                                  
                                                         
                                                                                  
                                                         
                                                                 
                                                                                  
                                                                                      
                                                                     
                                                                                      
                                                                     
                                                                                  
                                                                     
                                     
                                         
                                                                                          
                                                                                                                 
    Case 4:20-cv-05146-YGR         Document 748-2             Filed 07/01/22       Page 115 of 227

                                                                              

6SHFLDO0DVWHU'RXJODV%UXVK                                         SIMMONS HANLY CONROY LLC
0DUFK                                                         D I CELLO LEVITT GUTZLER LLC
3DJH                                                                BLEICHMAR FONTI & AULD LLP


                                                                           
                                                              
                                                          
                                                                       
                                                                                                                    
                                                              
                                                  
                                                                                                    
                                                                  
                                                          
                                                                                                            
                                                                                        
                                                                                            
                                                                           
                                                                                                        
                                                      
                                                          
                                                                                                                
                                                                                            
                                                                                                
                                                                               
                                                                                    
                                                          

        *RRJOHKDVFRQILUPHGWKDWWKHSUHVHUYHGGDWDFRQWDLQVLQIRUPDWLRQFRQILGHQWLDOWRDWOHDVW
              WKLUG SDUW\ SXEOLVKHUV 3URGXFLQJ WKH SUHVHUYHG GDWD IURP ORJV WKDW FRQWDLQ
        FRQILGHQWLDOWKLUGSDUW\LQIRUPDWLRQZRXOGUHTXLUH*RRJOHWRSURYLGHUHDVRQDEOHQRWLFHWR
        DOO     SXEOLVKHUVZKLFKLVXQGXO\EXUGHQVRPHDQGZLOOIXUWKHUGHOD\WKHFRQFOXVLRQRI
        WKH6SHFLDO0DVWHUSURFHVV*RRJOHWKXVSURSRVHVWRSURGXFHRQHUHFRUGIRUHDFKORJQRW
        SUHYLRXVO\SURGXFHGWKDWFRQWDLQVFRQILGHQWLDOWKLUGSDUW\GDWDZLWKWKHY DOXHVUHGDFWHG
        VRWKDW3ODLQWLIIVZLOOKDYHWKHSRSXODWHGILHOGVIRUHDFKORJ
  Case 4:20-cv-05146-YGR           Document 748-2        Filed 07/01/22        Page 116 of 227

                                                                         

6SHFLDO0DVWHU'RXJODV%UXVK                                      SIMMONS HANLY CONROY LLC
0DUFK                                                      D I CELLO LEVITT GUTZLER LLC
3DJH                                                             BLEICHMAR FONTI & AULD LLP


=:%.*DLD'%/           DQG ,QIRUPDWLRQ

  x 3ODLQWLIIV¶3RVLWLRQ'HVSLWHRUGHUVWRGRVR*RRJOHKDVQRWSURGXFHGWKH3ODLQWLIIRUWHVW
    DFFRXQWGDWDFRQWDLQHGLQ=:%.*$,$RU'%/                 DQG QRUWKHVFKHPDWKHUHWR
    2Q6DWXUGD\¶VFDOO*RRJOHFRXQVHOREMHFWHGWRIXOOSURGXFWLRQDQGWKH6SHFLDO0DVWHU
    VHHPHGWRDOWHUZKDW*RRJOHLVH[SHFWHGWRSURGXFHVROHO\EDVHGRQWKHVD\VRRI*RRJOH
    FRXQVHO3ODLQWLIIVVWLOOGRQRWKDYHDFOHDUXQGHUVWDQGLQJRIZKDWRUZKHQ*RRJOHZLOO
    SURGXFHWKLVGDWD,QDGGLWLRQ*RRJOHKDVQRWSURGXFHG=:%.*$,$RU'%/                  
    DQG  ILHOGVRU SURWRVLQIRUPDWLRQQHFHVVDU\IRU3ODLQWLIIVWR XQGHUVWDQGWKHVHGDWD
    VRXUFHV,QVWHDG*RRJOH SURYLGHGFROXPQVZLWKRXW VXIILFLHQWGHWDLOV DQG D OHWWHU WR
    6SHFLDO0DVWHU%UXVKUHJDUGLQJ*$,$               WKDWZDVQRWSURYLGHGWR3ODLQWLIIV7KH
    LPSRUWDQFHRIWKLVLQIRUPDWLRQLVH[SODLQHGLQWKH3ODLQWLIIV¶([KLELWDQH[SODQDWLRQ
    IURP3URI 6KDILT 3ODLQWLIIV¶ UHTXHVW&RXUW DQG 6SHFLDO 0DVWHU LQWHUYHQWLRQIRU WKH
    SURGXFWLRQRIWKLVLQIRUPDWLRQLPPHGLDWHO\
    
  x *RRJOH¶V3RVLWLRQ3XUVXDQWWRWKH0DUFK6HDOHG2UGHU 'NW ³*RRJOHLVRUGHUHG
    WRVHDUFKWKHIROORZLQJGDWDVRXUFHV=ZLHEDFN            *DLD         =ZLHEDFN DQG 
    'RXEOHFOLFN «DWWKHGLUHFWLRQRI6SHFLDO0DVWHU%UXVK>@´*RRJOHKDVVHDUFKHGDQG
    SURGXFHG'%/ GDWD$VWR=ZLHEDFN                *DLD          DQG=ZLHEDFN DVVWDWHG
    LQ*RRJOH¶V0DUFKOHWWHUGHVSLWH*RRJOHHQJLQHHUV¶EHVWHIIRUWVWKH\KDYHQRWRY HUFRPH
    WKHHQJLQHHULQJGLIILFXOWLHVWRVHDUFKRUH[WUDFW3ODLQWLIIV¶GDWDIURPWKHVHVRXUFHV*RRJOH
    WKXVSURSRVHVWROLPLWWKHVHDUFKWRFHUWDLQFROXPQVDVRXWOLQHGEHORZ

         'DWD6RXUFH                             3URGXFHG,QIRUPDWLRQ


        =:%.            2Q)HEUXDU\*RRJOHSURYLGHGDQQRWDWLRQVDQGQDPHVIRUDOO          
                          =:%.          FROXPQV6HH*22*&$/+

                            *RRJOHLGHQWLILHG     =:%.      FROXPQVWKDWPD\SHUWDLQWR
                            'LVSOD\$GVUHPDUNHWLQJDQGDUH PRVWUHOHYDQWWR WKHFODLPVDQG
                            GHIHQVHVLQWKLVFDVH6HH*22*&$/+

                            *RRJOHSURSRVHVWDUJHWLQJVHDUFKHVWRWKH       SUHYLRXVO\LGHQWLILHG
                            =:%.         FROXPQV
    Case 4:20-cv-05146-YGR             Document 748-2        Filed 07/01/22         Page 117 of 227

                                                                              

6SHFLDO0DVWHU'RXJODV%UXVK                                          SIMMONS HANLY CONROY LLC
0DUFK                                                          D I CELLO LEVITT GUTZLER LLC
3DJH                                                                 BLEICHMAR FONTI & AULD LLP



         *$,$                 2Q0DUFK*RRJOHVXEPLWWHGWRWKH6SHFLDO0DVWHUFROXPQQDPH
                                GDWD W\SHUHWHQWLRQ DQGDQQRWDWLRQVIRU DOO  *$,$        
                                FROXPQV6HH*RRJOH¶V VXEPLVVLRQWLWOHG ³&DOKRXQY
                                *RRJOH*$,$           &ROXPQV$(2´

                                *RRJOHSUHYLRXVO\SURYLGHGDQQRWDWLRQVDQGQDPHVIRU *$,$
                                       FROXPQVWKDWPD\SHUWDLQWR'LVSOD\$GVDQGRU$QDO\WLFV
                                6HH *RRJOH¶V 'HFHPEHU  VXEPLVVLRQWLWOHG ³
                                &DOKRXQY*RRJOH*RRJOH6XEPLVVLRQWR6SHFLDO0DVWHU´6KHHW
                                

                                *RRJOHSURSRVHVWDUJHWLQJVHDUFKHVWRWKH       SUHYLRXVO\LGHQWLILHG
                                *$,$         FROXPQV



         =:%.                 *RRJOHFRQILUPVWKDWLWKDVSURYLGHGDQQRWDWLRQVDQGQDPHVIRUDOO
                                QLQH=:%. 6HH*22*&$/+

                                *RRJOHZLOOVHDUFKDQGSURGXFHGDWDDVVRFLDWHGZLWKWKHLGHQWLILHUV
                                SURYLGHGE\FRQVHQWLQJ3ODLQWLIIVDQG'U6KDILTIURP=:%.2]


      3ODLQWLIIVDOVRVHHPLQJO\UHTXHVWWKDW *RRJOHSURYLGH³ILHOGV´DQG³VXEILHOGV´IRUWKH
      =:%.           *$,$           DQG=:%. FROXPQV+RZHYHU*RRJOHKDVQRH[LVWLQJ
      WRROWKDWSURYLGHVDOLVWLQJRI³ILHOGV´DQG³VXEILHOGV´
      
/RJV&RQWDLQLQJ1RW6\QFHG6LJQDOV

   x 3ODLQWLIIV¶3RVLWLRQ3ODLQWLIIVGRQRWEHOLHYH*RRJOHKDVLGHQWLILHGDOOORJVWKDWFRQWDLQ
      1RW6\QFHGVLJQDOVRURWKHUVLJQDOVIURPZKLFK1RW6\QFHGVWDWXVFDQEHLQIHUUHG )RU
      H[DPSOH3ODLQWLIIVOHDUQHGRIWKH                         DQG³PD\EHBFKURPHBLQFRJLWR´
      ILHOGDQGYDOXHVLQ                           RQO\DIWHUWKHFORVHRIGLVFRYHU\:HDOVR
      OHDUQHGWKDWWKHELWLV VWRUHGLQVRFDOOHG          ORJVZKLFKDOVRFRQWDLQUHVLGHQWLDO
      DGGUHVVDQGRWKHUSUHFLVHJHRORFDWLRQLQIRUPDWLRQIRUXVHUV)XUWKHU*RRJOH¶VFDWHJRULFDO
      UHIXVDOWRDGGUHVV=ZLHEDFNNH\HGGDWDRXWVLGHRI'LVSOD\$GVPDNHVLWV1RW6\QFHG
      VLJQDOGLVFORVXUHVLQFRPSOHWH)RUH[DPSOH*22*&$/+VWDWHVWKDWXQWLO
      ³VLJQHGLQ:$$RIIORJV>ZH@UHZULWWHQWR=ZLHEDFNDUFKLYDOORJV´EXWDIWHUWKDW
      ZHUHZULWWHQWR³WHPSRUDU\SHUVRQDOORJVDQGWRPEVWRQHGZLWKLQWKHZLSHRXWSHULRG´
      :KDWWKLVPHDQVLVWKDWWKHUHDUH=ZLHEDFNORJVWKDWFRQVLVWHQWLUHO\RIVLJQHG RXWGDWD
      )RUWKRVHORJVWKHFRPELQDWLRQRIWKHH[LVWHQFHRIFRPPXQLFDWLRQLQWKHORJDQG&KURPH
    Case 4:20-cv-05146-YGR          Document 748-2         Filed 07/01/22        Page 118 of 227

                                                                            

6SHFLDO0DVWHU'RXJODV%UXVK                                         SIMMONS HANLY CONROY LLC
0DUFK                                                         D I CELLO LEVITT GUTZLER LLC
3DJH                                                                BLEICHMAR FONTI & AULD LLP


         DVWKHXVHUDJHQWPHDQVWKDWWKHFRPPXQLFDWLRQZDVVHQWIURP&KURPHWR*RRJOHZKLOH
         WKHXVHUZDVVLJQHGRXWLHQRWV\QFHG,I*RRJOHZRXOGVLPSO\GLVFORVHVXFKORJVDQG
         WKHLU UHWHQWLRQ SHULRGV LW PD\ UHVROYH WKH SUHVHUYDWLRQGLVSXWH 7KH &RXUW RUGHUHG
         *RRJOH¶V GLVFORVXUHRIWKLV LQIRUPDWLRQLQ 1RYHPEHUDQG3ODLQWLIIV¶UHTXHVWWKDW WKH
         6SHFLDO0DVWHURUGHU*RRJOHWRUHVSRQG
         
         3ODLQWLIIV¶UHTXHVW&RXUWDQG6SHFLDO0DVWHULQWHUYHQWLRQIRUFRQILUPDWLRQWKDW*RRJOHKDV
         LGHQWLILHGDOOORJVWKDWFRQWDLQ1RW6\QFHGVLJQDOVRURWKHUVLJQDOVIURPZKLFK1RW6\QFHG
         VWDWXVFDQEHLQIHUUHG7RWKHH[WHQWLQIRUPDWLRQFRQWLQXHVWREHZLWKKHOG3ODLQWLIIV¶
         UHTXHVW&RXUWDQG 6SHFLDO0DVWHU LQWHUYHQWLRQIRUWKH SURGXFWLRQ RIWKLV LQIRUPDWLRQ
         LPPHGLDWHO\
         
     x   *RRJOH¶V 3RVLWLRQ 3ODLQWLIIV ZURQJO\ DVVHUW WKDW WKH\ RQO\ OHDUQHG DERXW WKH
                                DQGWKH³PD\EHBFKURPHBLQFRJLWR´ILHOGVLQDOLYHGHPRQVWUDWLRQRQ
         7KXUVGD\7KH\KDYHEHHQRQQRWLFHRIWKH³PD\EHBFKURPHBLQFRJQLWRILHOG´DVHDUO\DV
         $SULODQGWKH³EURZHU LQIR VWDWH´ILHOGDVHDUO\DVLQ1RYHPEHU6HHHJ
         *22*&$/+DWSURGXFHGLQ$SULO ³PD\EH FKURPH LQFRJQLWRILHOG
         QHHGV WR EH XVHG ZLWK FDXWLRQ´  *22*&$%5 ³7KLV ZLOO LQLWLDOL]H
                                        ´ $VNLQJIRUDGGLWLRQDOLQIRUPDWLRQLVXQUHDVRQDEOHDWWKLV
         SRLQW8QOHVVWKH6SHFLDO0DVWHULQVWUXFWV*RRJOHWRSURYLGHDQ\DGGLWLRQDOLQIRUPDWLRQ
         *RRJOHZLOOQRWHQWHUWDLQ3ODLQWLIIV¶HQGOHVVDWWHPSWWRGHUDLOWKHFRQFOXVLRQRIWKH6SHFLDO
         0DVWHUSURFHVV

,GHQWLILFDWLRQRI5HOHYDQW/RJVDQG)LHOGV
   x 3ODLQWLIIV¶3RVLWLRQ*RRJOHKDVQRW\HWLGHQWLILHGDOOUHOHYDQWORJVWRWKLVFDVHRUWKHLU
        ILHOGV5DWKHU*RRJOHOLPLWHGLWVLGHQWLILFDWLRQRIILHOGVWRWKH³WRS´ILHOGVZLWKRXW
        3ODLQWLIIV¶NQRZOHGJH3ODLQWLIIVOHDUQHGWKLVZHHNWKDWUHOHYDQWILHOGVZHUHH[FOXGHGIURP
        *RRJOH¶VSURGXFWLRQVDVDUHVXOW3ODLQWLIIV¶UHTXHVW&RXUWDQG6SHFLDO0DVWHULQWHUYHQWLRQ
        IRUWKHSURGXFWLRQRIWKLVLQIRUPDWLRQLPPHGLDWHO\
        
   x *RRJOH¶V3RVLWLRQ3ODLQWLIIV¶DVVHUWLRQWKDWWKH\³OHDUQHGIRUWKHILUVWWLPHGD\VDJR´
        WKDW*RRJOHRQO\GLVFORVHGWKHWRSILHOGVE\VL]HLV LQFRUUHFW 6HHHJ*RRJOH¶V
        'HFHPEHU/HWWHU ³$ORQJZLWKWKLVOHWWHUZHDUHSURYLGLQJ«ILHOGQDPHVIRUWKHODUJHVW
        ILHOGVIRUDOOWKHDGGLWLRQDO        ORJVGHVFULEHGLQ6HFWLRQ1XPEHUV RIWKH
        2UGHU       ORJV LQWRWDO  «´3XUVXDQWWRWKH6SHFLDO0DVWHU¶V RUGHUDQGLQVWUXFWLRQV
        *RRJOHZLOOQRWEHSURYLGLQJDOOILHOGVIRUDOOLGHQWLILHGORJV

        7KHWHFKQLFDOEXUGHQVDVVRFLDWHGZLWKSURYLGLQJDOOILHOGQDPHVDUHQHLWKHUSURSRUWLRQDO
        QRUEHQHILFLDOWRHIILFLHQWO\UHVROYLQJWKHGLVSXWHVFXUUHQWO\EHIRUHWKH6SHFLDO0DVWHU$V
        *RRJOHH[SODLQHGLQLWV2FWREHUOHWWHUWRWKH6SHFLDO0DVWHUUHJDUGLQJWHFKQLFDOEXUGHQV
        *RRJOHVWRUHVLWVORJVUHFRUGVLQSURWRFROEXIIHUV3URWRFROEXIIHUVUHODWHGWRWKHVHOHFWHG
    Case 4:20-cv-05146-YGR           Document 748-2          Filed 07/01/22        Page 119 of 227

                                                                              

6SHFLDO0DVWHU'RXJODV%UXVK                                           SIMMONS HANLY CONROY LLC
0DUFK                                                           D I CELLO LEVITT GUTZLER LLC
3DJH                                                                  BLEICHMAR FONTI & AULD LLP


        ORJVRXUFHVDUHFRPSOH[DQGLQFOXGHQHVWHGVXEPHVVDJHVWKDWFRQVLVWRIRWKHUSURWRFRO
        EXIIHUVWKDWFRQWDLQIXUWKHUQHVWHGVXEPHVVDJHVDQGVRIRUWK(DFKPHVVDJHILOHFRQWDLQV
        LQIRUPDWLRQDERXWWKH QDPH W\SH LGHQWLI\LQJILHOG QXPEHUDQG LQ VRPH FDVHV  D
        FRPPHQWDERXWWKHILHOG7RVDYHVSDFHRQGLVNDSURWRFROEXIIHUUHFRUGLVHQFRGHGLQD
        IRUPDWLQZKLFKWKHILHOGVDUHLGHQWLILHGE\WDJQXPEHUV

        %HFDXVHWKHORJVLQTXHVWLRQKDYHILHOGVDQGPHVVDJHILOHVIURPPXOWLSOHSURWRFROEXIIHU
        ILOHV*RRJOHFDQQRWSURGXFHDVLQJOH³SURWR´ILOHEXWUDWKHUZRXOGEHUHTXLUHGWRFRPSLOH
        DOLVWRIKXQGUHGVRIILOHV²DFRPSOH[H[HUFLVHWKDWZLOOUHTXLUHPDQ\VRIWZDUHHQJLQHHULQJ
        KRXUV6LPLODUWRKRZ&FRPSLOHUVFDQZDONWKURXJKLQFOXGHVWDWHPHQWVWRSURGXFHD
        ELQDU\ZLWKDOOWKHUHOHYDQWFRGHDQGOLEUDULHVOLQNHGLQ²EXWWKHUHDUHQRUHDGLO\DYDLODEOH
        WRROVWRUHFRQVWUXFWDOOWKHUHOHYDQWVRXUFHFRGHWKDWZHQWLQWRWKDWVSHFLILFELQDU\²SURWR
        ILOHVLPSRUWRWKHUSURWRILOHVXVLQJVXEVHFWLRQVRIWKRVHILOHV0RUHRYHUSURWRILOHVUHODWHG
        WRWKHVHOHFWHGGDWDVRXUFHVDUHVRXUFHFRGHWKH\DUHVXEPLWWHGDVVRXUFHFRGHUHYLHZHG
        DVVRXUFHFRGHDQGUXQDVVRXUFHFRGH

        $ SURWRFROEXIIHUFRQWDLQVDOO SRVVLEOH WDJV WKDW FRXOG FRQWDLQGDWD:LWK YHU\ IHZ
        H[FHSWLRQV²VXFKDVWKHOLPLWHGQXPEHUILHOGVWKDWKDYHWKHUDUHO\XVHG³UHTXLUHG´WDJ²
        WKHUHLVQRUHTXLUHPHQWIRUDQ\JLYHQILHOGWREHILOOHGLQ0RUHRYHULWLVLPSRVVLE OHWR
        HQIRUFHWKHVHPDQWLFVRIZKDWDILHOGLVXVHGIRUIURPSURGXFWWRSURGXFWRUHYHQUHFRUG
        WRUHFRUG6RPHSURWRFROEXIIHUVVXFKDVWKRVHXVHGLQDGTXHU\ORJVRUIURQWHQGORJVDUH
        VKDUHGDFURVVPXOWLSOH*RRJOHSURGXFWVDQGWKHYDVWPDMRULW\RIILHOGVOLVWHGWKHUHLQZLOO
        FRQWDLQQRGDWDLQDJLYHQUHFRUG)RUH[DPSOHPDQ\ILHOGVSHUWDLQRQO\WRDGVVKRZQRQ
        *RRJOH¶VVHDUFKSDJHDQGDUHLUUHOHYDQWWRDGVRQWKLUGSDUW\ZHEVLWHV

        3URYLGLQJDOLVWRIILHOGVLQDSURWRWKDWDUHDFWXDOO\ILOOHGXVHGIRUWKHGDWDDWLVVXHLVDOVR
        EXUGHQVRPH*RRJOHKDVQRH[LVWLQJWRROWKDWSURYLGHVDOLVWLQJRISRSXODWHGILHOGVEDVHG
        RQDJLYHQVHWRIFRQGLWLRQV,QWKHRU\*RRJOHHQJLQHHUVFRXOGFUHDWHD)OXPHSLSHOLQHWR
        SDUVH HDFKLQGLYLGXDOUHFRUGILOWHULQPDWFKLQJ SURGXFWFULWHULDHQXPHUDWHWKH ILOOHG
        ILHOGVDQGDGGWKRVHWRDUXQQLQJVHW+RZHYHUWKLVLVDQRQWULYLDOSURJUDPWRZULWHWHVW
        VXEPLWDQGYDOLGDWH5XQQLQJWKLVSURJUDPRYHUPRUHWKDQDKDQGIXORIUHFHQWGD\VZRXOG
        DOVRUHTXLUHVLJQLILFDQWFRPSXWHUUHVRXUFHVDVWKHSRWHQWLDOO\UHOHYDQWORJVRXUFHVDUHLQ
        WKH                        UDQJH7KLVOLVW RIILHOGVZRXOGDOVRFRQWDLQKLJKO\VHQVLWLYH
        LQIRUPDWLRQUHODWHGWR*RRJOH¶VDGVVHUYLQJLQIUDVWUXFWXUHDQGDEXVHGHWHFWLRQWKDWLV
        LUUHOHYDQWWRWKLVPDWWHUDQGZKRVHGLVFORVXUHFRXOGFDXVH*RRJOHVXEVWDQWLDOHFRQRPLF
        KDUP

3UHVHUYDWLRQ

   x 3ODLQWLIIV¶ 3RVLWLRQ 5HJDUGLQJ WKH 3UHVHUYDWLRQ LVVXH 3ODLQWLIIV UHPDLQ ZLOOLQJ WR
      QHJRWLDWH LQ JRRGIDLWK ZKLFK PHDQV*RRJOH PXVW EH ZLOOLQJ WR GLVFXVVFODVVZLGH
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 120 of 227
        Case 4:20-cv-05146-YGR                    Document 748-2              Filed 07/01/22       Page 121 of 227

                                                                                              

6SHFLDO0DVWHU'RXJODV%UXVK                                                          SIMMONS HANLY CONROY LLC
0DUFK                                                                          D I CELLO LEVITT GUTZLER LLC
3DJH                                                                                BLEICHMAR FONTI & AULD LLP


    *RRJOH¶VSURGXFWLRQRIVFKHPDILHOGVDQGSURWRVIRU 
    =:%.*$,$DQG'%/ 6HH3OV¶([KLELW6KDILT
    ([SODQDWLRQ
    *RRJOH WR LGHQWLI\DOO 1RW 6\QFHGVLJQDOV H[SUHVVRU 
    LQIHUUHG IURPDQ\GDWDVRXUFH
    3ODLQWLIIVWRLGHQWLI\6HFRQG5RXQGVHDUFKHV                 )LYH EXVLQHVV GD\V IROORZLQJ
                                                                   FRPSOHWLRQRI*RRJOH¶VUHVSRQVHV
           
       x *RRJOH¶V3RVLWLRQ$VWKH&RXUWUHFRJQL]HGLQWKH1RYHPEHU2UGHU³WKHUHTXHVWVDQG
           SURGXFWLRQIURP*RRJOH PXVWDQGZLOO FRPHWR DQ HQG´'NW DW  *RRJOHKDV
           SURGXFHGPRUHWKDQ                SDJHV LQ WKLV FDVHLQFOXGLQJ        RISDJHV RI
           3ODLQWLIIV¶GDWDSURGXFHGGXULQJWKH6SHFLDO0DVWHUSURFHVV3ODLQWLIIVKDYHPRUHWKDQ
           HQRXJKLQIRUPDWLRQWRFUDIWWKHILQDOURXQGRIVHDUFKHVDQGVKRXOGQRWFRQWLQXHWRGHUDLO
           WKHFRQFOXVLRQRIWKH6SHFLDO0DVWHUSURFHVV

                                                                        6LQFHUHO\

    V-D\%DUQHV   
    -D\%DUQHV                                                         
    MD\EDUQHV#VLPPRQVILUPFRP                                         
                                                                       
    V/HVOH\:HDYHU       
    /HVOH\:HDYHU                                                      
    OZHDYHU#EIDODZFRP                                                 
                                                                       
                                                                       
    V'DYLG6WUDLWH     &RXQVHOIRU*RRJOH
    'DYLG6WUDLWH
    GVWUDLWH#GLFHOOROHYLWWFRP
    
    &RXQVHOIRU3ODLQWLIIV


                                                                       
                                                                        
    Case 4:20-cv-05146-YGR       Document 748-2   Filed 07/01/22       Page 122 of 227

                                                                  

6SHFLDO0DVWHU'RXJODV%UXVK                             SIMMONS HANLY CONROY LLC
0DUFK                                             D I CELLO LEVITT GUTZLER LLC
3DJH                                                   BLEICHMAR FONTI & AULD LLP


                                           
    FFYLDHPDLO                         
                                           
    3ODLQWLIIV¶&RXQVHO                    
    
    DNHOOHU#GLFHOOROHYLWWFRP
    DSURP#GLFHOOROHYLWWFRP
    VFUX]#GLFHOOROHYLWWFRP
    DRUQHODV#EIDODZFRP
    DWUXRQJ#VLPPRQVILUPFRP
    HMRKQVRQ#VLPPRQVILUPFRP
    


Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 123 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 124 of 227


 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4
 5      Case No. 5:20-cv-05146-LHK-SVK
 6
 7      PATRICK CALHOUN, et al., on behalf of                             |
 8      themselves and all others similarly situated,                     |
 9                            Plaintiffs,                                 |
10            v.                                                          |
11      GOOGLE, LLC,                                                      |
12                            Defendant.                                  |
13      _______________________________________________|
14
15
16
17                       Special Masters Hearing
18                               March 8, 2022
19
20
21
22
23
24
25

                                                                          Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22         Page 125 of 227

  1         MR. ANSORGE: This is a third bucket.            1 format is this? Syslog, binary formats, or are
  2 This is data that has been preserved. So there          2 they, you know, zipped and encrypted? The more
  3 is at a point in the litigation an engineer will        3 you can feed me about the technical stuff, the
  4 preserve data for purposes of the litigation.           4 better I can help articulate the need for
  5 It’s not preserved in the format in which it’s          5 additional time. If you don’t know it, please
  6 easily queryable. And that’s why the delays have        6 feel free to put that in the email. Because I’m
  7 existed. But we can provide that on the 9th and         7 on your side on that one. I get the technical
  8 10th.                                                   8 limitations of these types of data formats,
  9         And I think it’s a very important               9 particularly when they’ve been held early on in
 10 clarification, Special Master Brush, because           10 the litigation. So anything you provide as
 11 sometimes it’s been framed as previously               11 insight to that, the more transparencies, the
 12 searched, but not produced data. And that would        12 better.
 13 make it seem like this was a search that was done      13         MR. ANSORGE: So to make sure I get the
 14 under the special master process perhaps or where      14 exact terminology right, Special Master, I might
 15 in proportionally different steps were followed.       15 want to send a follow-up letter.
 16 And that’s not what this is. These are broad           16         MR. BRUSH: That’s fine.
 17 data preservations that took place which now           17         MR. ANSORGE: I know that we have some
 18 after -- of course we’ve been ordered -- we’re         18 sources and there’s explanations from the
 19 working on making them all available.                  19 engineers, but I want to make sure that I don’t
 20         MR. BRUSH: Okay. And that’s an                 20 misspeak. I think there is some aspect to --
 21 important clarification, Joey. Thank you so            21 yeah. I’m not even going to try and recall to
 22 much. I just wanted to make sure that this five        22 make sure that --
 23 pages or four pages of data source list wasn’t         23         MR. BRUSH: No, no, that’s fine.
 24 meant to say these are off-limits, but really the      24         MR. ANSORGE: There’s a lot of
 25 opposite, to say that they are being produced,         25 technical terms that we can offer you.
                                                 Page 10                                                     Page 12

  1 you were just giving a reason for the delay and -       1        MR. BRUSH: Yeah. If you could, that
  2 - is that right?                                        2 would be helpful. Thank you.
  3        MR. ANSORGE: Yes. So these were                  3        MR. ANSORGE: And some of the logs that
  4 always the sources that we were discussing when         4 do not contain confidential third-party
  5 we were referring to the preserved data that            5 information, we are on target for March 10th. I
  6 would be searched that we have been ordered to          6 think we will be able to expedite it to March
  7 provide. That’s what we are describing the              7 9th. And, you know, those are the               logs
  8 burden that would be associated with both                                                   we
  9 querying it, providing it. It’s not going to be         8 were discussing here.
 10 structured in the same way in which the other           9        The timing for the                 log data
                                                           10 for March 14th, that has not passed. That can
 11 productions have been. We are finding I think
                                                           11 hold. All the indications we should be able to
 12 some creative solutions to dealing I think the
                                                           12 meet that.
 13 publisher notice and consent problem.
                                                           13        The problem for us, and we sketched it
 14        With your permission, David, I would
                                                           14 out in the letter, is that we now have the
 15 transition to discussing that part. Or was there       15 additional information which we were referring to
 16 some other aspect of this you wanted to talk           16 on Saturday. You may recall on Saturday one of
 17 about?                                                 17 the problems that we had sketched out was that
 18        MR. STRAITE: No, I think we are                 18 for a portion of            logs that contain
 19 definitely happy to move on to the next topic. I       19 confidential third-party publisher information,
 20 think we got the answer we need there. Do you          20 we would have to seek -- we would have to both
 21 have a sense of the volume yet?                        21 provide reasonable notice, and the number could
 22        MR. BRUSH: That’s two parts. Volume             22 be -- if it would be significantly large, that
 23 and timing are really just want we need to be --       23 would have -- it would be quite a burden, some
 24 and you obviously heard it’s more technical. You       24 exercise. And found out that it’s        third-
 25 can inform me on this stuff. You know, what            25 party publishers based on the first search that
                                                 Page 11                                                     Page 13

                                                                                                4 (Pages 10 - 13)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR               Document 748-2              Filed 07/01/22         Page 126 of 227

  1 has been pulled out by the engineer. We are               1        MR. STRAITE: So which of these --
  2 concerned about that volume, that amount. The             2        MR. ANSORGE: So there’s -- you’ll
  3 last time we were providing notice to something           3 notice there’s             corpora. I don’t
  4 like       publishers, team members were tied up on       4 expect the             corpora to have publisher
  5 both the phone and in emails with publishers for          5 data, but I don’t know. We’d have to check. I
  6 almost a week.                                            6 wouldn’t want to do that based on just my say-so.
  7         So our proposal, which I’m happy to               7        The trickier part is the          log.
  8 say, Mr. Brush, the engineer has now blessed the          8 So I think the             corpora that are
  9 Brown proposal we were discussing earlier, is to          9 identified here, they serve my activity
 10 proceed in sort of two different step process            10 infrastructure. So it should be -- I think
 11 where the first step we provide a list of all the        11 Plaintiffs could easily get this information to
 12 fields that are written inside this preserved            12 use take-out, but we can also provide it to them
 13 data as a source, and Plaintiffs would then have         13 with an order to, and the target date for that
 14 a list of the different field names. And out of          14 would be March 14th.
 15 that, there is a specific field name, just like          15        MR. STRAITE: And these data sources
 16 the last time where Plaintiffs asked for more            16 that are listed on pages 1 through 5, this is
 17 information about specific revenue fields. If            17 just            and            or are there any
 18 there is a different one or something similar, we        18 other data sources?
 19 could then have a conversation with you and then         19        MR. ANSORGE: Yeah, I’m not sure what
 20 about identifying a subset of the most relevant          20 you’re -- on 1 to 5...
 21 third-party publishers where, you know, the 80/20        21        MR. STRAITE: Pages 1 through 5, this
 22 rule often holds I think in these situations as          22 chart you have in the letter. You said these are
 23 well. There might be ten publishers for which            23 more than just             right?
 24 the majority of information is tied to. We’ve            24        MR. ANSORGE: Yes. So there’s
 25 focused notice and the consent process on those          25             corpora. The capital -- all capital
                                                   Page 14                                                     Page 16

  1 ten specific publishers. And then once they’ve            1 letters are the giveaway for the
  2 had reasonable notice, we have produced that              2 corpora. The other parts are the              logs.
  3 information to Plaintiffs.                                3 For instance,
  4         MR. STRAITE: Yeah. And thank you for              4                                            Those are
  5 reminding -- you know, the 80,20 rule can be a            5           logs.
  6 useful guide in a lot of economics and other --           6        MR. STRAITE: So you say that these
  7 other parts of life. You know, 80 percent of the          7 data sources listed on Pages 1 through 5 of the
  8 ground contains no, you know, useful minerals or          8 letter are the list of all sources of data from
  9 gems, but we don’t look in the 80 percent that            9 which Google preserved data. So just to be
 10 don’t. You know, we look in the 20 percent. So           10 clear, this means that Google did not preserve
 11 sometimes looking in the smaller logs can be more        11 data pursuant to legal hold from any other data
 12 fruitful. It’s important that we know which logs         12 source. Is that right? This is the complete
 13 we’re looking at, which sources we’re looking at.        13 list?
 14         We just got this letter. We see the              14        MR. ANSORGE: The list where the
 15 offer for -- regarding a way around the                  15 preservation was done for those specific sources.
 16 publishers. We would like a chance to review             16 We have of course been asked to search other
 17 this today and talk to a few people. And we also         17 sources and have provided that information. If
 18 -- we hear you, Joey, about this additional              18 there is a specific one you’re thinking of, yes,
 19 offer, that you would provide a list of all --           19 that would be helpful. Maybe we’re speaking past
 20 it’s a list of all fields that are in the data           20 each other on some aspects. But this is the --
 21 sources in the chart on pages 1 through 5 of your        21 these are the preserved sources that we have been
 22 letter today?                                            22 discussing to date.
 23         MR. ANSORGE: Of the                    logs.     23        MR. STRAITE: Yeah. I’m not asking
 24 Because those are the ones that we currently have        24 about the ones we’ve been discussing to date. I
 25 in the preserved data source.                            25 am asking if there’s any others that we haven’t
                                                   Page 15                                                     Page 17

                                                                                                  5 (Pages 14 - 17)
                                            Veritext Legal Solutions
                                                 866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22           Page 127 of 227

  1 been discussing to date. Are there any other --         1         MR. BRUSH: Understood.
  2        MR. ANSORGE: I’m not aware of anything           2         MR. STRAITE: And then, Joey, for the
  3 that we are not discussing to date. I’m not             3 offer to provide us a list of all fields, you are
  4 aware of anything --                                    4 referring to each of the data sources listed in
  5        MR. STRAITE: So my question is --                5 this letter?
  6        MR. ANSORGE: -- else that’s in that              6         MR. ANSORGE: No. I am referring to
  7 category of what’s been preserved.                      7 the            logs, the           logs in particular.
  8        MR. STRAITE: Can we rely on this list            8 So that’s the problem with the querying with the
  9 in pages 1 through 5 of today’s letter as the           9 proto that we’ve been discussing. That’s what
 10 complete list of all sources of data from which        10 I’ve been talking about the March -- March 9th
 11 Google preserved data pursuant to a legal hold         11 production that we could move up to provide
 12 and stored? Is this the complete list or --            12 everything from the               logs that have
 13        MR. SCHAPIRO: I’m going to jump in and          13 confidential third-party publisher information in
 14 say, you know, that I would be reluctant -- I          14 them would require reasonable notice to more than
 15 don’t know what the answer is, but I don’t want        15      different publishers. And that’s why we are
 16 to make a representation right now about what’s        16 proposing that as a work-around for those
 17 the complete list of everything that was subject       17 specific logs. We would have this multi-step
 18 to a legal hold or whatever just because that          18 process.
 19 seems like that is a sensitive and potentially         19         The first is we would provide to
 20 fraught issue. So I don’t think we want to make        20 Plaintiffs lists of all the field names that are
 21 a representation on this meet and confer about         21 filled in for the specific logs. And this is the
 22 what the answer to that is. I have no idea             22 subset. It’s             and then publisher logs
 23 actually as I sit here. But let’s -- I’m going         23 that contain the publisher-confidential
 24 to say let’s not answer that.                          24 information.
 25        MR. STRAITE: Well, we would like an             25         If there’s specific questions about
                                                 Page 18                                                       Page 20

  1 answer eventually. I think it’s something that          1 this individual field or if there is some other
  2 Judge van Keulen already ordered.                       2 reason why Plaintiffs will say, well, we need the
  3        MR. BRUSH: Mr. Straite, yeah. I think            3 value that’s associated with this field, we could
  4 what we’re getting at is that if we continue to         4 then work to come up with something that’s less
  5 have attorneys sitting and opine on it but we           5 burdensome than providing notice to          different
  6 can’t have it be in a position where they feel          6 entities. And that’s a proposal.
  7 like, you know, we are doing this stuff on the          7        MR. STRAITE: And further to Special
  8 record, and I have seen -- I don’t want to say          8 Master Brush’s point though, it’s not helpful to
  9 abuse per se, but there has been some of this --        9 say, well, you said and you said. That’s a
 10 I just don’t want anything where people are being      10 really good point. Could we get in writing what
 11 like, well, you said and, you know, reading            11 your proposal is regarding the disclosure of the
 12 things back on the record when people are making       12 fields? Because I know I’m going to screw it up.
 13 good-faith efforts to move this along. So if you       13        MR. ANSORGE: And actually that’s one
 14 need something specific and somebody is not on         14 reason why I’m a bit rushed, is we’re pulling
 15 the phone that can answer the specifics, let’s         15 something like that together for the Brown case.
 16 take it offline and get an answer, but not push        16 As that is being finished, we will provide it to
 17 people to guess on this call right now, because        17 you. Absolutely.
 18 we have a lot to get to.                               18        MR. BRUSH: Yeah. I’m laughing because
 19        MR. STRAITE: Agree a hundred percent.           19 it’s déjà vu all over again. It was as I heard
 20 No guessing. We definitely just would prefer to        20 that, we could put that in writing. I think we
 21 shut this down sooner than later, meaning if we        21 can, can’t we?
 22 can get an answer that is complete. We know you        22        MR. STRAITE: Yeah. I think putting it
 23 can’t do it today on this call, but we just need       23 in writing might be --
 24 to make sure that this is everything that’s been       24        MR. BRUSH: We literally just covered
 25 preserved.                                             25 this exact same issue. So this is why we’re
                                                 Page 19                                                       Page 21

                                                                                                 6 (Pages 18 - 21)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR                   Document 748-2                Filed 07/01/22        Page 128 of 227

  1 doing this process. I mean, if it’s technical                   1 good use of our time. All right.
  2 and it helps the process to only do it once, this               2        MR. BRUSH: Again, just referencing the
  3 is a good thing. So yes, Mr. Ansorge, please, by                3 other points of some efficiencies and the
  4 all means, it’s literally the recipe we just put                4 discovery efforts. I think there might be some
  5 out to bake the cake on the other one. So let’s                 5 things that we glean on the other matter with
  6 use it.                                                         6 Brown that could be applicable here as far as the
  7         MR. STRAITE: And if I want to give you                  7 understanding of how these fields are created
  8 -- I will now give you the greatest incentive                   8 dynamically and how it’s imperative to use IDs to
  9 ever to move at lightning speed through this                    9 search the data to generate results with the
 10 conversation. If we don’t go fast, Jay will                    10 anticipation that those results will then have
 11 join. He is close to joining.                                  11 some field information that might even beg some
 12         MR. BRUSH: Wow. Wow.                                   12 more questions about what’s this and that. But
 13         MR. STRAITE: I’m just giving you the                   13 that’s a natural process the way this proto
 14 warning.                                                       14 contract is.
 15         MR. SCHAPIRO: That’s wrong. Let’s go.                  15        So it’s something that it’s really
 16         MR. ANSORGE: Okay. Yes, yes. I have                    16 important the Plaintiffs understand that to move
 17 missed, like, every parent-teacher conference                  17 everything we are doing forward really is going
 18 this week. My wife is about to kill me. So,                    18 to have to be focused on providing IDs that can
 19 please, let’s do it. Yeah.                                     19 be searched to yield results with the
 20         MR. STRAITE: Okay. So here we go.                      20 understanding that we might have to refine some
 21 Number two then. So we appreciate, you know, the               21 of this for some additional searches,
 22 effort. Obviously, you know, we have to have                   22 particularly around stuff with the Flume searches
 23 further conversations not here today, but on our               23 because of the way the field information is
 24 meet and confer this week in advance of March                  24 generated on the fly.
 25 11th what these days mean for other things in the              25        So that’s really the top-level
                                                         Page 22                                                   Page 24

  1 case beyond the special master process. But                     1 understanding, is we have to be very ID-focused
  2 that’s for another time today or another day.                   2 as opposed to field-focused. But just because of
  3 But we do appreciate more clarity on the dates                  3 the nature of the way the data is put together.
  4 here.                                                           4         MR. STRAITE: Sure. And that’s
  5        Our second topic on the letter -- and                    5 something we can have conversations about, the
  6 I’m scrolling because I don’t have a printout.                  6 best way to search. But our fear here is that
  7 Okay. This is Zwieback, GAIA and DBL                and         7 this is Google asking for relief from the duty to
  8 of course Zwieback, GAIA and DBL           information.         8 search -- what sources to search, not how to
  9 So looking here at your position. Google has                    9 search.
 10 searched the DBL         Thank you for that. For               10         MR. BRUSH: Yeah. I would say right
 11 Zwieback,            GAIA           and Zwieback      --       11 now given -- consult with the experts, take a
 12 okay. What I don’t see here is -- we have DBL                  12 look, and let’s return to this one quicker in
 13      you have Zwieback       but no -- is there --             13 letter form.
 14 okay, GAIA,             I’m making sure nothing is             14         MR. STRAITE: Okay.
 15 left out here. Okay.                                           15         MR. BRUSH: Or as quick as possible in
 16        We’re going to have to -- this is                       16 a form that we can address.
 17 obviously a complex proposal. I mean, do you                   17         MR. STRAITE: Yeah. Real quick. And
 18 want to summarize it? Joey? I don’t know. Is                   18 then back to Topic One. I’m sorry about that.
 19 there -- I mean, we can take this back to our                  19 What was the date of the preservation on the data
 20 experts and consider this proposal. But I don’t                20 at issue in Topic One here.
 21 know that -- you know.                                         21         MR. SCHAPIRO: (indiscernible) about
 22        MR. ANSORGE: Yeah. I couldn’t do much                   22 that, either. This all feels like some, you
 23 more than read it out to you, David.                           23 know, some sort of spoliation setup or something.
 24        MR. STRAITE: Okay. Let’s not do that.                   24 I hope --
 25        MR. ANSORGE: I don’t know if that’s a                   25         MR. BRUSH: No, no, no, I don’t think -
                                                         Page 23                                                   Page 25

                                                                                                      7 (Pages 22 - 25)
                                                Veritext Legal Solutions
                                                     866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 129 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 130 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
         Case 4:20-cv-05146-YGR                     Document 748-2             Filed 07/01/22           Page 131 of 227



          quinn emanuel trial lawyers | washington, dc
         1300 I Street NW, Suite 900, Washington, District of Columbia 20005-3314 | TEL (202) 538-8000 FAX (202) 538-8100



                                                                                                        :5,7(5 6 ',5(&7 ' ,$/1 2 
                                                                                                                     

                                                                                                        :5,7(5 6 (0$,/ $ ''5(66
                                                                                               MRVHIDQVRUJH#TXLQQHPDQXHOFRP



    0DUFK


    +,*+/<&21),'(17,$/63(&,$/0$67(5$1'$77251(<¶6(<(621/<
    
    9,$(0$,/
    
    6SHFLDO0DVWHU'RXJODV%UXVK
      GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    7LPRWK\6FKPLGW
      WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    -D\%DUQHV
    6LPPRQV+DQO\&RQUR\//&
    0DGLVRQ$YH )ORRU WK


    1HZ<RUN1<

    5H     &DOKRXQHWDOY*RRJOH//&±86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI&DOLIRUQLD6DQ
             -RVH'LYLVLRQ&DVH1RFY
    
    'HDU6SHFLDO0DVWHU%UXVK0U6FKPLGW&RXQVHO

          *RRJOHSURSRVHVWKHIROORZLQJSURFHVVWRSURYLGHLQIRUPDWLRQUHODWHGWRORJVRXUFHVWKDW
    FRQWDLQFRQILGHQWLDOSXEOLVKHULQIRUPDWLRQ

          *RRJOHSURYLGHVWR3ODLQWLIIVDQGWKH6SHFLDO0DVWHUOLVWVRIDOOILHOGVWKDWKDYHGDWDLQWKH
            ORJVFRQWDLQLQJSXEOLVKHUFRQILGHQWLDOLQIRUPDWLRQ

          ,I3ODLQWLIIVEHOLHYHLQJRRGIDLWKWKDWWKH\QHHGWRUHYLHZWKHYDOXHVIRUVSHFLILFILHOGV
            WKH\ZLOOLGHQWLI\WKRVHILHOGVWRWKH6SHFLDO0DVWHUDQG*RRJOH,IWKH6SHFLDO0DVWHU
            GHWHUPLQHVWKDWWKHUHOHYDQFHRIWKHYDOXHVRIWKHVSHFLILFILHOGVLVSURSRUWLRQDOWRWKH
            EXUGHQDVVRFLDWHGZLWK*RRJOHSURYLGLQJUHDVRQDEOHSXEOLVKHUQRWLFHWKHSDUWLHVVKDOO
            FRRSHUDWHWRLGHQWLI\DVXEVHWRISXEOLVKHUV


          quinn emanuel urquhart & sullivan, llp
          LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE | BOSTON | SALT LAKE C ITY
           LONDON | TOKYO | MANNHEIM | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH | SHANGHAI | PERTH | STUTTGART
    Case 4:20-cv-05146-YGR         Document 748-2         Filed 07/01/22      Page 132 of 227





     8QGHUWKH6SHFLDO0DVWHU¶VJXLGDQFHWKHSDUWLHVZLOOFRRSHUDWHWRVHOHFWDVX EVHWRI
       SXEOLVKHUVQRODWHUWKDQ0DUFK7KLVZLOODOORZ*RRJOHWRFRPSOHWHWKH
       QRWLILFDWLRQSURFHVVLQDWLPHO\DQGOHVVEXUGHQVRPHPDQQHUDQGFRPSOHWHSURGXFWLRQ
       SULRUWR0DUFK

     *RRJOHZLOOSURYLGHUHDVRQDEOHQRWLFHWRWKDWVXEVHWRISXEOLVKHUV

     2QFHWKHVXEVHWRISXEOLVKHUVKDYHKDGUHDVRQDEOHQRWLFH*RRJOHZLOOSURGXFHWKH
       DVVRFLDWHGORJHQWULHVFRQWDLQLQJFRQILGHQWLDOLQIRUPDWLRQIRUWKHVXEVHWRISXEOLVKHUVWR
       WKH6SHFLDO0DVWHUDQG3ODLQWLIIV

       ,QUHVSRQVHWRWKH6SHFLDO0DVWHU¶VUHTXHVWIRUDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJWKH
SUHVHUYHG         GDWD:HDUHLQIRUPHGE\HQJLQHHUVWKDWWKHGDWDLV³DWUHVWHQFU\SWHG´DQG
VWRUHGDVDFDSDFLWRUILOHWKDWLVQRWRSWLPL]HGIRUTXLFNUHDGV'DWDLVQRWNH\HGE\,'DQG
WKHUHIRUHHQJLQHHUVKDYHWRSDUVHWKHGDWDVHSDUDWHO\LQRUGHUWRVRUWLWE\,'DQGUXQVHDUFKHVRQ
LW


6LQFHUHO\

48,11(0$18(/8548+$57 68//,9$1//3



                           

-RVHI$QVRUJH

-$




                                                
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 133 of 227




                     $1625*(
                     EXHIBIT 

         8QUHGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 134 of 227


 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4
 5      Case No. 5:20-cv-05146-LHK-SVK
 6
 7      PATRICK CALHOUN, et al., on behalf of                             |
 8      themselves and all others similarly situated,                     |
 9                            Plaintiffs,                                 |
10            v.                                                          |
11      GOOGLE, LLC,                                                      |
12                            Defendant.                                  |
13      _______________________________________________|
14
15
16
17                       Special Masters Hearing
18                              March 13, 2022
19
20
21
22
23
24
25

                                                                          Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case 4:20-cv-05146-YGR             Document 748-2             Filed 07/01/22        Page 135 of 227

  1 compromise. However, as much as we understand          1 understand we -- having piecemeal decoding of the
  2 that Google produced all of this data, it's still      2 production that we just received doesn't make
  3 illegible, and only helping us interpret 10 of         3 sense given the timelines that we are all facing.
  4 those fields will not actually help us interpret       4         If we could simply just take the
  5 what we received. We won't still be able to            5 interpretations -- the protos specifically that
  6 understand the full production, and it's not as        6 Google has that they overlay over this data so
  7 though we're asking for everything in Google's         7 that they can understand it, we could understand
  8 possession to be decoded. We're asking for             8 it equally easily. And we could make it much
  9 Google to identify their outputs that I know that      9 more clearly that we could move forward in an
 10 they're able to identify to themselves                10 informed and narrowing specific way, just as
 11 internally. We're just asking for the exact same      11 Counsel wants.
 12 clarity.                                              12         MR. SCHAPIRO: So, in the interest of
 13        MR. BRUSH: I'm going to pause you              13 time, I think where we are is our offer of this
 14 right there, Ms. Cruz. But you were offered a         14 compromise of the 10 has been rejected, so it's
 15 compromise to a start. You know, it's got to          15 over to you. We have two different positions.
 16 provide an insight, and if it provides, you know,     16 We still need some guidance on the preservation -
 17 again, this is where this process, and we've done     17 - sorry, the publisher point, I think. That's --
 18 this interim, and again this cannot be an ongoing     18 in our view, I, you know, we submitted, I guess
 19 interim process, this is going to be, you know,       19 it's called our March 10th update, each side
 20 if you need, you know, a few more fields, more        20 submitted something so it would have come in
 21 than that, like come up with something, but I         21 around 11:30 at night on Thursday. To us, this
 22 mean, I think this is a very good solution,           22 lays out the status of everything, and in our
 23 because it's going to give us some insight.           23 view the only outstanding item before this
 24        because I see the problem here. What           24 process can be declared successfully completed is
 25 I'm thinking is is there's a nuance here that         25 what we do about the confidential third-party
                                                Page 50                                                   Page 52

  1 maybe the attorneys are missing, and that there's      1 publisher information, and I know Plaintiffs have
  2 a testable issue here, where it's an                   2 a very different view, but if we have one minute
  3 interpretation of the produced data. That's it.        3 left, maybe Joey can raise that so we get some
  4 I mean, data's been produced, by all fairness if       4 guidance about it.
  5 they wanted to conflate this they could in front       5         MR. BRUSH: Hold on one second, whoa,
  6 of (indiscernible) produced. I'm trying to help        6 whoa, whoa. Look, I think we're going to have to
  7 Plaintiffs here in need of some common ground. I       7 reconvene. I mean, this is just too much to go
  8 think this is a good one.                              8 through, and I have the chart here, but I want to
  9        MS. CRUZ: If I may, Mr. Brush --                9 knock out things to go on records with -- go on
 10 Special Master Brush. I --                            10 record with. because I can close out a good
 11        MR. STRAITE: Ms. (indiscernible) might         11 portion of this, and I want to do that to frame
 12 have joined early. Sorry, Ms. (indiscernible)         12 further discussions. So, if counsel are able to
 13 we're not closed out yet on the Calhoun and           13 reconvene tomorrow morning, earlier the better, I
 14 confer.                                               14 would say let's go through this.
 15        MS. CRUZ: If you please. Special               15         And I would like, in the meantime, to
 16 Master Brush, I'm sorry to interrupt, I'm only        16 re -- to have Plaintiffs talk to (indiscernible)
 17 speaking up now because prior to law school I was     17 and come up with a better solution than
 18 a techie, this is kind of my thing before I was -     18 everything, because you're not getting
 19 - before I started practicing, and I have to be       19 everything. So, come to the subset of what
 20 clear. Like I'm not trying to claim to be any         20 you're going to need, and have them take a look
 21 sort of technical expert, but from my viewing of      21 at the data a little bit more, and then come back
 22 the data that Google has previously produced          22 with a proposal of what you're going to need for
 23 versus the data that was produced most recently,      23 that specific production.
 24 it would speed up this process significantly if       24         MR. STRAITE: I think tomorrow morning
 25 we could just get the protos so that we could         25 works for us, certainly. In the meantime put --
                                                Page 51                                                   Page 53

                                                                                            14 (Pages 50 - 53)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR             Document 748-2             Filed 07/01/22       Page 136 of 227

  1 when we reconvene in the morning and we can make 1 recording and then start a new recording just so
  2 ourselves available, Special Master Brush, at      2 they're separate.
  3 your convenience. If we could also get an answer   3         MR. BRUSH: Yeah, stop and start and
  4 in writing from Mr. Schapiro, you know, be -- the  4 I'll just -- maybe we'll -- I'll ask Mr.
  5 date of preservation of what was produced this     5 (indiscernible) if you guys are okay with us
  6 past week for the Plaintiff's historical data,     6 recording this while -- so we just get a
  7 that would also be able to -- for -- so we can     7 transcript down. And we're just going to clean
  8 put the null sets in context. So, that would       8 up the format a little bit, we're going to have
  9 give us another head start for tomorrow's          9 everybody do their appearances on the top of a --
 10 conversation, because we'll know why we're        10
 11 getting null sets. There are multiple             11
 12 explanations.                                     12
 13        MR. BRUSH: Understood. Understood.         13
 14 You're already encroaching on (indiscernible)     14
 15 time, let's be (indiscernible) with that. I       15
 16 specifically requested that we be mindful of that 16
 17 today, so let's please do one thing.              17
 18        MR. SCHAPIRO: Yeah, so I can't commit      18
 19 to, on a Sunday afternoon having some written     19
 20 answer for you Monday morning. We're happy to     20
 21 meet on Monday morning, some of us I'm sure will 21
 22 be available and we'll reconvene. I think our --  22
 23 I will reiterate that we believe the update that  23
 24 we provided Thursday night/early Friday morning   24
 25 and this chart where we each have our own views   25
                                                Page 54                                                    Page 56

  1 lays out, we think the roadmap to declaring a          1         CERTIFICATION
  2 successful conclusion to this.                         2
  3        MR. BRUSH: Yeah, Mr. Schapiro, noted,           3 I, Sonya Ledanski Hyde, certify that the
  4 agreed, and that's what I'm going to use. And          4 foregoing transcript is a true and accurate
  5 I'm going to lead with that on -- tomorrow.            5 record of the proceedings.
  6 Again, earlier the better for me, if you all can       6
  7 take this offline, figure out a time, let's do         7
  8 that and let's allow Brown Plaintiffs their time.      8
  9        MR. STRAITE: And Special Master Brush,          9 <%12151,Signature%>
 10 tomorrow do you want us to try to bring our           10
 11 expert to the call or is it counsel only?             11 Veritext Legal Solutions
 12        MR. BRUSH: No.                                 12 330 Old Country Road
 13        MR. STRAITE: What's your preference?           13 Suite 300
 14        MR. BRUSH: Counsel.                            14 Mineola, NY 11501
 15        MR. STRAITE: Counsel only. Okay.               15
 16        MR. SCHAPIRO: Thanks. I guess we stay          16 Date: March 21, 2022
 17 here.                                                 17
 18        MS. CRUZ: Thank you very much.                 18
 19        MR. STRAITE: And thank you for your            19
 20 time.                                                 20
 21        MS. WEAVER: Thank you.                         21
 22        MR. ANSORGE: I'm going to take a quick         22
 23 bio break, I'll be right back.                        23
 24        MR. SCHAPIRO: Yeah, can we have a one-         24
 25 minute break, and I guess we should stop the          25
                                                Page 55                                                    Page 57

                                                                                          15 (Pages 54 - 57)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 137 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 138 of 227


 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4
 5      Case No. 5:20-cv-05146-LHK-SVK
 6
 7      PATRICK CALHOUN, et al., on behalf of                             |
 8      themselves and all others similarly situated,                     |
 9                            Plaintiffs,                                 |
10            v.                                                          |
11      GOOGLE, LLC,                                                      |
12                            Defendant.                                  |
13      _______________________________________________|
14
15
16
17                       Special Masters Hearing
18                              March 14, 2022
19
20
21
22
23
24
25

                                                                          Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case 4:20-cv-05146-YGR             Document 748-2             Filed 07/01/22        Page 139 of 227

  1 are, so it has to be very, very narrow in this         1        It's sort of a critical path as people
  2 ask to make sure that the homework was done by         2 who have MBA speak and those kind of words.
  3 your experts, and that what they're coming to is       3 That's the critical path to closing out Task 2.
  4 a thought-out technical request as opposed to a        4 So that -- we target today in having our ask for
  5 fishing expedition on every field within the log       5 decoding so then we can determine whether and
  6 structure.                                             6 what needs to be done to complete Task 2.
  7        MR. STRAITE: The good news is that              7        MR. BRUSH: Excellent. Number 3 on the
  8 we're actually on the exact same page.                 8 March 13th letter is the rest of Plaintiffs' data
  9        MR. BRUSH: Good.                                9 withheld pending notice of third-party publishers
 10        MR. STRAITE: So the associate on this          10 are produced and similarly decoded.
 11 team who actually programs computers and built        11        So that is basically -- I think we've
 12 over 100 of her own computers as a kid, Sharon        12 covered that. There's some time -- well, was
 13 Cruz, and she's working very closely with             13 there a -- maybe if I recall was there a certain
 14 Professor Zubair Shafiq at UC Davis. They're          14 production that was coming out today in the near
 15 working tirelessly to come up with exactly that,      15 term on stuff that was clear and then we're
 16 hopefully today.                                      16 waiting for other publisher consent?
 17        MR. BRUSH: All right. Then I won't             17        MR. ANSORGE: So what was produced on
 18 ask Ms. Cruz if she had to change IDE jumpers on      18 the 9th were sources that did not require the
 19 hard drives because then I'll just date myself,       19 publisher consent.
 20 and I know she hasn't had to build those              20        Publisher consent sources that do
 21 computers, luckily.                                   21 require publisher consent based on our analysis
 22        MS. CRUZ: Believe it or not, Mr. Brush         22 would require us contacting hundreds of different
 23 --                                                    23 publishers, and it's for that reason that what we
 24        MR. STRAITE: Sharon -- you're vexing           24 are proposing to do and I think what we're going
 25 voir dired, Sharon. This is your chance to            25 to do in the Brown matter is identify a subset of
                                                Page 26                                                  Page 28

  1 shine.                                                 1 specific publishers, and could be based on, you
  2        MS. CRUZ: Believe it or not, Mr.                2 know, any sort of rubric that Plaintiff's ask
  3 Brush, I am familiar.                                  3 for.
  4        MR. BRUSH: I'm sorry then. I'm sorry.           4        We simply ask that we don't have to
  5        MR. STRAITE: They worked last night             5 provide notice to            of different
  6 until 2:59 in the morning East Coast time.             6 publishers. You can focus on these are the
  7 Obviously up bright and early for this call, and       7 publishers that would be most important, and we
  8 she'll be working tirelessly with Dr. Shafiq           8 then focus the notice process on those specific
  9 today, and we will get you a comprehensive list        9 publishers so that we can close it out quickly.
 10 of asks to help us decode the Plaintiff               10        The last time we did this in January,
 11 production in a way that's the most efficient way     11 it took quite a long time to discuss with more
 12 possible without going beyond what we need for        12 than       different publishers. Each one had
 13 that production.                                      13 individual questions because they would want to
 14        MR. BRUSH: Perfect. Okay. So I got             14 figure out whether they should seek a protective
 15 one and two down. Let me go with the -- I think       15 order or not.
 16 there was a (indiscernible) here. Okay.               16        So in light of the time, what we are
 17        So does that answer Task 2 on the              17 proposing is a subset of publishers. Identifying
 18 chart, or is there still an open question on          18 those, we then with full transparency to
 19 that?                                                 19 Plaintiffs provide notice to them. They have at
 20        MR. STRAITE: I think that's the next           20 least a week for reasonable feedback, and then
 21 step for Task 2, and then we'll be able to get        21 the data is produced to Plaintiffs, and then we
 22 you more response regarding Task 2 to see --          22 are complete.
 23 again, we need to understand what was produced in     23        MR. STRAITE: Joey, the
 24 the last week to be able to know whether to ask -     24 that you already had conversations with in the
 25 - how to close out Task 2.                            25 east, are those included in the      or are those
                                                Page 27                                                  Page 29

                                                                                             8 (Pages 26 - 29)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2              Filed 07/01/22         Page 140 of 227

  1 in addition to the       ?                               1 data that was delayed because we had to seek the
  2        MR. ANSORGE: Somewhat there will be               2 publisher notice.
  3 overlap for sure. I haven't done a comparison,           3        And the way that they're identified is
  4 but I'm confident that the large publishers, your        4 there's network IDs within the publisher data,
  5 –- the New York Times, your Warners, et cetera,          5 the URLs also for informed observers will be
  6 they would be -- I would anticipate -- in both           6 indicative of whether it's a -- whose publisher's
  7 sets.                                                    7 domain it belongs to. You can see if you're
  8        However, we are required to go and                8 visiting the New York Times, a lot of people
  9 speak to them again. This is the notice that we          9 would know who the publisher is who's involved
 10 are providing to them the last time, and they           10 with that.
 11 were explicit about this as well. This is not           11        Then the publishers were contacted
 12 one that was categorical for all other data be          12 based on whether their data was in the
 13 forthcoming. It was for the previously produced         13 forthcoming production. That's where you have to
 14 data, so it will entail further conversations.          14 --
 15        MR. STRAITE: Okay. We don't know what            15        MR. SCHAPIRO: And I can attest that
 16 those other conversations were, so we -- we're in       16 during that time when this was a smaller number,
 17 the dark. We don't know whether an additional           17 Joey was personally was fielding inquiries.
 18 conversation was required for each of the      .        18        So you send all these things off and,
 19 Could we get --                                         19 as you might imagine, someone from the -- you
 20        MR. ANSORGE: I'm telling you that                20 know, some of them just kind of ignored, and
 21 there --                                                21 after a certain number of -- a certain period of
 22        MR. STRAITE: You're telling us what?             22 time, I think we can say we've given reasonable
 23        MR. ANSORGE: That there will be. That            23 notice. Others, quite often as you might
 24 there was. I mean, I wouldn't expect Plaintiffs         24 imagine, someone from the legal department sends
 25 to participate in that conversation, so I'm             25 an e-mail saying, "Can we set up a call? What is
                                                  Page 30                                                    Page 32

  1 explaining to you how the conversation took              1 this? Tell us more. We want to understand about
  2 place, and I'm telling you that it was quite             2 what you're providing to who and how it's going
  3 burdensome, so our hope and fervent belief is            3 to be used."
  4 that we can find a solution where Plaintiffs             4          And so Joey, even with a smaller
  5 focused on these are the most important specific         5 number, had his calendar full of calls with
  6 publishers, and we can target the notice on those        6 people from the legal department of all these
  7 publishers, and then that's the data that would          7 websites or publishers. So that's why I'm sure
  8 be produced.                                             8 we can come up with something that satisfies you,
  9        And this, of course, is in addition to            9 but is practical.
 10 all the information that's already been provided,       10          MR. STRAITE: Could we see those
 11 the whole key spaces that have been passed over,        11 notices that were sent out already, unless it's
 12 and the March 9th data that goes back to June           12 the same notice, if it's a form? Could see that
 13 2020 that's been produced.                              13 -- if it's -- if they're different, could we see
 14        MR. STRAITE: How did -- how did you              14 the       ? If they're identical, could we see the
 15 decide which        publishers to contact earlier?      15 exemplar?
 16 Was that the complete list -- well, you tell me.        16          MR. BRUSH: You want to see the list?
 17 How was that decided?                                   17 Do you want to see the list, or do you want to
 18        MR. ANSORGE: So it's decided on the              18 see each one of the preservation letters that
 19 basis of whether the publisher data is in the           19 goes to a third party?
 20 specific log sources earlier.                           20          MR. STRAITE: Well, if they're
 21        So when Plaintiffs had requested                 21 identical, obviously, you know, just the form and
 22 specific log sources, you may recall in January,        22 then the list. That would be more efficient. We
 23 and maybe these were conversations we had more          23 want to be efficient.
 24 with Mr. Barnes than with you, but there was data       24          One of the things that Joey offered was
 25 that we could produce quickly, and then there was       25 -- well, one of the most important ones -- well,
                                                  Page 31                                                    Page 33

                                                                                                9 (Pages 30 - 33)
                                           Veritext Legal Solutions
                                                866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 141 of 227

  1 might be -- there's a nuance in this because we         1 information that's now being produced wholesale
  2 had a lot of meet-and-confers on this.                  2 that has a lot of different publishers in it
  3         My understanding is that the preserved          3 that, you know, we haven't gone through the same
  4 data -- this is a little bit of that trick of the       4 proportionality of responsiveness analysis that
  5 order of operations had used certain identifiers        5 we've done through the other searches.
  6 to categorize it as -- you know, as a -- to be          6        MR. STRAITE: I am mindful of the
  7 preserved. So therefore, there was an identifier        7 clock. And, Special Master Brush, we -- and of
  8 that was used from some plaintiff info that put         8 course, Andy and Joey, and Tracy, we're really
  9 it on preservation, which also was kind of a            9 grateful for your time, really, this morning. We
 10 search and preservation.                               10 do have -- some of us have some commitments
 11         Am I misunderstanding that that was the        11 coming up in a few minutes.
 12 case because I thought there was some filtering        12        We do have -- also have the special
 13 based on that at some point, even into the             13 master -- sorry, the magistrate hearing, Part 1,
 14 preserved and then produced data that was using        14 tomorrow.
 15 unique identifiers at the early stages of the          15        I think today we have a lot of tasks to
 16 litigation going back to February of 2020?             16 go back to our clients with, and I know Sharon
 17         MR. ANSORGE: Yeah. Mr. --                      17 will be working very hard with Dr. Shafiq
 18         MR. BRUSH: Or 2021.                            18 regarding proposals we have or decoding the
 19         MR. ANSORGE: Mr. Brush, you're correct         19 Plaintiff data. It's another helpful thing. And
 20 that the preservation was done by the specific         20 then we're going to get some input from the Court
 21 IDs. However, those IDs, they weren't searched         21 tomorrow.
 22 in the way in which we have conducted the              22        What would be helpful for you, Special
 23 searches under the special master process as in        23 Master Brush, for us to do with the remainder of
 24 there wasn't, you know, this is a specific log         24 today in advance of speaking with Magistrate van
 25 that Plaintiffs have picked, this is the ID they       25 Keulen tomorrow? What --
                                                 Page 66                                                   Page 68

  1 want us to search over, the run over it. This is        1         MR. BRUSH: Yes.
  2 the window of the time period that's produced.          2         MR. STRAITE: -- can we do today for
  3 We look at whether it's responsive or relevant or       3 you and for us?
  4 proportional or whatever different metric one           4         MR. BRUSH: I love that -- I love that
  5 would want to use.                                      5 question because there was -- again, there was
  6         Those have not been applied for this            6 some new -- again, why this is so important we
  7 dataset. This dataset -- and it might be helpful        7 have these conversations.
  8 if we just start opening it up and looking at it        8         There was enough nuance and detail as
  9 on the March 9th data that was produced. We're          9 we round off these edges that was so incredibly
 10 talking about all the data that's key to specific      10 important what we just heard, and I thank
 11 IDs across many different logs without looking at      11 Google's counsel for the transparency on that
 12 the specifics of, okay, this is responsive,            12 because it was -- as we all talk around this and
 13 relevant, and tied to the data. It was a broad         13 talk it over, sometimes hearing it a couple times
 14 preservation hold, and our understanding was that      14 is important. And what I'm hearing is, is what I
 15 we were supposed to produce it all entirely.           15 -- is we haven't lost ground on this. We have a
 16         We at some points had been recommending        16 subset of data that was preserved that did not
 17 that it could be searched as a repository for          17 need publisher consent that is now produced to
 18 historical searches. We could have targeted            18 Plaintiff. That should provide enough
 19 searches, and then we could engage in the process      19 information to allow us to key more targeted
 20 that, you know, we've been following that has          20 searches for Plaintiff data.
 21 been so targeted so far in the special master          21         My suggestion is that we come up with a
 22 process.                                               22 set of search criteria that can then be run on
 23         But here I think it's -- I would treat         23 the preserved data that has not been produced
 24 it as a separate category, as in a third and           24 that needs third-party consent. If there's hits
 25 separate one where this previously preserved           25 within that dataset, we then put those on notice
                                                 Page 67                                                   Page 69

                                                                                             18 (Pages 66 - 69)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22       Page 142 of 227

  1 and produce those.                                 1 to put anybody through burdens of notifying
  2         Now this also goes into that, you know,    2 publishers when it won't result in any responsive
  3 historical search of other datasets. You know,     3 data being produced. So we agree there.
  4 if we can then use that -- those search criteria   4        I think the devil will be in the
  5 to go against the final searches or second-round 5 details on the word "responsive," but that's
  6 searches, or however we're really framing them, 6 something that you can make fun of us lawyers
  7 but really it's the searches we need to push out   7 again for getting caught in, but we'll have that
  8 this week.                                         8 conversation with the magistrate going forward.
  9         In conjunction, if those hit on            9        In the meantime, I know that Sharon
 10 additional publishers that need to be, say, I     10 will work overtime with Professor Shafiq.
 11 want to get those, and the ones that are not are 11         Tomorrow, Special Master Brush, will
 12 produced. But there's -- it seems there's a       12 you be at the hearing? It's Zoom. Will you be
 13 function here that's important that we're all     13 there tomorrow? Special Master Brush, did we
 14 trying to align to. It's if there's responsive    14 lose you?
 15 data in the publisher dataset then, we need       15        Mr. Schmidt, do you know if we've lost
 16 notification. And I tend to now see -- I see      16 Mr. Brush?
 17 Google's position to say, "Well, we're just going 17        MR. SCHMIDT: I don't know if we've
 18 to put a bunch of people on notice where there's 18 lost him. I think he may have arrived at the
 19 non-responsive data, where there are no keyword 19 school.
 20 hits, then there is a huge waste of time on       20        As far as being on the hearing
 21 that," and I don't think it's going to be very    21 tomorrow, we'll probably make that decision after
 22 valuable.                                         22 we speak with the judge in half an hour.
 23         So what we're trying to do is -- I        23        MR. BRUSH: I heard things. Sorry
 24 think what we're all trying to do is just move    24 about that. My car did not want to give up the
 25 out the pieces we don't need to focus on what we 25 Bluetooth connection. I apologize.
                                                 Page 70                                                  Page 72

  1 do, and I think that could be a solution, unless        1         Yeah. We have -- we have a meeting
  2 I'm completely off base here.                           2 with Her Honor, a conference with her in about
  3        But again, taking the data that you              3 half an hour, and you’re basically giving her an
  4 have now -- you have a ton of data on the               4 update in status.
  5 Plaintiff side, Mr. Straite. Looking at that,           5         But again, what she's really looking
  6 devising better search terms, and again, you have       6 for is how we're finishing this. The two big
  7 some other paralleled tracks along with that            7 things she says about it is when are the -- when
  8 about the decoding, but then to come back and           8 are the -- when are the "final" searches are
  9 say, "Okay. If we were to search, you know, data        9 done? When are we saying search (indiscernible)
 10 at this point, we feel good. We have our search        10 and, you know, production can be done? Where we
 11 terms set. We have a search term list. We're           11 can at least understand that there's compute time
 12 going to apply it to any dataset that that is          12 that's going to be there, that if we can estimate
 13 potentially responsive," and whether that be the       13 it, she's going to be favorable towards that, and
 14 historical data or the live data or the                14 when the preservation plan is done.
 15 previously preserved data, you know, this way we       15         Those are the two things she looks at
 16 can just finalize the searches and be done.            16 now that I'm trying to inform her. And I think -
 17        MR. STRAITE: That's sensible.                   17 - again, everything that we've done through the
 18        MR. ANSORGE: That sounds good to us.            18 weekend and today has been extremely productive.
 19        MR. STRAITE: We never have, nor would           19 We're getting closer, so I definitely am working
 20 we ever ask for a publisher to be notified for         20 on your side to make sure we -- she understands
 21 datasets that aren't responsive.                       21 the nuances and that people are not flat-footed
 22        So we distinguish between responsive            22 in any capacity, and that she doesn't make any
 23 and relevant, but we can work with Google and          23 kind of wholesale decision.
 24 with Magistrate van Keulen regarding scope of          24         So to the extent we can keep working on
 25 responsiveness, of course, because we do not want      25 that, I mean, that's the goals I'm working toward
                                                 Page 71                                                  Page 73

                                                                                            19 (Pages 70 - 73)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 143 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 144 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 145 of 227


 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4
 5      Case No. 5:20-cv-05146-LHK-SVK
 6
 7      PATRICK CALHOUN, et al., on behalf of                             |
 8      themselves and all others similarly situated,                     |
 9                            Plaintiffs,                                 |
10            v.                                                          |
11      GOOGLE, LLC,                                                      |
12                            Defendant.                                  |
13      _______________________________________________|
14
15
16
17                       Special Masters Hearing
18                              March 15, 2022
19
20
21
22
23
24
25

                                                                          Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2            Filed 07/01/22        Page 146 of 227

  1 Can we agree to a single document on Friday?           1 could definitely provide.
  2        MR. ANSORGE: I would want to --                 2         MR. STRAITE: Thanks.
  3        MR. SCHAPIRO: I would say I think so,           3         MR. ANSORGE: We'd be happy to.
  4 but let us mull --                                     4         So with regard to the publisher notice,
  5        MR. STRAITE: Of course.                         5 it sounded to us during the last meeting as if
  6        MR. SCHAPIRO: -- because you've just            6 the special master had a proposal on how to
  7 sprung this on us. We'll let you know, you know,       7 proceed where we were going to -- if there were
  8 by the end of today or tomorrow morning, or            8 additional searches, we were going to run
  9 something like that. It's not crazy. I'll say          9 searches over the specific data so there'd be
 10 that.                                                 10 what ID is being run over what log source, and
 11        MR. STRAITE: I'll take that as a               11 responsive information could then be produced so
 12 compliment given recent things. Yes.                  12 that it would, you know, sort of approximate the
 13        That's all on our list. That's one,            13 process we had had so far.
 14 two, three, four. That's what we wanted to            14         The one benefit of doing it in that way
 15 discuss with Counsel, just some overlap, and I'm      15 is it should be a subset of publishers, so we're
 16 happy to continue discussing any more details.        16 trying to think of ways in which we won't have to
 17        Obviously we need Dr. Shafiq and               17 provide notice to            of different
 18 Sharon. They're the two people who knew the           18 publishers. And I don't want to put words in the
 19 details better than anybody, and so we appreciate     19 special master's mouth. That was my
 20 you us -- letting us have tonight and tomorrow to     20 understanding of his proposal the last time. It
 21 get these details to you, and we can at least         21 might be helpful if we just hand the microphone
 22 identify intelligently where the impasse is and       22 to him.
 23 resolve what we can.                                  23         MR. STRAITE: Yeah. And I can
 24        MR. ANSORGE: And it sounds like maybe          24 definitely jump in and say that our understanding
 25 we could give everybody a half an hour back. I        25 was exactly the opposite.
                                                Page 26                                                   Page 28

  1 don't --                                           1        We heard at the end of the last
  2         MR. STRAITE: I can make my flight.         2 conference confirmed -- which sounds like it was
  3         MR. ANSORGE: -- know if that makes         3 unwelcome news, but it's unfortunately something
  4 sense. But if that's helpful, I really             4 we have to deal with -- is that the searches on
  5 appreciate the efficiency, if that's all right     5 the historical data sources had already been
  6 with the Special Master. It sounds like we'll      6 done, and the data associated with the Plaintiffs
  7 have some written follow-up.                       7 is also associated with       publishers.
  8         MR. STRAITE: Okay. Maybe in this           8        So we understood the searches had
  9 process, we'll be able to talk about how we can - 9 already been done and that Google had already
 10 - what we do about the notice program, but I      10 determined that notice to        publishers would be
 11 don't know that that's anymore resolved, right? 11 required for searches already done on the
 12 I mean, we understand that there are              12 historically preserved data. So I don't know how
 13 publishers that you say will need to be           13 we narrow given --
 14 contacted. We do -- we're still waiting to know 14          MR. ANSORGE: Yeah. You might need to
 15 what the plan is and the timetable for that       15 go to the transcript for that, Mr. Straite,
 16 notice process.                                   16 because I don't -- I didn't believe -- I don't
 17         MS. WEAVER: And if we may, I would 17 believe that's where Mr. Brush ended, but we'll -
 18 just --                                           18 - we should let him address it.
 19         MR. ANSORGE: So that's a good thing to 19           MR. BRUSH: As far as -- repeat that.
 20 --                                                20 There was two people talking so, yeah, piece by
 21         MS. WEAVER: Joey, if -- I just would 21 piece.
 22 like to ask -- add to that. Can we get a sense    22        MR. STRAITE: Yeah. So I think the
 23 of the volume of the withheld data?               23 question we resolved with is that we had -- the
 24         MR. ANSORGE: I don't have that at my 24 last conference, we thought we were talking about
 25 fingertips right now, but that's something we     25 ways to avoid notifying publishers unnecessarily
                                                Page 27                                                   Page 29

                                                                                             8 (Pages 26 - 29)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 147 of 227

  1 because they would not be relevant to the final         1        And if there's something that's
  2 searches of the historically preserved data if          2 responsive, you're going to get it. It just
  3 the searches were run --                                3 needs to be searched with a set of IDs and
  4         MR. BRUSH: Mr. Straite, you understand          4 parameters that's consistent with the other
  5 because there's that nuance there that they would       5 searches that are being done.
  6 not be relevant because they were not responsive.       6        MR. STRAITE: Okay. So it's obviously
  7 I want to make sure we're using --                      7 not our wish that data that doesn't relate to our
  8         MR. STRAITE: Right.                             8 named plaintiff, sort of their identifiers or
  9         MR. BRUSH: -- very nuanced language             9 their devices be produced. That's not what we're
 10 here because this is data that's been preserved        10 asking for in the historical data. But it is our
 11 and has not been searched.                             11 understanding that what was pressed was
 12         MR. STRAITE: Yeah.                             12 identified because it had already been -- so --
 13         MR. BRUSH: There was some idea -- and          13        MR. BRUSH: Yeah.
 14 again, I can't help but acquaint this to               14        MR. STRAITE: If there are entire logs
 15 something about not of the ordinary, even though       15 that were preserved that contain data related to
 16 it is extremely unique datasets, and nobody has        16 other people, other devices --
 17 ever seen them in the world, but the sense is          17        MR. BRUSH: Okay. Let me -- let's use
 18 when I put on a litigation hold, I might say,          18 another discovery example because I'm going to
 19 "Hey, look. Hold these four databases, these           19 try to reframe that.
 20 three e-mail servers, these file servers."             20        Say for example I identify a
 21         MR. STRAITE: Yes.                              21 (indiscernible) and I say early cases, they're
 22         MR. BRUSH: It doesn't mean they're             22 told to preserve all data that, you know, might
 23 searched. Just because they're preserved doesn't       23 be within a timeframe that they were employed at
 24 mean they get produced, so that interim step,          24 a particular place. I have two cellphones, an
 25 they have to be searched and responsive. And           25 iPad, a laptop, and a desktop, and a home
                                                 Page 30                                                   Page 32

  1 therefore, that dataset is responsive based on     1 computer where I'm remoted in. Throughout the
  2 the IDs that you provide, and there is third-      2 process, just because those were put on
  3 party publisher information in a direct or         3 litigations holds (indiscernible) doesn't mean
  4 proportion of that responsive set (indiscernible) 4 every single thing gets searched.
  5 included. You know, say that he were to            5         What it is, is the process of going
  6 (indiscernible) "down on the floor" of the page, 6 through and understanding better early on to say,
  7 there's publisher information that gets            7 okay, well, we held them. We put them in a
  8 (indiscernible). That's going to need some         8 petrified state in case we have to search them.
  9 publisher notification and consent to turn over,   9         We're at that in case we have to search
 10 but it has to be responsive first, and that's a   10 them, but three's further work that's done.
 11 key point that I want to make sure we all agree 11 There are interrogatories. There'd discovery
 12 on.                                               12 work. There are experts involved that say,
 13         MR. STRAITE: Thank you. And I -- we 13 "Okay. Now we're going to frame and hone down
 14 agree, and we understood that the historically    14 our searches on maybe just the work laptop
 15 preserved data related to the Plaintiffs is       15 because it's most likely going to have the
 16 already determined to be responsive.              16 response (indiscernible)." The other stuff was
 17         MR. SCHAPIRO: I especially disagree. 17 held. We can always go back to it. we have it.
 18         MR. BRUSH: Yeah. Again, that's what 18 But just because it's held, it still, you know,
 19 I'm saying. It was identified as a potential      19 may or may not be in scope (indiscernible) and
 20 source for preservation. Again, like we had       20 scope are still going to have to be searched
 21 hadn't searched yet, so it had not been searched 21 using parameters and keywords. And that's where
 22 really at a level that would meet the standard    22 we're at is this data was put on a bulk hold.
 23 threshold that I would allow for production until 23 Still needs to be searched. Even though it was
 24 it's using search criteria that's agreed upon and 24 identified as potential, it's just like the
 25 responsive before it gets produced.               25 custodial identification. Doug Brush used it,
                                                 Page 31                                                   Page 33

                                                                                              9 (Pages 30 - 33)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 148 of 227

  1        MR. ANSORGE: Right. But I think what             1         MR. BRUSH: So I just want to make sure
  2 Mr. Schapiro was --                                     2 I'm hearing that you're going to go on the record
  3        MS. WEAVER: The search process created           3 in saying you're unwilling to run searches
  4 a problem. Sorry. You were interrupting me              4 against this data and get productions on it, that
  5 there, Joey, again.                                     5 it's either going to be all or nothing at this
  6        MR. ANSORGE: I didn't mean to                    6 stage for the remainder of the publisher data?
  7 interrupt you, Ms. Weaver. I'm sorry. And I             7         MR. STRAITE: No, no. Absolutely --
  8 hate it when people interrupt me, so I definitely       8 thank you for the opportunity to clarify that. I
  9 feel your pain, and I apologize for that.               9 mean exactly the opposite, is that now that we're
 10        I just wanted to clarify that I believe         10 hearing for the first time that we're being
 11 Mr. Schapiro was not referring to the data that        11 tasked with coming up with a plan that would
 12 had been produced in January but referring to the      12 leave some of the historically preserved data
 13 data that was produced on the 9th of March. And        13 unproduced, even though we also now --
 14 I think the question was, which we're trying to        14         MR. BRUSH: We don't know that.
 15 chase with the engineers now, is what is the           15         MR. STRAITE: We get -- we're just
 16 ratio of the data that's already been produced to      16 hearing this for the first time, so we need to
 17 the data that would require publisher notice?          17 thnk about what is the best way that we can get a
 18 And it sounded like that might be a helpful            18 plan back to Google. We understood after the
 19 indicator both for the parties and for the             19 last conference if it was -- if it was already
 20 special master.                                        20 associated --
 21        So what we'll work to do is -- a                21         MR. BRUSH: I'm being very pointed in
 22 homework item is get that information. Then we         22 telling you how this is going to work, that the
 23 can send it to you, the special master, and to         23 data needs to be searched with the parameters and
 24 you in an e-mail hopefully later today, if not         24 using the methodologies developed along the
 25 very early tomorrow morning.                           25 November 12th order, meaning you and your experts
                                                 Page 50                                                   Page 52

  1        MR. STRAITE: We appreciate it.                   1 are going to have to come up with search
  2 Obviously we have a lot still to talk about.            2 parameters to get to that data.
  3 This seems to be -- you know, as happy as we were       3        You -- what -- I mean, if you -- I'll
  4 regarding the decoding issue and regarding coming       4 tell you right now I'm going to be highly annoyed
  5 up with a proposal for second-round searches and        5 if we search and you get everything because I
  6 then the process for the preservation plan,             6 feel like we're just wasting time that could be
  7 identifying areas of impasse and areas of               7 applied to actually functionally coming over this
  8 agreement, it sounds to me like the production of       8 problem. You know, we need to come up with
  9 the historically preserved Plaintiff data is            9 solutions on this.
 10 probably the biggest sticking point and one where      10        The judge and I have already conferred
 11 we could really use the most guidance because we       11 on it. I mean, this is the direction of where
 12 know that the historically preserved dataset is        12 we're going because it's built around a set of
 13 already key to the GAIA IDs for our Plaintiffs.        13 parameters we've been doing in this case, so I'm
 14        We're now looking for discussion about          14 saying we're not going to take this data at
 15 how that dataset gets narrowed before production.      15 wholesale exception. We're going to put it
 16 We're asking for the production of all of it           16 through the factory to see what the results are.
 17 because it's already narrowed just to our              17 Then we can make a determination of what's left.
 18 Plaintiffs, so it's difficult for us to engage in      18        But the path you're going down right
 19 a process where we're helping Google to withhold       19 now is all or nothing, and I just -- I'm -- I
 20 data that is already associated with our               20 just can't see why you would take that as opposed
 21 Plaintiff's GAIA keys. So if that --                   21 to coming up with something that is constructive
 22        MR. BRUSH: Okay. I'm going to stop              22 and allows the data to be searched and produced
 23 there.                                                 23 so you get -- you very well can get all of it, or
 24        MR. STRAITE: And we're hearing this             24 you get a subset. We don't even know the volume
 25 for the first time.                                    25 of it yet. They have to go back and get it now.
                                                 Page 51                                                   Page 53

                                                                                             14 (Pages 50 - 53)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 149 of 227

  1 We're trying to work with you on this, and it           1         MR. BRUSH: Well, and I think that's
  2 feels like the help is not being appreciated or         2 what I'm offering is if we use the search
  3 accepted.                                               3 criteria, we'll know the delta.
  4        MR. STRAITE: So I appreciate the                 4         MR. STRAITE: Yes.
  5 opportunity to correct the misunderstanding, and        5         MR. BRUSH: We'll know what's left
  6 I apologize for my part in creating it.                 6 over, and we'll have to be able to -- we'll be
  7        We are just hearing for the first time           7 able (indiscernible) right now. This again is
  8 today that the searches would have to go beyond         8 just -- think of it as -- it's just -- it's a --
  9 simply the GAIA IDs. Okay. Fine. We'll work             9 again I have an analogy. And this -- I don't
 10 with our expert to come up absolutely with a           10 know why I'm coming up with this, but it's a dark
 11 proposal.                                              11 jar. You can't see in it, and I'm asking you can
 12        It's just because we thought that the           12 you tell me how many pennies versus marbles are
 13 search methodology was prospectively for the live      13 there?
 14 logs. We did not know that that would be for the       14         We haven't even looked in there. We
 15 historically preserved logs.                           15 don't know the difference. And right now we're
 16        So because we didn't understand that            16 just looking at this jar, and you're saying,
 17 before today, we're just saying that we don't          17 "Well, give me all the pennies." Like do you
 18 here on this call have a proposal to match             18 want all the -- like marbles might not be part of
 19 additional search parameters to the GAIA IDs, but      19 it. It feels heavy.
 20 we'll work with our expert immediately. We're          20         What we're saying is we need to apply
 21 not saying all or nothing on this call. And --         21 some type of process to this that is consistent
 22        MR. BRUSH: Okay.                                22 with the overall legal process, the technology
 23        MR. STRAITE: -- we'll figure out what           23 process, so we can say, "Look, we've all done our
 24 happened. We agree with you on everything, so          24 jobs here by putting this data through a certain
 25 thank you for --                                       25 set of steps that would get the production. We
                                                 Page 54                                                   Page 56

  1        MS. WEAVER: May I ask just for             1 can't say there's issues with the production."
  2 clarification for us, further clarification.      2         I can't be put in the position where
  3 What data sources specifically is Google saying 3 I'm allowing data to pass through on this without
  4 are not relevant so that they -- I mean, it just  4 any kind of introspection on it. Really, it has
  5 seems to me that the process of running           5 to go through a set of standards and processes so
  6 additional searches is burdensome and causes      6 we know what's going to be left over. Until we
  7 further delay on a dataset collected using our    7 dump the stuff out of the jar, we're not going to
  8 Plaintiff's GAIA IDs.                             8 get there. And that's why I'm saying you're
  9        So if they're saying it's necessary        9 going to get to that part. And I understand the
 10 because what is contained in that dataset is     10 fear is we might never get it again, but I think
 11 overbroad and not relevant, can they tell us     11 if you do the process, you continue to get more
 12 specifically what is overbroad and not relevant? 12 and more information.
 13 Like what are the log sources that are not       13         I mean, I think I'm -- we found ways to
 14 relevant in their view?                          14 get you that, and we're so close to the end on
 15        And if it's, for example, ZWBK because 15 this one. This is something that can very well -
 16 that was done before the Court ruled ZWBK -- 16 - I think if you trust me on this and just follow
 17 well, we say it was always, you know, all along 17 the process, you're going to get what you need
 18 included, then we'd like to know that.           18 out of this because I see how this is going to
 19        I think -- so in addition to the          19 work out.
 20 volume, to be clear, the request is that to the  20         MR. STRAITE: And thank you, and we do
 21 extent Google is saying there is data in the     21 trust it. We're just scrambling with this new
 22 historically preserved collection, which is not  22 fact today. We are going to work with our expert
 23 relevant or responsive, and it's really          23 to come up with additional search proposals for
 24 responsive that the judge said, we'd like a      24 the historical logs that need publisher notice.
 25 description of that.                             25 We're going to do that. We just want to confirm
                                                 Page 55                                                   Page 57

                                                                                             15 (Pages 54 - 57)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 150 of 227

  1 that the searches we're doing will be agnostic to       1        MR. STRAITE: Joey, can you hear us
  2 data source, that the search terms -- so we're          2 now?
  3 not going to categorically exclude data sources.        3        MR. ANSORGE: Apologies. Yes. I'm
  4 That's our understanding. When we come up with          4 sorry. I'm very sorry. I think Dr. Shafiq
  5 these search terms, yes, we're not going to             5 must've hacked me. It's a joke for levity.
  6 categorical search terms?                               6        MR. STRAITE: Yes, that's a little
  7        MR. BRUSH: Yes.                                  7 levity.
  8        MR. ANSORGE: We're getting a little              8        MS. WEAVER: He's got better things to
  9 echo there.                                             9 do.
 10        MR. STRAITE: It's a good dance. We              10        MR. ANSORGE: I was trying to address
 11 should get a nice mix. Joey, I don't know if           11 the question of how we would proceed with the
 12 you've heard (indiscernible) Weaver, but this was      12 searches, and our recommendation, expectation
 13 like a New York, you know, dance club remix. It        13 would be that we would follow the November 12th
 14 was actually really good.                              14 process in which specific IDs are run over
 15        Anyway, so my question again was when           15 specific log sources.
 16 we --                                                  16        Ms. Weaver just asked us, "Well, what
 17        MR. SCHAPIRO: Anybody got water?                17 log source do you contend is actually not
 18        MR. STRAITE: -- get experts to come up          18 relevant?" We would have to sit and conduct an
 19 with -- to come up with -- I did that joke on the      19 additional analysis. My understanding is there's
 20 fly. I -- so --                                        20 YouTube log sources in it. There's AdMob.
 21        MR. BRUSH: I think we're going to               21 There's a whole bunch of different data, and it's
 22 search it against the data, right, the data            22 simply been broadly preserved.
 23 that's preserved.                                      23        So what we would hope to do is that I
 24        MR. STRAITE: And the data is the full           24 think there are reasons why there are limits on
 25 thing, so we're not just looking for -- we're not      25 the searches were set. You can select certain
                                                 Page 58                                                   Page 60

  1 categorically excluding any datasets when we come       1 sources. You can have certain IDs over them.
  2 up with these searches, correct? Is that --             2        Here, the time range would not be one
  3         MR. SCHAPIRO: Joey, see if your sound           3 week or anything close to it. It would be a very
  4 is working. Wait. Do you want to try unmuting           4 broad time range, but we would still want to
  5 for a second? You're stuck on mute.                     5 maintain a specific ID over a specific source.
  6         MR. STRAITE: He can do sign language.           6        MS. WEAVER: I guess what we fail to
  7         MR. SCHAPIRO: He's calling in. There            7 understand, Special Master Brush, is why data
  8 we go. No. Say something, Joey, because --              8 taken from our eight named plaintiffs is not
  9         MS. WEAVER: Joey, maybe you could               9 relevant, period.
 10 write notes and hold them up to the camera.            10        I mean, because our complaint is not
 11         MR. STRAITE: And then I'll read them           11 limited by any service. This is the same song
 12 into the record for you.                               12 and dance we heard about ZWBK. It is literally -
 13         MR. SCHAPIRO: Stop the war. Don't              13 - I'm using Chrome, and I'm -- and then I'm going
 14 believe the propaganda.                                14 to other locations on the web. Maybe it's a
 15         MS. WEAVER: Exactly.                           15 Google service. Maybe it's a non-Google website,
 16         MR. STRAITE: Oh, God. That was --              16 and they're taking data from me. That is what
 17 that woman, you know, she's missing. Her lawyer        17 our case is about, and this is tied to their GAIA
 18 says that she's missing.                               18 account number. And so I just don't understand -
 19         MR. BRUSH: I was going to say that.            19 - what I'm trying to say is --
 20 Yeah, she's missing.                                   20        MR. BRUSH: I get it.
 21         MR. STRAITE: It's horrible.                    21        MS. WEAVER: -- what is not relevant?
 22         But so the question on the table, Joey,        22 Yeah. Sorry.
 23 is just to confirm that when we come up with the       23        MR. BRUSH: Let's not argue that here.
 24 data --                                                24 Let's not argue that here please. What I'm
 25         MR. ANSORGE: I'm sorry.                        25 suggesting is just follow the process.
                                                 Page 59                                                   Page 61

                                                                                             16 (Pages 58 - 61)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR                Document 748-2             Filed 07/01/22       Page 151 of 227

  1 can take a look at.                                       1 Thank you.
  2         MR. STRAITE: Appreciate it. Thank                 2        MR. ANSORGE: I hope you make your
  3 you.                                                      3 flight, Mr. Straite.
  4         MS. GAO: To answer Ms. Weaver's                   4        MS. WEAVER: Thank you all.
  5 question, it's in our March the 7th joint update          5        MR. ANSORGE: Thank you.
  6 to the special master.                                    6        MR. STRAITE: Yeah. if I miss this
  7         MR. STRAITE: Thank you, Ms. Gao, and I            7 one, the next one's a red eye, and I'm tall and
  8 think what Ms. Weaver was asking, we did get some         8 old. I don't do well on red eyes anymore.
  9 list -- we appreciate it -- on March 7th                  9        MR. ANSORGE: That's the worst.
 10 regarding Tranche 1, the              log, and Tranche   10        MR. STRAITE: I know.
 11 2. We were just asking for confirmation the              11        MR. BRUSH: I know the feeling.
 12 Tranche 3, the date for us. We need Plaintiff or         12        MS. WEAVER: You're not that tall,
 13 publisher notice. Is that the exact same set --          13 David.
 14 list or are there additional logs in the third           14        MR. STRAITE: Yeah, but I am old. All
 15 tranche that weren't produced or disclosed? I            15 right. Thanks, everybody.
 16 think that was her question, just to confirm that        16        MS. WEAVER: Bye, guys. Have a nice
 17 it's the same list for the three tranches.               17 evening.
 18         MS. GAO: Mr. Straite, the list in our            18        MR. STRAITE: Bye.
 19 March the 7th joint update is a complete list of         19        MR. BRUSH: Thanks, everybody.
 20 all the data sources we preserved.                       20
 21         MR. STRAITE: Perfect.                            21
 22         MS. GAO: So if you look at our March             22
 23 9th and March the 10th productions, which you            23
 24 refer to as Tranche 1, Tranche 2, those are a            24
 25 subset. So whatever we didn't produce were the           25
                                                   Page 66                                                Page 68

  1 withheld data.                                            1         CERTIFICATION
  2        MR. STRAITE: That's perfect                        2
  3 confirmation. Thank you, Ms. Gao. We appreciate           3 I, Sonya Ledanski Hyde, certify that the
  4 that confirmation. That's very --                         4 foregoing transcript is a true and accurate
  5        MS. WEAVER: Thank you.                             5 record of the proceedings.
  6        MR. STRAITE: I would -- I -- we have -             6
  7 -                                                         7
  8        MR. ANSORGE: I hope you still make                 8
  9 your flight, Mr. Straite.                                 9 __________________________________
 10        MR. STRAITE: -- a recording, so you're            10
 11 going to get the remix of your voice. It was             11 Veritext Legal Solutions
 12 really brilliant.                                        12 330 Old Country Road
 13        MR. ANSORGE: It's a problem I haven't             13 Suite 300
 14 been able to fix and troubleshoot, and I                 14 Mineola, NY 11501
 15 apologize for it.                                        15
 16        MS. WEAVER: It's a (indiscernible) for            16 Date: March 22, 2022
 17 us, Joey.                                                17
 18        MR. SCHAPIRO: Anybody on this call                18
 19 have any familiarity with technology? Maybe they         19
 20 can help Joe.                                            20
 21        MR. ANSORGE: Never heard of it.                   21
 22        MR. STRAITE: No. We are all at Ms.                22
 23 Cruz and Mr. Brush's mercy on the technology.            23
 24        MS. WEAVER: This is true.                         24
 25        MR. STRAITE: Okay. This is useful.                25
                                                   Page 67                                                Page 69

                                                                                             18 (Pages 66 - 69)
                                            Veritext Legal Solutions
                                                 866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 152 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
            Case 4:20-cv-05146-YGR             Document 748-2         Filed 07/01/22       Page 153 of 227




From:                  Josef Ansorge
Sent:                  Tuesday, March 22, 2022 8:53 AM
To:                    Jay Barnes; Tracy Gao; David Straite
Cc:                    QE Calhoun; Lesley Weaver; Angelica Ornelas; An Truong; Sharon Cruz; Adam Prom; Josh Samra; Eric
                       Johnson; Amy Keller
Subject:               RE: Calhoun v. Google -- request to meet and confer


Counsel,

Hereissendfileinformationforaspreadsheetcontaining(i)listsofpublishersassociatedwithproduceddataand(ii)
datathathasnotbeenproducedbecauseitrequirespublisherconsent.(Iwillsendthepasswordunderseparatecover.)

        Click here to download the file(s) listed below

        22-MAR-2022 Publisher Notice Data (13253766_1).xlsx          62.59 KB

        If the link above does not open, please copy and paste the following URL into your browser:
        https://sendfile.quinnemanuel.com/pkg?token=58c2f633-cdce-4d3c-af8d-219c7b17c875

WerecommendPlaintiffsselect20publishersforGoogletonotice.Onthesecondtab,wehavehighlightedingreenthe
top20publishersbyvolumeofrecords.Thesepublishers’recordsaccountformorethan               ofallrecords.
PleaseletusknowifPlaintiffsagreetothatproposalorprovideyourcounterproposalatyourearliestconvenience.

Youwillnotethatthelistofpublishersforthenotproduceddataislessthan .ThatisbecauseGooglehasalready
producedpublisherdataforpublishersusingAdSenseandAdMob.

Finally,pleaseletusknowifyouwouldliketomeetandconferat1PMEasterntoday,orifthepartiescanresolvethis
taskthroughemailcorrespondence.

Best,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
202-538-8267 Direct
202.538.8000 Main Office Number
202.538.8100 FAX
josefansorge@quinnemanuel.com
www.quinnemanuel.com




                                    



From:JayBarnes<jaybarnes@simmonsfirm.com>
Sent:Monday,March21,20225:02PM
To:TracyGao<tracygao@quinnemanuel.com>;DavidStraite<dstraite@dicellolevitt.com>;JosefAnsorge
                                                            1
           Case 4:20-cv-05146-YGR              Document 748-2          Filed 07/01/22        Page 154 of 227

<josefansorge@quinnemanuel.com>
Cc:QECalhoun<qecalhoun@quinnemanuel.com>;LesleyWeaver<lweaver@bfalaw.com>;AngelicaOrnelas
<aornelas@bfalaw.com>;AnTruong<atruong@simmonsfirm.com>;SharonCruz<scruz@dicellolevitt.com>;Adam
Prom<aprom@dicellolevitt.com>;JoshSamra<jsamra@bfalaw.com>;EricJohnson<ejohnson@simmonsfirm.com>;
AmyKeller<akeller@dicellolevitt.com>
Subject:RE:Calhounv.GoogleͲͲrequesttomeetandconfer

                                    [EXTERNALEMAILfromjaybarnes@simmonsfirm.com]


ThanksTracy.Youhaveourconsenttosend.jb

From:TracyGao<tracygao@quinnemanuel.com>
Sent:Monday,March21,20223:59PM
To:JayBarnes<jaybarnes@simmonsfirm.com>;DavidStraite<dstraite@dicellolevitt.com>;JosefAnsorge
<josefansorge@quinnemanuel.com>
Cc:QECalhoun<qecalhoun@quinnemanuel.com>;LesleyWeaver<lweaver@bfalaw.com>;AngelicaOrnelas
<aornelas@bfalaw.com>;AnTruong<atruong@simmonsfirm.com>;SharonCruz<scruz@dicellolevitt.com>;Adam
Prom<aprom@dicellolevitt.com>;JoshSamra<jsamra@bfalaw.com>;EricJohnson<ejohnson@simmonsfirm.com>;
AmyKeller<akeller@dicellolevitt.com>
Subject:RE:Calhounv.GoogleͲͲrequesttomeetandconfer

EXTERNAL:Thinkbeforeyouclick!
Counsel,

Ascommunicatedearlier,weareworkingwiththerelevantengineerstoprovidelistsofpublishersandlogsthedatawas
takenfrom(sortedbypublishers),whichPlaintiffsrequestedlastnight.Weexpecttobeabletoprovidetherequested
informationlatertodayandcanmeetandconfertonightortomorrowafternoonfrom1Ͳ1:30PMEastern.

WeproposetosendajointupdatetotheSpecialMasterbeforeCOBEasterntoday.Belowisadraftjointupdate.Please
letusknowifwehaveyourconsenttosend.
***

DearSpecialMasterBrush,Mr.Schmidt,

Atyourdirection,thepartieshaveexchangedemailswithregardtotheproductionofpreserveddatasourcesawaiting
thirdpartynotification.Plaintiffshaverequestedalistofpublishersandalistoflogsthedatawastakenfromsortedby
publishers.Googleisworkingonputtingtogethertherequestedlistsandexpectstobeabletoprovidetheliststo
Plaintiffslatertoday.Thepartieswillbemeetingandconferringeithertonightortomorrowandwillsubmitajoint
statementbyCOBtomorrow.

Respectfully,


From:JayBarnes<jaybarnes@simmonsfirm.com>
Sent:Monday,March21,20224:07PM
To:DavidStraite<dstraite@dicellolevitt.com>;JosefAnsorge<josefansorge@quinnemanuel.com>
Cc:QECalhoun<qecalhoun@quinnemanuel.com>;LesleyWeaver<lweaver@bfalaw.com>;AngelicaOrnelas
<aornelas@bfalaw.com>;AnTruong<atruong@simmonsfirm.com>;SharonCruz<scruz@dicellolevitt.com>;Adam
Prom<aprom@dicellolevitt.com>;JoshSamra<jsamra@bfalaw.com>;EricJohnson<ejohnson@simmonsfirm.com>;

                                                              2
             Case 4:20-cv-05146-YGR           Document 748-2           Filed 07/01/22       Page 155 of 227

AmyKeller<akeller@dicellolevitt.com>
Subject:RE:Calhounv.GoogleͲͲrequesttomeetandconfer

                                     [EXTERNALEMAILfromjaybarnes@simmonsfirm.com]


DearCounsel:

IamfollowingupontheemailDavidsentyesterdaybecauseheisunexpectedlyunavailabletoday.

TheSpecialMasterexpectsajointstatusupdatebycloseͲofͲbusinessEasterntimetoday–whichislessthananhour
away.

IfyourespondedtoDavidbutnottherestoftheCalhounteam,pleaseforwardthatresponse.

Sincerely,
JayBarnes

From:DavidStraite<dstraite@dicellolevitt.com>
Sent:Sunday,March20,20226:39PM
To:JosefAnsorge<josefansorge@quinnemanuel.com>
Cc:QECalhoun<qecalhoun@quinnemanuel.com>;LesleyWeaver<lweaver@bfalaw.com>;JayBarnes
<jaybarnes@simmonsfirm.com>;AngelicaOrnelas<aornelas@bfalaw.com>;AnTruong<atruong@simmonsfirm.com>;
SharonCruz<scruz@dicellolevitt.com>;AdamProm<aprom@dicellolevitt.com>;JoshSamra<jsamra@bfalaw.com>;
EricJohnson<ejohnson@simmonsfirm.com>;AmyKeller<akeller@dicellolevitt.com>
Subject:Calhounv.GoogleͲͲrequesttomeetandconfer

EXTERNAL:Thinkbeforeyouclick!
DearJoey,

Asyousaw,theSpecialMasterdirectedusto“meetandconfertoidentifythosethirdpartieswhichwillreceive
notification(andwhosedatawillbeproduced)andthosethirdpartieswhichwillnotreceivenotifications(atthistime)
andwhosedatawillnotbeproducedatthistime.”Weunderstandthatbothlists–thosewhowillreceivenotification,
andthosewhowillnot–willbejointlyprovidedtotheSpecialMasterbycloseofbusinesstomorrow.

Pleaseletusknowyouravailabilitytoconfer.InadvanceofthemeetͲandͲconfer,Plaintiffsrequestthatyouproducethe
listofthe   thirdpartieswithdataintheHistoricallyPreservedPlaintiffDataset.Wealsoaskyoutoidentifywhich
logsthedatawastakenfrom(sortedbypublisher,ifnotidenticalforeachpublisher).IfGooglehasalsoperformedany
analysisofvolumebypublisherorothermetric,wealsoaskthatthatdatabeprovidedaswell.

Thanks,

David

         
             David . traite, CI      U
             DICELLO LEVITT GUTZLER

                 . 33.1000 e t 505
             





           Case 4:20-cv-05146-YGR              Document 748-2          Filed 07/01/22        Page 156 of 227


ThiseͲmailandanyfilestransmittedwithitareprivilegedandconfidential,andtheyareintendedsolelyfortheuseof
theintendedrecipient(s).Ifyouarenotanintendedrecipient,youshouldnotifythesenderimmediately,deletethiseͲ
mailandanyfilestransmittedwithitfromyoursystem,anddestroyorreturnallcopies.
ThiseͲmailandanyfilestransmittedwithitareprivilegedandconfidential,andtheyareintendedsolelyfortheuseof
theintendedrecipient(s).Ifyouarenotanintendedrecipient,youshouldnotifythesenderimmediately,deletethiseͲ
mailandanyfilestransmittedwithitfromyoursystem,anddestroyorreturnallcopies.
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 157 of 227




                                                                             1
                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 158 of 227




                                                                             2
                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 159 of 227




                                                                             3
                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 160 of 227




                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 161 of 227




                                                                             5
                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 162 of 227




                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 163 of 227




                                                                             7
                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 164 of 227




                                                                             8
                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 165 of 227




                                                                             roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 166 of 227




                                                                             10
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 167 of 227




                                                                             11
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 168 of 227




                                                                             12
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 169 of 227




                                                                             13
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 170 of 227




                                                                             1
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 171 of 227




                                                                             15
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 172 of 227




                                                                             1
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 173 of 227




                                                                             17
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 174 of 227




                                                                             18
                                                                             ot roduced
                                                                             Calhoun
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 175 of 227




                     $1625*(
                     EXHIBIT 

         8QUHGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2      Filed 07/01/22   Page 176 of 227


 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4
 5      Case No. 5:20-cv-05146-LHK-SVK
 6
 7      PATRICK CALHOUN, et al., on behalf of                             |
 8      themselves and all others similarly situated,                     |
 9                            Plaintiffs,                                 |
10            v.                                                          |
11      GOOGLE, LLC,                                                      |
12                            Defendant.                                  |
13      _______________________________________________|
14
15
16
17                       Special Masters Hearing
18                              March 23, 2022
19
20
21
22
23
24
25

                                                                          Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case 4:20-cv-05146-YGR             Document 748-2            Filed 07/01/22        Page 177 of 227

  1            PROCEEDINGS                                1 with thoughts and questions and a path forward.
  2        MR. BRUSH: Great. And you know what?           2 But I really had expected parties to work a
  3 I realize on the last one I jumped in without         3 little closer to come together with something
  4 appearances. So if we can just do appearances         4 that was more fully baked. So I am a little
  5 real quick so we can help anybody who transcribes     5 disappointed to see how we left that off.
  6 this later, that would be great. Why don’t we         6         Outside of that, we are looking at the
  7 start with Plaintiffs.                                7 final searches. And, you know, we are at that
  8        MR. BARNES: Sure. Jay Barnes, Simmons          8 interesting stage where these is multiple things
  9 Hanly Conroy, on behalf of the Plaintiffs. And I      9 happening on multiple tracks with the searches.
 10 think everyone needs to enter their appearance so    10 And I want to ensure that we can close out the
 11 that the person transcribing can --                  11 searches in accordance with the discovery
 12        MR. BRUSH: Yeah, for the                      12 deadline that should have been really closed out
 13 transcription. Correct.                              13 a few weeks ago, but really to kind of close out
 14        MR. STRAITE: David Strait, DiCello            14 whatever is remaining and not introduce new
 15 Levitt Gutzler, for Plaintiffs.                      15 issues. And I alluded to that in the email last
 16        MS. TRUONG: An Truong, Simmons Hanly          16 night.
 17 Conroy, for Plaintiffs.                              17         So what I’d really like to understand
 18        MS. CRUZ: Sharon Cruz, DiCello Levitt         18 is what do we have to do to really kind of enter
 19 Gutzler, for Plaintiffs.                             19 in the final search criteria and hit search and
 20        MS. WEAVER: Good morning. Leslie              20 produce results.
 21 Weaver, Bleichmar Fonti, for the Plaintiffs.         21         With that, are Plaintiffs waiting for
 22        MR. SCHAPIRO: I am Andrew Schapiro            22 any other productions right now that they need
 23 from Quinn Emanuel for Google.                       23 that we are running or should be run or are in
 24        MS. TREBICKA: Viola Trebicka, Quinn           24 the process of running that they need to craft
 25 Emanuel, Google.                                     25 final search results, the final search results
                                                Page 2                                                   Page 4

  1         MR. ANSORGE: Josef Ansorge with Quinn         1 being the identifiers, search criteria, and the
  2 Emanuel, also for Google.                             2 data sources? Are there anything -- is there
  3         MS. GAO: Tracy Gao, Quinn Emanuel, on         3 anything Plaintiffs are waiting on at this point?
  4 Google.                                               4        MR. STRAITE: In general, no. There’s
  5         MR. BRUSH: Great. We have myself,             5 one outlier, Special Master Brush, and that is
  6 Douglas Brush, Special Master on this. I am           6 the data from logs with publisher information. I
  7 joined by Timothy Schmidt. This is the Calhoun        7 don’t -- we’ll have to talk to Dr. Shafiq. I’m
  8 v. Google matter that is before me.                   8 not saying right now that 100 percent we will ask
  9         And I just wanted to thank everybody          9 for another search based on what comes back from
 10 for their continued time on this and getting all     10 those logs for our named plaintiffs. But Dr.
 11 of the information ahead of the meeting. And         11 Shafiq does think there are some things that
 12 really what we’re looking at are two separate        12 could come back from those logs which we would
 13 things, but obviously interrelated, that are         13 want to then do a second round search.
 14 before me are the preservation plans and the         14        And so that’s the only outlier for us,
 15 finalizing the searches. And so really we are        15 is getting production of that publisher
 16 beyond due on both of those.                         16 information. And I think we can probably reach
 17         And for the preservation plans, I am         17 an interim solution for production of a subset.
 18 little disappointed in everybody. I expected         18 I think we’re going to -- we want all of that
 19 something to be a little bit more fully baked.       19 information. We think those are the most
 20 I’m not going to really hear arguments on that       20 important logs that we -- some of the most
 21 today. That is not the purpose of this call.         21 important logs that we’ve seen. But the
 22 The call on this is really to focus on the           22 production of a subset could really help us see
 23 searches. But I will say Mr. Schmidt and I will      23 if there’s another search query we want to have
 24 go through and digest the material that was          24 fun based on the production of that data.
 25 provided on the preservation plan and come back      25        MR. BRUSH: So with that data we’re
                                                Page 3                                                   Page 5

                                                                                               2 (Pages 2 - 5)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 178 of 227

  1 talking about the data that was preserved at the        1 the relevant data elements than any other source.
  2 outset of the case?                                     2 And, I might add, importantly, for the longest
  3         MR. STRAITE: Correct.                           3 period. Because these are the logs that are kept
  4         MR. BRUSH: Okay. And this is data               4 that are retained for the longest period.
  5 that we’ve had lots of discussions on this case         5         MR. BRUSH: Sure. And when we talk
  6 as well as the other. I mean, this was data that        6 about it -- and forgive me, Mr. Barnes. I’m
  7 was identified and put on a litigation hold. And        7 keying off of a prior conversation that I had
  8 we need to follow certain procedures to make sure       8 with Google’s counsel. We were looking at it
  9 that third-party notification is done in the            9 beyond just the percentage. You know, we’re
 10 event that it’s needed.                                10 looking to really say, okay, so we know what’s in
 11         That being said, what I’m trying to            11 there, what other context, what proportion of
 12 understand is what -- and then forgive me if this      12 that data is there in gigabytes in size as well
 13 was provided in this matter and I just overlooked      13 as some of the field information. So we are
 14 it, but this is something we looked at in the          14 looking for context within those so you do know
 15 other matter as well, is the amount of data that       15 what is missing. Because right now there’s a
 16 was being withheld. Because it’s my                    16 little bit of a black box, and we want to shed
 17 understanding that this was a larger                   17 some light into that so we know what’s the best
 18 preservation. They produced a preponderance of         18 path forward to go through that.
 19 that data, only holding back information that was      19         Because the challenge that we are
 20 related to a situation where third parties needed      20 having right now is if we have to wait for that
 21 notification.                                          21 data, it’s going to delay searches in other
 22         So, Mr. Ansorge, do we know what that          22 areas. And so what we’re trying to figure out is
 23 percentage was as we did in the other matter, or       23 can we get some insight to that where Plaintiffs
 24 is this like another ten percent is held back, 90      24 can quickly make a determination on how to
 25 percent produced? Is that some similar metrics         25 further construct the searches for the remaining
                                                  Page 6                                                    Page 8

  1 that we just -- you and I just spoke about that         1 amount of data sets across other areas.
  2 can be applied here so we have context to what’s        2        So we’re just trying to say if we can
  3 missing?                                                3 quickly within a day say look here, we know
  4        MR. ANSORGE: Yes, Mr. Brush. It’s                4 what’s in this black box, it might shed some
  5 similar metrics. I’m trying to pull up the              5 light and help you make a determination. Because
  6 specific number. I should be able to have it for        6 there’s going to be a point where we’re going to
  7 you within the hour. So there’s different ways          7 have to say yea or nay. And, quite frankly, that
  8 in which we could combine and (indiscernible) --        8 time has come and past. But I’m really trying to
  9        MR. BRUSH: Sure. I’m --                          9 help you out here if you can work with us and
 10        MR. ANSORGE: But it’s a similar                 10 allow to get some further information around that
 11 situation. You are right.                              11 data.
 12        MR. BRUSH: Okay. Yeah, that’s at a              12        MS. WEAVER: And just a point of
 13 high level. So --                                      13 clarification for the Plaintiffs. What
 14        MR. BARNES: Mr. Brush, may I -- not             14 conversation with Google counsel did they reveal
 15 all data is created equal. The percentages don’t       15 the percentages?
 16 give us a good idea of how important it is.            16        MR. BRUSH: Sure. We were talking
 17 These publisher logs, from what was produced from      17 about a very similar high-level understanding of
 18 Dr. Shafiq’s data, have five of the six most           18 how this data was preserved. Because there was -
 19 important data elements in this case, including        19 - in the Brown matter as well as Calhoun, there
 20 historical profile information, historical             20 was a litigation hold. And this was a very broad
 21 revenue information key to our Plaintiffs. The         21 way to hold this data.
 22 only burden of production is notification to           22        A large subset of that data in both
 23 publishers. So I really don’t think the                23 matters were produced in respect of Plaintiffs.
 24 percentage question is relevant here when we are       24 And the only thing that was held back was
 25 talking about the data source that has more of         25 anything that needed publisher consent. And so
                                                  Page 7                                                    Page 9

                                                                                                 3 (Pages 6 - 9)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2             Filed 07/01/22        Page 179 of 227

  1 what we’re trying to understand is how we can           1 sent us Tuesday. And so long as that subset of
  2 best get through that data in both matters by           2 publishers who have already received notice of
  3 kind of reusing some of the similar processes so        3 some kind includes every named plaintiff, we can
  4 we know what’s there. Because there is -- you           4 -- if Google could produce that subset, we would
  5 have been provided a very large amount of data,         5 be prepared to move forward with that caveat. We
  6 as Mr. Barnes alluded to. There is information          6 want it to be for the named plaintiffs, and we
  7 about the test data and some of that publisher          7 want google to -- and Shafiq test data, which we
  8 information. So it’s enlightening, but how much         8 already have. So actually that -- sorry. Sorry.
  9 more enlightening is this last percentage going         9 The named plaintiffs. And we would like Google
 10 to provide you to construct searches? And that’s       10 to identify obviously when they produce that,
 11 what I’m getting at. You know, whether we have         11 which identifiers with which named plaintiffs.
 12 to look at it in another context about what            12 Right?
 13 needed to be produced, that’s one thing. But           13        MR. BRUSH: Well, yeah. And this is a
 14 what I’m looking at is how this data is being          14 trick with this data set, is we haven’t searched
 15 used to construct the final searches so we can be      15 (indiscernible) and really tried to come up with
 16 done with this whole process.                          16 a way to handle this constructively. Because it
 17        MR. SCHAPIRO: And just to be clear,             17 should follow a process of search and production.
 18 Leslie, in case this was what you were wondering,      18 And I understand there is some disagreement on
 19 none of -- this was not ex parte. This was in          19 your part about how that might look. But the
 20 the call with -- in the conference with Brown          20 reality is it should go through some kind of
 21 that we had an hour before yours.                      21 process that is repeatable, documented in
 22        MR. BRUSH: Thank you, Mr. Schapiro.             22 proportion. You know, really kind of follows all
 23 Yeah.                                                  23 the standards by which we would want to do
 24        MS. WEAVER: It would be helpful to get          24 discovery. And I’m just trying to strike that
 25 that transcript then too, I guess.                     25 balance. Because also, again, to me, I
                                                 Page 10                                                  Page 12

  1        MR. STRAITE: Special Master Brush, I             1 understand where you’re saying for the broader
  2 think we can be helpful in this regard then.            2 scope of the merits of the case (indiscernible),
  3 Because to get the data, sufficient data to             3 but that’s not an issue I can deal with right
  4 construct second-round searches, I think we can         4 now. It’s really finishing the searches or we’re
  5 come to an agreement with Google on production of       5 going to have to do more searches. So let’s not
  6 a subset.                                               6 -- and I think you’re in agreement from what I
  7        While saying that, I want to make very           7 heard. Let’s not slow down the process of the
  8 clear the entire production of those search             8 searching. And we can come back to the other
  9 segregated and preserved logs are very important        9 larger issues as needed. But we really need
 10 to us. What we’re going to do with them is show        10 something in hand that has search identifiers,
 11 the amount of revenue received that was keyed to       11 you know, that follows the process by which we’ve
 12 our plaintiffs as shown by these historical logs.      12 been using now for months to search the remaining
 13 And there is no other data source from which that      13 data and get you production to close out
 14 calculation can be made. So that’s why I said at       14 discovery.
 15 the outset a moment ago, this percentage               15        MR. BARNES: Mr. Ansorge has his hand
 16 calculation thing bares no relevance to how            16 raised. I think he -- hopefully he can enlighten
 17 important these logs are and whether they should       17 us on what can be produced quickly of such
 18 be produced in total in the end.                       18 subsets.
 19        For purposes of crafting searches               19        MR. BRUSH: Joe?
 20 though, we are willing to accept the subset. We        20        MR. ANSORGE: Yeah, if it’s the special
 21 are willing to accept the subset Google -- Mr.         21 master’s (indiscernible), Mr. Barnes, I wanted to
 22 Ansorge -- or maybe it was Ms. Gao. Regardless,        22 clarify what we sent you yesterday, what we also
 23 Google sent over a subset. There are publishers        23 sent Brown plaintiffs yesterday. It was a
 24 in that data to whom Google has already sent           24 proposal for what publishers should be noticed
 25 notice. That was my understanding of what Google       25 for the preserved set. You had asked us to break
                                                 Page 11                                                  Page 13

                                                                                              4 (Pages 10 - 13)
                                          Veritext Legal Solutions
                                               866 299-5127
Case 4:20-cv-05146-YGR             Document 748-2           Filed 07/01/22   Page 180 of 227

  1 date for that, Mr. Schapiro.
  2         MR. SCHAPIRO: Okay.
  3         MR. BARNES: Thank you.
  4         MR. BRUSH: Okay, great. If you need a
  5 little more time on that, just let me know that
  6 you’re going to need additional time.
  7 Communicate. Just don’t leave me in the dark.
  8         MR. BARNES: Okay. Thank you, Special
  9 Master Brush.
 10         MR. BRUSH: All right. Thanks,
 11 everybody.
 12         (Proceedings concluded)
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
                                                  Page 62

  1         CERTIFICATION
  2
  3 I, Sonya Ledanski Hyde, certify that the
  4 foregoing transcript is a true and accurate
  5 record of the proceedings.
  6
  7
  8
  9 <%12151,Signature%>
 10
 11 Veritext Legal Solutions
 12 330 Old Country Road
 13 Suite 300
 14 Mineola, NY 11501
 15
 16 Date: June 7, 2022
 17
 18
 19
 20
 21
 22
 23
 24
 25
                                                  Page 63

                                                                                  17 (Pages 62 - 63)
                                        Veritext Legal Solutions
                                             866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 181 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
           Case 4:20-cv-05146-YGR            Document 748-2         Filed 07/01/22       Page 182 of 227




From:               Josef Ansorge
Sent:               Wednesday, March 23, 2022 1:27 PM
To:                 Douglas Brush; Timothy Schmidt; David Straite; Jay Barnes; Lesley Weaver; Sharon Cruz; An Truong;
                    Angelica Ornelas
Cc:                 QE Calhoun
Subject:            Calhoun v. Google: Additional Descriptive Statistics re: Preserved Data


SpecialMasterBrush,Mr.Schmidt,Counsel,

Asrequestedduringthismorning’smeetandconferwehaveworkedwithGoogleengineerstopulladditional
descriptivestatisticscomparingproducedpreserveddatatopreserveddatathatwouldrequirereasonablepublisher
noticebeforeitcanbeproduced.




WehopethisadditionalinformationishelpfulfortheSpecialMastertodeterminewhether,andforwhichpublishers,
Googleshouldprovidereasonablenoticetoproducepreviouslypreservedrecords.Tominimizetheburden,we
respectfullyrequestthatthepublishernoticebeconductedsimultaneouslyforbothcases(BrownandCalhoun)andall
furtherrequirednoticesbeprocessedtogetheratonetime.
                                                           1
            Case 4:20-cv-05146-YGR           Document 748-2          Filed 07/01/22       Page 183 of 227


SpecialMasterBrush:Pleaseletusknowhowweshouldproceed.

WelookforwardtoworkingwithPlaintiffsandtheSpecialMastertocloseouttheSpecialMasterprocessthisweek.

Best,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
202-538-8267 Direct
202.538.8000 Main Office Number
202.538.8100 FAX
josefansorge@quinnemanuel.com
www.quinnemanuel.com




                                    






                                                            2
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 184 of 227




                     $1625*(
                     EXHIBIT 

         8QUHGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
                Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                 Page 185 of 227




From:                         Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                         Friday, March 18, 2022 6:07 AM
To:                           Sharon Cruz; Tracy Gao; David Straite; QE Calhoun; Lesley Weaver; Jay Barnes; Angelica Ornelas; An
                              Truong atruong@simmonsfirm.com; Adam Prom; Amy Keller; 'ejohnson@simmonsfirm.com';
                              jsamra@bfalaw.com; Erin Gee
Cc:                           Douglas Brush
Subject:                      Re: Calhoun v. Google, LLC; No. 4:20-cv-03664-YGR-SVK; Wed 3/15 Conference


                                               [EXTERNALEMAILfromtimothy.schmidt@accelconsulting.llc]


All,

SpecialMasterBrushandImetwithJudgevanKeulenatlengthfollowingthehearingyesterday.Sheagainremindedus
thatthefinalpiecesofthediscoveryprocessneedtobeputinplaceassoonaspossible.Thatsaid,severalmajorpieces
ofthepieremain:preservationplans,searchtermsandcriteriaforhistoricalsearchesofwhatwaspreviouslysearched
withonlyDremel,andproductionsofpreserveddatasourcesawaitingeitherapprovalofthirdpartiesornotification
timeoutsofsame.

Preservationplansareduetodayasisnotedinthisemailthread.

SearchtermsandcriteriaforhistoricalsearchesofwhatwaspreviouslysearchedusingonlytheDremeltoolneedtobe
puttogetherbyPlaintiffsusinginformationthusfarprovidedbyGoogle.Thesearchtermsneedtobeprovidedpriorto
businessopeningMondayEDT,March21,2022.

Forproductionsofpreserveddatasourcesawaitingeitherapprovalofthirdpartiesornotificationtimeoutsofsame,
Plaintiffs’andGooglewillneedtomeetandconfertoidentifythosethirdpartieswhichwillreceivenotifications(and
whosedatawillbeproduced)andthosethirdpartieswhichwillnotreceivenotifications(atthistime)andwhosedata
willnotbeproducedatthistime.SpecialMasterBrushexpectsthisinformationtobeprovidedtohiminajoint
statementbyMondaycloseofbusinessEDT,March21,2022.Googlewillprovideevidenceofnotificationsbeingsent
outtoallagreeduponthirdpartiesnolaterthanTuesdaycloseofbusinessEDT,March22,2022.Googlewillprovidea
goodfaithestimateoftheproductiondateforalldatasourcesforwhichthirdpartynotificationisrequired.

SpecialMasterBrushwishestohaveacloseoutmeetandconferwiththepartiesonTuesdayMarch22,2022,to
confirmclosureoftherelevantopendiscoveryitemsandtodiscusstheprocessinplaceforpartiestocompletethestill
remainingproductions.

Thankyou,
TimSchmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or confidentiality
protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please notify the sender by reply
email and delete this message.

                                                                                        1
         Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                Page 186 of 227


    From:DouglasBrush<douglas.brush@accelconsulting.llc>
    Date:Monday,March14,2022at8:40PM
    To:SharonCruz<Scruz@dicellolevitt.com>,TracyGao<tracygao@quinnemanuel.com>,Timothy
    Schmidt<timothy.schmidt@accelconsulting.llc>,DavidStraite<dstraite@dicellolevitt.com>
    Cc:QECalhoun<qecalhoun@quinnemanuel.com>,LesleyWeaver<lweaver@bfalaw.com>,JayBarnes
    <jaybarnes@simmonsfirm.com>,AngelicaOrnelas<aornelas@bfalaw.com>,AnTruong
    atruong@simmonsfirm.com<atruong@simmonsfirm.com>,AdamProm<aprom@dicellolevitt.com>,
    AmyKeller<akeller@dicellolevitt.com>,'ejohnson@simmonsfirm.com'
    <ejohnson@simmonsfirm.com>,jsamra@bfalaw.com<jsamra@bfalaw.com>,ErinGee
    <egee@simmonsfirm.com>
    Subject:Calhounv.Google,LLC;No.4:20ͲcvͲ03664ͲYGRͲSVK;Wed3/15Conference

    Counseletal,
    
    IjustfinishedanupdatecallwithMagistrateJudgevanKeulen.WhiletheJudgeispleasedwiththeprogresson
    theremainingdiscoverydisputes,shealsoremindedmethatdiscoverywastobecompletedonMarch4,2022.
    Still,weareinvestedinensuringthattheprocessconsidersboththePlaintiffs’claimsandGoogle’sdefensesand
    thattheprocessleavesveryfewstonesunturnedforeithersideinthismatter.
    
    IsuggestedtoHerHonorthatshecancelsthehearingtomorrowinfavorofPartiesworkingonandclosingout
    theremainingopendiscoveryissuesfortheCourttohaveamoremeaningfulandproductivehearingon
    Thursday,March17.
    
    IwantaMeet&ConfertomorrowwithCalhounPartiestomorrow(3/15)morningtofinishcreatingpreservation
    plans,concludetheremainingdiscoverydisputes,andputinplacethecriteriaforFlumeandorotherremaining
    searches.
    
    Finally,theCourtandIexpectthatfinalpreservationplansarefilednolaterthanFriday,March18,2022.Failure
    todosowillresultintheCourtmakingaunilateraldecisionandorsanctions.
    
    
    Best,
    
    Doug
     
     
    ___________________________________________
     
         o                 h
     resident
    M 17. 70. 1 0
    E douglas.brush@accelconsulting.llc
     
    Accel Consulting LLC
    BOULDER, CO 80301
    
    This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or
    confidentiality protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please
    notify the sender by reply email and delete his message.
    




                                                                                 2
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 187 of 227




                     $1625*(
                     EXHIBIT 

         8QUHGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
                Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                 Page 188 of 227




From:                         Douglas Brush <douglas.brush@accelconsulting.llc>
Sent:                         Friday, April 1, 2022 12:31 PM
To:                           Lesley Weaver; Tracy Gao; Jay Barnes; Timothy Schmidt; David Straite; Sharon Cruz; QE Calhoun;
                              Angelica Ornelas; An Truong; ejohnson@simmonsfirm.com; Adam Prom; Stephen Broome; Andrew
                              Schapiro
Subject:                      Re: Calhoun v. Google - Brief Update re Search Requests and Google Production


                                                [EXTERNALEMAILfromdouglas.brush@accelconsulting.llc]


Ms.Weaver,

Pleasebemoreexplicitinyourrequest.

WhileIcanforensicallypiecetogetheraseriesofemailsoverthepastweekwiththeattachedlettercorrespondence
andExhibits(Binparticular),itwouldbehoovePlaintiff’stobemoretechnicallyspecificandspendtheirtimeatthis
pointtobifurcatetheopensearchissuesasopposedtomeguessing.

Finalsearchesaretobesubmittedtoday.Iamunsurewhatismissingforyoutosupplythefinalsearches.

Pleaseadvise.



___________________________________________

  o                    h
 resident
M 17. 70. 1 0
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or confidentiality
protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please notify the sender by reply
email and delete this message.




From:LesleyWeaver<lweaver@bfalaw.com>
Date:Friday,April1,2022at12:41PM
To:DouglasBrush<douglas.brush@accelconsulting.llc>,TracyGao<tracygao@quinnemanuel.com>,Jay
Barnes<jaybarnes@simmonsfirm.com>,TimothySchmidt<timothy.schmidt@accelconsulting.llc>,David
Straite<dstraite@dicellolevitt.com>,SharonCruz<scruz@dicellolevitt.com>,QECalhoun
<qecalhoun@quinnemanuel.com>,AngelicaOrnelas<aornelas@bfalaw.com>,AnTruong
<atruong@simmonsfirm.com>,ejohnson@simmonsfirm.com<ejohnson@simmonsfirm.com>,AdamProm
<aprom@dicellolevitt.com>,StephenBroome<stephenbroome@quinnemanuel.com>,AndrewSchapiro
<andrewschapiro@quinnemanuel.com>
Subject:RE:Calhounv.GoogleͲBriefUpdatereSearchRequestsandGoogleProduction

SpecialMasterBrushandMr.Schmidt:
                                                                                        1
                Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                 Page 189 of 227


Yes,theopenissueswereidentifiedtoyouinExhibitBofcorrespondenceearlierthisweek.Theseissuesarenotresolved
andneedtobeaddressedbytheSpecialMaster.

TotheextentGoogleisofferingtobeginsearcheswhilethepartiesawaittheSpecialMaster’sruling,itisconstructive.

RegardingthesearchesGooglehasoffered,Google’srestrictionsontime,logssearched,andidentifiersareprejudicial
andappeararbitrary.PlaintiffsdonotagreethatGoogle’soffertoproducewhatitalreadyagreedtoproducerenders
compliancewithPlaintiffs’requestsfromlastweekasburdensomeorunreasonable.PlaintiffsaskthattheSpecialMaster
requireGoogletocompletethisproduction.

PlaintiffsareavailabletothisweekendiftheSpecialMasterhasanyfollowͲupquestionsorwishestoconveneaconference
todiscusstheremainingdisputes.

Regards,

Lesley


From:DouglasBrush<douglas.brush@accelconsulting.llc>
Sent:Friday,April1,202211:14AM
To:TracyGao<tracygao@quinnemanuel.com>;JayBarnes<jaybarnes@simmonsfirm.com>;TimothySchmidt
<timothy.schmidt@accelconsulting.llc>;DavidStraite<dstraite@dicellolevitt.com>;SharonCruz
<scruz@dicellolevitt.com>;QECalhoun<qecalhoun@quinnemanuel.com>;LesleyWeaver<lweaver@bfalaw.com>;
AngelicaOrnelas<aornelas@bfalaw.com>;AnTruong<atruong@simmonsfirm.com>;ejohnson@simmonsfirm.com;
AdamProm<aprom@dicellolevitt.com>;StephenBroome<stephenbroome@quinnemanuel.com>;AndrewSchapiro
<andrewschapiro@quinnemanuel.com>
Subject:Re:Calhounv.GoogleͲBriefUpdatereSearchRequestsandGoogleProduction
Importance:High

Ms.GaoandMr.Barnes,

Pleaseenlightenmeifthereareanyopenissuespastthislastexchangethatwillprohibitthefinalsearchesfrom
commencing.


Best,

Doug
 
 
___________________________________________
 
     o                 h
 resident
M 17. 70. 1 0
E douglas.brush@accelconsulting.llc
 
Accel Consulting LLC
BOULDER, CO 80301

This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or confidentiality
protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please notify the sender by reply
email and delete this message.


                                                                                        2
           Case 4:20-cv-05146-YGR             Document 748-2          Filed 07/01/22       Page 190 of 227

From:TracyGao<tracygao@quinnemanuel.com>
Date:Friday,April1,2022at11:04AM
To:JayBarnes<jaybarnes@simmonsfirm.com>,DouglasBrush<douglas.brush@accelconsulting.llc>,Timothy
Schmidt<timothy.schmidt@accelconsulting.llc>,DavidStraite<dstraite@dicellolevitt.com>,SharonCruz
<scruz@dicellolevitt.com>,QECalhoun<qecalhoun@quinnemanuel.com>,LesleyWeaver
<lweaver@bfalaw.com>,AngelicaOrnelas<aornelas@bfalaw.com>,AnTruong
<atruong@simmonsfirm.com>,EricJohnson<ejohnson@simmonsfirm.com>,AdamProm
<aprom@dicellolevitt.com>,StephenBroome<stephenbroome@quinnemanuel.com>,AndrewSchapiro
<andrewschapiro@quinnemanuel.com>
Subject:RE:Calhounv.GoogleͲBriefUpdatereSearchRequestsandGoogleProduction

DearSpecialMasterBrush,Mr.Schmidt,Counsel:

BarringanyadditionalguidancefromtheSpecialMaster,Googlewillinitiatethefinalroundofsearchesaccordingto
Google’spositioninExhibitBsubmittedonMarch30,2022,andwillbeprovidingresultsonarollingbasis.

Best,
Tracy

From:JayBarnes<jaybarnes@simmonsfirm.com>
Sent:Friday,April1,202212:28PM
To:DouglasBrush<douglas.brush@accelconsulting.llc>;TimothySchmidt<timothy.schmidt@accelconsulting.llc>;David
Straite<dstraite@dicellolevitt.com>;SharonCruz<scruz@dicellolevitt.com>;QECalhoun
<qecalhoun@quinnemanuel.com>;LesleyWeaver<lweaver@bfalaw.com>;AngelicaOrnelas<aornelas@bfalaw.com>;
AnTruong<atruong@simmonsfirm.com>;EricJohnson<ejohnson@simmonsfirm.com>;AdamProm
<aprom@dicellolevitt.com>;TracyGao<tracygao@quinnemanuel.com>;StephenBroome
<stephenbroome@quinnemanuel.com>;AndrewSchapiro<andrewschapiro@quinnemanuel.com>
Subject:RE:Calhounv.GoogleͲBriefUpdatereSearchRequestsandGoogleProduction

                                   [EXTERNALEMAILfromjaybarnes@simmonsfirm.com]
 

SpecialMasterBrush:

Thankyoufortheopportunitytoclarify.

    1. Wearenotrequestinganyadditionalsearchesbeyondthatwhichwealreadyrequestedlastweek.Theemail
        fromthismorningwasinresponsetoaconfusingassertionfromGooglethatwehadnotprovidedsearchterms.
        Wearemerelypointingoutthatweidentifiedlastweekthedatasources,identifiers,andtimeperiodsforwhich
        werequestedfinalsearches–andthatwedidsoconsistentwithhowwedidprevioussearchrequestsandare
        notaddinganynewsearchrequests.
        
    2. Regardingthelatestproduction,wewere:(1)acknowledgingit;(2)notifyingyouthatwewouldbereviewingit
        asquicklyaspossible;and(3)notifyingyouthat,totheextentyouneedtobeupdatedaboutthecontentsof
        saidproduction,wewillletyouknowassoonaspossible.
        
Sincerely,
JayBarnes
        


                Case 4:20-cv-05146-YGR                             Document 748-2                     Filed 07/01/22                 Page 191 of 227

From:DouglasBrush<douglas.brush@accelconsulting.llc>
Sent:Friday,April1,202211:12AM
To:JayBarnes<jaybarnes@simmonsfirm.com>;TimothySchmidt<timothy.schmidt@accelconsulting.llc>;DavidStraite
<dstraite@dicellolevitt.com>;SharonCruz<scruz@dicellolevitt.com>;QECalhoun<qecalhoun@quinnemanuel.com>;
LesleyWeaver<lweaver@bfalaw.com>;AngelicaOrnelas<aornelas@bfalaw.com>;AnTruong
<atruong@simmonsfirm.com>;EricJohnson<ejohnson@simmonsfirm.com>;AdamProm<aprom@dicellolevitt.com>;
TracyGao<tracygao@quinnemanuel.com>;StephenBroome<stephenbroome@quinnemanuel.com>;AndrewSchapiro
<andrewschapiro@quinnemanuel.com>
Subject:Re:Calhounv.GoogleͲBriefUpdatereSearchRequestsandGoogleProduction

EXTERNAL:Thinkbeforeyouclick!
Mr.Barnes,

Iamtryingtounpackexactlywhatyouareasking.

Areyouaskingforanothersearchwithaspecifictimeframe?Wastheresomethingintherecentproductionthatyou
haveanissuewith?

Giventhelatehourofdiscovery,canyoupleasebespecificonwhatexactlyyouareaskingtobedone?


Best,

Doug
 
 
___________________________________________
 
     o                 h
 resident
M 17. 70. 1 0
E douglas.brush@accelconsulting.llc
 
Accel Consulting LLC
BOULDER, CO 80301

This message is intended only for the designated recipient(s). It may contain confidential or proprietary information and may be subject to other contractual or confidentiality
protections. If you are not a designated recipient, you may not review, copy or distribute this message. If you receive this message in error, please notify the sender by reply
email and delete this message.


From:JayBarnes<jaybarnes@simmonsfirm.com>
Date:Friday,April1,2022at10:04AM
To:DouglasBrush<douglas.brush@accelconsulting.llc>,TimothySchmidt
<timothy.schmidt@accelconsulting.llc>,DavidStraite<dstraite@dicellolevitt.com>,SharonCruz
<scruz@dicellolevitt.com>,QECalhoun<qecalhoun@quinnemanuel.com>,LesleyWeaver
<lweaver@bfalaw.com>,AngelicaOrnelas<aornelas@bfalaw.com>,AnTruong
<atruong@simmonsfirm.com>,EricJohnson<ejohnson@simmonsfirm.com>,AdamProm
<aprom@dicellolevitt.com>,TracyGao<tracygao@quinnemanuel.com>,StephenBroome
<stephenbroome@quinnemanuel.com>,AndrewSchapiro<andrewschapiro@quinnemanuel.com>
Subject:Calhounv.GoogleͲBriefUpdatereSearchRequestsandGoogleProduction

SpecialMasterBrushandMr.Schmidt,

           Case 4:20-cv-05146-YGR              Document 748-2           Filed 07/01/22       Page 192 of 227

Asyouareaware,GooglemadeaproductionofPlaintiffdataafterCOBlastnight.Weappreciatetheproduction.
Plaintiffs’vendorisuploadingthedocumentsnow.WewillreviewasquicklyaspossibleandprovideanupdateMaster
totheextentitresolvesanyoutstandingissues.

Inaddition,totheextentthereisanyconfusionabout“searchterms,”Plaintiffs’submissionoflastFridayidentified(1)
thelogsources,(2)theidentifiers,and(3)thetimeperiodsforwhichPlaintiffsrequestedsearchesoftheirowndata.
Thissubmissionwasconsistentwithourunderstandingandpastpracticeinthisprocess.Toourrecollection,itisnearly
thesamemethodwerequestedthefirstroundofsearches.Theonlydifferencethistimeisthatwespecified,inwriting,
thatwerequestedthelogsourcesbesearchedforthedurationoftheirretentionperiods.Wespecificallyrequestthat
Googlenotimposeanarbitrarytimelimitsuchthatitwouldleadtonullresultsasitdidwiththefirstroundrequests.

IfGoogleseeksreͲsubmissionoftheidentifierswehavepreviouslyprovided–andforwhichtheyhavepreviously
searched,wewilldoso.Weapologizeifmorewasnecessarythanthatwhichhasbeendoneinthepast–and,ifthatis
thecase,askfortheSpecialMaster’sguidance.

Sincerely,
JayBarnes






                                           
-D\%DUQHV
2QH&RXUW6WUHHW$OWRQ,/
3K
MD\EDUQHV#VLPPRQVILUPFRP

ThiseͲmailandanyfilestransmittedwithitareprivilegedandconfidential,andtheyareintendedsolelyfortheuseof
theintendedrecipient(s).Ifyouarenotanintendedrecipient,youshouldnotifythesenderimmediately,deletethiseͲ
mailandanyfilestransmittedwithitfromyoursystem,anddestroyorreturnallcopies.
ThiseͲmailandanyfilestransmittedwithitareprivilegedandconfidential,andtheyareintendedsolelyfortheuseof
theintendedrecipient(s).Ifyouarenotanintendedrecipient,youshouldnotifythesenderimmediately,deletethiseͲ
mailandanyfilestransmittedwithitfromyoursystem,anddestroyorreturnallcopies.
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 193 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
         Case 4:20-cv-05146-YGR                     Document 748-2             Filed 07/01/22            Page 194 of 227



          quinn emanuel trial lawyers | washington, dc
         1300 I Street NW, Suite 900, Washington, District of Columbia 20005-3314 | TEL (202) 538-8000 FAX (202) 538-8100



                                                                                                        :5,7(5 6',5(&7',$/12
                                                                                                                    

                                                                                                        :5,7(5 6(0$,/$''5(66
                                                                                               MRVHIDQVRUJH#TXLQQHPDQXHOFRP



    $SULO


    +,*+/<&21),'(17,$/63(&,$/0$67(5$1'$77251(<¶6(<(621/<
    
    9,$(0$,/
    
    6SHFLDO0DVWHU'RXJODV%UXVK
      GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    7LPRWK\6FKPLGW
      WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    -D\%DUQHV
    6LPPRQV+DQO\&RQUR\//&
    0DGLVRQ$YHWK)ORRU
    1HZ<RUN1<

    5H     &DOKRXQHWDOY*RRJOH//&±86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI&DOLIRUQLD6DQ
             -RVH'LYLVLRQ&DVH1RFY
    
    'HDU6SHFLDO0DVWHU%UXVK0U6FKPLGW&RXQVHO

           *RRJOH LV KHUHE\ SURYLGLQJ DGGLWLRQDO UHVXOWV RI WKH UHTXHVWHG VHDUFKHV IRU LQIRUPDWLRQ
    DVVRFLDWHGZLWKWKHVHDUFKWHUPVFRRNLHYDOXHVSURYLGHGE\FRQVHQWLQJ3ODLQWLIIVDQG3ODLQWLIIV¶
    H[SHUW'U6KDILTRQ$SULO

            )LUVW*RRJOHKDVFRPSOHWHGVHDUFKHVDFURVVDOOVHOHFWHG6DZPLOO$GVORJVXVLQJLGHQWLILHUV
    SURYLGHG E\ FRQVHQWLQJ 3ODLQWLIIV DQG 'U 6KDILT IRU WKH UHTXHVWHG WLPH SHULRGV DQG LV KHUHE\
    SURYLGLQJWKHORJUHFRUGVWKDWGRQRWFRQWDLQFRQILGHQWLDOWKLUGSDUW\LQIRUPDWLRQ6HHIROGHUZLWK
    ILOHQDPH³&DOKRXQY*RRJOH±                $GV/RJ'DWD±$(2´%HORZLVDOLVWRIWKH
    VHDUFKHG         $GVORJV

                  x                         



          quinn emanuel urquhart & sullivan, llp
          LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE | BOSTON | SALT LAKE CITY
           LONDON | TOKYO | MANNHEIM | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH | SHANGHAI | PERTH | STUTTGART
    Case 4:20-cv-05146-YGR              Document 748-2               Filed 07/01/22   Page 195 of 227





           x                        

           x                    

           x                                            

           x                                                

           x                                                         

           x                                

           x                                        

           x                    

           x                                    

           x                            

           x                                                     

        6HFRQG*RRJOHZLOOEHSURYLGLQJGDWDIURPVHOHFWHG             FRUSRUDDVVRRQDV
SUDFWLFDEOH

        7KLUG DV FRPPXQLFDWHG GXULQJ YDULRXV 6SHFLDO 0DVWHU KHDULQJV *RRJOH ZLOO
SURGXFH ORJ UHFRUGV WKDW FRQWDLQ FRQILGHQWLDO WKLUGSDUW\ GDWD RQFH WKH LPSOLFDWHG
SXEOLVKHUVKDYHKDGUHDVRQDEOHQRWLFH ,QRUGHUWRPLQLPL]HXQGXHEXUGHQ *RRJOHZLOO
LQLWLDWHWKHWKLUGSDUW\QRWLILFDWLRQSURFHVVRQFH*RRJOHKDVDOLVWRILPSOLFDWHGSXEOLVKHUV
IRUERWK&DOKRXQDQG%URZQ3ODLQWLIIV¶ILQDOURXQGRIVHDUFKHVXQGHUWKH6SHFLDO0DVWHU
SURFHVV

6LQFHUHO\

48,11(0$18(/8548+$57 68//,9$1//3



                            

-RVHI$QVRUJH

-$




                                                           
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 196 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
         Case 4:20-cv-05146-YGR                     Document 748-2             Filed 07/01/22            Page 197 of 227



          quinn emanuel trial lawyers | washington, dc
         1300 I Street NW, Suite 900, Washington, District of Columbia 20005-3314 | TEL (202) 538-8000 FAX (202) 538-8100



                                                                                                        :5,7(5 6',5(&7',$/12
                                                                                                                    

                                                                                                        :5,7(5 6(0$,/$''5(66
                                                                                               MRVHIDQVRUJH#TXLQQHPDQXHOFRP



    $SULO


    +,*+/<&21),'(17,$/63(&,$/0$67(5$1'$77251(<¶6(<(621/<
    
    9,$(0$,/
    
    6SHFLDO0DVWHU'RXJODV%UXVK
      GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    7LPRWK\6FKPLGW
      WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF 
    $FFHO&RQVXOWLQJ//&
    
    -D\%DUQHV
    6LPPRQV+DQO\&RQUR\//&
    0DGLVRQ$YHWK)ORRU
    1HZ<RUN1<

    5H     &DOKRXQHWDOY*RRJOH//&±86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI&DOLIRUQLD6DQ
             -RVH'LYLVLRQ&DVH1RFY
    
    'HDU6SHFLDO0DVWHU%UXVK0U6FKPLGW&RXQVHO

           *RRJOH LV KHUHE\ SURYLGLQJ DGGLWLRQDO UHVXOWV RI WKH UHTXHVWHG VHDUFKHV IRU LQIRUPDWLRQ
    DVVRFLDWHGZLWKWKHVHDUFKWHUPVFRRNLHYDOXHVSURYLGHGE\FRQVHQWLQJ3ODLQWLIIVDQG3ODLQWLIIV¶
    H[SHUW'U6KDILTRQ$SULO

           )LUVW*RRJOHKDVFRPSOHWHGVHDUFKHVDFURVVDOOVHOHFWHG          FRUSRUDDQGLVKHUHE\
    SURYLGLQJVHDUFKUHVXOWV6HHIROGHUZLWKILOHQDPH³&DOKRXQY*RRJOH±           ±
    $(2´

           6HFRQGDVFRPPXQLFDWHGGXULQJYDULRXV6SHFLDO0DVWHUKHDULQJV*RRJOHZLOOSURGXFHORJ
    UHFRUGV WKDW FRQWDLQ FRQILGHQWLDO WKLUGSDUW\ GDWD RQFH WKH LPSOLFDWHG SXEOLVKHUV KDYH KDG
    UHDVRQDEOH QRWLFH ,Q RUGHU WR PLQLPL]H XQGXH EXUGHQ *RRJOH ZLOO LQLWLDWH WKH WKLUGSDUW\



          quinn emanuel urquhart & sullivan, llp
          LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE | BOSTON | SALT LAKE CITY
           LONDON | TOKYO | MANNHEIM | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH | SHANGHAI | PERTH | STUTTGART
    Case 4:20-cv-05146-YGR        Document 748-2       Filed 07/01/22     Page 198 of 227





QRWLILFDWLRQSURFHVVRQFH*RRJOHKDVDOLVWRILPSOLFDWHGSXEOLVKHUVIRUERWK&DOKRXQDQG%URZQ
3ODLQWLIIV¶ILQDOURXQGRIVHDUFKHVXQGHUWKH6SHFLDO0DVWHUSURFHVV

6LQFHUHO\

48,11(0$18(/8548+$57 68//,9$1//3



                          

-RVHI$QVRUJH

-$




                                              
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 199 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR    Document 748-2 Filed 07/01/22   Page 200 of 227
                                    CONFIDENTIAL

 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4
 5      Case No. 5:20-cv-05146-LHK-SVK
 6
 7      PATRICK CALHOUN, et al., on behalf of                        |
 8      themselves and all others similarly situated,                |
 9                            Plaintiffs,                            |
10            v.                                                     |
11      GOOGLE LLC,                                                  |
12                            Defendant.                             |
13      _______________________________________________|
14
15                             ***CONFIDENTIAL***
16
17                       Special Masters Hearing
18                               April 2, 2022
19
20
21
22
23
24
25

                                                                     Page 1

                                   Veritext Legal Solutions
                                        866 299-5127
Case 4:20-cv-05146-YGR             Document 748-2 Filed 07/01/22                    Page 201 of 227
                                        CONFIDENTIAL
  1 probability that's concerning enough that there        1 process, preserving our rights for the rest of
  2 could be problems with long (indiscernible).           2 the data in discovery.
  3        That being said, you know, I feel that          3         MR. BRUSH: Understood. And that --
  4 this process is at least going to give you             4         MR. SHAPIRO: And your silence doesn't
  5 something in a very short period of time within        5 necessary doesn't mean we necessarily agree with
  6 the discovery timeframe. And we need to review         6 Mr. Straite's characterization about everything,
  7 those results and make further determinations.         7 but I think we're fine for today.
  8        But really, the goal of this is to              8         MR. BRUSH: Thank you, Mr. Shapiro.
  9 finish the process and give you some high-             9 And I would say there is a lot to unpack from Mr.
 10 fidelity data to be able to give you insight into     10 Straite's last statement, and not in anything
 11 what your discovery needs are. So I just wanted       11 that's negative. But the key point being is the
 12 to go on the record with that.                        12 litigation house historically preserved data is a
 13        MR. STRAITE: Okay.                             13 separate bucket that has some nuance and
 14        MR. BRUSH: Again, it's not meant to            14 circumstances around it.
 15 curtail the discovery in any fashion.                 15         What we're talking about is search and
 16        MR. SHAPIRO: And just for the record,          16 production data in the Google environment for
 17 to the extent that we have had objections during      17 Plaintiffs' information that is in that data
 18 this process, thinking that the demands made upon     18 corpus. And so when we're bifurcating these two
 19 us go beyond what is legally required, we don't       19 different types of data areas, there's nuance and
 20 intend to waive any of those as well. Whatever        20 different ways that we need to search it. And
 21 record we've made in the past, if we are              21 that's what we're looking at now is how to go
 22 compromising, we're still protecting our              22 back and look for more of the -- and again, we
 23 objections as well. Thank you.                        23 started, I think, early using the words
 24        MR. STRAITE: And Special Master Brush,         24 historical data, and then unfortunately it does
 25 we appreciate -- what you had said just now, I        25 apply in two different areas, but this is the
                                                 Page 6                                                    Page 8

  1 think, dovetails exactly with what our position        1 historical data in the production systems, not
  2 is. You said this is not intended to curtail our       2 the litigation whole system. So we want to be
  3 rights n discovery. Instead, you are asking us         3 able to search this production data with the
  4 to be reasonable regarding the search process.         4 Plaintiffs' data in a reasonable way.
  5 We, as Plaintiffs, thought it was smarter to get       5         So, Mr. Straite, again, I want to hear
  6 all of the historically preserved Plaintiffs'          6 where your concerns are about the (indiscernible)
  7 data to inform future searches. We understand          7 necessary target would be five-day search breakup
  8 that's been rejected. You said the perfect is          8 of searches over several months, so we kind of
  9 the enemy of the good.                                 9 have where your concerns are.
 10         We get that for the search process and        10         MR. STRAITE: Perfect. Thank you so
 11 we're working towards a compromise to shut it         11 much. And we appreciate this opportunity to talk
 12 down for the search process, while at the same        12 about the concerns. When we heard the proposals
 13 time as Leslie did, we're protecting our rights       13 back in February for choosing some five-day
 14 to get the full dataset in discovery, not for the     14 windows to look for Plaintiff data, we understood
 15 purpose of informing future searches months down      15 that back in February to be the start of the
 16 the road, because we know that's not happening.       16 process, okay, we'll choose a few random windows;
 17 But that would be a separate discovery issues,        17 maybe with luck, that would be sufficient, or
 18 the production of that data.                          18 more likely it would narrow the scope of further
 19         So today we're focused on shutting            19 searches. It would be step one, and maybe there
 20 down, finishing the search process, getting as        20 would only be step two. We had no idea. We
 21 much data as we can to inform that. We get that       21 thought that was sensible at the time.
 22 we won't get all of the historically preserved        22         But now that it's April 1, our concern
 23 data today. As much as we can get that's              23 is, read from Ms. Gao's email and I don't know
 24 reasonable to make final determinations of what       24 what was intended, this prior proposal of a few
 25 the searches will be, we'll be grateful for the       25 five-day windows would no longer be step one, but
                                                 Page 7                                                    Page 9

                                                                                                3 (Pages 6 - 9)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR              Document 748-2 Filed 07/01/22                    Page 202 of 227
                                         CONFIDENTIAL
  1 Google and try to do it through Google. But I           1         MR. BRUSH: So for that, we just need
  2 felt like we weren't going to be able to find a         2 the search criteria again -- and I apologize if
  3 different solution. But you should --                   3 I've lost track of that too. Is that something
  4         MR. STRAITE: Thank you. We appreciate           4 that -- back it this way -- Google, that's
  5 that --                                                 5 something you still need from Plaintiffs, the
  6         MR. ANSORGE: -- (indiscernible).                6 search parameters for the historically preserved,
  7         MR. STRAITE: And that puts the two              7 like litigation (indiscernible) data?
  8 weeks in context, and we do appreciate it. We           8         MR. ANSORGE: Yes. That's something we
  9 thank you for that compromise. And we know              9 would still require.
 10 that's a lot of publishers. So the two weeks           10         MR. STRAITE: And we --
 11 does make sense.                                       11         MR. BRUSH: Okay. So for Plaintiffs,
 12         My question was, the two weeks, is that        12 if you could put --
 13 just the process to notify      publishers, or         13         MR. ANSORGE: Or Ms. Gao should correct
 14 does that also include the waiting period that         14 me if I'm wrong. But I don’t think it's in
 15 you think is sufficient? We would --                   15 Exhibit B right now. I guess I'm not wrong.
 16         MR. ANSORGE: So I think --                     16 Yes. Sorry, we require that, yes.
 17         MR. STRAITE: (indiscernible)                   17         MR. BRUSH: Okay. So if -- Plaintiffs'
 18         MR. ANSORGE: So I think we're                  18 you can put together just as you've done with
 19 (indiscernible) here. Now I'm convinced we're          19 everything else the search requests that will be
 20 speaking about two different things, Mr. Straite.      20 against the historically preserved litigation
 21         MR. STRAITE: Yeah.                             21 held data, we'll, you know (indiscernible) put it
 22         MR. ANSORGE: There's publisher notice          22 over to Google and we can run those searches;
 23 that's required for your nest round of searches.       23 again, what's responsive. Because this is all
 24         MR. STRAITE: Yeah, I see.                      24 stuff that theoretically will have some consent -
 25         MR. ANSORGE: We were referring to that         25 - you know, what -- each one of the records that
                                                 Page 46                                                  Page 48

  1 for the two-week approach. Now, our hope would          1 you can hit on will require that notification, a
  2 be that all publisher notices would be wrapped up       2 consent will go out, and then hopefully we'll
  3 in one exercise. But our understanding from the         3 have it sooner than two weeks (indiscernible) --
  4 Special Master is that the historically preserved       4 it can go up to two weeks.
  5 sources would have to be searched according to          5         MR. STRAITE: Okay. And again, with
  6 the same process. So to the extent they are not         6 the readmitted request, we thought the answer was
  7 included in Plaintiffs' current search requests,        7 yes to our request, that when these notices go
  8 then they would not be included.                        8 out, if we could get copies, if it's an exemplar
  9        MR. STRAITE: Do you have a sense of              9 that's identical, we would just need the exemplar
 10 how many publishers need to be notified for the -      10 to see what the communications are to the
 11 -                                                      11 publishers.
 12        MR. ANSORGE: No.                                12         [OVERLAPPING SPEAKERS]
 13        MR. STRAITE: -- second process?                 13         MR. SHAPIRO: I think we said no on
 14        MR. ANSORGE: No, because -- well, we            14 that.
 15 have to run the IDs over the sources so that we        15         MR. ANSORGE: Yeah, that's what my
 16 understand --                                          16 recollection too.
 17        MR. STRAITE: Okay. We got it. Okay.             17         MR. BRUSH: I think my (indiscernible)
 18        MR. BRUSH: And so once this -- so               18 on that is no. Yeah, no, at this point that's
 19 think about this (indiscernible). Once it's a          19 not part of the process that we need. I've never
 20 responsive record -- so if a responsive record         20 seen that --
 21 has a third-party set of data that requires            21         MR. STRAITE: Okay. It's not a -- it
 22 consent, then the notification goes out. So it's       22 wouldn’t be, I think, something that would hold
 23 to only notifying those that are responsive to         23 up searches. It's certainly something that we
 24 the searches to reduce the burden.                     24 have an outstanding discovery request, and we can
 25        MR. STRAITE: Okay.                              25 discuss that with the Magistrate. For reasons
                                                 Page 47                                                  Page 49

                                                                                            13 (Pages 46 - 49)
                                         Veritext Legal Solutions
                                              866 299-5127
Case 4:20-cv-05146-YGR            Document 748-2 Filed 07/01/22                 Page 203 of 227
                                       CONFIDENTIAL
  1 not relevant to the search process, but            1         MS. WEAVER: Have a good weekend.
  2 absolutely relevant to the litigation and to the   2         MR. BRUSH: -- everybody on this. So
  3 merits. There are reasons why that's important. 3 just to recap, we're -- I think everybody's good
  4        MR. BRUSH: Okay. Yeah. And I think 4 on the (indiscernible) items. Does anybody want
  5 that's an appropriate venue for this, as opposed   5 to reply back Mr. Straite's email with stuff,
  6 to the Special Master process. I would direct      6 other side, just to recapture things, so we have
  7 that to the Magistrate Judge.                      7 an agreement on where we are going forward would
  8        MR. STRAITE: We will. Thank you.            8 be excellent, just so we have a paper trail of
  9        MR. ANSORGE: Yeah. And we would 9 it.
 10 appreciate, Mr. Straite, if you -- it doesn't     10         MR. STRAITE: Yeah, so I know we have a
 11 have to be now, but at some point identify the 11 lot on the Plaintiffs' side, this one call, where
 12 discovery requests for us, just so that we know 12 a lot falls on us. Number one, we're conferring
 13 what you're referring to.                         13 with Dr. Shafiq. We're going to propose five-day
 14        MR. STRAITE: It's right now my request 14 windows. We appreciate the flexibility to go a
 15 -- we've made the request in the past, but if you 15 little bit beyond four five-day windows. We'll
 16 need us to link it to a specific RFP, we can.     16 look to maybe target a month in batches, and then
 17        MR. ANSORGE: Oh, sorry. I                  17 maybe some periods in subsequent months. We'll
 18 misunderstood you, then. I thought you were       18 talk to them about the smartest way to do that,
 19 saying that there had been some... Yeah.          19 based on our understanding of preservation
 20        MR. STRAITE: Yeah, the request is --       20 period, based on Plaintiff activity. We'll try
 21        MR. ANSORGE: Apologies.                    21 to get a smart proposal together.
 22 (indiscernible)                                   22         We're also going to look at the chart
 23        MR. STRAITE: Okay. Thanks. Okay. 23 from last Friday, the previous Friday, and other
 24 This has been very useful. I think this is        24 communications, to make sure that we are signed
 25 probably the most productive I've been on and so 25 off on the data sources that will be searched
                                               Page 50                                              Page 52

  1 maybe that's just a function of it being spring  1 using the ZWBK IDs.
  2 and everybody in a good mood as the weather -- 2          We're also going to make sure that we
  3        MS. WEAVER: I think it's because --       3 have three days for the Stark Family test account
  4        MAN: Yeah.                                4 to Dr. Shafiq should be run prior to then the
  5        MS. WEAVER: -- because the                5 date of being pulled, which looks like we're now
  6 (indiscernible) firm came in the room.           6 targeting Tuesday or Wednesday for that being
  7        MR. BRUSH: (indiscernible)                7 done, but we'll confirm with him that he's
  8        MR. ANSORGE: And I think it's because 8 available to get his machines running for the
  9 we weren't joined by somebody else too. That's 9 next three days.
 10 my theory, but...                               10        And then finally, it's the searches for
 11        [OVERLAPPING SPEAKERS]                   11 across the historically preserved data for which
 12        MR. STRAITE: Oh, don't talk about --     12 notice is required. You're asking for additional
 13        MS. WEAVER: Do we know --                13 search parameters. That's over Plaintiffs'
 14        MR. STRAITE: -- Viola like that.         14 objections. We believe the whole dataset should
 15        MS. WEAVER: -- stepped into that, and 15 be produced, but we understand that for the
 16 that is just rude.                              16 search process for the Special Master, is an
 17        MR. STRAITE: Viola will not appreciate 17 interim step which we're agreeing to do,
 18 that. She's a nice person. I can't believe you  18 preserving our right to get the entire dataset
 19 said that. I like --                            19 through the Magistrate. And then we're also
 20        MR. ANSORGE: Okay, thank you all.        20 deferring to the Magistrate regarding our request
 21        MR. STRAITE: All right. Thanks,          21 for a copy of the notice going to the publishers.
 22 everyone.                                       22        And I think that's a lot to do this
 23        [OVERLAPPING SPEAKERS]                   23 weekend. So we're going to be working today and
 24        MR. BRUSH: Well, I really appreciate - 24 tomorrow with that. Did I misstate...? What's
 25 -                                               25 the old joke about, you know, a priest commits
                                               Page 51                                              Page 53

                                                                                       14 (Pages 50 - 53)
                                        Veritext Legal Solutions
                                             866 299-5127
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 204 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 205 of 227




                     $1625*(
                     EXHIBIT 

                    6HDOHGLQLWV
                     (QWLUHW\
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 206 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
    Case 4:20-cv-05146-YGR            Document 748-2          Filed 07/01/22      Page 207 of 227

BLEICHMAR FONTI & AULD LLP   DICELLO LEVITT GUTZLER LLC                   SSIMMONS HANLY CONROY LLC
      th
555 12 STREET, SUITE 1600    ONE GRAND CENTRAL PLACE                       112 MADISON AVENUE, 7TH FL.
OAKLAND, CA 94607          60 EAST 42nd STREET, SUITE 2400                        NEW YORK, NY 10016
                                NEW YORK, NY 10165


                                            0DUFK

  9,$(/(&7521,&0$,/
  6SHFLDO0DVWHU'RXJODV%UXVK
  GRXJODVEUXVK#DFFHOFRQVXOWLQJOOF
  7LPRWK\6FKPLGW
  WLPRWK\VFKPLGW#DFFHOFRQVXOWLQJOOF

          5H    &DOKRXQY*RRJOH//&1RFY/+.69. 1'&DO 
                  Plaintiffs Letter re: Preservation Proposals 

                  7+,6/(77(55()(5(1&(60$7(5,$/7+$7+$6%((1
                 '(6,*1$7('&21),'(17,$/25+,*+/<&21),'(17,$/

  'HDU6SHFLDO0DVWHU%UXVKDQG0U6FKPLGW

          *RRJOHKDVSURSRVHGVDPSOLQJVRPHUHOHYDQWGDWDDQGEHLQJUHOLHYHGRIWKHREOLJDWLRQWR
  SUHVHUYH WKH UHPDLQLQJ GDWD %XW VDPSOLQJ LV QRW DFFHSWDEOH LQ DQ\ OLWLJDWLRQ ZLWKRXW DQ
  DFFRPSDQ\LQJVWLSXODWLRQLHWKDWWKHIDLOXUHWRSUHVHUYHGDWDRXWVLGHWKHVDPSOHZLOOQRWEHD
  EDVLVWRDUJXHDJDLQVWFODVVPHPEHULGHQWLILFDWLRQRUTXDQWLILFDWLRQRIGDPDJHV:LWKRXWVXFKDQ
  DJUHHPHQW 3ODLQWLIIV FDQQRW SRVVLEO\ DJUHH WR *RRJOH¶V VDPSOLQJ SURSRVDO  )XUWKHUPRUH WKH
  VDPSOHPXVWEHFDUHIXOO\GHVLJQHGWRHQVXUHWKDWDSURSHUO\UHSUHVHQWDWLYHVDPSOHLVGHILQHG

        *RRJOH KDV DQ REOLJDWLRQ WR LPSOHPHQW D SODQ WKDW ZLOO SUHVHUYH WKH IROORZLQJ GDWD
  HOHPHQWVRQDFODVVZLGHEDVLV


               '$7$(/(0(17672%(35(6(59('21&/$66:,'(%$6,6
           ,GHQWLILHUV±*DLD=ZLHEDFNDQG%LVFRWWL RURWKHUVVXFKDV,3DGGUHVVDQGXVHU
             DJHQW
           1RWV\QFHGEURZVHUVWDWXVLQFOXGLQJ6LJQHG,Q%XW1RW&RQVHQWHGIRU6\QF%DVLF
             %URZVHUDQG*XHVW0RGHV
           )UHTXHQF\DQGFRQWHQWRIFRPPXQLFDWLRQVVHQWLQWKHQRWV\QFHGVWDWHZKLFKFDQ
             EHFDSWXUHGYLD85/VUHIHUHUKHDGHUVDQGWKHFRQWHQWRIIRUPVDQGEXWWRQVFOLFNHG
             LQWKHSD\ORDGRI*(7RU3267UHTXHVWV
           8VHUSURILOHLQIRUPDWLRQWKDW*RRJOHDVVRFLDWHGZLWKWKHXVHURUFRPPXQLFDWLRQ
           5HYHQXHLQIRUPDWLRQDVVRFLDWHGZLWKWKHFRPPXQLFDWLRQ
           /RFDWLRQ
                 D ,GHQWLI\LQJZKHWKHUWKHFODVVPHPEHULVLQWKH86DQGRU&DOLIRUQLDDQG
                 E ,GHQWLI\LQJZKHWKHUWKHZHEVLWHSXEOLVKHURULWVVHUYHULVLQ&DOLIRUQLD
    Case 4:20-cv-05146-YGR                Document 748-2             Filed 07/01/22           Page 208 of 227

                                                                                         

6SHFLDO0DVWHU'RXJODV%UXVK                                                     SIMMONS HANLY CONROY LLC
0DUFK                                                                      DICELLO LEVITT GUTZLER LLC
3DJH                                                                            BLEICHMAR FONTI & AULD LLP


       3ODLQWLIIVGRQRWQRZDQGKDYHQHYHUDVNHGWKDW*RRJOHSUHVHUYHHYHU\WKLQJ:HRQO\DVN
WKDW*RRJOHSUHVHUYHWKHDERYHLGHQWLILHGQDUURZVOLFHRIUHOHYDQWGDWDEXWRQDIXOOFODVVZLGH
EDVLV7RWKDWSRLQW*RRJOHLVFRUUHFWWKDW3ODLQWLIIVKDYHQRWSUHVHQWHGDVSHFLILFSODQIRUKRZWR
LPSOHPHQWWKLV7KHUHDVRQLVWKDW3ODLQWLIIVDUHVWLOOZDLWLQJRQ*RRJOHWRSURGXFHWKH3ODLQWLII
GDWDWKDWZDVUHTXHVWHGLQ$XJXVWDQGRUGHUHGWREHSURGXFHGLQ$SULODIWHUPRWLRQWR
FRPSHOEULHILQJ,WLVHVVHQWLDOWRVHHZKDW*RRJOHDOUHDG\SUHVHUYHGIRUWKH3ODLQWLIIVWRGHWHUPLQH
WKHPRVWVHQVLEOHZD\WRSUHVHUYHGDWDIRUWKHFODVV

       3ODLQWLIIVSURSRVHWKHIROORZLQJZD\V*RRJOHFRXOGPHHWLWVSUHVHUYDWLRQREOLJDWLRQV

     *RRJOH¶VSUHVHUYDWLRQSURSRVDOLVDQDGPLVVLRQWKDWLWLVFDSDEOHRILGHQWLI\LQJ1RW
        6\QFHG XVHU FRPPXQLFDWLRQV DQG WKDW LWV UHIXVDOIDLOXUH WR GR VR WR GDWH LV D
        NQRZLQJ FKRLFH )RU WKH SUHVHUYDWLRQ SURSRVDO 3ODLQWLIIV DUH ZLOOLQJ WR GLVFXVV
        FUHDWLRQRIDPHWKRGIRU*RRJOHWRLGHQWLI\KLVWRULFDO1RW6\QFHGFRPPXQLFDWLRQV
        IRUVSHFLILFXVHUVDQGUHYHQXHVDVVRFLDWHGZLWKWKHPLQLWVH[LVWLQJVWRUDJHV\VWHPV
        YLDWKHPHWKRGVGHVFULEHGLQWKH5HEXWWDO5HSRUWRI'U6KDILTDWDQG
         3ODLQWLIIV UHTXHVW WKDW *RRJOH ZRUN ZLWK 3ODLQWLIIV WR GHVLJQ D V\VWHP
        XVLQJ'U6KDILT¶VPHWKRGV RUVLPLODUPHWKRGV WKDWFDQEHGHSOR\HGGXULQJFODLPV
        DGPLQLVWUDWLRQ
        
     &UHDWHD'R1RW6\QF '16RU;1RW6\QFHG VLJQDOWKDW*RRJOHFDQVWRUHLQLWV
        H[LVWLQJ ORJV 6HH 6KDILT 5HEXWWDO 'HFO   7KLV VLJQDO FRXOG RSHUDWH
        VLPLODUWRWKHH[LVWLQJ³'R1RW7UDFN´RU'17VLJQDOWKDWDXVHUFDQVHWZLWKLQWKH
        &KURPHEURZVHU*RRJOHFDQUHDGLO\GHILQHDQHZFXVWRP+773KHDGHUVLPLODUWR
        LWV;FOLHQWGDWDKHDGHURUVLPSO\LQFRUSRUDWHWKH'16VLJQDOLQLWV;FOLHQWGDWD
        KHDGHU 6LPLODU WR KRZ *RRJOH SRSXODWHV ;FOLHQWGDWD KHDGHU EDVHG RQ YDULRXV
        H[SHULPHQWVD&KURPHEURZVHULQVWDQFHLVSDUWRI'16VLJQDOZLOOEHSRSXODWHG
        EDVHGRQWKHORFDOEURZVHUVWDWHRI&KURPH6\QF'16FRXOGEHDELQDU\VLJQDO±
        LH ZKHQ 6\QF LV HQDEOHG  RU )DOVH  ZRXOG EH VHQW WR *RRJOH¶V VHUYHUV
        2WKHUZLVH  RU 7UXH  ZRXOG EH VHQW WR *RRJOH¶V VHUYHUV '16 FRXOG EH PRUH
        JUDQXODUVLJQDOZKHUHIRUH[DPSOHLQIRUPDWLRQVXFKDVZKHWKHU&KURPHEURZVHU
        LVLQ*XHVWPRGH%DVLFPRGH6LJQHGLQEXWQRWFRQVHQWHGIRU6\QFRU6\QFHG
        PRGH DQGWKHUHLQZKHWKHU6\QFZDVXVHGIRUGLIIHUHQWFDWHJRULHVRIGDWDVXFKDV
        EURZVLQJKLVWRU\ERRNPDUNVRSHQWDEVHWF FDQEHHQFRGHG
        
     3UHVHUYH VXIILFLHQW H[LVWLQJ ORJV ZLWK WKH GDWD HOHPHQWV LGHQWLILHG DERYH 7KHVH
        ZRXOGLQFOXGH
             D ,GHQWLILHUV LQWKHLUGHFU\SWHGDQGQRQKDVKHGIRUP 
             E 6\QFVHUYHUORJV
                                 

 3ODLQWLIIVVWDWHWKHREYLRXVWKLVLVDSUHVHUYDWLRQSURSRVDO)RUHYHQWXDOLQMXQFWLYHUHOLHISXUSRVHV*RRJOHVKRXOG
VWRSVHQGLQJQRWV\QFHGXVHUV¶SHUVRQDOLQIRUPDWLRQWR*RRJOHZLWKRXWDXWKRUL]DWLRQ
    Case 4:20-cv-05146-YGR         Document 748-2          Filed 07/01/22       Page 209 of 227

                                                                           

6SHFLDO0DVWHU'RXJODV%UXVK                                        SIMMONS HANLY CONROY LLC
0DUFK                                                         DICELLO LEVITT GUTZLER LLC
3DJH                                                               BLEICHMAR FONTI & AULD LLP


           F            ORJV
           G %DFNHQGORJVWKDWFRQWDLQUHYHQXHSURILOHDGVDQGFRPPXQLFDWLRQV
              FRQWHQWDVVRFLDWHGZLWKWUDQVPLVVLRQVWR*RRJOH$GV'RXEOHFOLFN
              $QDO\WLFVDQGDQ\RWKHU*RRJOHSURGXFWIURPZKLFK*RRJOHGHULYHV
              SURILWVLQZKROHRULQSDUWIURPWUDFNLQJQRWV\QFHGXVHUVRQQRQ
              *RRJOHZHEVLWHVE\HQULFKLQJXVHUSURILOHVDQG
           H ,3DGGUHVVLQIRUPDWLRQRIXVHUVDQGSXEOLVKHUVVXIILFLHQWWRLGHQWLI\
              ORFDWLRQ

        3ODLQWLIIVDJUHHZLWK*RRJOHWKDWXVHU:LSHRXWLQVWUXFWLRQVVKRXOGEHKRQRUHG+RZHYHU
WKRVHXVHUVZKRDVN*RRJOHWRGHOHWHWKHGDWDWKDWZRXOGLGHQWLI\WKHPDVFODVVPHPEHUVVKRXOG
EHQRWLILHGRIWKLVSHQGLQJDFWLRQDQGJLYHQWKHRSSRUWXQLW\WRVHOHFWWKDWWKHLUGDWDEHSODFHGLQWR
DSUHVHUYHGORJIRUODWHUXVHLQDFODLPVDGPLQLVWUDWLRQSURFHVV7KLVQRWLFHPXVWEHVXEMHFWWR
FRXUWVXSHUYLVLRQDVUHTXLUHGE\)HG5&LY3 G 

       ,QDGGLWLRQ3ODLQWLIIVFDQQRWDJUHHWR*RRJOH¶VDWWHPSWWRVZHHSDZD\LWVSDVWREOLJDWLRQV
2IFRXUVHDQ\SUHVHUYDWLRQSODQZRXOGDSSO\SURVSHFWLYHO\EXWLWZRXOGQRWUHOLHYH*RRJOHRI
LWVREOLJDWLRQWRFXUHLWVSDVWIDLOXUHVWRSUHVHUYH

       )LQDOO\WRWKHH[WHQW*RRJOHFRPSODLQVDERXW3ODLQWLIIV¶ODFNRIVSHFLILFVWKDWLVDSUREOHP
RI*RRJOHPDNLQJ$V3ODLQWLIIVH[SODLQHGLQ2FWREHU

        If true, it is because Google never complied with its disclosure obligations or
        promises. 3ODLQWLIIV¶ H[SHUW RSLQHG LQ )HEUXDU\  WKDW GDWD GLFWLRQDULHV RU
        VFKHPDV FDQ LGHQWLI\ ZKDW LV FRQWDLQHG LQ WKH ORJV DQG WKHUH LV OLWWOH EXUGHQ LQ
        SURGXFLQJLW,Q0DUFKWKH&RXUWDJUHHGRUGHULQJWKHSDUWLHVWRPHHWDQGFRQIHU
        RQ ³D QDUURZ SURGXFWLRQ RI GRFXPHQWV UHIHUHQFHG LQ 'NW   ´ LH GDWD
        GLFWLRQDULHVTXHU\ODQJXDJHVVFKHPDVWDEOHVDWWULEXWHVDQGILHOGV'NW$QG
        *RRJOHWROGWKH&RXUWWKLVWKH\ZHUHQRW³DUHQRWKLGLQJLQDQ\LQDQ\ZD\´ZKHUH
        GDWDLVPDLQWDLQHGDQGWKDWWKLVZDV³DPRUHHIILFLHQWZD\WRJRDERXWLW´0DU
        7U%XW*RRJOHKDVUHMHFWHGDOORI3ODLQWLIIV¶DOWHUQDWLYHVDQGKDVQRW
        SURGXFHGWKHLQIRUPDWLRQWKH&RXUWYLHZHGDVIRXQGDWLRQDOEDFNLQ0DUFK

 3XUVXDQWWRWKH&RXUW¶VLQVWUXFWLRQV3ODLQWLIIVDUHZLOOLQJWRPHHWDQGFRQIHUZLWK*RRJOH

                                                       6LQFHUHO\
                                                     
                                                      
                                                      -D\%DUQHV
                                                      MD\EDUQHV#VLPPRQVILUPFRP
                                                      
    Case 4:20-cv-05146-YGR      Document 748-2   Filed 07/01/22       Page 210 of 227

                                                                 

6SHFLDO0DVWHU'RXJODV%UXVK                             SIMMONS HANLY CONROY LLC
0DUFK                                              DICELLO LEVITT GUTZLER LLC
3DJH                                                    BLEICHMAR FONTI & AULD LLP


                                           /HVOH\:HDYHU
                                           OZHDYHU#EIDODZFRP
                                           
                                           'DYLG6WUDLWH
                                           GVWUDLWH#GLFHOOROHYLWWFRP
                                          
    FFYLDHPDLO                        
                                          
    3ODLQWLIIV¶&RXQVHO                   'HIHQVH&RXQVHO
                                          
    DSURP#GLFHOOROHYLWWFRP               DVFKDSLUR#TXLQQHPDQXHOFRP
    VFUX]#GLFHOOROHYLWWFRP               YWUHELFND#TXLQQHPDQXHOFRP
    DRUQHODV#EIDODZFRP                   MDQVRUJH#TXLQQHPDQXHOFRP
    DWUXRQJ#VLPPRQVILUPFRP               VEURRPH#TXLQQHPDQXHOFRP
    HMRKQVRQ#VLPPRQVILUPFRP              THFDOKRXQ#TXLQQHPDQXHOFRP
    


Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 211 of 227




                     $1625*(
                     EXHIBIT 

         8QUHGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
        Case 4:20-cv-05146-YGR             Document 748-2          Filed 07/01/22       Page 212 of 227

    BLEICHMAR FONTI & AULD LLP        DICELLO LEVITT GUTZLER LLC   SSIMMONS HANLY CONROY LLC
          th
    555 12 STREET, SUITE 1600        ONE GRAND CENTRAL PLACE        112 MADISON AVENUE, 7TH FL.
    OAKLAND, CA 94607              60 EAST 42nd STREET, SUITE 2400         NEW YORK, NY 10016
                                         NEW YORK, NY 10165
                                                                                          
       
                                             -XO\
      
      9,$(/(&7521,&0$,/
      -RVHI$QVRUJH                                 
      4XLQQ(PDQXHO8UTXKDUW 6XOOLYDQ//3
      MRVHIDQVRUJH#TXLQQHPDQXHOFRP
      
             5H &DOKRXQY*RRJOH//&1RFY/+.69. 1'&DO 
                    )ROORZ8SWR-XO\0HHWDQG&RQIHU
             
       'HDU&RXQVHO

           7KLVOHWWHULVWRFRQILUPRXUGLVFXVVLRQVIURPWKHPHHWDQGFRQIHUFDOOUHJDUGLQJXSFRPLQJ
       E  DQGRWKHUGHSRVLWLRQVRI*RRJOHHPSOR\HHV

              )LUVWZHDJUHHGWRZRUNWRJHWKHURQDPXWXDOO\DJUHHDEOHSURWRFROIRU7LP6FKXPDQQ¶V
      GHSRVLWLRQ ZLWK D SURSRVDO IURP 3ODLQWLIIV WKDW WKH GHSRQHQW WUDYHO WR 6ZLW]HUODQG ZKHUH KLV
      GHSRVLWLRQFDQEHWDNHQUHPRWHO\3OHDVHOHWXVNQRZ\RXUSRVLWLRQDVVRRQDVSRVVLEOHVRWKDWZH
      FDQVWDUWFRRUGLQDWLQJRQWKHORJLVWLFV

                6HFRQGUHJDUGLQJ\RXUFOLHQW¶VVHFXULW\FRQFHUQVZLWK*RRJOHUVDFFHVVLQJH[KLELWVKDUH
      ILOHVIURPWKHLU*RRJOHFRPSXWHUV3ODLQWLIIV¶SURSRVHWKDWWKHGHSRQHQWVEHVXSSOLHGZLWKDQRQ
      *RRJOHGHYLFHIRUSXUSRVHVRIWKHGHSRVLWLRQ3OHDVHOHWXVNQRZRQFH\RXFRQILUPWKLVZLWK\RXU
      FOLHQW

            7KLUG\RXFRQILUPHGWKDWIRUWKHWZRVFKHGXOHG*RRJOHGHSRVLWLRQV$XJXVWDQG
      $XJXVWWKRVHZRXOGRFFXUHQWLUHO\UHPRWHO\

              )RXUWKZHGLVFXVVHGLGHQWLILFDWLRQRIWKHGHSRQHQWIRUWKH$XJXVW E  :KLOH
      \RXZHUHQRWSUHSDUHGWRLGHQWLI\WKHGHSRQHQWDWWKLVWLPH\RXGLGFRQILUPWKDWVKHZLOOEHRQ
      WKHHDVWFRDVWDQGDYDLODEOHWRVWDUWHDUO\PRUQLQJ:LWKUHVSHFWWRLGHQWLILFDWLRQ\RXDJUHHGWR
      SURYLGHWKHQDPHRIWKH E  GHSRQHQWDVVRRQDVFRQILUPHG:HDSSUHFLDWHWKHFRXUWHV\

             )LIWKZLWKUHVSHFWWRRXU-XO\OHWWHUUHTXHVWIRUSURGXFWLRQRIGRFXPHQWV\RX
      DJUHHGWRUHVSRQGLQZULWLQJWRHDFKRIWKHFDWHJRULHVRIGRFXPHQWVIRUZKLFKZHUHTXHVWHG
      FRQILUPDWLRQRISURGXFWLRQLQDGYDQFHRIWKH E  GHSRVLWLRQ

              6L[WK ZLWKUHTXHVW WR RXU-XO\ OHWWHUUHTXHVW IRUSURGXFWLRQRI SURWRVDQGGDWD
      GLFWLRQDULHV ZH SURYLGHG \RX ZLWK *22*&$/+ DV DQ H[DPSOH RI WKH W\SH RI
      GRFXPHQWIRUZKLFKZHEHOLHYHZHVKRXOGKDYHLQIRUPDWLRQIRUDOOORFDWLRQVLQZKLFK*RRJOH
      UHFHLYHVRUVWRUHVGDWDIURP&KURPHXVHUVLQDQXQV\QFHGVWDWH<RXDVNHGXVWRLGHQWLI\WKH
      VSHFLILFSODFHZKHUHZHUHTXHVWHGVXFKLQIRUPDWLRQ$V\RXDUHDZDUHRQ0DUFKWKH
      &RXUW RUGHUHG WKH SDUWLHV ³WR PHHW DQG FRQIHU UHJDUGLQJ D QDUURZ SURGXFWLRQ RI GRFXPHQWV



                                                           
  Case 4:20-cv-05146-YGR              Document 748-2          Filed 07/01/22         Page 213 of 227

                                                                                

Josef Ansorge                                                     SIMMONS HANLY CONROY
July 27, 2021                                                     DICELLO LEVITT GUTZLER LLC
Page 2                                                            BLEICHMAR FONTI & AULD LLP


UHIHUHQFHGLQ'NW´7KDWVSHFLILFSDUDJUDSKUHTXHVWV³EDVLFLQIRUPDWLRQ´DERXWGDWD
GLFWLRQDULHVGDWDEDVHDUFKLWHFWXUHGRFXPHQWDWLRQ VXFKDVTXHU\ODQJXDJH>V@SK\VLFDOVFKHPD
DQG ORJLFDO VFKHPH LH WDEOHV VWUXFWXUHV DWWULEXWHV DQG ILHOGV  DQG WHFKQLFDO GRFXPHQWDWLRQ
8QIRUWXQDWHO\WRGDWH*RRJOHKDVSURGXFHGYHU\OLWWOHWKDWILWVWKHVHFDWHJRULHVRILQIRUPDWLRQ
$VDUHVXOWRIWKLVGLVFXVVLRQ\RXDJUHHGWRUHYLHZ*22*&$/+DQGWRORRNIXUWKHU
LQWRWKHLVVXH

        6HYHQWKZHGLVFXVVHGFOHDQURRPDFFHVVZKLFK\RXGHFOLQHG

        (LJKWKZHGLVFXVVHGWKHSRUWLRQRI\RXU5HVSRQVHVDQG2EMHFWLRQVWR3ODLQWLIIV¶ E  
QRWLFHWKDWLQGLFDWHG*RRJOHZRXOGRQO\SURGXFHDZLWQHVVWRWHVWLI\DERXW³UHOHYDQWGDWD*RRJOH
UHFHLYHVIURPD&KURPHEURZVHUZKHQWKDWEURZVHULVXVHGWRYLVLWDZHEVLWHWKDWKDVHPEHGGHG
*RRJOH'LVSOD\$GVRU$QDO\WLFVVHUYLFHV´*RRJOH5 2VWR3ODLQWLIIV¶1RWLFHRI5XOH E  
'HSRVLWLRQ

       $V \RX DUH DZDUH 3ODLQWLIIV¶ &RPSODLQW LV EDVHG RQ *RRJOH¶V FROOHFWLRQ RI SHUVRQDO
LQIRUPDWLRQ IURP XQV\QFHG&KURPHXVHUVIURP DQ\VRXUFHQRW MXVW*RRJOH'LVSOD\$GVDQG
$QDO\WLFV6HH)$& ³'HVSLWHWKHVHH[SUHVVDQGELQGLQJSURPLVHV*RRJOHLQWHQWLRQDOO\DQG
XQODZIXOO\FDXVHV&KURPHWRUHFRUGDQGVHQGXVHUV¶SHUVRQDOLQIRUPDWLRQWR*RRJOHUHJDUGOHVV
RIZKHWKHUDXVHUHOHFWVWR6\QFRUHYHQKDVD*RRJOHDFFRXQW´ 'NWDW ³3ODLQWLIIV¶
&RPSODLQW LV FHQWHUHG RQ &KURPH¶V XQDXWKRUL]HG WUDQVPLVVLRQ RI DQG *RRJOH $QDO\WLFV
'RXEOHFOLFNDQG$GVDQGRWKHU*RRJOHSURSHUWLHV¶XQDXWKRUL]HGUHFHLSWDQGUHWHQWLRQRIDXVHU¶V
&KURPHEURZVLQJKLVWRU\DQGSHUVRQDOLQIRUPDWLRQLQFOXGLQJ,3DGGUHVV8VHU$JHQWFRRNLHV
DQGWKH;FOLHQWGDWDLGHQWLILHU´ 

        $VZHGLVFXVVHGRQWKHFDOOWKRVHRWKHU*RRJOHSURSHUWLHVLQFOXGHPDSVJRRJOHDSLVFRP
VWRUDJHJRRJOHDSLVFRP IRQWVJRRJOHDSLVFRP WUDQVODWHJRRJOHDSLVFRP FVHJRRJOHFRP
JRRJOHFRPJRRJOHWDJPDQDJHUFRPSDJHDGJRRJOHV\QGLFDWLRQFRPWKH&KURPHRPQLEDUDQG
DQ\RWKHUSURSHUW\WKURXJKZKLFK*RRJOHUHFHLYHVGDWDIURP&KURPHXVHUVLQDQXQV\QFHGVWDWH
6RPHRIWKHVHSURSHUWLHVDUHVSHFLILFDOO\LQFOXGHGLQWKHH[DPSOHVIURPWKH&RPSODLQWDQG)$&
6HH)$& FVH  JRRJOHFRP 2WKHUVZHUHWKHWRSLFRIH[SHUWGHFODUDWLRQVDIWHUWKH
&RXUWDVNHGIRU*RRJOH¶VH[SODQDWLRQRILWVVRXUFHFRGHSUHVHQWRQWKH&RXUW¶VZHEVLWH6HH%URZQ
Y*RRJOH*UHHQ'HFO G *RRJOHFXVWRPVHDUFKHQJLQH  LGHQWLI\LQJFVHJRRJOHFRP
IRQWVJRRJOHDSLVFRP DQG PDSVJRRJOHDSLVFRP  )LQDOO\ *RRJOH LWVHOI KDV DVNHG TXHVWLRQV
DERXWWKH&KURPHRPQLEDULQHYHU\3ODLQWLIIGHSRVLWLRQWRGDWH

        $V D UHVXOW RI \RXU REMHFWLRQV ZH QRWHG WKDW ZH ZRXOG KDYH WR QRWLFH XS D VHSDUDWH
 E   GHSRVLWLRQ IRU DOO *RRJOH FROOHFWLRQ SURGXFWV RWKHU WKDQ *RRJOH 'LVSOD\ $GV DQG
$QDO\WLFV <RX VWDWHG WKDW \RX ZRXOG FRQVLGHU RXU FRQFHUQV *RLQJ IRUZDUG ZH DVN WKDW \RX
FRQILUPLQZULWLQJZKHWKHU\RXEHOLHYHWKLVFDVHLVOLPLWHGWR'LVSOD\$GVDQG$QDO\WLFV,IVR
SOHDVHH[SODLQWKHVSHFLILFEDVLVIRUVXFKDSRVLWLRQLQFOXGLQJZKHWKHU$GVDQG$QDO\WLFVDUHWKH
        Case 4:20-cv-05146-YGR       Document 748-2          Filed 07/01/22        Page 214 of 227

                                                                              

Josef Ansorge                                                   SIMMONS HANLY CONROY
July 27, 2021                                                   DICELLO LEVITT GUTZLER LLC
Page 3                                                          BLEICHMAR FONTI & AULD LLP


RQO\ *RRJOH SURSHUWLHV WKDW FROOHFW XVHU ,3 DGGUHVVHV ;FOLHQW GDWD KHDGHUV FRRNLHV DQGRU
EURZVLQJLQIRUPDWLRQRURWKHUFRPPXQLFDWLRQVIURPXQV\QFHG&KURPHXVHUV

        1LQWK DOWKRXJK QRW GLVFXVVHG GXULQJ WKH PHHW DQG FRQIHU ZH DUH IROORZLQJ XS RQ
3ODLQWLIIV¶UHTXHVWLQRXU-XO\OHWWHUWKDW*RRJOHSURGXFH0U6YLWNLQH¶VFRPPXQLFDWLRQVRQ
WKH*RRJOH*URXSVPHVVDJHERDUGIRU&KURPLXPGHYHORSHUVQRODWHUWKDQILYHGD\VSULRUWRKLV
$XJXVW  GHSRVLWLRQ LH $XJXVW   6XFK GRFXPHQWV VKRXOG EH HQFRPSDVVHG E\ 3ODLQWLIIV¶
FXUUHQW5)3V3OHDVHLQIRUPXVLI*RRJOHLQWHQGVWRSURGXFHWKRVHGRFXPHQWVE\$XJXVW

            

                                                    
                                                     6LQFHUHO\


                                                                            
                                                     -D\%DUQHV
                                                     MD\EDUQHV#VLPPRQVILUPFRP
    FF                                             
                                                    
    *RRJOH&RXQVHO                                  3ODLQWLIIV¶&RXQVHO
                                                    
    VWHSKHQEURRPH#TXLQQHPDQXHOFRP                  'DYLG6WUDLWHGVWUDLWH#GLFHOOROHYLWWFRP
    DQGUHZVFKDSLUR#TXLQQHPDQXHOFRP                 /HVOH\:HDYHUOZHDYHU#EIDODZFRP
    MRPDLUHFUDZIRUG#TXLQQHPDQXHOFRP                $P\(.HOOHUDNHOOHU#GLFHOOROHYLWWFRP
    WKDRWKDL#TXLQQHPDQXHOFRP                       $QJHOLFD2UQHODVDRUQHODV#EIDODZFRP
    MRQDWKDQWVH#TXLQQHPDQXHOFRP                    $Q7UXRQJDWUXRQJ#VLPPRQVILUPFRP
    YLRODWUHELFND#TXLQQHPDQXHOFRP                 
    THFDOKRXQ#TXLQQHPDQXHOFRP
    

Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 215 of 227




                     $1625*(
                     EXHIBIT 

          5HGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
     Case 4:20-cv-05146-YGR            Document 748-2          Filed 07/01/22       Page 216 of 227

                                                                          
      
                                   81,7('67$7(6',675,&7&2857
                                  1257+(51',675,&72)&$/,)251,$
                                             6$1-26(',9,6,21
                                                         
     3$75,&.&$/+281HWDORQEHKDOIRI
      WKHPVHOYHVDOORWKHUVVLPLODUO\VLWXDWHG      
                                                     
                                 3ODLQWLIIV      &DVH1RFY/+.69.
                                                     
                          Y                      3/$,17,))6¶127,&(2)'(326,7,21
                                                     2)'()(1'$17*22*/(//&
      *22*/(//&                                    38568$1772)('(5$/58/(2)
                                'HIHQGDQW       &,9,/352&('85( E  
      
 
            
 
            72$//3$57,(6$1'7+(,55(63(&7,9($77251(<62)5(&25'

            3/($6(7$.(127,&(7+$7XQGHU)HGHUDO5XOHVRI&LYLO3URFHGXUHDQG E  

    3ODLQWLIIVE\WKHLUFRXQVHOZLOOWDNHWKHGHSRVLWLRQRI'HIHQGDQW*RRJOH//& ³*RRJOH´ DWDGDWH

    DQGWLPHWREHPXWXDOO\DJUHHGXSRQGDWH3OHDVHWDNHQRWLFHWKDWGXHWRWKHGLVUXSWLRQVWRWUDYHODQG

    DFFRPSDQ\LQJVKHOWHULQSODFHRUGHUVFDXVHGE\WKH&29,'RXWEUHDNWKHGHSRVLWLRQRI*RRJOH

    ZLOORFFXUYLDUHPRWHPHDQVRQDQGZLOOEHFRRUGLQDWHGE\9HULWH[W/HJDO6ROXWLRQVZLWKDEXVLQHVV

    DGGUHVVDW0RQWJRPHU\6W6XLWH6DQ)UDQFLVFR&$&RQWDFW9HULWH[W¶VFDOHQGDU

    WHDP DW DKHQGHUVRQ#YHULWH[WFRP WR UHWULHYH WKH QHFHVVDU\ FUHGHQWLDOV WR DFFHVV WKH UHPRWH

    GHSRVLWLRQDVZHOODVLQIRUPDWLRQUHODWHGWRDQ\WHFKQLFDODVVLVWDQFH\RXPD\UHTXLUHWRDVVLVWZLWK

    FDUU\LQJRXWWKHYLUWXDOGHSRVLWLRQ$OWHUQDWLYHO\LIFLUFXPVWDQFHVSHUPLWDQGWKHSDUWLHVDJUHHWKH

    PDWWHUPD\EHWDNHQLQZKROHRUSDUWLQSHUVRQDQGYLUWXDOO\7KRVHZKRZLVKWRDSSHDULQWKHSK\VLFDO

    SUHVHQFHRIDQRWKHUGRVRDWWKHLURZQHOHFWLRQKRZHYHUWKLVQRWLFLQJSDUW\LVQRWUHTXLULQJWKHLQ

    SHUVRQSK\VLFDODWWHQGDQFHRIFRXQVHOWKHZLWQHVVRUDQ\RWKHUSDUW\WRWKLVDFWLRQ

            7KH GHSRVLWLRQ ZLOO EH WDNHQ EHIRUH D SHUVRQ DXWKRUL]HG E\ ODZ WR DGPLQLVWHU RDWKV XQGHU

    )HGHUDO 5XOHV RI &LYLO 3URFHGXUH  D  DQG VKDOO FRQWLQXH IURP RQH GD\ WR WKH QH[W H[FOXGLQJ

    6XQGD\VDQGKROLGD\VXQWLOWKHH[DPLQDWLRQLVFRPSOHWHG

            3XUVXDQWWR5XOH E  'HIHQGDQWLVKHUHE\QRWLILHGRILWVGXW\WRGHVLJQDWHRQHRUPRUH

    RIILFHUVGLUHFWRUVPDQDJLQJDJHQWVRURWKHUSHUVRQVPRVWNQRZOHGJHDEOHRUTXDOLILHGWRWHVWLI\RQ

    LWVEHKDOIFRQFHUQLQJWKHIROORZLQJWRSLFV

                                                               &DVH1RFY/+.69.
              3/7)6¶127,&(2)'(326,7,212)*22*/(//&38568$1772)('5&,93 % 
      
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 217 of 227
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 218 of 227
     Case 4:20-cv-05146-YGR             Document 748-2            Filed 07/01/22        Page 219 of 227

                                                                             
      
                      VHQW IURP &KURPH WR *RRJOH DW DQ\ ORFDWLRQ RU VWRUHG LQ DQ\ GDWDSRO RU ORJ WKDW
                       FRQWDLQV,QIRUPDWLRQDQGGDWDIRU&KURPHXVHUVZKRDUHQRWV\QFHG
                   +RZ*RRJOHVXEVHTXHQWO\XVHVDQ\VLJQDOUHFHLYHGIURPWKH&KURPHEURZVHUWKDWD
                      XVHULVV\QFHGRUQRWV\QFHGLQFOXGLQJZKHWKHU*RRJOHGLVWLQJXLVKHVEHWZHHQGDWD
                       WDNHQIURPXVHUVZKRDUHV\QFHGRUQRWV\QFHGRQFHWKHGDWDKDVEHHQFROOHFWHG
 
              (DFK VXFK GHVLJQHH SURGXFHG WR WHVWLI\ KDV DQ DIILUPDWLYH GXW\ WR KDYH ILUVW UHYLHZHG DOO
 
      'RFXPHQWVLQWHUQDOZLNLPDWHULDOVSROLFLHVUHSRUWVDQGRWKHUPDWWHUVNQRZQRUUHDVRQDEO\NQRZQ
 
      RUDYDLODEOHWR*RRJOHDQGWRIDPLOLDUL]HKLPVHOIRUKHUVHOIZLWKDOOSRWHQWLDOZLWQHVVHVNQRZQRU
 
      UHDVRQDEO\DYDLODEOHWRSURYLGHLQIRUPHGELQGLQJDQVZHUVDWWKHGHSRVLWLRQLQFOXGLQJEXWQRWOLPLWHG
 
      WKHGRFXPHQWVWKDW3ODLQWLIIVKDYHVSHFLILFDOO\DVNHG*RRJOHWRSURGXFHUHODWLQJWRWKHVHWRSLFV
 
              'HIHQGDQW*RRJOHVKDOOLQIRUP3ODLQWLIIVRIVXFKGHVLJQDWLRQV V DWDUHDVRQDEOHWLPHSULRUWR

      WKHGHSRVLWLRQ V EXWQRODWHUWKDQKRXUVEHIRUHWKHGHSRVLWLRQ V E\VHWWLQJIRUWKWKHLGHQWLW\RI

      WKHSHUVRQ V GHVLJQDWHGWRWHVWLI\ZLWKUHVSHFWWRWKHPDWWHUVVSHFLILHGEHORZ7KHGHSRVLWLRQZLOO

      FRQWLQXHRQWKHGD\QRWLFHGDQGIRUDGGLWLRQDOGD\VLIQHFHVVDU\H[FOXGLQJ6XQGD\VDQGKROLGD\V

      XQWLOFRPSOHWHG

              3ODLQWLIIV UHVHUYH WKH ULJKW WR QRWLFH DQG FRQGXFW DGGLWLRQDO 5XOH  E   GHSRVLWLRQV RI

      'HIHQGDQWRQVHSDUDWHQRQGXSOLFDWLYHWRSLFV

              127,&( ,6 )857+(5 *,9(1 WKDW 3ODLQWLIIV ZLOO FRQGXFW WKLV GHSRVLWLRQ XWLOL]LQJ WKH

      VHFXUHZHEEDVHGGHSRVLWLRQRSWLRQDIIRUGHGE\9HULWH[WRUWHOHSKRQLFDOO\WRSURYLGHUHPRWHYLUWXDO

      DFFHVVIRUWKRVHSDUWLHVZLVKLQJWRSDUWLFLSDWHLQWKHGHSRVLWLRQYLDWKHLQWHUQHWDQGRUWHOHSKRQH$OVR

      WDNHQRWLFHWKDW3ODLQWLIIVUHVHUYHWKHULJKWWRUHFRUGWKHGHSRVLWLRQHLWKHUE\VWHQRJUDSKLFPHDQVE\

      D FRXUW UHSRUWHU FHUWLILHG WR UHFRUG GHSRVLWLRQV D GLJLWDO UHSRUWHU XWLOL]LQJ VWDWHRIWKHDUW GLJLWDO

      UHFRUGLQJ HTXLSPHQW DQG E\ YLGHR %RWK WKH FRXUW UHSRUWHU DQG GLJLWDO UHSRUWHU DUH DXWKRUL]HG WR

      DGPLQLVWHUWKHRDWKDQGVHUYHDVWKHGHSRVLWLRQRIILFHULQWKH6WDWHRI&DOLIRUQLD7DNHQRWHWKDWWKH

      GHSRVLWLRQRIILFHUPD\DOVREHUHPRWHDQGRXWRIWKHSUHVHQFHRIWKHGHSRQHQWYLDRQHRIWKHRSWLRQV

      DERYH IRU WKH SXUSRVHV RI SURYLGLQJ WKH RDWKDIILUPDWLRQ WR WKH GHSRQHQW DQG FDSWXULQJ WKH

      SURFHHGLQJ 3ODLQWLIIV IXUWKHU UHVHUYH WKH ULJKWWR XWLOL]H WKH IROORZLQJ   5HFRUG WKH  GHSRVLWLRQ

      XWLOL]LQJDXGLRRUYLGHRWHFKQRORJ\  ,QVWDQWYLVXDOGLVSOD\VXFKWKDWWKHUHSRUWHU¶VZULWLQJRIWKH

      SURFHHGLQJZLOOEHDYDLODEOHWRDOOZKRDUHDSDUW\WRWKLVSURFHHGLQJWRUHTXHVWDQGUHFHLYHLWLQUHDO


                                                               &DVH1RFY/+.69.
              3/7)6¶127,&(2)'(326,7,212)*22*/(//&38568$1772)('5&,93 % 
      
     Case 4:20-cv-05146-YGR             Document 748-2           Filed 07/01/22        Page 220 of 227

                                                                            
      
     WLPH   ([KLELW &DSWXUH SLFWXUHLQSLFWXUH  WHFKQRORJ\ LQ ZKLFK DQ\ H[KLELW UHYLHZHG E\ WKH
     GHSRQHQWGXULQJWKHGHSRVLWLRQFDQEHFDSWXUHGYLVXDOO\DQG  7RFRQGXFWWKLVGHSRVLWLRQXWLOL]LQJ
     DSDSHUOHVVH[KLELWGLVSOD\SURFHVVFDOOHG([KLELW6KDUHRUDVLPLODUSDSHUOHVVYLUWXDOGLVSOD\SODWIRUP
     7KHSDUWLHVDUHDGYLVHGWKDWLQOLHXRIDSDSHUVHWRIH[KLELWVWKH\PD\EHSURYLGHGDQGGLVSOD\HG
     GLJLWDOO\WRWKHGHSRVLWLRQRIILFHUGHSRQHQWSDUWLHVDQGFRXQVHO7KHH[KLELWVZLOOEHFRPSLOHGE\
     WKH GHSRVLWLRQ RIILFHU IRU WKH SXUSRVHV RI H[KLELW VWDPSLQJ DQG XOWLPDWH SURGXFWLRQ RI WKH ILQDO
     FHUWLILHGWUDQVFULSW3OHDVHFRQWDFWWKHQRWLFLQJDWWRUQH\QRIHZHUWKDQILYH  FDOHQGDUGD\VSULRUWR
     WKH GHSRVLWLRQ WR SURYLGH DOO QHFHVVDU\ FUHGHQWLDOV FDOOLQ QXPEHUV ILUP QDPH HPDLO DGGUHVV
     VHUYLFHV WHVWLQJ DQG LQIRUPDWLRQ LI QHFHVVDU\ IRU WKRVH ZKR ZLOO DWWHQG DQGRU SDUWLFLSDWH LQ WKH
    GHSRVLWLRQLQRUGHUWKDWSDUWLFLSDWLRQDQGFRQQHFWLRQFDQEHDUUDQJHGDQGGHWDLOVSURYLGHGVXIILFLHQWO\
    LQDGYDQFHRIWKHSURFHHGLQJ V 
            $OLVWRIDOOSDUWLHVRUDWWRUQH\VIRUSDUWLHVRQZKRPWKLV1RWLFHRI'HSRVLWLRQLVEHLQJVHUYHG
    LVVKRZQRQWKHDFFRPSDQ\LQJSURRIRIVHUYLFH
       
     'DWHG6HSWHPEHU                      
                                                      
                                                    ',&(//2/(9,77*87=/(5//&
       %/(,&+0$5)217, $8/'//3
                                                     
                                                    %\ V'DYLG$6WUDLWH                               
       %\V/HVOH\(:HDYHU             
     /HVOH\:HDYHU &DO%DU1R            'DYLG$6WUDLWH DGPLWWHGSURKDFYLFH 
       $QJHOLFD02UQHODV &DO%DU1R      2QH*UDQG&HQWUDO3ODFH
     -RVKXD'6DPUD &DO%DU1R          (QG6WUHHW6XLWH
       WK6WUHHW6XLWH                   1HZ<RUN1<
     2DNODQG&$                             7HO  
     7HO                            GVWUDLWH#GLFHOOROHYLWWFRP
       )D[                             
     OZHDYHU#EIDODZFRP                            $P\(.HOOHU DGPLWWHGSURKDFYLFH 
       DRUQHODV#EIDODZFRP                           $GDP3URP DGPLWWHGSURKDFYLFH 
     MVDPUD#EIDODZFRP                             7HQ1RUWK'HDUERUQ6WUHHWWK)O
                                                     &KLFDJR,OOLQRLV
     6,00216+$1/<&2152<//&                      7HO  
                                                     DNHOOHU#GLFHOOROHYLWWFRP
     %\ V-D\%DUQHV                    
       -DVRQµ-D\¶%DUQHV DGPLWWHGSURKDFYLFH     DSURP#GLFHOOROHYLWWFRP

       $Q7UXRQJ DGPLWWHGSURKDFYLFH 
     (ULF-RKQVRQ DGPLWWHGSURKDFYLFH 
       0DGLVRQ$YHQXHWK)ORRU
     1HZ<RUN1<
       7HO  
     )D[  
                                                               &DVH1RFY/+.69.
              3/7)6¶127,&(2)'(326,7,212)*22*/(//&38568$1772)('5&,93 % 
      
     Case 4:20-cv-05146-YGR         Document 748-2      Filed 07/01/22   Page 221 of 227

                                                                
      
         MD\EDUQHV#VLPPRQVILUPFRP
          DWUXRQJ#VLPPRQVILUPFRP
         HMRKQVRQ#VLPPRQVILUPFRP
          
         &RXQVHOIRU3ODLQWLIIV
 

 

 

 

 

 





































                                                                &DVH1RFY/+.69.
               3/7)6¶127,&(2)'(326,7,212)*22*/(//&38568$1772)('5&,93 % 
      
     Case 4:20-cv-05146-YGR         Document 748-2          Filed 07/01/22     Page 222 of 227




                                      &(57,),&$7(2)6(59,&(
            ,$Q97UXRQJKHUHE\FHUWLI\WKDWRQ6HSWHPEHU,FDXVHGDWUXHDQGFRUUHFWFRS\
     RIWKHIRUHJRLQJGRFXPHQWWREHVHUYHGYLDHOHFWURQLFPDLOWRWKHIROORZLQJFRXQVHORIUHFRUG
 

                                                                         V$Q97UXRQJ
                                                                          $Q97UXRQJ
 
      48,11(0$18(/8548+$57 
     68//,9$1//3
 
      $QGUHZ+6FKDSLUR(VT                            -RVHI$QVRUJH(VT
     DQGUHZVFKDSLUR#TXLQQHPDQXHOFRP                       MRVHIDQVRUJH#TXLQQHPDQXHOFRP
      1:DFNHU'ULYH6XLWH                       ,6WUHHW1:6XLWH
    &KLFDJR,/                                     :DVKLQJWRQ'&
      7HO                                     7HO  
    )D[                                     )D[  

      6WHSKHQ$%URRPH(VT                             -RQDWKDQ7VH(VT
    VWHSKHQEURRPH#TXLQQHPDQXHOFRP                        MRQDWKDQWVH#TXLQQHPDQXHOFRP
      9LROD7UHELFND(VT                                &DOLIRUQLD6WUHHWQG)ORRU
    YLRODWUHELFND#TXLQQHPDQXHOFRP                        6DQ)UDQFLVFR&$
      6)LJXHURD6WUHHWWK)ORRU                    7HO  
    /RV$QJHOHV&$                                 )D[  
      7HO  

      )D[                                     7KDR7KDL(VT
                                                           WKDRWKDL#TXLQQHPDQXHOFRP
      -RPDLUH&UDZIRUG(VT                              7ZLQ'ROSKLQ'ULYHWK)ORRU
    MRPDLUHFUDZIRUG#TXLQQHPDQXHOFRP                      5HGZRRG6KRUHV&$
      0DGLVRQ$YHQXHQG)ORRU                         7HO  
    1HZ<RUN1<                                    )D[  
    7HO  
      )D[  




    &RXQVHOIRU'HIHQGDQW









                                                                          &DVH1RFY/+.69.
                                            &(57,),&$7(2)6(59,&(
Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 223 of 227




                     $1625*(
                     EXHIBIT 

         8QUHGDFWHG9HUVLRQ
        RI'RFXPHQW6RXJKW
            WREH6HDOHG
        Case 4:20-cv-05146-YGR              Document 748-2           Filed 07/01/22        Page 224 of 227

    BLEICHMARFONTI&AULDLLP DICELLOLEVITTGUTZLERLLC                  SIMMONSHANLYCONROYLLC
    55512thSTREET,SUITE1600     ONEGRANDCENTRALPLACE                      112MADISONAVENUE,7THFL.
    OAKLAND,CA94607          60EAST42ndSTREET,SUITE2400                         NEWYORK,NY10016
                                        NEWYORK,NY10165
                                                                                                                 
       
                                          6HSWHPEHU
                                                   
                                                                                           /HVOH\(:HDYHU
                                                                                        OZHDYHU#EIDODZFRP
                                                                                               
                                                                                                           
      9,$(/(&7521,&0$,/
                                                     
      -RVHI$QVRUJH(VT
      4XLQQ(PDQXHO8UTXKDUW 6XOOLYDQ//3
      ,6WUHHW1:6XLWH
      :DVKLQJWRQ'&
      MRVHIDQVRUJH#TXLQQHPDQXHOFRP
      
             5H &DOKRXQY*RRJOH//&1RFY/+.69. 1'&DO 
                    3ODLQWLIIV¶1RWLFHRI E  'HSRVLWLRQ
                    
      'HDU&RXQVHO

              7KLV OHWWHU IROORZV XS RXU PHHW DQG FRQIHU \HVWHUGD\ UHJDUGLQJ 3ODLQWLIIV¶  E  
      GHSRVLWLRQ QRWLFH VHUYHG RQ 6HSWHPEHU   ³1RWLFH´  $V ZH GLVFXVVHG 3ODLQWLIIV
      SURSRXQGHG WKH 1RWLFH WR GLVFRYHU WKH ZD\V *RRJOH WUDFNV WKH V\QF VWDWXV RI &KURPH XVHUV
      *RRJOHKDVDOUHDG\FRQFHGHGWKDWLWUHFRUGVZKHWKHU&KURPHWUDIILFLVFROOHFWHGIURPV\QFHGXVHUV
        GHVFULEHGWRXVLQDUHFHQWPHHWDQGFRQIHUDVD³V\QFIODJ´ DQG*RRJOHKDVDOVRFRQFHGHGWKDW
      RQHFRXOGLQIHUWKDWWUDIILFFDPHIURPDQXQV\QFHGEURZVHULIWKHIODJZHUHDEVHQW+RZHYHU
      3ODLQWLIIVXQGHUVWDQGWKDW*RRJOH¶VWUDFNLQJLVPRUHH[WHQVLYHDQG*RRJOHPD\DOVRWUDFNZKHWKHU
      DQGZKHQD&KURPHXVHUHOHFWVWRV\QF DQGODWHUXQV\QF KHUEURZVHU,WLVWKHUHIRUHLPSRUWDQW
      WRVFKHGXOHWKLVGHSRVLWLRQLQDGYDQFHRIWKHFODVVFHUWLILFDWLRQPRWLRQGXHRQ2FWREHU7KUHH
      SUHYLRXVGHSRQHQWVLQ E  GHSRVLWLRQVKDYHSURIHVVHGWREHLJQRUDQWRQWKLVLVVXHGHVSLWH
      WKHTXHVWLRQ¶VFHQWUDOLW\WRWKHFDVHDQGWKH&RXUW¶VRUGHUWKDW*RRJOHSUHSDUHLWVZLWQHVVWRWHVWLI\
      RQWKLVYHU\LVVXH

              ,Q UHVSRQVH WR WKH 1RWLFH *RRJOH SURSRVHG WKDW 7LP 6FKXPDQQ D *HUPDQ UHVLGHQW
      VKRXOG EH LWV GHVLJQHH %XW *RRJOH DVVHUWV WKDW 0U 6FKXPDQQ FDQ RQO\ EH SURGXFHG LQ
      6ZLW]HUODQGDFFRUGLQJWKHSURFHGXUHVRI6ZLVVODZGXHWRWKHSDQGHPLF3ODLQWLIIVGLVDJUHH
      7KHQRWLFHGGHSRQHQWLV*RRJOHQRW0U6FKXPDQQ*RRJOHLVKHDGTXDUWHUHGLQ&DOLIRUQLDDQG
      WKH OLWLJDWLRQ LV SHQGLQJ LQ &DOLIRUQLD %\ QR VWUHWFK RI WKH LPDJLQDWLRQ ZRXOG 3ODLQWLIIV EH
      UHTXLUHGWRWDNH*RRJOH¶V E  GHSRVLWLRQLQ(XURSH/RXLV9XLWWRQ0DOOHWLHU6$Y$NDQRF
      6ROXWLRQV,QF1R&-: +5/ :/DW  1'&DO$SU 
        UHTXLULQJ E  GHSRVLWLRQEHFRQGXFWHGLQ&DOLIRUQLDEHFDXVH³WKHUHLVDJHQHUDOSUHVXPSWLRQ
      WKDW WKH GHSRVLWLRQ RI D FRUSRUDWH SDUW\ VKRXOG EH WDNHQ DW LWV SODFH RI EXVLQHVV>@´  FLWDWLRQ
      RPLWWHG )UDPY0HPRU\(QWHUV//&1R&90:)-35;:/DW 
        &'&DO6HSW  ³>7@KHIRUXPGLVWULFWLVDOVRJHQHUDOO\DQDSSURSULDWHORFDWLRQIRUDQ\


                                                            
  Case 4:20-cv-05146-YGR             Document 748-2           Filed 07/01/22        Page 225 of 227

                                                                                                                 
-RVHI$QVRUJH(VT                                                     SIMMONSHANLYCONROYLLC
6HSWHPEHU                                                          DICELLOLEVITTGUTZLERLLC
3DJH                                                                  BLEICHMARFONTI&AULDLLP
                                                                         

SDUW\ GHSRVLWLRQ  *RRJOH KDV QRW DUWLFXODWHG DQ\ UHDVRQ WKDW ZRXOG UHTXLUH WKH  E  
GHSRVLWLRQRI*RRJOHWDNHSODFHDQ\ZKHUHRWKHUWKDQ&DOLIRUQLD,G$QGDV*RRJOHDGPLWVPDQ\
RIWKHVHWRSLFVKDYHEHHQSUHYLRXVO\QRWLFHG

         ,QFRQWUDVWWKHOHQJWK\DQGEXUGHQVRPHSURFHGXUHVDOUHDG\LQSURFHVVIRUWKHGHSRVLWLRQ
RI0U6FKXPDQQLQKLVSHUVRQDOFDSDFLW\DUHXQOLNHO\WRUHVXOWLQDGHSRVLWLRQSULRUWRWKHFODVV
FHUWLILFDWLRQ PRWLRQ GHSHQGLQJ XSRQ WKH YDJDULHV RI WKH 6ZLVV MXGLFLDO V\VWHP *RRJOH¶V
GHVLJQDWLRQRI0U6FKXPDQQWKHUHIRUHDSSHDUVWREHMXVWDQRWKHUHIIRUWWRIUXVWUDWH3ODLQWLIIV¶
UHTXHVWIRUUHVSRQVHVWRWKHVHEDVLFTXHVWLRQVDQGLWLVQRWVXSSRUWHGE\WKHODZ6HHHJ0HWFDOI
Y %D\ )HUULHV /WG1R&,9$76+ :/DW  '0DVV-XO\ 
  ILQGLQJGHIHQGDQW¶VUHTXHVWWRPRYH³WKH5XOH E  GHSRVLWLRQWR&DQDGDEHFDXVHRI
WKH KHDOWK DQG UHODWHG WUDYHO UHVWULFWLRQV RI RQH RI LWV 5XOH  E   GHVLJQHHV   
XQSHUVXDVLYH>@´  /DNH &LW\ $VVRFV //& Y :LQGVRU $UPV //& 1R FY--%7
:/DW  0')OD-XQH  RUGHULQJGHIHQGDQWHQWLWLHVWRGHVLJQDWH
DQRWKHUFRUSRUDWHUHSUHVHQWDWLYHZKHQGHVLJQDWHGUHSUHVHQWDWLYHZDVUHFRYHULQJIURPVXUJHU\DV
5XOH E  ³GRHVQRWFRQWHPSODWHDQLQGHILQLWHGHOD\LQGHSRV>LQJ@DFRUSRUDWHUHSUHVHQWDWLYH
EHFDXVHRIWKHSK\VLFDOLQFDSDFLW\RIRQHSHUVRQ´ +HUH0U6FKXPDQQLVQRWLOO+HKDVEHHQ
DFWLYHO\SUHSSLQJ*RRJOH¶VRWKHU E  GHSRVLWLRQVRYHU=RRP+HFDQDSSHDULQDUHPRWH
GHSRVLWLRQRQEHKDOIRI*RRJOHRQ&DOLIRUQLDWLPHDQGKHLVDOUHDG\ZHOOSUHSDUHGRQWKHVHWRSLFV
LI*RRJOH¶VSUHYLRXV E  GHSRQHQWVDUHWREHEHOLHYHG$IWHUDOOKHKDVEHHQPHHWLQJZLWK
WKHPRYHU=RRPWRSUHSDUHWKHPIRUKRXUVDWDWLPH7KHUHLVQRUHDVRQWKDWKHFDQQRWDSSHDU
RQ*RRJOH¶VEHKDOIRYHU=RRPLQWKHQH[WWZRZHHNV

        3ODLQWLIIV KDYH RIIHUHG WR FRRUGLQDWH WKH  E   GHSRVLWLRQ ZLWK KLV GHSRVLWLRQ LQ KLV
SHUVRQDOFDSDFLW\LIWKDWLVZKDW*RRJOHZLVKHV%XW*RRJOH¶VGHVLJQDWLRQRI0U6FKXPDQQDV
LWVFRUSRUDWHGHVLJQHHQRZ±ZKHQLWFRXOGKDYHGRQHVRLQ$SULO±VKRXOGQRWLPSHGH3ODLQWLIIV¶
SUHVHQWDWLRQRIHYLGHQFHRQWKH&RXUW¶VVFKHGXOH

        )LQDOO\ ZH GLVFXVVHG QDUURZLQJ WKUHH WRSLFV LQ WKH 1RWLFH WKDW *RRJOH FRQWHQGV DUH
GXSOLFDWLYHRIRWKHUGLVFRYHU\3ODLQWLIIVDUHZLOOLQJWRGLVFXVVDQDUURZLQJRIWKRVHFKDOOHQJHG
WRSLFVLQWKHHYHQWDQVZHUVWRWKDWGLVFRYHU\DUHRWKHUZLVHSURYLGHGDQGRQFHWKHLVVXHRIWKH
GHVLJQHHLVUHVROYHG,QDQ\HYHQW3ODLQWLIIVVHHNDGDWHZLWKLQWKHQH[WWZRZHHNVIRUZKLFKD
FRUSRUDWHGHVLJQHHRQWKHVHTXHVWLRQVZLOODSSHDU*LYHQWKHFXUUHQWFODVVFHUWLILFDWLRQPRWLRQ
GHDGOLQHLIWKHLVVXHFDQQRWEHUHVROYHGWKLVZHHN3ODLQWLIIVZLOODGGLWWR)ULGD\¶VMRLQWGLVFRYHU\
GLVSXWHFKDUWXQGHU'LVSXWH1R

                                                 

                                                 

                                                 

                                                 
        Case 4:20-cv-05146-YGR     Document 748-2        Filed 07/01/22      Page 226 of 227

                                                                                                          
-RVHI$QVRUJH(VT                                              SIMMONSHANLYCONROYLLC
6HSWHPEHU                                                   DICELLOLEVITTGUTZLERLLC
3DJH                                                           BLEICHMARFONTI&AULDLLP
                                                                  

                                           

                                           6LQFHUHO\

    




                                                                                            
                                                   /HVOH\:HDYHU
                                                   OZHDYHU#EIDODZFRP
                                                   
                                                  
                                                  
    FFYLDHPDLO                                
                                                  
    *RRJOH&RXQVHO                                3ODLQWLIIV¶&RXQVHO
                                                  
    THFDOKRXQ#TXLQQHPDQXHOFRP                   GVWUDLWH#GLFHOOROHYLWWFRP
                                                  DNHOOHU#GLFHOOROHYLWWFRP
                                                  DSURP#GLFHOOROHYLWWFRP
                                                   DRUQHODV#EIDODZFRP
                                                   MD\EDUQHV#VLPPRQVILUPFRP
                                                   DWUXRQJ#VLPPRQVILUPFRP
                                                   HMRKQVRQ#VLPPRQVILUPFRP

Case 4:20-cv-05146-YGR   Document 748-2   Filed 07/01/22   Page 227 of 227




                     $1625*(
                     EXHIBIT 

                    6HDOHGLQLWV
                     (QWLUHW\
